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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

JAMES SWINNEY, LEE CANNON , VICTOR         §
MONTIEL, MICHAEL HERTIG TEDDY              §
JOHNSON, THOMAS CONNOR, BRETT SWAIN,       §
SEAN DOUGLASS, JOSE ESPADA, JOHN           §
MAZZUCHELLI, KWAN JOHNSON, TYLER           §   Case No.: 1:20-cv-02316
COFFIE, MICHAEL DESALVO, NOAH BURTON,      §
ANTHONY PIERCE, PAUL WALKER, KENNETH       §
PLAKE, JOSE GARCIA, DONALD REESE,          §
THOMAS LOVE, ADAM BAGBY, JOSEPH            §
CORDER, PAUL HETTICH, REX RAMCHARAN,       §
VLADIMIR QUERALES, LEONARD JOHNSON,        §
BRUCE MILLSAP, MATTHEW MALOY, DAVID        §
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LAWSON, WILLIAM LOTT, MITCHELL BURNS,      §
DAVID MORROW, CHARLES JACKSON, JUSTIN      §
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VILLARREAL, RONALD RUSSELL, DANIEL         §
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HERBERT WATSON, GUY LITZLER, BRENT         §
BARNES, TRACEY ATWOOD, TJ AIKENS,          §
BRADLEY KNAPP, DUSTIN CONNOR, ADAM         §
TAYLOR, DAMIAN SCHUYLER, BRENT             §
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MATTHEW PENN, JOSEPH MERSHON, JEREMY                   §
BAKER, IAN POWELL, JASON HILL, EDGAR                   §
RUIZ, TIMOTHY BARNARD, RICHARD                         §
IRIZARRY, JAMES DAVIS, BRIAN SLATES,                   §
NOEL HUERTAS,                                          §
JAMIE PORTILLO, BUFORD HANNA, JAMES                    §
LITTLES, RHEN MITCHELL, LESLEY POWERS,                 §
JR., JAMES CHANEY, KENNETH PHARISS,                    §
NICHOLAS HARRELSON, and AMANDA WALL                    §
                                                       §
       Plaintiffs,                                     §
v.                                                     §
                                                       §
THE ISLAMIC REPUBLIC OF IRAN                           §
The Ministry of Foreign Affairs                        §
Imam Khomeini Street                                   §
Imam Khomeini Square                                   §
Tehran, Iran                                           §
1136914811                                             §
                                                       §
THE ISLAMIC REVOLUTIONARY GUARD                        §
CORPS (“IRGC”)                                         §
Armed Forces Headquarters Iran                         §
Tehran – Zone 7 – Shariati                             §
Ghoddoosi Square (Ghaar)                               §
Tehran, Iran                                           §
                                                       §
IRANIAN MINISTRY OF INTELLIGENCE &                     §
SECURITY                                               §
(a/k/a Vezarat-e Ettela’at Va Amniat-e Keshvar a/k/a   §
VEVAK a/k/a VAJA)                                      §
Second Negarestan Street                               §
Pasdaran Avenue                                        §
Tehran, Iran                                           §
                                                       §
BANK MARKAZI JOMHOURI ISLAMI IRAN                      §
(a/k/a The Central Bank of the Islamic Republic of     §
Iran)                                                  §
Mirdamad Boulevard                                     §
No. 198                                                §
Tehran, Iran                                           §
P.O. Box: 15875/7177                                   §
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                                            §
BANK MELLI IRAN                             §
Ferdowsi Avenue                             §
10 Building                                 §
Tehran, Iran                                §
1135931596                                  §
Mail Box 11365.144                          §
                                            §
NATIONAL IRANIAN OIL COMPANY                §
Roodsar Street No. 18                       §
District 6                                  §
Tehran, Iran                                §
                                            §
      Defendants                            §
                                            §
                                            §
                                            §



                     PLAINTIFFS’ AMENDED COMPLAINT
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AAH – Asa’ib Ahl Al Haq or the “League of the Righteous”
AAI – Ansar al Islam
AEDPA – Antiterrorism and Effective Death Penalty Act of 1996
AIO – Aerospace Industries Organization
AQ - Al Qaida (a/k/a Al-Qaeda or Al-Qa’ida)
AQI – Al Qaida In Iraq (a/k/a Al-Qaeda In Iraq or Al-Qa’ida In Iraq)
ASV – Armored Security Vehicle
ATA – Anti-terrorism Act, 18 U.S.C. § 2333, et seq.
BAS – Battalion Aid Station
BBC – British Broadcasting Company
BFV – Bradley Fighting Vehicle
CBI – Central Bank of Iran
CISADA – Comprehensive Iran Sanctions, Accountability, and Divestment Act of 2010
COP – Combat Outpost
DFAC – Dining Facility
DIO – Defense Industries Organization
EFP – Explosively formed penetrators
FinCEN – Financial Crimes Enforcement Network
FOB – Forward Operating Base
FSIA – Foreign Sovereign Immunities Act, 28 U.S.C. § 1602, et seq.
FTO – Foreign Terrorist Organization
HAMAS – Ḥarakat al-Muqāwamah al-ʾIslāmiyyah Islamic Resistance Movement
HMMWV – High Mobility Multipurpose Wheeled Vehicle
HRHS – The Headquarters for the Restoration of Holy Shrines
IAIO – Iran Aviation Industries Organization
IAV – Interim Armored Vehicle
ICEI – Imensazen Consultant Engineers Institute
IED – Improvised explosive device
IFV – Infantry Fighting Vehicle
IRAM – Improvised Rocket Assisted Munitions
IRGC – Islamic Revolutionary Guard Corps

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IRGC-QF – Islamic Revolutionary Guard Corps-Qods Force
IRISL – Islamic Republic of Iran Shipping Lines
ISIL – Islamic State of Iraq and the Levant aka “ISIS” or “Daesh”
ITRSHRA – Iran Threat Reduction and Syria Human Rights Act of 2012
JAM – Jaysch al Mahdi or the “Mahdi Army”
JASTA – Justice Against Sponsors of Terrorism Act, Pub. L. 114-222, Sept. 28, 2016, 130 Stat.
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KAA - Khatam al-Anbiya Construction Company
KH – Kata’ib Hizballah
KRG – Kurdistan Regional Government
LMTV – Light Medium Tactical Vehicle
LSA – Logistical Support Area
MNF-I – Multi National Forces in Iraq
MOD – Ministry of Defense
MODAFL – Iran’s Ministry of Defense and Armed Forces Logistics
MOIS – The Iranian Ministry of Intelligence and Security a/k/a “Vezarat-e Ettela’at Va Amniat-
e Keshvar” a/k/a “VEVAK” a/k/a “VAJA”
MRAP – Mine-Resistant Ambush Protected
MSR – Main Supply Route
MTC – Medium Transport Company
NIOC – National Iranian Oil Company
OFAC – Office of Foreign Assets Control
OP – Observation Point
PDB – Promised Day Brigades
PTSD – Post Traumatic Stress Disorder
QRF – Quick Response Force
RJF – Reformation and Jihad Front
RPG – Rocket Propelled Grenade
SDGT – Specially Designated Global Terrorist
SDN – Specially Designated National
SDT – Specially Designated Terrorist
TBI – Traumatic Brain Injury
TTP – Tactics, Techniques, and Procedures

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UBL – Usama bin Laden
WMD – Weapons of Mass Destruction




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       Plaintiffs, by their attorneys, and for their Complaint against defendants the Islamic

Republic of Iran, the Islamic Revolutionary Guard Corps (“IRGC”), Iranian Ministry of

Intelligence & Security, Bank Markazi Jomhouri Islami Iran, Bank Melli Iran, and the National

Iranian Oil Company allege as follows:

                                  1.      NATURE OF THE CASE

       1.      In western tradition, war is the continuation of political policy by other means. For

the Islamic Republic of Iran (“Iran”) however, political policy is an expression of war itself. Since

1979, the Iranian Regime has enabled a world-wide strategy of unconventional warfare using a

campaign of state sponsored terrorism as a methodology of international conflict with the aim of

undermining the United States and its allies in the Middle East and around the world. Through the

use of terrorism as a technique to militarily engage U.S. Nationals, Iran historically sought to

materially support and promote violence to accomplish its own national aims. Beginning with the

Beirut bombing of the U.S. Marine Barracks on October 23, 1983, in which 241 U.S. Service

Members were killed, Iran continues to demonstrate a propensity for violence against American

citizens who operate in the Middle East. With the U.S. led invasion in 2003 to liberate Iraq from

the barbarity of Sadaam Hussein, Iran increased its support activities to all insurgent and terrorist

organizations that actively fought U.S. Forces and their subsequent stabilization efforts in Iraq.

While the Iranian regime recognizes the vast national strength of the United States and does not

seek to accomplish its aims though the use of war with conventional military forces, Iran continues

to employ an asymmetric military strategy using Special Operations Forces or “Special Groups”

to tactically train, advise and assist proxy forces in places such as Lebanon, Syria and Iraq using

strategic revenue and resources to support the wounding and killing of U.S. Forces operating in

the Middle East.



                                                 1
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       2.      To effectuate its campaign of terror against the citizens of Iraq and the coalition

forces serving there, Iran deployed and employed their agents and instrumentalities, including its

state-owned or state-controlled financial institutions, and government agencies.

       3.      In order to fund a terror campaign in Iraq, Iran directed its state owned and/or

operated banks, including Defendants Bank Markazi Jomhouri Islami Iran (“Bank Markazi,”

“Central Bank of Iran” or “CBI”), Bank Melli Iran, and the state- owned and operated National

Iranian Oil Company (“NIOC”) to conspire with an assortment of Western financial institutions

willing to substantially assist Iran to evade U.S. and international economic sanctions, conduct

illicit trade-finance transactions, and illegally disguise financial payments to and from U.S. dollar-

denominated accounts.

       4.      Defendant Iran’s aforementioned agents included the U.S.-designated Foreign

Terrorist Organization (“FTO”) (as that term is defined in 8 U.S.C. § 1189 of the Antiterrorism

and Effective Death Penalty Act of 1996 (“AEDPA”)) Hezbollah; Defendant the Islamic

Revolutionary Guard Corps (“IRGC”), whose subdivision known as the Islamic Revolutionary

Guard Corps-Qods Force (“IRGC-QF”) is a U.S.-designated Specially Designated Global Terrorist

(“SDGT”); Iran’s Ministry of Intelligence and Security (“MOIS”) (an SDGT and Specially

Designated National, “SDN”), and other terrorist agents that included a multitude of Iraqi Shi’a

terror groups referred to herein collectively as “Special Groups.” 1, 2




1
 Discussed in more detail below, Special Groups are terrorist organizations established and funded
by Iran.
2
 The pronunciation and spelling of “Hezbollah” (also known as “Hizbollah” and “Hizbu’llah), is
based on region and dialect, but all translate to the “Party of Allah.” As used herein, Hezbollah
and Hizbollah refer to a Shiite Muslim political party and militant group the United States and
European Union consider a foreign terrorist organization.

                                                  2
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       5.       Iran also conspired with and materially supported Sunni FTOs Ansar al Islam

(“AAI”) and Al Qaida (“AQ”) to terrorize the people of Iraq and Coalition Forces, seeking to

disrupt the peacekeeping process and prevent the establishment of free and democratic Iraq. 3

       6.       The acts of international terrorism at issue in this Action (the “Terrorist Attacks”)

were perpetrated by agents of Iran- the Special Groups, AAI, AQ, and other terrorists (“Terrorist

Groups”), all of whom were materially (and substantially) supported, directly and/or indirectly, by

Defendants. 4

       7.       The Terrorist Attacks resulted in the deaths, maiming, and/or otherwise injury to

Plaintiffs and/or Plaintiffs’ family members.

       8.       This is a civil action pursuant to the Foreign Sovereign Immunities Act, 28 U.S.C.

§§ 1602–1611 (hereinafter “FSIA”) for wrongful death, personal injury and related torts, by the

estates and families of United States’ nationals and/or members of the U.S. armed forces (as

defined in 10 U.S.C. § 101) who were killed or injured by Defendants and/or their agents in Iraq

from 2003 to 2011 (the “Relevant Period”).




3
  The U.S. Dept. of State designated Al Qa’ida, Ansar al Islam, and Al-Qa’ida in Iraq (“AQI”) as
Foreign Terrorist Organizations on October 8, 1999, March 22, 2004, and December 17, 2004,
respectively. These groups facilitated and employed Iranian war materials in support of extremist
ends.
4
  As used herein, the term “international terrorism” shall have the same meaning as set forth at 18
U.S.C. § 2331(1), which defines international terrorism as “activities that (A) involve violent acts
or acts dangerous to human life that are a violation of the criminal laws of the United States or of
any State, or that would be a criminal violation if committed within the jurisdiction of the United
States or of any State; (B) appear to be intended (i) to intimidate or coerce a civilian population;
(ii) to influence the policy of a government by intimidation or coercion; or (iii) to affect the conduct
of a government by mass destruction, assassination or kidnapping; and (C) occur primarily outside
the territorial jurisdiction of the United States, or transcend national boundaries in terms of the
means by which they are accomplished, the persons they appear intended to intimidate or coerce,
or the locale in which their perpetrators operate or seek asylum.”

                                                   3
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        9.      None of the Terrorist Attacks were acts occurring in the course of (A) declared war;

(B) armed conflict, whether or not war has been declared, between two or more nations; or (C)

armed conflict between military forces of any origin.

        10.     Iran serves as a command, financial and/or logistical conduit for various terrorist

groups, including the Terrorist Groups and FTOs named herein, and their terrorist activities,

specifically including the Terrorist Attacks which killed or injured Plaintiffs or Plaintiffs’ family

members. Defendants knew they were supporting terrorists and FTOs to accomplish Iranian

strategic end states.

        11.     As detailed below, the Defendants herein directed millions of U.S. dollars in arms,

equipment and material to Hezbollah, MOIS, the IRGC, and the IRGC-QF, which, in turn, trained,

armed, supplied and funded Iran’s terrorist agents in Iraq in carrying out their attacks against

Plaintiffs and their family members.

        12.     At all relevant times, Defendants intentionally, knowingly and/or recklessly

provided material support, directly or indirectly, to the Special Groups, Ansar al Islam, Al Qaida

and other terrorists, that, at all relevant times, engaged in acts of international terrorism against the

United States and nationals of the United States, including Plaintiffs.

        13.     At all relevant times, Defendants intentionally, knowingly and/or recklessly

contributed substantial and material support and/or resources, directly and/or indirectly, to persons

and/or organizations that posed a significant risk of committing acts of terrorism that threatened

the security of nationals of the United States.

        14.     Plaintiffs’ claims arise from separate acts of international terrorism that occurred

throughout Iraq between 2003 and 2010.




                                                   4
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                                  2.   JURISDICTION AND VENUE

       15.     Jurisdiction and venue are proper in this Court.

       1.      THIS COURT HAS JURISDICTION OVER ALL CLAIMS AND ALL
               PARTIES.

       16.     This Court has jurisdiction over the subject matter of this Action and Defendants

pursuant to 28 U.S.C. §§ 1330(a)–(b), 1331, 1332(a)(2), and the FSIA, 28 U.S.C. § 1605(a)(2).

       17.     This Court may exercise personal jurisdiction over all parties to this Action.

               A.      THIS COURT MAY EXERCISE JURISDICTION OVER THE
                       SUBJECT MATTER OF ALL CLAIMS ASSERTED HEREIN.

       18.     This Court may exercise its original jurisdiction over claims against the Islamic

Republic of Iran pursuant to 28 U.S.C. § 1330(a). This is a nonjury civil action for relief in

personam in the form of money damages against a foreign state as defined in 28 U.S.C. § 1603(a)

for personal injury or death that was caused by an act, extrajudicial killing, or the provision of

material support or resources for such an act. 5

                             i.        Foreign Sovereign Immunities Act

       19.     28 U.S.C. § 1605A exempts the Islamic Republic of Iran from foreign sovereign

immunity because it is a designated State Sponsor of Terrorism. Further, 28 U.S.C. § 1605A(c)

provides a federal private right of action against a foreign state that is or was a State Sponsor of

Terrorism, and also against any official, employee or agent of that foreign state while acting within




5 28 U.S.C. § 1603(a) defines “foreign state” to include “a political subdivision of a foreign state
or an agency or instrumentality of a foreign state.” The statute defines an “agency or
instrumentality of a foreign state as any entity - (1) which is a separate legal person, corporate or
otherwise, and (2) which is an organ of the foreign state or political subdivision thereof, or a
majority of whose shares or other ownership interest is owned by the foreign state or political
subdivision thereof, and (3) which is neither a citizen of a State of the United States as defined in
section 1332(c) and (e), nor created under the laws of any third country.” 28 U.S.C. § 1603(a)–
(b).
                                                   5
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the scope of his or her office, employment or agency, for wrongful death, personal injury, and

related torts.

          20.    The United States officially designated Iran a State Sponsor of Terrorism on

January 19, 1984, pursuant to § 6(j) of the Export Administration Act, § 40 of the Arms Export

Control Act, and § 620A of the Foreign Assistance Act, and has renewed said designation annually.

          21.    Iran was designated as a State Sponsor of Terror at all times during the Relevant

Period.

          22.    At all relevant times, Plaintiffs were nationals of the United States, members of the

U.S armed forces, U.S government contractors, or the legal representative thereof, as defined under

28 U.S.C. § 1605A(c).

          23.    None of the attacks alleged herein occurred within the territory of the Islamic

Republic of Iran. This fact renders inapplicable the FSIA’s requirement that Plaintiffs afford

Defendants an opportunity to arbitrate.

                 B.     THIS COURT MAY EXERCISE PERSONAL JURISDICTION
                        OVER ALL PARTIES

          24.    Plaintiffs consent to this Court’s exercise of personal jurisdiction over them.

          25.    This Court has jurisdiction over this matter and over the Defendants pursuant to 28

U.S.C. §§ 1330(a)–(b), 1331, 1332(a)(2), and 1605A(a)(1), which create subject-matter and

personal jurisdiction for civil actions for wrongful death and personal injury against State Sponsors

of Terrorism and their officials, employees and agents.

          26.    This Court may exercise personal jurisdiction over the Islamic Republic of Iran

pursuant to 28 U.S.C. § 1330(b) and the applicable exception to immunity in 28 U.S.C. §

1605A(a)(1). Together, these provide for personal jurisdiction over Iran and agents and




                                                   6
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instrumentalities for claims arising under 28 U.S.C. § 1330(a) upon valid service of process under

28 U.S.C. § 1608.

         27.    Further, that exercise of personal jurisdiction is reasonable; foreign sovereigns and

their extensively controlled instrumentalities are not “persons” under the Fifth Amendment’s Due

Process Clause. That exercise of personal jurisdiction is consistent with the forum’s manifest

interest in providing effective means of redress for its residents.

         2.     VENUE IS PROPER IN THIS COURT.

         28.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(f).

         29.    Venue is proper in this district as to the Islamic Republic of Iran pursuant to 28

U.S.C. § 1391(f)(4), which provides that civil actions against a foreign state may be brought in the

United States District Court for the District of Columbia.

                               3.     LEGISLATIVE BACKGROUND

         30.    This case is brought by and/or on behalf of U.S. nationals and/or family members

of such U.S. nationals who were injured and/or killed in certain acts of international terrorism

caused by Defendants.

         31.    Defendants materially and substantially supported the IRGC, IRGC-QF, MOIS,

Hezbollah, Special Groups, Ansar al Islam, Al Qaida, and other terrorists for the purpose of killing,

maiming, and/or otherwise injuring U.S. nationals, including Plaintiffs.

         32.    In 1996, as part of the AEDPA, Congress amended the FSIA to allow U.S. victims

of terrorism to sue designated State Sponsors of Terrorism, such as Iran, for their terrorist acts. 6

Pursuant to the National Defense Authorization Act for Fiscal Year 2008, Public L. No. 110-181,

members of the United States armed forces, employees of the U.S. government and individuals


6
    28 U.S.C. § 1605A(a)(1).

                                                  7
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performing a contract awarded by the United States Government, acting within the scope of the

employee’s employment may also bring private claims against State Sponsors of Terrorism. 7

         33.    Congress’s purpose in lifting the sovereign immunity under the AEDPA was to

“affect the conduct of terrorist states outside the U.S. [by promoting] safety of U.S. citizens who

travel overseas.” 8

         34.    As a result of the AEDPA, foreign states, such as Iran, cannot assert sovereign

immunity where a victim claims money damages for personal injuries or death caused by, among

other things, the provision of material support or resources.

         35.    Pursuant to 28 U.S.C. § 1605A(a)(1), “[a] foreign state shall not be immune from

the jurisdiction of courts of the United States … in any case … in which money damages are sought

against a foreign state for personal injury or death that was caused by an act of torture, extrajudicial

killing, aircraft sabotage, hostage taking, or the provision of material support or resources for such

an act if such act or provision of material support or resources is engaged in by an official,

employee, or agent of such foreign state while acting within the scope of his or her office,

employment, or agency.”

         36.    If a foreign state satisfies one of these, or the several other exceptions to immunity,

it “shall be liable in the same manner and to the same extent as a private individual under like

circumstances.” 9

         37.    The FSIA provides an exception to sovereign immunity of foreign states where,

inter alia, a foreign state is a designated state sponsor of terrorism (such as Iran)



7
    28 U.S.C. §1605A(c).
8
    44B AM. JUR. 2D International Law § 140 (2013).
9
    28 U.S.C. § 1606.

                                                   8
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        38.     Specifically, the FSIA permits U.S. courts to maintain jurisdiction over a foreign

state where that state engages in an act of terrorism or provides “material support or resources” to

a terrorist organization. 10

        39.     The FSIA provides that Plaintiffs may bring an action against non-immune foreign

states, such as Iran, in the United States District Court for the District of Columbia if the action is

brought against a foreign state or political subdivision thereof. 11

        40.     During the Relevant Period, including when the Terrorist Attacks occurred and

when this Action was filed, Iran was designated a State Sponsor of Terror by the United States.

                                     4.      THE DEFENDANTS

        1.      THE ISLAMIC REPUBLIC OF IRAN

        41.     Plaintiffs assert causes of action against Iran. Iran directed, planned and authorized

acts of torture, extrajudicial killing, and hostage taking, and provided material support or resources

to Hezbollah, Special Groups, Ansar al Islam, Al Qaida, and other terrorists that perpetrated the

Terrorist Attacks specifically for the purpose of carrying out those Attacks. Iran’s actions

proximately and directly caused the murders and injuries to Plaintiffs and Plaintiffs’ family

members in those Terrorist Attacks.

        42.     Plaintiffs’ deaths and injuries were a natural and probable consequence of Iran’s

actions as set forth herein. Moreover, such deaths and injuries should have been, and in fact, were

foreseeable.

        43.     At all times relevant to this Complaint, Iran is and was a foreign state within the

meaning of 28 U.S.C. § 1603 and designated a State Sponsor of Terrorism pursuant to § 6(j) of the

Export Administration Act of 1979, 50 U.S.C. app. § 2405.

        44.     Iran provided material support and resources for the commission of acts of

extrajudicial killing, torture and/or hostage taking within the meaning of 28 U.S.C. § 1605A,

                                                  9
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including the Terrorist Attacks in which Plaintiffs were killed, injured, or maimed, and performed

actions that caused the Terrorist Attacks and the harm to Plaintiffs herein.

       45.     The Government of Iran is politically and ideologically hostile to the United States

and its allies, and has consistently provided material support for acts of international terrorism,

including extrajudicial killings, torture, and hostage takings, particularly through MOIS, IRGC,

IRGC-QF and its Lebanese-based FTO, Hezbollah, which historically have served as Iran’s

proxies and agents, enabling Iran to project extremist violence and terror throughout the Middle

East and around the globe.

       46.     Both before and during the U.S. liberation and occupation of Iraq and its subsequent

peacekeeping mission, Iran supported a massive international asymmetric strategy by using a terror

campaign against Iraqi citizens and U.S. nationals, including Plaintiffs. 12

       47.     As detailed herein, Iran provided funds, arms, equipment, and material support to

Hezbollah, IRGC, IRGC-QF, and MOIS which, in turn, trained, armed, supplied and funded Iran’s

terrorist agents in Iraq in carrying out their attacks against Plaintiffs and their family members.

       48.     Iran’s efforts to kill and maim U.S. nationals in Iraq, and to thwart U.S. policy

objectives in Iraq, were readily apparent and widely reported. 13

       49.     In fact, Iran’s role in funding militant groups that target and kill Coalition and Iraqi

forces and innocent American, British, Iraqi and other civilians was a matter of public record. 14

       50.     For example, on October 5, 2005, at a press briefing at the Foreign Office in

London, William Patey, the British ambassador to Baghdad, blamed the Islamic Revolutionary



12
   Seth G. Jones, War by Proxy: Iran’s Growing Footprint in the Middle East, CSIS Brief,
March. 11, 2019, https://www.csis.org/war-by-proxy
13
   Daniel L. Byman, The Iranian Revolution and its Legacy of Terrorism, Brookings Institute,
January 24, 2019. https://www.brookings.edu/blog/order-from-chaos/2019/01/24/the-iranian-
revolution-and-its-legacy-of-terrorism/
                                                 10
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Guard for helping supply the technology and weapons which has been used in bomb attacks against

British troops in the south which claimed the lives of eight British soldiers and two British

civilians.

        51.    On October 10, 2005, the British Broadcasting Company (“BBC”) reported that:

               An armour-piercing version of the bomb—blamed for the deaths of eight
               British soldiers this year—marks the latest advance in the insurgents’
               arsenal. The UK has accused Iran of supplying the new weapon to militants
               in southern Iraq, via the Lebanese Hezbollah militia group, although
               Tehran has denied this.

               (Emphasis added).

        52.    The BBC followed up with multiple reports in 2006 describing the details from

military briefings about Iran’s material support to Shi’a militia groups that were targeting and

killing British and U.S. forces in Iraq, including Plaintiffs.

        53.    For example, on June 23, 2006, the BBC reported:

               BBC world affairs correspondent, Paul Reynolds, says both the American
               and British military in Iraq have claimed for some time that Iran, or factions
               within the Iranian government, have been supporting Shias politically and
               militarily…

               …“Since January we have seen an upsurge in their support, particularly to
               the Shia extremist groups,” Gen Casey said.

               “They are using surrogates to conduct terrorist operations both against us
               and against the Iraqi people.”

               “We are quite confident that the Iranians, through the special operations
               forces, are providing weapons, IED [improvised explosive device]
               technology and training to Shia extremist groups in Iraq,” he said.

14
   “Coalition Forces” refers to the “[…]multinational force under unified command to take all
necessary measures to contribute to the maintenance of security and stability in Iraq, including for
the purpose of ensuring necessary conditions for the implementation of the timetable and
programme as well as to contribute to the security of the United Nations Assistance Mission for
Iraq, the Governing Council of Iraq and other institutions of the Iraqi interim administration, and
key humanitarian and economic infrastructure[.]” See S.C. Res. 1511, ¶ 13, U.N. SCOR, U.N.
Doc. S/RES/1511, at 3 (Oct. 16, 2003).

                                                  11
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       54.     In another example, on September 26, 2008, CNN reported that U.S. officials

claimed Iran had provided Shi’a militias in Iraq with “millions of dollars” in funding and that:

               The official said that high-grade military explosives and specialized timers
               are among the “boutique military equipment” moving from Iran into Iraq.
               Some of the equipment is of the same type that Hezbollah, an Iranian-
               backed Shiite militia, used against Israeli forces in Lebanon during the
               summer, the official said. The origin of the weapons was easy to discern
               because of Iranian markings on it, he said. Because Iran maintains tight
               control over armaments, he said, shipment of the weapons into Iraq had to
               involve “elements associated with the Iranian government.”

               (Emphasis added).

       55.     Iran, through its agents and instrumentalities, including Defendants herein,

provided Explosively Formed Penetrators (“EFPs”) (discussed in more detail at Section V(I)1,

below), along with other munitions and training in tactics, that were used to injure and kill

Plaintiffs. Such bombs are sometimes inaccurately called “improvised explosive devices”

(“IEDs”); in reality, the EFPs were not “improvised” but professionally manufactured and

specifically designed by Iran and its agents to target and penetrate Plaintiffs and Coalition Forces’

armor, and sow terror within the borders and amongst the citizens of Iraq.

       56.     Because Iran (a State Sponsor of Terror) routinely provided material support to

FTOs and Special Groups, AAI, AQ and other terrorists, including those Terrorist Groups and

FTOs responsible for the Terrorist Attacks that resulted in the death, maiming, or injury to

Plaintiffs and/or Plaintiffs’ family members, to advance the terrorist activities of those FTOs and

Special Groups and other terrorists, Iran is directly and/or vicariously liable for the personal

injuries caused by those FTOs and Terrorist Groups.

       57.     Iran’s pursuit and development of weapons of mass destruction—including IEDs,

EFPs, mines and similar explosive munitions — were the subject of numerous news reports, U.S.




                                                 12
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government reports, and Congressional testimony, as well as U.N. Security Council resolutions

and European Union regulations. 15

          2.     ISLAMIC REVOLUTIONARY GUARD CORPS

          58.    The IRGC was founded in the wake of the 1979 revolution as a branch of the Iranian

Armed Forces tasked with protecting the country’s Islamic system. Since its origin as an

ideologically driven militia, the IRGC has taken an ever more assertive role in virtually every

aspect of Iranian society. The IRGC is a special entity unto itself, part military force, part

paramilitary force, and part business conglomerate. Its expanded social, political, military, and

economic role has led many analysts to argue that its political power has surpassed even that of

the Shi’a clerical system.

          59.    The IRGC is nominally comprised of five branches (Ground Forces, Air Force,

Navy, Basij militia, and Qods Force special operations IRGC-QF) in addition to a

counterintelligence directorate and representatives of the Supreme Leader.

          60.    Several of the IRGC’s leaders have been sanctioned under U.N. Security Council

Resolution 1747.

          61.    The IRGC is now a vast conglomerate. It controls Iran’s missile batteries, its

nuclear program, and a business empire.

          62.    The IRGC is the spine of the current political structure and a major player in the

Iranian economy. 16 It has expanded well beyond its mandate into a socio-military-political-




15
  Sudarsan Raghavan, Iran Said to Support Shiite Militias in Iraq, WASHINGTON POST, Aug.
15, 2006, http://www.washingtonpost.com/wp-
dyn/conten/article/2006/08/14/AR2006081400477.html.
16
     Central Bank of the Islamic Republic of Iran, General Information,
http://www.cbi.ir/page/GeneralInformation.aspx (last visited Sept. 12, 2017).

                                                 13
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economic force that deeply penetrates Iran’s power structure. 17 The IRGC is a central participant

in Iran’s concerted efforts to sow terror in Iraq.

        63.     Even before the U.S. invasion of Iraq in 2003, the IRGC had long cultivated ties to

Shi’a opposition groups opposed to Saddam Hussein’s brutal regime, including the Badr Corps

(discussed in more detail below) that was headquartered in Iran in the 1980s and the 1990s.

        64.     The IRGC’s subversion of Iraq has not been limited to terrorism.

        65.     The IRGC has also infiltrated Iraqi society, providing “political and ideological

support” via charitable associations such as the Khomeini Social Help Committee – in Karbala,

Najaf, Kut, and Sadr City – and the Imam Mohammad Bagher Institute in Najaf.

        66.     The IRGC also purchased or developed seven television stations in Iraq, and at least

three radio stations.

        67.     According to the U.S. State Department’s 2005 Country Reports on Terrorism:

“[t]he IRGC was increasingly involved in supplying lethal assistance to Iraqi militant groups,

which destabilizes Iraq ... Senior Iraqi officials have publicly expressed concern over Iranian

interference in Iraq, and there were reports that Iran provided funding, safe passage, and arms to

insurgent elements.”

        68.     The IRGC-QF’s “Department 2000” manages Iran’s relationship with Hezbollah,

which includes the flow of some of Iran’s most sophisticated weapon systems, including military

grade EFPs, anti-tank guided missiles, and various rockets, such as the Fajr-5.

        69.     The IRGC is an “agency or instrumentality” of the government of Iran as defined

by 28 U.S.C. § 1603(b), and is owned and controlled by the government of Iran.



17
  Bruno Greg and Jayshree Bajoria, Iran’s Revolutionary Guards, Council on Foreign Relations,
Oct. 12, 2011.

                                                     14
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       70.     Defendant Iran authorized, ratified and approved the acts of Defendant IRGC.

       71.     Accordingly, Defendant Iran is vicariously liable for the acts of Defendant IRGC.

       3.      THE IRANIAN MINISTRY OF INTELLIGENCE & SECURITY
               (MOIS)

       72.     The Iranian Ministry of Intelligence and Security (a/k/a “Vezarat-e Ettela’at Va

Amniat-e Keshvar” a/k/a “VEVAK” a/k/a “VAJA,” hereinafter “MOIS”) is located at Second

Negarestan Street, Pasdarsan Avenue, Tehran, Iran.

       73.     MOIS headquarters is a facility located in Tehran on the block bounded by Sanati

Street on the West, 30th Street on the South, and Iraqi Street on the East.

       74.     MOIS is the most powerful and well-supported ministry among all Iranian

ministries in terms of logistics, finances, and political support. It is a non-military governmental

organization that operates both inside and outside of Iran.

       75.     MOIS functions as the Iranian Intelligence Service and, in this capacity, it is the

secret police and primary intelligence agency of the Islamic Republic of Iran. It is the part of the

Iranian government's security apparatus responsible for the assassination of Iranian political

dissidents inside and outside the country.

       76.     MOIS uses all means at its disposal to protect the Islamic Revolution of Iran,

utilizing such methods as infiltrating internal opposition groups, monitoring domestic threats and

expatriate dissent, arresting alleged spies and dissidents, exposing conspiracies deemed

threatening, and maintaining liaison with other foreign intelligence agencies as well as with

organizations that protect the Islamic Republic’s interests around the world.

       77.     MOIS operates under the direct supervision of Iran’s Supreme Leader, Ayatollah

Khamenei, who claims to be the leader of the Muslim world. As noted above, MOIS agents are

known as “Unknown Soldiers of Imam Zaman,” who is the Twelfth Imam in the succession of


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Islamic leaders of Shi’a Muslims. However, the organization is not bound by Shi’a beliefs. To

advance its goals, MOIS recruits individuals regardless of their beliefs.

       78.     According to Iran’s constitution, all organizations must share information with the

Ministry of Intelligence and Security. The ministry oversees all covert operations. The IRGC and

IRGC-QF Qods Force share all the information they collect with MOIS.

       79.     MOIS and the IRGC-QF coordinate through foreign embassies, “charities,” and

cultural centers in targeted countries.

       80.     Hezbollah is organizationally linked to MOIS, and is used by MOIS as a proxy in

Iran’s intelligence operations.

       81.     In the Middle East, Iran, through MOIS and the IRGC-QF, uses Hezbollah to

threaten the United States in Iraq and Afghanistan by backing insurgent groups, including Terrorist

Groups who committed the Terrorist Attacks involving Plaintiffs.

       82.     Specifically, MOIS acted as a conduit for Iran's provision of funds, training and

direction to Terrorist Groups for their terrorist activities beyond the borders of Iran including the

actions relating to the Terrorist Attacks and Plaintiffs’ injuries.

       83.     MOIS and it agents have routinely been, and are presently designated by the U.S.

Treasury as an SDN and SDGT, pursuant to Iranian Financial Sanctions Regulations (“IFSR”),

including:

         a. Executive Order 13399 of April 25, 2006, Blocking Property of Additional Persons
            in Connection With the National Emergency With Respect to Syria, sanctioning
            entities and individuals that:

                      [H]ave been, involved in the planning, sponsoring, organizing, or
                      perpetrating of: (A) the terrorist act in Beirut, Lebanon, that resulted
                      in the assassination of former Lebanese Prime Minister Rafiq Hariri
                      and the deaths of 22 others; or (B) any other bombing, assassination,
                      or assassination attempt in Lebanon since October 1, 2004, that is
                      related to Hariri’s assassination or that implicates the Government of

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           Syria or its officers or agents; (ii) to have obstructed or otherwise
           impeded the work of the Commission established pursuant to UNSCR
           1595; (iii) to have materially assisted, sponsored, or provided
           financial, material, or technological support for, or goods or services
           in support of, any such terrorist act, bombing, or assassination attempt,
           or any person designated pursuant to this order; or (iv) to be owned or
           controlled by, or acting or purporting to act for or on behalf of, directly
           or indirectly, any person designated pursuant to this order.

b. Executive Order 13460 of February 13, 2008, Blocking Property of Additional
   Persons in Connection With the National Emergency With Respect to Syria,
   sanctioning entities and individuals:

           [R]esponsible for or otherwise significantly contributing to actions
           taken or decisions made by the Government of Syria that have the
           purpose or effect of undermining efforts to stabilize Iraq or of
           allowing the use of Syrian territory or facilities to undermine efforts
           to stabilize Iraq.

           (Emphasis added).

c. Executive Order 13553 of September 28, 2010, designating MOIS and its agents as
   an “IRAN-HR” entity, responsible for “serious human rights abuses by the
   government of Iran. In doing so the United States sought to sanction entities and
   individuals that:

           “[Were] acting on behalf of the Government of Iran (including
           members of paramilitary organizations) who is responsible for or
           complicit in, or responsible for ordering, controlling, or otherwise
           directing, the commission of serious human rights abuses against
           persons in Iran or Iranian citizens or residents, or the family members
           of the foregoing, on or after June 12, 2009, regardless of whether such
           abuses occurred in Iran… materially assisted, sponsored, or provided
           financial, material, or technological support for, or goods or services
           to or in support of, [such] activities described… or any person whose
           property and interests in property are blocked pursuant to this order;
           or..owned or controlled by, or to have acted or purported to act for or
           on behalf of, directly or indirectly, any person whose property and
           interests in property are blocked pursuant to this order.

d. Executive Order 13606 of April 22, 2012, designating MOIS and its agents as an
   “HRIT-IR” entity, responsible for “grave human rights abuses by the governments of
   Iran and Syria via information technology.” In doing so, the United States sanctioned




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             entities and individuals that:

                     [P]rovided, directly or indirectly, goods, services, or technology to
                     Iran or Syria likely to be used to facilitate computer or network
                     disruption, monitoring, or tracking that could assist in or enable
                     serious human rights abuses by or on behalf of the Government of Iran
                     or Syria… [or] provided, directly or indirectly, goods, services, or
                     technology to Iran or Syria likely to be used to facilitate computer or
                     network disruption, monitoring, or tracking that could assist in or
                     enable serious human rights abuses by or on behalf of the Government
                     of Iran… [or] materially assisted, sponsored, or provided financial,
                     material, or technological support for, or goods or services to or in
                     support of [these] activities… [or] owned or controlled by, or to have
                     acted or purported to act for or on behalf of, directly or indirectly, any
                     person whose property and interests in property are blocked pursuant
                     to this order.”

       84.     MOIS has been involved in kidnappings, assassinations, and terrorism since its

inception in 1985.

       85.     Many of the U.S. State Department reports on global terrorism over the last twenty-

five years refer to MOIS as Iran’s key facilitator and director of terrorist attacks.

       86.     In 1995 and again in 1996, Usama Bin Laden approached MOIS and asked to join

forces against the United States. Bin Laden’s phone records, obtained by U.S. investigators

working on the U.S. embassy bombings in Kenya and Tanzania, show that 10 percent of phone

calls made by Bin Laden and his lieutenants were to Iran.

       87.     Seif al-Adl, one of AQ’s top-ranking leaders at the time, was the liaison between

Iranians and AQ; he coordinated meetings with the IRGC’s leaders and MOIS officials.

       88.     At all times relevant to this action, MOIS acted as an agent of Iran and performed

certain acts within the scope of its agency within the meaning of 28 U.S.C. § 1603(b).




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         89.     U.S. federal courts have consistently held that the IRGC and the MOIS are parts of

the Iranian state itself. 18

         90.     Defendant Iran authorized, ratified, and approved the acts of Defendant MOIS.

         91.     Accordingly, Defendant Iran is vicariously liable for the acts of Defendant MOIS.

         4.      BANK MARKAZI JOMHOURI ISLAMI IRAN

         92.     Bank Markazi Jomhouri Islami Iran is the Central Bank of Iran. The Central Bank

of Iran (“CBI”) was established in 1960, and, according to its website, CBI is responsible for the

design and implementation of Iran’s monetary and credit policies. 19

         93.     CBI is headquartered in Tehran, Iran at Mirdamad Boulevard, No. 198, P.O. Box:

15875/7177.

         94.     CBI has provided millions of dollars to terrorist organizations via other Iranian-

owned and controlled banks. For example, in a press release issued by the U.S. Treasury

Department in 2007 regarding the designation of the Iranian-owned Bank Saderat as an SDGT,

the U.S. Government noted that:

                 Bank Saderat, which has approximately 3200 branch offices, has been used by the
                 Government of Iran to channel funds to terrorist organizations, including Hezbollah
                 and EU-designated terrorist groups Hamas, PFLP-GC, and Palestinian Islamic
                 Jihad. For example, from 2001 to 2006, Bank Saderat transferred $50 million from
                 the Central Bank of Iran through its subsidiary in London to its branch in Beirut




18
   See e.g., Rimkus v. Islamic Republic of Iran, 575 F.Supp.2d 181, 198–200 (D.D.C. 2008)
(Lamberth, C.J.); Blais v. Islamic Republic of Iran, 459 F.Supp.2d 40, 60–61 (D.D.C. 2006)
(Lamberth, J.) (both MOIS and IRGC must be treated as the state of Iran itself for purposes of
liability); and Salazar v. Islamic Republic of Iran, 370 F.Supp.2d 11, 105, 115–16 (D.D.C. 2005)
(Bates, J.) (same).
19
     Supra note 16.


                                                 19
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               for the benefit of Hezbollah fronts in Lebanon that support acts of violence.
               (Emphasis added.)

       95.     According to the United States’ Financial Crimes Enforcement Network

(“FinCEN”):

               The Central Bank of Iran, which regulates Iranian banks, has assisted designated
               Iranian banks by transferring billions of dollars to these banks in 2011. In mid-
               2011, the CBI transferred several billion dollars to designated banks, including
               Saderat, Mellat, EDBI and Melli, through a variety of payment schemes. In making
               these transfers, the CBI attempted to evade sanctions by minimizing the direct
               involvement of large international banks with both CBI and designated Iranian
               banks.

       96.     CBI is an alter-ego and “agent and instrumentality” of the Iranian government and

its Supreme Leader as defined by 28 U.S.C. § 1603, and it has routinely used Iranian banks like

the other Defendant Iranian banks as conduits for terror financing and weapons proliferation on

behalf of the Iranian regime.

       97.     Defendant Iran authorized, ratified and approved the acts of Defendant CBI.

       98.     Accordingly, Defendant Iran is vicariously liable for the acts of Defendant CBI.

       5.      BANK MELLI IRAN

       99.     Bank Melli Iran was established in 1927 by order of the Iranian Parliament. It is

one of the largest banks in Iran.

       100.    Following the Iranian Revolution in 1979, all banks in Iran were nationalized, and,

as discussed below, even now most are effectively controlled by the Iranian regime.

       101.    Bank Melli Iran is headquartered at Ferdowsi Avenue, Building 10, Tehran, Iran.

       102.    Bank Melli Iran maintains a branch office in Germany, located at Holzbrücke 2,

20459 Hamburg, Germany.

       103.    Bank Melli Iran is an “agency or instrumentality” of the government of Iran as

defined by 28 U.S.C. § 1603(b).


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       104.      As discussed in detail below, Bank Melli Iran is owned and controlled by Iran to

such an extent that it rightfully can be considered an organ of the state as defined by 28 U.S.C. §

1603(b)(2).

       105.      Melli Bank Plc in London was established in January 2002 as a wholly-owned

subsidiary of Bank Melli Iran.

       106.      Melli Bank Plc was headquartered at 98a Kensington High Street, London, W8

4SG, United Kingdom and, in 2016, moved its head office to Dubai.

       107.      The Chairman of Bank Melli Iran serves as the Chairman of the Board of Directors

of Melli Bank Plc.

       108.      Bank Melli Iran appoints all members of the Board of Directors of Melli Bank Plc.

       109.      Melli Bank Plc is dominated and controlled by Iran to such an extent that it

rightfully can be considered an organ of the state as defined by 28 U.S.C. § 1603, and its property

is subject to and available to satisfy any final judgment in this matter pursuant to 28 U.S.C. § 1610.

       110.      According to the U.S. government, from 2004-2011, Bank Melli Iran and Melli

Bank Plc in London transferred approximately $100 million USD to the IRGC-QF, which trained,

armed, and funded terrorist groups that targeted and killed and maimed American and Iraqi forces

and civilians.

       111.      Specifically, according to the U.S. government:

                 Islamic Revolutionary Guards Corps (IRGC) and IRGC-Qods Force, who channel
                 funds to militant groups that target and kill Coalition and Iraqi forces and innocent
                 Iraqi civilians, have used Bank Melli and other Iranian banks to move funds
                 internationally. Bank Melli used deceptive banking practices to obscure its
                 involvement from the international banking system by requesting that its name be




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               removed from financial transactions when handling financial transactions on behalf
               of the IRGC.

       112.    In October 2007 and throughout the remainder of the relevant period, Bank Melli

Iran and Melli Bank Plc were each designated as a SDN pursuant to Executive Order (“E.O.”)

13382, and included on the Office of Foreign Assets Control’s SDN list.20 The U.S. Treasury

Department press release announcing the designation stated:

               Bank Melli also provides banking services to the [Iranian Revolutionary
               Guard Corps] and the Qods Force. Entities owned or controlled by the IRGC
               or the Qods Force use Bank Melli for a variety of financial services. From
               2002 to 2006, Bank Melli was used to send at least $100 million to the Qods
               Force. When handling financial transactions on behalf of the IRGC, Bank
               Melli has employed deceptive banking practices to obscure its involvement
               from the international banking system. For example, Bank Melli has requested
               that its name be removed from financial transactions.

       113.    A State Department diplomatic cable from March 2008 noted that:

               Bank Melli and the Central Bank of Iran also provide crucial banking services to the
               Qods Force, the IRGC’s terrorist supporting arm that was headed by UNSCR 1747
               designee Commander Ghassem Soleimani. Soleimani’s Qods Force leads Iranian
               support for the Taliban, Hezbollah [sic], Hamas [sic] and the Palestinian Islamic
               Jihad. Entities owned or controlled by the IRGC or the Qods Force use Bank Melli
               for a variety of financial services. From 2002 to 2006, Bank Melli was used to send
               at least $100 million to the Qods Force. Bank Melli use of Deceptive Banking
               Practices... When handling financial transactions on behalf of the IRGC, Bank Melli
               has employed deceptive banking practices to obscure its involvement from the
               international banking system. For example, Bank Melli has requested that its name
               be removed from payment instructions for US dollar denominated transactions.




20
   “The Office of Foreign Assets Control (“OFAC”) of the U.S. Department of the Treasury
administers and enforces economic and trade sanctions based on U.S. foreign policy and national
security goals against targeted foreign countries and regimes, terrorists, international narcotics
traffickers, those engaged in activities related to the proliferation of weapons of mass destruction,
and other threats to the national security, foreign policy or economy of the United States.” See U.S.
Department of the Treasury, Terrorism and Financial Intelligence,
https://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-
Control.aspx (last visited Sept. 26, 2018).
                                                 22
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         114.   According to the U.S. government, Bank Melli Iran provided banking services to

the IRGC-QF which trained, armed, and funded terrorist groups that targeted, killed and maimed

American and Iraqi forces and civilians.

         115.   Specifically, according to the U.S. government in a November 10, 2009 diplomatic

cable:

                [The] Islamic Revolutionary Guards Corps (IRGC) and IRGC-Qods Force,
                who channel funds to militant groups that target and kill Coalition and Iraqi
                forces and innocent Iraqi civilians, have used Bank Melli and other Iranian
                banks to move funds internationally. Bank Melli used deceptive banking
                practices to obscure its involvement from the international banking system
                by requesting that its name be removed from financial transactions when
                handling financial transactions on behalf of the IRGC.

         116.   During the Relevant Time Period, Bank Melli Iran financed transactions that

purposefully evaded U.S. sanctions on behalf of Mahan Air (an SDGT) and Iran’s Ministry of

Defense and Armed Forces Logistics.

         117.   For example, Bank Melli issued a Letter of Credit to Mahan Airlines (an Iranian

airline) in August 2004 to help Mahan Airlines illegally acquire aircraft engines subject to the U.S.

embargo.

         118.   Bank Melli’s financial support and assistance to Mahan Airlines is particularly

significant because on October 12, 2011, the United States designated Mahan Air as an SDGT for

“providing financial, material and technological support to the Islamic Revolutionary Guard

Corps-Qods Force (IRGC-QF). Based in Tehran, Mahan Airlines provides transportation, funds

transfers and personnel travel services to the IRGC-QF.”

         119.   The U.S. Treasury Department explained Mahan Airline’s direct involvement with

terrorist operations, personnel movements and logistics on the IRGC-QF’s behalf:

                Mahan Air [has] facilitated the covert travel of suspected IRGC-QF officers
                into and out of Iraq by bypassing normal security procedures and not

                                                 23
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                including information on flight manifests to eliminate records of the IRGC-
                QF travel.

                Mahan Air crews have facilitated IRGC-QF arms shipments. Funds were
                also transferred via Mahan Air for the procurement of controlled goods by
                the IRGC-QF.

                In addition to the reasons for which Mahan Air is being designated today,
                Mahan Air also provides transportation services to Hezbollah, a Lebanon-
                based designated Foreign Terrorist Organization. Mahan Air has
                transported personnel, weapons and goods on behalf of Hezbollah and
                omitted from Mahan Air cargo manifests secret weapons shipments bound
                for Hezbollah.

        120.    Mahan Airlines was also later identified as the conduit to Iran of thousands of radio

frequency modules that were ultimately recovered by Coalition Forces in Iraq from IEDs and EFPs

that were used to target Iraqi civilians, U.S. soldiers, and Coalition Forces, including some

Plaintiffs herein.

        121.    In mid-2007, Bank Melli Iran’s branch in Hamburg, Germany (“Bank Melli-

Hamburg”) transferred funds on behalf of Iran’s Defense Industries Organization (“DIO”).

        122.    As is further discussed below, DIO is an Iranian government-owned defense

manufacturer whose name, logo, and/or product tracking information was stamped on munitions

found in weapons caches that were seized from terrorist organizations in Iraq, including large

quantities of weapons produced by DIO in 2006 and 2007 (e.g. 107 and 122 millimeter artillery

rockets, as well as rounds and fuses for 60 millimeter and 81 millimeter mortars).

        123.    Defendant Iran authorized, ratified, and approved the acts of Defendant Bank Melli

Iran.

        124.    Accordingly, Defendant Iran is vicariously liable for the acts of Defendant Bank

Melli Iran.




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        6.     NATIONAL IRANIAN OIL COMPANY

        125.   The National Iranian Oil Company (“NIOC”), owned and overseen by the

Government of Iran through its Ministry of Petroleum, is responsible for the exploration,

production, refining, and export of oil and petroleum products in Iran.

        126.   NIOC is headquartered at Roodsar Street No. 18, Tehran, Iran.

        127.   NIOC is an “agency or instrumentality” of the Government of Iran as defined by

28 U.S.C. § 1603(b).

        128.   In 2008, the Treasury Department identified NIOC (and other Iranian agencies) as

“centrally involved in the sale of Iranian oil, as entities that are owned or controlled by the

[Government of Iran].”

        129.   Pursuant to E.O. 13382, the U.S. Government designated NIOC as an SDN.

        130.   The U.S. Government has identified NIOC as an agent or affiliate of the IRGC.

        131.   In September 2012, the U.S. Treasury Department handed its report to Congress

regarding its determination that NIOC is an agent or affiliate of the IRGC. The report provided

that:

               Recently, the IRGC has been coordinating a campaign to sell Iranian oil in
               an effort to evade international sanctions, specifically those imposed by the
               European Union that prohibit the import, shipping, and purchase of Iranian
               oil, which went into full effect on July 1, 2012. NIOC, which is owned by
               the Government of Iran through the Ministry of Petroleum, is responsible
               for the exploration, production, refining, and export of oil and petroleum
               products in Iran.

               Under the current Iranian regime, the IRGC’s influence has grown within
               National Iranian Oil Co. For example, on August 3, 2011, Iran’s parliament
               approved the appointment of Rostam Qasemi, a Brigadier General in the
               IRGC, as Minister of Petroleum. Prior to his appointment, Qasemi was the
               commander of Khatam Al-Anbia, a construction and development wing of
               the IRGC that generates income and funds operations for the IRGC. Even in




                                                25
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              his new role as Minister of Petroleum, Qasemi has publicly stated his
              allegiance to the IRGC.


       132.   As the IRGC has become increasingly influential in Iran's energy sector, Khatam

Al-Anbiya has obtained billions of dollars’ worth of contracts with Iranian energy companies,

including NIOC, often without participating in a competitive bidding process.

       133.   Under the Iran Threat Reduction and Syria Human Rights Act of 2012

(“ITRSHRA”), the U.S. government determined that that NIOC is an agent or affiliate of the IRGC

under section 104(c)(2)(E)(i) of the Comprehensive Iran Sanctions, Accountability, and

Divestment Act of 2010 (“CISADA”) and section 302 of ITRSHRA. As part of that 2012

certification, NIOC was formally determined to be part of the Government of Iran.

       134.   In addition, the ITRSHRA provided that:

              It is the sense of Congress that the National Iranian Oil Company and the
              National Iranian Tanker Company are not only owned and controlled by the
              Government of Iran but that those companies provide significant support to
              Iran’s Revolutionary Guard Corps and its affiliates. 21

       135.   After the events giving rise to the claims herein, the U.S. government withdrew this

determination as of 2016.

       136.   NIOC used its oil and natural gas business to launder money for the IRGC, often

using Defendant Central Bank of Iran for this purpose.

       137.   In 2009, West Point’s Combating Terrorism Center published a report on the role

of NIOC, particularly in the Maysan province in Iraq (Southeast border between Iran and Iraq),

and its role in studying U.S. troops movements:

       The establishment of a new U.S. and Iraqi [Forward Operating Base] on the Iranian
       border has resulted in three waves of attacks in an area that was formerly devoid of
       incidents .... The incident occurred in the same district as the February 2007 EFP

21
  U.S. Department of the Treasury, Sanctions, See, https://www.treasury.gov/resource-
center/sanctions/Documents/hr_1905_pl_112_158.pdf (last visited Sept. 12, 2017).
                                               26
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          attack on a British aircraft at a Buzurgan dirt airstrip, itself a reaction by Special
          Groups to UK long-range patrolling of the Iranian border. This part of the border is
          increasingly the scene of U.S. and Iranian countermoves to support their proxies
          and patrol the frontier; Iranian intelligence gathering takes place using National
          Iranian Oil Company helicopters and border guards, while U.S.-Iraqi helicopter-
          borne joint patrols provide moral and material support to isolated Iraqi border posts
          and local communities.

          138.     Thus, NIOC served a critical function in funding and supporting the IRGC’s

activities.

          139.     NIOC also obtained letters of credit from western banks to provide financing and

credit to the IRGC. 22

          140.     Defendant Iran authorized, ratified, and approved the acts of Defendant NIOC.

          141.     Accordingly, Defendant Iran is vicariously liable for the acts of Defendant NIOC.

                                      5.     FACTUAL ALLEGATIONS

          142.     International terrorism is a serious and deadly problem that threatens the vital

interests of the United States. 23 It affects the interstate and foreign commerce of the United States

by harming international trade and market stability, and limiting international travel by United

States’ citizens, as well as foreign visitors to the United States. 24

          143.     The United States has a clear interest in combating terrorism, both within its borders

and abroad, and in protecting its nationals at home and abroad. 25




22
   The Superseding Indictment filed in U.S. v. Zarrab (filed in the S.D.N.Y (1:15-cr-00867))
demonstrates that, as late as 2013, NIOC continued to illegally launder U.S. dollars through U.S.
financial institutions.
23
     Justice Against Sponsors of Terrorism Act, § 2(a)(1), Pub. L. 114-222 (2016).
24
     Id. at § 2(a)(2).
25
   National Defense Guidance circa 2008. See:
https://archive.defense.gov/pubs/2008NationalDefenseStrategy.pdf
                                                    27
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           144.   Iran committed and continues to commit violent attacks against U.S. nationals. Iran

commits these attacks via proxy terrorist organizations.

           145.   According to the CIA, Iranian leaders view terrorism as an important instrument of

foreign policy they use both to advance national goals and to export the regime’s Islamic

revolutionary ideals. 26

           146.   Further, Iran supports and directs terrorist operations by Hezbollah and desires to

keep the United States and U.S. nationals as primary terrorist targets. 27

           147.   In June 2007, U.S. Department of State spokesman, Sean McCormack, delivered a

press briefing on Iran and its ties to international terrorism. When asked what changes he was

looking for concerning Iran and its ties to terrorism, he responded, “Well, for starters, stop

supplying money, technology, and training for people who are trying to kill [U.S. nationals]...”28

(Emphasis added).

           1.     IRAN’S LONG HISTORY OF MATERIALLY SUPPORTING AND
                  ENCOURAGING ACTS OF INTERNATIONAL TERRORISM

           148.   For decades Iran has made the funding of terrorist organizations (including the

Special Groups and other terrorists that perpetrated the Terrorist Attacks) and the commodification

of international acts of terrorism its business.

           149.   Iran has a history of financing, supporting and training terrorists and their affiliates

in the perpetration of terrorist attacks against the United States, its citizens and its allies. For




26
   Central Intelligence Agency, Directorate of Intelligence, Iran: The Uses of Terror, (Oct.
22, 1987 (approved for release June 1999)),
https://www.cia.gov/library/readingroom/docs/DOC_0000259360.pdf.
27
     Id.
28
  U.S. Department of State, Sean Womack Daily Press Briefing (June 27, 2007), http://site-
894736.bcvp0rtal.com/detail/videos/archive/video/1807599216/daily-briefing---june-27-2007.

                                                    28
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example, Hon. Judge John D. Bates found in a lawsuit brought by U.S. victims of the bombing of

the U.S. embassies in Nairobi and Dar es Salaam that, “[s]upport from Iran and Hezbollah was

critical to al Qaeda's execution of the 1998 embassy bombings…Prior to its meetings with Iranian

officials and agents, al Qaeda did not possess the technical expertise required to carry out the

embassy bombings.” 29

        150.    Similarly, Iran has been lavish with its support to all groups (including Sunni

groups with ties to al Qaida) engaged in acts of international terrorism against Iraqi citizens,

Coalition Forces and U.S. nationals, including Plaintiffs.

        151.    Since the Iranian Revolution in 1979, Iran has been a principal source of extremism

and terrorism throughout the Middle East and the rest of the world, responsible for bombings,

kidnappings, hostage-taking torture, extrajudicial killings, and assassinations across the globe.

        152.    On January 19, 1984, the United States designated Iran a State Sponsor of

Terrorism. That designation has remained in force throughout the Relevant Period to this Action.

        153.    Iran prefers not to be directly implicated in acts of international terrorism against

U.S. nationals, but instead acts through co-conspirators and/or agents and offers bounties for

killing U.S. nationals, shooting down U.S. helicopters, and destroying American tanks.

        154.    Reports suggest that in fall 2003 “a senior Iranian cleric in Tehran set up a special

100-member army, known as al Saqar, which means eagle in Arabic, to . . . carry out [acts of

international terrorism].” 30




29
 Wamai v. Republic of Sudan et. al., No. 1:08-cv-01349-JDB-JMF (D. D.C. Nov. 30, 2011),
Memorandum Opinion at 13–14, ECF No. 55.
30
  Edward T. Pound, Special Report: The Iran Connection, U.S. News and World Report, Nov.
14, 2004.

                                                 29
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        155.    Countries determined by the Secretary of State to have repeatedly provided support

for acts of international terrorism receive such a designation pursuant to three laws: (1) section 6(j)

of the Export Administration Act; (2) section 40 of the Arms Export Control Act; and (3) section

620A of the Foreign Assistance Act.

        156.    Taken together, the main categories of sanctions resulting from designation under

these authorities include: (1) restrictions on U.S. foreign assistance; (2) a ban on defense exports

and sales; (3) certain controls over exports of dual use items; and (4) miscellaneous financial and

other restrictions.

        157.    Designation under the above-referenced authorities also implicates other sanction

laws that penalize persons and countries engaging in certain trade with state sponsors. Currently

there are three recidivist countries designated under these authorities: Iran, Sudan, and Syria. 31

        158.    In Iraq, the policies of Iran have been largely successful, “giving Iran an

unprecedented degree of influence there at the expense of the United States…” An Iran-friendly

Iraq “serves as an opportunity for Iran to evade the increasingly harsh international sanctions

regime and to continue financing [FTOs].” 32

        159.    Iranian diplomatic, political, and economic networks within Iraq are highly

developed and closely linked both to Hezbollah and to the IRGC-QF.

        160.    Unclassified Iraqi government Harmony records, collated by the Combating

Terrorism Center at West Point, as well as information provided to the Coalition Forces through

interrogation of detainees of the Shiite militias, illustrate how Iran sponsored terrorist groups,


31
   U.S. Department of State, State Sponsors of Terrorism,
https://www.state.gov/j/ct/list/c14151.htm (last visited Mar. 24, 2017).
32
  Frederick W. Kagan et. al., Iranian Influence in the Levant, Egypt, Iraq, and Afghanistan, at 6
(May 2012), http://www.aei.org/wp-content/uploads/2012/05/-iranian-influence-in-the-levant-
egypt-iraq-and-afghanistan_171235465754.pdf.

                                                  30
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directly and through Hezbollah (Iran’s proxy for more than 30 years), operated in Iraq, including

supporting and directing the terrorist groups responsible for the Terrorist Attacks which killed or

injured Plaintiffs or their family members.

         161.   Planning and preparation by Iran and its agents, including Hezbollah, for their

active involvement in supporting terrorist groups and encouraging sectarian violence in Iraq has

been underway since at least 2002.

         162.   At least as early as the 2003 U.S. overthrow of Saddam Hussein’s regime in Iraq,

Iran has assiduously worked to expand its influence in Iraq and throughout the region in a variety

of ways, including by fomenting violence and terrorism when such activities have served its

diplomatic, political, and economic ambitions.

         163.   When Coalition Forces liberated Iraq in 2003, Iran’s IRGC formed the counter-

Coalition Ramazan Corps and ordered it to attack U.S. and Iraqi forces. Saddam Hussein’s 24-year

rule ended on April 9, 2003. The U.S. Department of State reported that, shortly thereafter,

individuals with ties to the IRGC may have attempted to infiltrate southern Iraq and elements of

the Iranian regime helped members of AAI transit and find safe haven in Iran.

         164.   In a Friday prayers sermon in Tehran in May 2003, Secretary General of Iran’s

powerful Guardian Council Ayatollah Ahmad Jannati publicly encouraged Iraqis to stage and

participate in suicide operations against U.S. nationals, including Plaintiffs and Coalition Forces. 33

He went on to encourage the so-called “holy fighters” to “maintain good relations with the

coalition forces” but at the same time create “a secret group that would conduct attacks against

American troops.” 34


33
  U.S. Department of State, Office of the Coordinator for Counterterrorism, Patterns of Global
Terrorism (Apr. 29, 2004) http://www.state.gov/j/ct/rls/crt/2003/31644.htm.
34
     Edward T. Pound, Special Report: The Iran Connection, U.S. News and World Report (Nov.
                                                  31
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        165.    In 2005, the Department of State reported that Iran was a safe haven in that known

terrorists, extremists, and sympathizers are able to transit its territory and cross the long and porous

border into Iraq. Iran also equips terrorists with technology and provides training in extremist

ideology and militant techniques. 35

        166.    In 2008, William Burns, U.S. Undersecretary of State for Political Affairs, testified

before Congress that it is “Iran’s… support for terrorist groups…its efforts to sow violence and

undermine stability in Iraq and Afghanistan, including lethal support for groups that are directly

responsible for hundreds of U.S. casualties.” 36

        167.    As recently as 2015, the State Department stated that “Iran’s state sponsorship of

terrorism worldwide remained undiminished through the … IRGC-QF, its Ministry of Intelligence

and Security, and Tehran’s ally Hezbollah, which remained a significant threat to the stability of

Lebanon and the broader region.” 37

        2.      IRAN’S SPONSORSHIP                      AND    MATERIAL           SUPPORT          OF
                TERRORISM IN IRAQ

        168.    Iran is the world’s foremost exporter of global terrorism, and uses various FTOs,

Special Groups, and other agents or proxies to distribute and deliver this deadly product around

the globe.


22, 2004),
http://www.iranfocus.com/en/index.php?option=com_content&view=article&id=741:the-iran-
connection&catid=33&Itemid=115.
35
  U.S. Department of State, Office of the Coordinator for Counterterrorism, Country Reports on
Terrorism 200, at 21 (2006), https://www.state.gov/documents/organization/65462.pdf.
36
   U.S. Policy Towards Iran: Hearing Before S. Comm. on Foreign Relations and H. Comm.
on Foreign Affairs, 110th Cong. (July 9, 2008) (testimony of William J. Burns, Undersecretary
for Political Affairs, U.S. Department of State), https://2001-
2009.state.gov/p/us/rm/2008/106817.htm.
37
  U.S. Department of State, Office of the Coordinator for Counterterrorism, Country Reports on
Terrorism 2015, at 166 (June 2016), https://www.state.gov/documents/organization/258249.pdf.

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        169.    Iran utilizes Special Groups and other terrorists that coordinated with Hezbollah

and the IRGC as front groups to perpetrate terrorist acts, including those that killed or injured

Plaintiffs or members of Plaintiffs’ families.

        170.    Iran’s command and control over IRGC, FTOs and Special Groups that routinely

perpetrate terrorist attacks, including the Terrorist Attacks at issue in this Action, is best illustrated

by diagramming the command and control Iran exercises over those entities:




        171.    Iran’s support of terrorist groups in Iraq was described in the U.S. State

Department’s 2005 Country Reports on Terrorism, which observed:

                Iran has provided political and ideological support for several terrorist and
                militant groups active in Iraq. Attractive to terrorists in part because of the
                                                   33
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               limited presence of the United States and other Western governments there,
               Iran is also a safe haven in that known terrorists, extremists, and
               sympathizers are able to transit its territory and cross the long and porous
               border into Iraq. Iran also equips terrorists with technology and provides
               training in extremist ideology and militant techniques.

       172.    Iran furthers its terrorism-based foreign policy through a number of key Iranian

Proxies including Iran’s Ministry of Defense and Armed Forces Logistics (“MODAFL”), the

IRGC, the IRGC-QF, Hezbollah/Hizbollah, NIOC, KAA, Mahan Air, and Special Groups.

       173.    In 2008, Pentagon Press Secretary Geoff Morrell reported on the “smuggling

system in which the Iranians are providing their allies within Iraq, these special groups, with the

munitions that are then used to take on us, whether it be EFPs or rockets or conventional arms.

These are being used by these special groups and being provided by the Iranians.”

       174.    On January 9, 2008, the U.S. Treasury Department designated four individuals and

one entity under E.O. 13438 for threatening the peace and stability of Iraq and the government of

Iraq. Three of the individuals, Ahmed Foruzandeh (a Brigadier General in the IRGC-QF), Abu

Mustafa Al-Sheibani, and Isma’il Hafiz Al Lami (a/k/a “Abu Dura”) were all based in Iran and/or

received funding from Iran.

       175.    Regarding the designation of Abu Mustafa Al-Sheibani, the Treasury Department

press release stated:

               Iran-based Abu Mustafa Al-Sheibani leads a network of Shia extremists that
               commit and provide logistical and material support for acts of violence that
               threaten the peace and stability of Iraq and the Government of Iraq. Al-
               Sheibani’s Iran-sponsored network was created to affect the Iraqi political
               process in Iran’s favor. The network’s first objective is to fight U.S. forces,
               attacking convoys and killing soldiers. Its second objective is to eliminate
               Iraqi politicians opposed to Iran’s influence. Elements of the IRGC were
               also sending funds and weapons to Al-Sheibani’s network.

               Al-Sheibani’s network – consisting of several hundred members –
               conducted IED attacks against Americans in the Baghdad region. As of
               March 2007, Al-Sheibani, known to transport Katyusha rockets to be used

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               for attacks against Coalition Forces, launched rockets against Americans
               and made videos of the attacks to get money from Iran. As of April 2007, a
               member of Al-Sheibani’s network supervised the transport of money and
               explosives from Iran for eventual arrival in Baghdad. In early May 2007,
               Al-Sheibani’s network assisted members of a Shia militia group by
               transporting them to Iran for training and providing them with weapons for
               their activities in Iraq.

               Additionally, Al-Sheibani commands several pro-Iranian insurgent groups
               in southern Iraq that work to destabilize Iraq and sabotage Coalition efforts.
               These groups use a variety of weapons, to include mortars, Katyusha
               rockets, and anti-tank landmines. Ordered by IRGC headquarters to create
               disorder, the task of these groups is to attack bases of Coalition Forces in
               southern Iraq, particularly British forces.

               (Emphasis added).

       176.    To that end, Iran (with Hezbollah’s aid) has armed, trained, and funded a variety of

FTOs and Special Groups, and infiltrated and co-opted Iraqi security forces in an effort to kill or

maim U.S. nationals, including Plaintiffs, and to coerce the United States into withdrawing those

forces and to terrorize Iraq’s civilian population in order to increase Iran’s own influence.

       177.    According to a 2010 report by the Combatting Terrorism Center at West Point, Iran

paid Iraqi “insurgent” groups “between $4,000 and $13,000 per rocket or roadside bomb,

depending on the circumstances.”

       178.    Iran did not just act on its own. As part of its strategy of sophisticated and

clandestine use of terrorism, Iran preferred not to act directly against the Coalition Forces in Iraq.

Rather, Iran relied on various other entities, including Defendants named herein to act on Iran’s

behalf and at Iran’s discretion and guidance. Moreover, without the funding provided to these

organizations by Iran, they would not be able to carry out the volume, consistency, frequency,

scale, and lethality of the acts of international terrorism they currently, and in the past, routinely

perpetrated, including the Terrorist Attacks that killed, maimed, or otherwise injured Plaintiffs or

Plaintiffs’ family members.

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        3.      ISLAMIC REVOLUTIONARY GUARD CORPS—QODS FORCE
                (IRGC-QF)

        179.    The highest echelons of the Iranian government and the highest echelons of

Hezbollah have worked together to organize a violent, resistance movement in Iraq. The IRGC-

QF, with direct assistance from Iran, has established and funded this movement.

        180.    Ayatollah Khomeini established the IRGC-QF in 1979 to protect Iran’s Islamic

Revolution and export it beyond Iran’s borders. The commander of the IRGC-QF reports directly

to Iran’s Supreme Leader, Ayatollah Ali Khomeini.

        181.    The Qods Force is the IRGC unit tasked with extraterritorial operations. It trains

and equips Islamic revolutionary groups around the Middle East. The IRGC-QF typically provides

this paramilitary instruction in Iran and Sudan. At times, the IRGC-QF plays a more direct role in

the military operations of the forces it trains, including pre-attack planning and other operation-

specific military advice.

        182.    The Qods Force operates worldwide covertly, as part of a strategy which intends to

conceal Iran’s participation in terrorist activities.

        183.    Iran, through the Qods Force, gains access to countries and conceals its

involvement in international terrorism therein by cloaking its operations with the appearance of

legitimacy, mainly through civilian, charity, or religious oriented institutions or entities. 38

        184.    Since 2003, Iran has been materially supporting acts of international terrorism by

advising, organizing, training, funding, and equipping FTOs and Special Groups, and other




38
  As an example, the Qods Force used the Iranian Red Crescent to operate in the Balkans during
the 1990s to provide assistance to the Bosnian Muslims against the Serb, and to Hizbollah during
the 2006 Lebanon War. See, e.g., U.S. Embassy Cables: Iran Abuses Iranian Red Crescent to
Send Agents and Weapons Overseas, THE GUARDIAN (Oct. 23, 2008),
https://www.theguardian.com/world/us-embassy-cables-documents/174875.
                                                   36
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terrorists to kill, maim, or otherwise injure U.S. nationals, among others. To do this, Iran enlisted

(and continues to enlist) the IRGC-QF to provide such support to these FTOs and Special Groups.

       185.    This material support has made these FTOs, Special Groups and other terrorists

more effective and lethal than they ever could have been without such assistance.

       186.    In October 2007, the United States designated the IRGC-QF a SDGT pursuant to

E.O. 13324, explaining that:

               The Qods Force has had a long history of supporting Hizballah’s military,
               paramilitary, and terrorist activities, providing it with guidance, funding,
               weapons, intelligence, and logistical support. The Qods Force operates
               training camps for Hizballah in Lebanon’s Bekaa Valley and has reportedly
               trained more than 3,000 Hizballah fighters at IRGC training facilities in
               Iran. The Qods Force provides roughly $100 to $200 million in funding a
               year to Hizballah and has assisted Hizballah in rearming in violation of UN
               Security Council Resolution 1701.

               In addition, the Qods Force provides lethal support in the form of weapons,
               training, funding, and guidance to select groups of Iraqi Shi’a militants who
               target and kill Coalition and Iraqi forces and innocent Iraqi civilians.

               (Emphasis added).

       187.    In 2004, the Qods Force began flooding Iraq with EFPs – lethal roadside bombs

that fire a molten copper slug capable of piercing armor. These EFPs wreaked havoc on American

troops, accounting for nearly twenty percent of U.S. service personnel deaths. EFPs require skilled

assembly and rely on sophisticated sensors. According to General Stanley McChrystal, then head

of Joint Special Operations Command, “[t]here was zero question where [the EFPs] were coming

from. We knew where all the factories were in Iran. The EFPs killed hundreds of Americans.” 39

       188.    On October 25, 2007, when the U.S. Department of Treasury designated IRGC-QF

as SDGT under E.O. 13224, the Department cited the IRGC-QF’s material support to the Taliban,


39
  Dexter Filkins, The Shadow Commander, THE NEW YORKER (Sept. 30,
2013), http://www.newyorker.com/magazine/2013/09/30/the-shadow-commander.

                                                 37
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Lebanese Hezbollah, Hamas, Palestinian Islamic Jihad, and the Popular Front for the Liberation

of Palestine-General Command as evidence of Iran seeking to inflict casualties on U.S. and NATO

forces. 40

        189.    IRGC-QF controls and commands Hezbollah, the Lebanese terrorist organization

(described below). Pursuant to instructions from IRGC-QF, Hezbollah formed Unit 3800. Unit

3800 was tasked by the IRGC-QF with recruiting, radicalizing and training Iraqi militants and

organizing several Iraqi terrorist/insurgency militias, called Special Groups.

        190.    According to Brigadier Gen. Kevin J. Bergner, a U.S. military spokesman who

previously served as the Deputy Commanding General for MNF-I in Mosul, Iraq, “the Qods Force

has provided armor-piercing weapons to extremist groups in Iraq, funneling them up to $3 million

a month and training Iraqi militiamen at three camps near Tehran.” General Bergner added, “[t]he

Iranian Qods Force is using Lebanese Hezbollah essentially as a proxy, as a surrogate in Iraq ...

Our intelligence reveals that senior leadership in Iran is aware of this activity.”

        191.    The Qods Force methodology includes disguising operatives, and some who may

appear to be retired officers, in civilian functions to facilitate operations.

        192.    The Qods Force provides financial aid to terrorist groups in Iraq by using the

civilian or religious cover, specifically, entities known as The Headquarters for the Restoration of

Holy Shrines (Setad-e Bazsazi-ye Atabat-e Ali-yat, hereinafter “HRHS”), and Khatam al-Ambiya

AA (discussed in detail below).




40
   U.S. Department of The Treasury, Fact Sheet: Designation of Iranian Entities and Individuals
for Proliferation Activities and Support for Terrorism (Oct. 25,
2007) https://www.treasury.gov/press-center/press-releases/Pages/hp644.aspx.
                                                   38
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            4.   HEZBOLLAH

          193.   Iran has had a long, deep, strategic partnership with the Lebanese-based Foreign

Terrorist Organization Hezbollah, which historically has served as Iran’s proxy and agent,

enabling Iran to project extremist violence and terror throughout the Middle East and around the

globe.

          194.   Hezbollah is probably the most prominent and “successful” group developed with

the assistance of the IRGC-QF.

          195.   From its inception, Hezbollah has enjoyed significant financial and material aid

from Iran. The IRGC-QF, in particular, played a critical role in Hezbollah’s foundation and its

funding and training.

          196.   On June 25, 2016, the Secretary General of Hezbollah, Sheikh Hassan Nasrallah,

claimed that, “We are open about the fact that Hezbollah’s budget, its income, its expenses,

everything it eats and drinks, its weapons and rockets, come from the Islamic Republic of Iran.”

Nasrallah stated that, “[a]s long as Iran has money, we have money… Just as we receive the rockets

that we use to threaten Israel, we are receiving our money. No law will prevent us from receiving

it…” 41

          197.   Through its proxy, agent, and strategic partner Hezbollah, Iran orchestrated a series

of kidnappings of Westerners in Lebanon, including several Americans in the 1980s; killed more

than two hundred U.S. Marines at their barracks in Beirut, Lebanon, in 1983; hijacked TWA flight

847 in 1985; and launched two major attacks in the 1990s on Jewish targets in Buenos Aires,

Argentina, namely the 1992 bombing of the Israeli Embassy (killing twenty-nine people), and the


41
  Majid Rafizadeh, In first, Hezbollah confirms all financial support comes from Iran, Al
Arabiya English (June 25, 2016), https://english.alarabiya.net/en/2016/06/25/In-first-Hezbollah-
s-Nasrallah-confirms-all-financial-support-comes-from-Iran.html.

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1994 bombing of a Jewish community center (killing eighty five people). Hezbollah assisted al

Qaeda affiliated terrorists in the Khobar Tower bombings in Saudi Arabia on June 25, 1996 (which

killed 19 U.S. service members) and in the bombing of the U.S. embassies in Nairobi and Dar es

Salaam on August 7, 1998 (which killed 224 and injured approximately 5000 people).

       198.    Hezbollah is a Shi’a Islamist militant group based in Lebanon, funded by Iran, and

formed in 1982. Its leaders are followers of Ayatollah Khomeini and Ayatollah Khamenei, and its

forces are trained and organized by a contingent of 1,500 Revolutionary Guards. Hezbollah’s

military strength has grown so significantly that its paramilitary wing, the Jihad Council, is

considered more powerful than the Lebanese Army. Hezbollah relied almost exclusively on Iranian

largesse, which funds at least $100 to $200 million a year or more. 42 The U.S. Department of State

estimates that Hezbollah has tens of thousands of supporters and members worldwide. While

Hezbollah is based in the southern suburbs of Beirut, the Bekaa Valley, and southern Lebanon, its

activities make evident the group is capable of operating around the globe, particularly in Iraq.

       199.    Despite Shi’a ideologies, Iran and Hezbollah have supported and worked with

Sunni and other terrorist organizations to effectuate their broader goal of exporting terror around

the globe and destabilizing western involvement and influence in the Middle East. According to

the New York Times:

               In an interview, Sheikh Naim Qassem, Hezbollah’s deputy secretary
               general, proudly acknowledged his organization’s efforts to pass its rich
               militant experience to other Iranian aligned forces. “Every group anywhere
               in the world that works as we work, with our ideas, is a win for the party,”
               he said. “It is natural: All who are in accordance with us in any place in the




42
  U.S. Department of Defense, CDA—Military Power of Iran, Unclassified Report on Military
Power of Iran (Apr. 2010), http://www.fas.org/man/eprint/dod_iran_2010.pdf.

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                  world, that is a win for us because they are part of our axis and a win for
                  everyone in our axis.” 43

           200.   Hezbollah received “massive material and technical support from the Iranian

government” 44 in the planning and perpetrating the terrorist attack which killed 241 U.S. Service

Members in Beirut in 1983.

           201.   The Iranian regime provides “extensive financial support for terrorists generally

and in support for al Qaeda and Hezbollah in particular.” 45

           202.   Iran “created Hizballah…[and] has been the sponsor of Hizballah since its

inception, providing funding, training, leadership and advice via Hizballah’s leadership

councils…Hizballah has received from Iran $100 million to $500 million in direct financial

support annually…Hizballah served as a terrorist proxy for Iran, created specifically for the

purpose of serving as a front for Iranian terrorism, in effect, a cover name for terrorist operations

run by Iran’s IRGC around the world.” 46

           203.   As a result of its mission, conduct, and terrorist activities, on January 25, 1995,

Hezbollah was designated a SDT by the United States. It has maintained that designation since

that time.

           204.   Hezbollah was designated an FTO by the United States on October 8, 1997, and it

has retained that designation since that time.




43
  Ben Hubbard, Hezbollah: Iran’s Middle East Agent, Emissary and Hammer, N.Y. TIMES
(Aug. 27, 2017).
44
     Peterson v. Islamic Republic of Iran, 264 F. Supp. 2d. 46, 58 (D. D.C. 2003).
45
  Havlish v. Bin Laden (In re Terrorist Attacks on September 11, 2001), 2011 U.S. Dist. LEXIS
155899, at 97-98 (S.D.N.Y. Dec. 22, 2011).
46
     Id.

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       205.    On October 31, 2001, pursuant to E.O. 13224, Hezbollah was designated SDGT by

the United States. It has maintained that designation since that time.

       206.    According to a December 20, 2004 Washington Post article, “Western diplomats

and political analysts in Beirut estimated that Hezbollah received $200 million a year from Iran.”

(Emphasis added).

       207.    Sometime after the 2003 U.S. invasion of Iraq, Hezbollah created “Unit 3800,” an

entity dedicated to supporting Iraqi Shi’a terrorist groups targeting Iraqi citizens, and Multi

National Forces in Iraq (“MNF-I”).

       208.    At Iran’s request, Hezbollah leader Hassan Nasrallah established Unit 3800.

       209.    Unit 3800 has trained and advised various Shi’a militias in Iraq, later termed the

Special Groups.

       210.    By early 2005, the presence of Hezbollah operatives in Iraq became an open secret

when Iraqi Interior Minister Falah al-Naquib announced the arrest of eighteen Lebanese Hezbollah

members on terrorism charges.

       211.    According to U.S. intelligence estimates—and following the 2007 arrest and

interrogation of Hezbollah’s senior operative in Iraq—in 2007 the IRGC-QF provided Hezbollah

and one of its local trainers, Ali Musa Daqduq (who is discussed in greater detail below), up to

$3,000,000.00 in U.S. currency every month.

       212.    Hezbollah’s terrorist attacks include the suicide truck bombings of the U.S.

Embassy and U.S. Marine barracks in Beirut in 1983; the U.S. Embassy annex in Beirut in 1984;

and the 1985 hijacking of TWA flight 847, during which U.S. Navy diver Robert Stethem was

murdered. Elements of the group were responsible for the kidnapping, detention, and murder of

Americans and other Westerners in Lebanon in the 1980s. Hezbollah was implicated, along with



                                                42
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Iran, in the 1992 attacks on the Israeli Embassy in Argentina and in the 1994 bombing of the

Argentine-Israeli Mutual Association in Buenos Aires. In 2000, Hezbollah operatives captured

three Israeli soldiers in the Shebaa Farms area and, separately, kidnapped an Israeli non-combatant

in Dubai. Although the non-combatant survived, on November 1, 2001, Israeli Army Rabbi Israel

Weiss pronounced the soldiers dead. The surviving non-combatant and the bodies of the Israeli

soldiers were returned to Israel in a prisoner exchange with Hezbollah in 2004. 47

       213.    Hezbollah carried out two attacks against UN Interim Force Peacekeepers in

Lebanon; an attack in late July 2011 that wounded six French citizens, and a second attack, days

later, which injured three French soldiers. Also in 2011, four Hezbollah members were indicted

by the UN-based Special Tribunal for Lebanon, an international tribunal investigating the 2005

assassination of Lebanese Prime Minister Rafik Hariri. A fifth Hezbollah member, Hassan Habib

Merhi, was indicted in October 2013.

       214.    In January 2012, Thai police detained Hezbollah operative Hussein Atris on

immigration charges as he was attempting to depart Thailand. Atris, a SDGT, was convicted of

possessing bomb-making materials by a Thai court in September 2013 and sentenced to two years

and eight months in prison. He was released in September 2014 and is believed to reside in

Lebanon. In July 2012, a suspected Hezbollah operative was detained by Cypriot authorities for

allegedly helping plan an attack against Israeli tourists on the island. On March 21, 2013, a Cyprus

court found the operative guilty of charges based on his surveillance activities of Israeli tourists.




47
  U.S. Department of State, Office of the Coordinator for Counterterrorism, Country Reports on
Terrorism 2015, at 369 (June 2016), https://www.state.gov/documents/organization/258249.pdf.

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       215.    Hezbollah was also responsible for the July 2012 attack on a passenger bus carrying

42 Israeli tourists at the Sarafovo Airport in Bulgaria, near the city of Burgas. The explosion killed

five Israelis and one Bulgarian, and injured 32 others.

       216.    In May 2013, Hezbollah publicly admitted to playing a significant role in the

ongoing conflict in Syria, rallying support for Syrian President Bashar al-Assad. Hezbollah’s

support for the Assad regime continues in 2018.

       217.    In 2015, the group also continued its operations against Israel. In January,

Hezbollah fired rockets on an Israeli convoy, killing two Israeli soldiers. In a speech in Tehran in

August, Hezbollah Deputy Secretary General Shaykh Na’im Qasim declared Israel, the United

States, and Takfiri groups as enemies of Islam and urged Muslims to fight against these enemies.

In December, Hezbollah leader Nasrallah threatened attacks in revenge for the death of senior

Hezbollah militant Samir Kuntar. Nasrallah claimed orders had already been given and fighters on

the ground were preparing attacks.

       218.    In May 2015, Cypriot authorities arrested dual Lebanese-Canadian national

Hussein Bassam Abdallah after finding 8.2 tons of liquid ammonium nitrate in the basement of a

residence in Larnaca. Abdallah admitted to Cypriot authorities he was a member of Hezbollah. He

was charged on five offenses, including participation in a terrorist organization and providing

support to a terrorist organization, by the Republic of Cyprus and sentenced to six years in prison

on June 29, 2015.

       219.    Iran continues to provide Hezbollah with funding, training, weapons, and

explosives, as well as political, diplomatic, monetary, and organizational aid. Such support and

material is crucial to Hezbollah’s continued terrorist operations. Moreover, the support is

substantial.



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       220.    United States District Courts have found, in numerous lawsuits related to

international acts of terrorism sponsored or directed by Iran, that Hezbollah is, in fact, an arm of

the IRGC and a key component to Iran’s modus operandi of sponsoring and/or directing

international terrorism aimed primarily against the United States and its allies. 48

       221.    Hezbollah training camps in southern Lebanon and Iran, and Hezbollah’s expertise

in the use of EFPs, kidnapping, communications and small-unit operations, were critical to the

IRGC’s operations in Iraq during the Relevant Period.

       5.      IRAN’S MINISTRY OF                   DEFENSE         AND      ARMED      FORCES
               LOGISTICS (MODAFL)

       222.    In October 2007, the United States designated Iran’s Ministry of Defense and

Armed Forces Logistics (“MODAFL”) as a FTO stating it controls the Defense Industries

Organization, an Iranian entity identified in the Annex to UN Security Council Resolution 1737

and designated by the United States under E.O. 13382 on March 30, 2007.

       223.    MODAFL is the principal procurement arm of Iran’s military and terror apparatus.

       224.    MODAFL operates the [Iran] Aviation Industries Organization (“IAIO”), the

Aerospace Industries Organization (“AIO”), and the Defense Industries Organization (“DIO”).

MODAFL was designated by the United States on October 25, 2007.

       225.    The AIO was designated on June 28, 2005 for weapons proliferation.

       226.    The MAPNA group is also a key component of MODAFL and the IRGC’s

procurement chain.

       227.    Abbas Aliaabadi, Chairman of MAPNA International FZE and President of the

MAPNA Group, is a former member of the Iranian Ministry of Construction Jihad and of the


48
  See, e.g., Owens v. Republic of Sudan, 826 F. Supp. 2d 128, 135–36 (D. D.C. 2011); Kaplan v.
Cent. Bank of the Islamic Republic of Iran, 55 F. Supp. 3d 189, 197 (D. D.C. 2014).

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Iranian Air Force. Aliaabadi was also a key member of the Ministry of Culture & Islamic Guidance

instrumental in the creation of Hezbollah and has close links to the IRGC.

           228.   Pursuant to the Arms Export Control Act and the Export Administration Act,

MODAFL was sanctioned in November 2000 for its involvement in missile technology

proliferation activities.

           229.   The U.S. government explained the basis for the designation as follows:

                  The Ministry of Defense and Armed Forces Logistics (MODAFL) controls
                  the Defense Industries Organization, an Iranian entity identified in the
                  Annex to UN Security Council Resolution 1737 and designated by the
                  United States under E.O. 13382 on March 30, 2007. MODAFL also was
                  sanctioned, pursuant to the Arms Export Control Act and the Export
                  Administration Act, in November 2000 for its involvement in missile
                  technology proliferation activities.

                  MODAFL has ultimate authority over Iran’s Aerospace Industries
                  Organization (AIO), which was designated under E.O. 13382 on June 28,
                  2005. The AIO is the Iranian organization responsible for ballistic missile
                  research, development and production activities and organizations,
                  including the Shahid Hemmat Industries Group and the Shahid Bakeri
                  Industries Group, which were both listed under UN Security Council
                  Resolution 1737 and designated under E.O. 13382. The head of MODAFL
                  has publicly indicated Iran’s willingness to continue to work on ballistic
                  missiles. Defense Minister Brigadier General Mostafa Mohammad Najjar
                  said that one of MODAFL’s major projects is the manufacturing of Shahab-
                  3 missiles and that it will not be halted. MODAFL representatives have
                  acted as facilitators for Iranian assistance to an E.O. 13382-designated
                  entity and, over the past two years, have brokered a number of transactions
                  involving materials and technologies with ballistic missile applications.

           230.   Formally, the IRGC is a subordinate directorate of MODAFL.

           231.   The IRGC uses MODAFL to both procure and develop weapons and equipment for

its use.




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         232.   The DIO, the AIO, and Defense Technology and Science Research Centre are all

subordinate to MODAFL, giving it operational control over Iran’s ballistic missile development

program. 49

         233.   MODAFL entities’ illicit procurement activities have resulted in a series of ongoing

U.S. sanctions. 50

         234.   Moreover, Iran continues to provide material support, including resources and

guidance, to multiple terrorist organizations and Special Groups, including all of the terrorist

groups that perpetrated the acts of international terrorism complained of herein, that undermine

the stability of the Middle East and Central Asia. 51

         235.   The Special Groups and FTOs that Iran provides material resources and support to

include multiple Shi’a, and some Sunni, terror groups in Iraq, including but not limited to, Kata’ib

Hizballah (“KH”); Asa‘ib Ahl Al Haq (“AAH”); Jaysch al Mahdi (“JAM”); Badr Organization

(“Badr”) (all discussed below); and Ansar al Islam and Al Qaida in Iraq.

         236.   Tellingly, Hamas, Lebanese Hezbollah, and the Palestinian Islamic Jihad maintain

representative offices in Tehran, in part to help coordinate Iranian financing and training. 52

         6.     ANSAR AL ISLAM

         237.   From its beginning, Iran did not confine its support of anti-U.S. national fighters to

Shi’a groups. Iran also supported Ansar al Islam (a/k/a Ansar al Sunna, “AAI”), a radical terrorist

group with close ties to Al Qaida.



49
     Steven R. Ward, Immortal: A Military History of Iran and Its Armed Forces 320 (2009).
50
   The United States has sanctioned MODAFL pursuant to the Arms Export Control Act, the
Export Administration Act (in November 2000), and Executive Order 13382 (in October 2007).
51
    U. S. Department of State, 2016 International Narcotics Control Strategy Report,
https://www.state.gov/j/inl/rls/nrcrpt/2016/vol2/253407.htm (last visited Sept. 12, 2017).
52
   Id.
                                                 47
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       238.    In the 1990s, Al Qaida developed a close relationship with Iran and the IRGC.

Usama bin Laden and Ayman al Zawahiri held clandestine meetings with Imad Mughniyah and

Ahmad Vahidi (then commander of IRGC Qods Force) which “lead to an informal agreement to

cooperate in providing support for actions carried out primarily against Israel and the United

States…Thereafter, senior al Qaeda operatives and trainers traveled to Iran to receive training in

explosives. Usama bin Laden also sent senior aides to Iran for training with the IRGC and to

Lebanon for training with Hizballah.” 53

       239.    AAI is a Kurdish Sunni Muslim insurgent group and separatist movement in Iraq

with well-established ties to Al Qaida and Iran. Although the group’s initial membership was

primarily Kurdish, it grew to comprise a large number of Sunni Arabs, including Iraqis, Saudis,

and Yeminis.

       240.    Mullah Krekar, aka Faraj Ahmad Najmuddin, reportedly founded Ansar al Islam in

December 2001 (at that time, with funding and logistical support from Al Qaida and Usama bin

Laden). However, the group has significant, life-sustaining ties to Iran.

       241.    AAI seeks to transform Iraq into an Islamic state. AAI operates primarily in

northern Iraq, but maintains a presence in western and central Iraq. AAI expanded its operations

into Syria in 2011.

       242.    AAI has a number of aliases, including Ansar al-Sunna; Ansar al-Sunna Army;

Devotees of Islam; Followers of Islam in Kurdistan; Helpers of Islam; Jaish Ansar al-Sunna; Jund

al-Islam; Kurdish Taliban; Kurdistan Supporters of Islam; Partisans of Islam; Soldiers of God;

Soldiers of Islam; and Supporters of Islam in Kurdistan.




53
 Havlish v. Bin Laden (In re Terrorist Attacks on September 11, 2001), 2011 U.S. Dist. LEXIS
155899, at 110-111 (S.D.N.Y. Dec. 22, 2011).
                                                48
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       243.    AAI was established in 2001 in Iraqi Kurdistan with the merger of two violent

Kurdish extremist factions that traced their roots to the Islamic Movement of Kurdistan. AAI seeks

to expel western interests from Iraq and establish an independent Iraqi state based on its

interpretation of Sharia law. AAI has been mostly active in the northern party of Iraq, western

Iraq-Anbar province, and in the areas surrounding and including Mosul and Kirkuk since 2003.

       244.    In 2001, AAI seized control of several villages near the town of Halabja and

established an administration ruled by Shari’a Law. As part of Operation Iraqi Freedom, Coalition

and Kurdish forces routed AAI from northern Iraq.

       245.    Coalition airstrikes destroyed AAI’s base in northern Iraq (Iraqi Kurdistan) in late

March 2003, and the majority of AAI members fled across the border and regrouped in Iran with

the assistance of the IRGC and the Iranian regime. Counterterrorist operations suggest many of

those fighters reentered Iraq and took active part in anti-Coalition activities. From Iran, the group

continued to operate under leader Abu Abdullah Shafi’s leadership and was temporarily renamed

Ansar al-Sunna (although it officially re-adopted the name Ansar al-Islam in 2007).

       246.    During the summer of 2004, the jihadists began migrating back into Iraq. A large

number of the returning jihadists chose to settle in Mosul. In October 2004, coalition forces in

Mosul captured a senior Ansar leader, Aso Hawleri. A week later, Lt. Gen. Norton Schwartz, who

at the time was Director, the Joint Staff, Pentagon (and from 2008-2012 was Chief of Staff of the

Air Force), warned that Ansar al Islam had reemerged as the coalition’s “principal organized

terrorist adversary in Iraq.”

       247.    From 2003-2007, AAI continued to target Coalition Forces and U.S. Nationals,

including Plaintiffs. Its deadliest attack during this period occurred on February 1, 2004, when it

launched multiple simultaneous suicide car bombings at PUK offices in Erbil, killing over 100



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civilians and injuring over 130 more. By February 2007, AAI had claimed responsibility for over

1,600 attacks in Iraq, including against American nationals. AAI openly cooperated with AQ;

however, it adamantly refused to formally join the Islamic State of Iraq, which was an umbrella

organization established by AQ. Instead, in May 2007, AAI joined with the Mujahideen Army, the

Islamic Army in Iraq, and Ansar al-Sunna Shariah (a splinter group that had broken from AAI in

early 2007 because its members wished to take a harder line against AQ) to form an anti-Coalition

umbrella organization called the Reformation and Jihad Front (“RJF”). The RJF was a pan-Islamist

organization that challenged AQ for leadership of the Iraqi Sunni Islamist movement.

         248.    AAI claimed responsibility for the beheading of 12 Nepalese hostages and the

kidnapping and beheading of an Iraqi who was employed as a mechanic for the American forces

at the Mosul airport. AAI targeted Iraqi Kurds for alleged collaboration with the U.S. In September

2003, members of the Jaysch Ansar al-Sunna beheaded three Iraqi Kurdish militiamen in

retaliation for the cooperation by Kurdish political parties with the U.S. in Iraq.

         249.    U.S. and British intelligence reports in 2004 “concluded that [AAI] was working

closely with Iran, and also al Qaeda, in its terrorist attacks against coalition forces.” One British

defense report noted “Intelligence indicates that elements of Iran’s [IRGC-QF] ‘are providing safe

haven and basic training to Iran-based [AAI] cadres.’” (brackets in original). 54

         250.    On December 21, 2004, AAI subgroup Jamaat Ansar al-Sunna launched a suicide

bomb attack on Forward Operating Base Marez in Mosul, Iraq. AAI insurgent Abu Museli,

disguised as an Iraqi Security Services officer, entered the base mess tent and detonated the

explosive vest he was wearing. The blast killed fourteen U.S. soldiers, four U.S. citizen Halliburton

employees, and four Iraqi soldiers allied with the U.S. military. An additional fifty-one U.S.


54
     Pound, supra note 27.

                                                 50
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soldiers and twenty-one others sustained non-fatal injuries. AAI, through Jamaat Ansar al-Sunna,

claimed credit for the attack. This Terrorist Attack resulted in the death, maiming or injury of

certain Plaintiffs, who are referred to below.

           251.   Another British intelligence source “said that Iranian government agencies were

also secretly helping [AAI] members cross into Iraq from Iran, as part of a plan to mount sniper

attacks against coalition forces.” 55 American sources confirmed this information, adding that “an

Iranian was aiding [AAI] ‘on how to build and set up’ IEDs. 56

           252.   In February 2004, Kurdish intelligence officials uncovered a cache of Syrian,

Yemeni, and Saudi passports—all bearing Iranian entry stamps—in an Ansar al Islam safe-house

on the Iranian side of the border. The fact the passports found had Iranian stamps on them indicated

the terrorists did not secretly infiltrate into Iran, but that they entered with the cognizance and full

knowledge of the Iranian authorities. According to Iraqi intelligence officers, captured Ansar al-

Sunna militants have admitted to receiving assistance from Iranian officials.

           253.   Iran played a significant role in supporting AAI. Iran openly allowed the group to

operate along its borders despite the group’s alleged affiliation with the AQ network. AAI was

tasked with conducting checks on cars leaving their stronghold to going into Iran, indicating

coordination with the Islamic Republic.

           254.   According to a document from Iraqi intelligence dated June 13, 2002 and seized by

U.S. forces in Iraq, it was reported from a trust-worthy source that Mullah Kraykar (Krekar), the

head of the AAI organization arrived in Iran for negotiations with several Iranian officials. The




55
     Id.
56
     Id.

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information indicated that the purpose of the visit was to confirm a unified strategy and to

guarantee continuous Iranian support to that group.

        255.       According to other sources Mullah Krekar spent many years in Iran and was

arrested in Amsterdam after a flight from Tehran.

        256.       AAI operations decreased substantially by 2006, but the group continued to

maintain an extensive support and financial infrastructure in Europe that it used to recruit and send

jihadis to Iraq.

        257.       Over the course of 2007-2008, AAI moved increasingly away from the RJF and

strengthened its ties to AQ. It coordinated with AQ on several attacks against U.S. and PUK troops

and began to adopt AQ’s hardline attitude against Sunni Iraqis who worked for the U.S. or Iraqi

governments.

        258.       On May 4, 2010, AAI’s leader Abu Abdullah al-Shafi was captured by U.S. forces

in Baghdad and remains in prison. On December 15, 2011, AAI announced a new leader: Abu

Hashim Muhammad bin Abdul Rahman al Ibrahim. In March 2012, a Norwegian court convicted

Iraqi citizen and AAI founder Mullah Krekar (aka Najmuddin Faraj Ahmad) of issuing threats and

inciting terrorism, and sentenced him to six years in prison. Living in Norway on a long-term

resident permit, Krekar appealed, and in December 2012, an appeals court affirmed his convictions

for issuing threats and intimidating witnesses, but reversed his conviction for inciting terrorism.

The appeals court reduced his prison sentence to two years and 10 months. He was released from

prison in late January 2015, but was arrested again shortly after for praising the January 2015

Charlie Hebdo attacks in Paris in a TV interview.

        259.       AAI has conducted attacks against a wide range of targets including Iraqi

government and security forces, as well as U.S. and Coalition Forces and U.S. nationals, including



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Plaintiffs. AAI has conducted numerous kidnappings, executions, and assassinations of Iraqi

citizens and politicians. The group has either claimed responsibility or is believed to be responsible

for attacks in 2011 that resulted in 24 deaths and wounded 147. In 2012, the group claimed

responsibility for the bombing of the Sons of Martyrs School in Damascus, which was occupied

by Syrian security forces and pro-government militias; seven people were wounded in the attack.

In 2014, AAI claimed responsibility for attacks near Kirkuk, Tikrit, and Mosul, Iraq; primarily

directed against Iraqi police and security forces and, in one instance, an oil field.

       260.    The U.S. Department of Treasury designated AAI a Specially Designated Terrorist

Group under E.O 13224 on February 20, 2003.

       261.    The U.S. Department of State designated AAI a FTO on March 22, 2004.

       262.    Australia, New Zealand, Canada, and the European Union have designated AAI as

a terrorist organization. The U.S. Treasury Department designated Mullah Krekar an individual

providing assistance to terrorism and thus subject to having all international assets frozen in

December 2006.

       7.      AL QAIDA NETWORK

       263.    Al Qaida (a/k/a al-Qaeda, a/k/a al-Qa’ida, “AQ”) is a designated international

terrorist organization, widely recognized as such by all civilized nations and the United Nations,

and is neither a legitimate “military force” nor a recognized sovereign state.

       264.    The United States has designated AQ, including its branches, subsidiaries and

“franchisees” (Including al-Qa’ida in Iraq (“AQI”)) as a foreign terrorist organization and a

specially designated global terrorist.

       265.    Commencing in the early 1990s and continuing until at least 2011, the Islamic

Republic of Iran provided significant, indispensable, funding, weapons, safe haven, training,



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intelligence, centers for command and control, undocumented transport between Afghanistan, Iraq

and Pakistan across its borders and other significant material support.

       266.    Iran was an indispensable accomplice and provided significant financial and

material support in AQ’s terrorist attacks against American, European and Iraqi civilians and

soldiers from at least 1991 until 2011.

       267.    On June 30 1989, General Omar Hassan al-Bashir led a coup d'état toppling the

exiting regime in Sudan. The radical Salafi cleric, Hassan Abd Allah al-Turabi served as the

"intellectual architect" or "the power behind the throne", sometimes officially as leader of the

National Islamic Front and sometimes as speaker of the parliamentary assembly.

       268.    In 1990-1991, Turabi founded the Popular Arab and Islamic Congress, which

included representatives from the Palestine Liberation Organization, Hamas, Egyptian Islamic

Jihad, Al Qaeda, Algerian Islamic Jihad, Hezbollah, Abu Nidal Group, and the Islamic

Revolutionary Guard Corps.

       269.    In 1991, the Kingdom of Saudi Arabia expelled AQ leader Usama bin Laden

(“UBL”) and UBL moved his base of operations to Sudan.

       270.    The Sudanese army protected Bin Laden’s home in Khartoum and his terrorist

training bases within the country as well as providing AQ with access to the international and

United States financial networks. In addition, Sudan provided AQ with 200 Sudanese passports,

allowing AQ operatives to travel under fictitious identities.

       271.    Turabi brought together UBL and leaders of the IRGC Qods Force and leaders of

Hezbollah. Commencing in April 1991, Turabi hosted meetings bringing together leaders from

AQ, Hezbollah, and Iranian and Sudanese officials. According to AQ shura council member Abu




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Hajer al-Iraqi, the purpose of these meetings was to focus on common enemies, the West and the

United States.

         272.    In 1991, Hezbollah opened a base of operations in Khartoum, Sudan.

         273.    On December 13, 1991, Iranian President Ali Akbar Hashemi Rafsanjani arrived in

Khartoum, Sudan for a six-day visit, by a delegation of 157 members, including Mohsen Rezai

then Commander of the IRGC, Iranian Intelligence Minister Ali Fallahian and Iranian Defense

Minister Ali Akbar Torkan. Various agreements were signed between Iran and Sudan, pursuant to

which, inter alia, Iran delivered $300 million of Chinese weapons and 2000 IRGC operatives were

sent to train Sudan’s Popular Defense Forces.

         274.    According to the 9-11 Commission Report, in late 1991 or 1992, discussions in

Sudan between AQ and Iranian operatives led to an agreement to cooperate in providing support -

specifically, training - for actions carried out primarily against Israel and the United States. Not

long afterward, senior AQ operatives and trainers traveled to Iran to receive training in explosives.

         275.    The 9-11 Commission reported that ““[t]he relationship between al Qaeda and Iran

demonstrated that Sunni-Shia divisions did not necessarily pose an insurmountable barrier to

cooperation in terrorist operations.” 57

         276.    Iran was a valuable connection for UBL and AQ, and AQ was highly beneficial to

Iran, given AQ’s extreme and violent position against America and its animosity against the

Kingdom of Saudi Arabia. Iran and Hezbollah played significant roles in the buildup of AQ's

terrorist capabilities.




57
     The 9/11 Comm. Rpt. (2004) at p. 61.
                                                 55
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       277.    As a result of the creation of this terrorist alliance, AQ leader Ayman al Zawahiri

repeatedly visited Tehran during the 1990s and met with Minister Ali Fallahian, other officers of

Iran Ministry of Intelligence and Security (“MOIS”), and Qods Force Commander Ahmad Vahidi.

       278.    Throughout the 1990s, the Al Qaeda-Iran-Hezbollah terrorist training arrangement

continued. Hezbollah leader Imad Mughniyah coordinated these training activities, including

training of AQ personnel, with Iranian government officials in Iran and with IRGC officers

working undercover at the Iranian embassy in Beirut, Lebanon.

       279.    AQ operative Ali Mohammed provided security for one prominent meeting

between Hezbollah’s chief external operations officer, Imad Mughniyah, and Bin Laden in Sudan.

Mohammed testified at this plea hearing that “Hezbollah provided explosives training for AQ and

a1 Jihad. Iran supplied Egyptian Jihad with weapons. Iran also used Hezbollah to supply

explosives that were disguised to look like rocks.”

       280.    Iran trained Saif al-Adel, head of AQ security, and other AQ members, including

shura council members, at Hezbollah training camps in the mid-1990s. AQ leader Mustafa Hamid

was one of AQ’s primary points of contact with IRGC. He negotiated the agreement between AQ

and Iran, which secured safe transit between Iran and Afghanistan and to Iraq for AQ members.

       281.    This facility was used by AQ in planning and perpetrating the terrorist attacks

conducted against U.S. civilians, diplomats and servicemen and women, such as: the suicide

bombing of U.S. Air force personnel and their families in Khobar, Saudi Arabia; the U.S.

embassies in Nairobi and Dar es Salaam; and the World Trade Center on September 11, 2001.

       282.    On June 25, 1996, Iranian-backed Hezbollah terrorists, with the support of AQ,

bombed the Khobar Towers housing complex in Dhahran, Saudi Arabia, killing 19 U.S.

servicemen and wounding approximately 500 others. FBI investigators concluded: the operation



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was undertaken on direct orders from senior Iranian government leaders; the bombers had been

trained and funded by the IRGC in Lebanon’s Bekaa Valley; and senior members of the Iranian

government, including Ministry of Defense, Ministry of Intelligence and Security and the Supreme

Leader’s office, had selected Khobar as the target and commissioned Hezbollah to carry out the

operation.

          283.   AQ was involved in the planning and preparations for the Khobar Towers bombing.

UBL tried to facilitate a shipment of explosives to Saudi Arabia, and, on the day of the operation,

bin Laden was, according to NSA intercepts, congratulated on the telephone. 58

          284.   The 9/11 Commission examined classified CIA documents establishing that IRGC-

Qods Force commander Ahmad Vahidi planned the Khobar Towers attack with Ahmad al

Mugassil, a Saudi-born AQ operative.

          285.   Two months later, in August 1996, UBL would cite the Khobar Towers bombing

in his first fatwa, a “Declaration of War Against the Americans Occupying the Land of the Two

Holy Places”: “The crusader army became dust when we detonated al Khobar…” (Emphasis

added).

          286.   Iran aided, abetted and conspired with Hezbollah, UBL, and AQ to launch the large-

scale bombing attacks against the United States embassies in Nairobi and Dar es Salaam on August

7, 1998. Prior to their meetings with Iranian officials and agents, Bin Laden and AQ did not possess

the technical expertise required to carry out the embassy bombings. Iran, through Hezbollah,

provided explosives training to Bin Laden and AQ and rendered direct assistance to AQ

operatives. 59



58
     The 9/11 Comm. Rpt. (2004) at p. 60.
59
     Owens v. Republic of Sudan, 826 F. Supp. 2d 128, 139 (D.D.C. Nov. 28, 2011).

                                                 57
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          287.    As stated in the 9/11 Report, “Iran made a concerted effort to strengthen relations

with al Qaeda after the October 2000 attack on the USS Cole…” For example, Iranian officials

facilitated the travel of AQ members – including at least 8 of the 9/11 hijackers – through Iran on

their way to and from Afghanistan, where the hijackers trained at AQ’s terrorist training camps. 60

          288.    U.S., Saudi, and Egyptian political pressure on the Sudanese eventually forced them

to expel Usama bin Laden in May 1996. Radical Afghan Sunni warlord Gulbuddin Hekmatyar, a

strong Iranian ally, invited bin Laden to join him in Afghanistan. UBL then relocated to

Afghanistan with the assistance of the Iranian intelligence services. 61

          289.    Iran provided material support to AQ after the 9/11 attacks in several ways, most

significantly by providing safe haven to AQ leaders and operatives, keeping them safe from

retaliation by U.S. forces that had invaded Afghanistan. According to the U.S. Treasury

Department press release, January 16, 2009, in late 2001, while in Tehran, AQ senior operative

Mustafa Hamid negotiated with the Iranians to relocate al Qaeda families to Iran after the 9/11

attacks.

          290.    In the fall of 2001, Iran facilitated the exit from Afghanistan, into Iran, of numerous

AQ leaders, operatives, and their families. The Iran-Afghanistan safe passageway, established

earlier to get AQ recruits into and out of the training camps in Afghanistan, was utilized to evacuate

hundreds of AQ fighters and their families from Afghanistan into Iran for safe haven there. The

IRGC knew of, and facilitated, the border crossings of these AQ fighters and their families entering

Iran.




60
     The 9/11 Comm. Rpt. (2004) at pp. 240-241.
61
     Id. at 65.
                                                    58
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       291.    Among the high-level AQ officials who arrived in Iran from Afghanistan at this

time were Sa’ad bin Laden and the man who would soon lead “al Qaeda in Iraq,” Abu Musab al

Zarqawi.

       292.    In late 2001, Sa’ad bin Laden facilitated the travel of UBL’s family members from

Afghanistan to Iran. Thereafter, Sa’ad bin Laden made key decisions for AQ and was part of a

small group of AQ members involved in managing AQ from Iran.

       293.    By 2002, AQ had established in Iran its ‘management council,’ a body that Usama

bin Laden reportedly tasked with providing strategic support to the organization's leaders in

Pakistan. Key members of the council included Saif al-Adel, Sulayman Abu Ghayth, Abu al-Khayr

al-Masri, Abu Muhammad al-Masri, and Mahfouz Ould al-Walid (a.k.a. Abu Hafs al-Mauritani).

All five senior operators remained influential over the next several years and retained close ties to

bin Laden. Adel organized groups of fighters to overthrow Hamid Karzai's regime in Afghanistan

and provided support for the May 12, 2003 terrorist attacks in Riyadh.

       294.    The Iranian regime offered AQ this safe haven in order to advance its own interests.

Having AQ operatives in the country gave Iran a bargaining chip and important leverage with the

U.S. and Saudi Arabia. In addition, it enabled Iran to protect itself from a possible attack against

targets in Iran. The deal enabled Iran to cause chaos in Iraq and thus preventing it from becoming

a Muslim democratic regime, which would endanger the security of the Iranian regime by the

example and influence it would pose to the tens of thousands of Iranian pilgrims who visit the

Shiite shrines in Iraq each year.

       295.    The agreement was reached between IRGC Qods Force commander Qassem

Soleimani and AQ senior commander Abu Hafs al-Mauritani at Iran’s Zahedan (near the Pakistani

and Afghanistan border) during December 2001.



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        296.    In testimony before the U.S. Senate in February 2003, CIA Director George Tenet

said, “we see disturbing signs that Al Qaeda has established a presence in both Iran and Iraq.” 62

        297.    Senior AQ members continued to conduct terrorist operations from inside Iran. For

example, the U.S. intercepted communications from Saif al Adel, then in Mashad, Iran, to AQ

assassination teams in Saudi Arabia just before their May 12, 2003 assault on three housing

compounds in Riyadh. AQ leaders in Iran planned and ordered the Riyadh bombing.

        298.    CIA Director General Michael Hayden noted that Usama Bin Laden understood

that Iran was providing safe harbor to AQ.

        299.    For example – he quoted communications between senior AQ commanders and bin

Laden, found on bin Laden’s computer: “everybody is threatened – as long as he moves – by a

missile…There is an idea preferred by some of the brothers to avoid attrition [loss of staff, leaders,

and the organization’s old elites] the idea is that some brothers will travel to ‘safe’ areas with their

families, just for protection.” The author offers some ideas for safe havens: Sind, Baluchistan,

Iran. Two months later bin Laden agrees they should be taking refuge in safer areas.” 63

        300.    After the September 19, 2008 attack on the American embassy in Sana'a, Yemen,

which killed 19 people, Ayman al Zawahiri sent a letter to IRGC (which was intercepted) which

stated: “Al-Qaeda's leadership pays tribute to Iran's generosity, stating that without its ‘monetary




62
   David Johnston, Threats and Responses: Washington; Top U.S. Officials Press Case Linking
Iraq to Al Qaeda, N.Y. TIMES (Feb. 12, 2003),
http://www.nytimes.com/2003/02/12/world/threats-responses-washington-top-us-officials-press-
case-linking-iraq-al-qaeda.html.
63
   Michael W. Hayden, AMERICAN INTELLIGENCE IN THE AGE OF TERROR –
PLAYING TO THE EDGE 339-340 (2016).

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and infrastructure assistance' it would have not been possible for the group to carry out the terror

attacks. 64 (Emphasis added).

         301.       Testifying before the Senate Foreign Relations Committee on March 16, 2010, then

commander of U.S. Central Command General David Petraeus stated that: AQ “[c]ontinues to use

Iran as a key facilitation hub, where facilitators connect AQ’s senior leadership to regional

affiliates...” 65

         A.         ABU MUSAB ZARQAWI AND THE RISE OF AL QA’IDA IN IRAQ
                    (“AQI”)

         302.       In 1999, Abu Musab Zarqawi founded and was the operational leader of Al Tawhid

al Jihad (a/k/a Jund al-Islam), an organization with close personal and organizational links to the

AQ network. UBL provided Zarqawi $200,000 to set up a training camp in Afghanistan near the

border with Iran. In 2000, a Jordanian court sentenced him in absentia to fifteen years of hard labor

for his role in the AQ millennial terror plot targeting Western interests in Jordan.

         303.       On September 23, 2001, Tawhid (together with Iranian-sponsored AAI) took

hostage, tortured and murdered (the majority of whom were beheaded) 42 Peshmerga security

officers in the Iraqi Kurd border town (on the border with Iran).

         304.       In early 2002, Zarqawi escaped from U.S. forces in Afghanistan to Iran with other

AQ leaders and operatives. While staying in Iran, Zarqawi operated under the control of the IRGC

and the Qods Force. Intelligence officials claimed that the time Zarqawi spent in Iran was crucial

for rebuilding his network before relocating to Iraq to establish AQI.



64
  Con Coughlin, Iran receives al Qaeda praise for role in terrorist attacks, THE TELEGRAPH
(Nov. 23, 2008, http://www.telegraph.co.uk/news/worldnews/middleeast/iran/3506544/Iran-
receives-al-Qaeda-praise-for-role-in-terrorist-attacks.html).
65
   U.S. Military Academy, Combating Terrorism at West Point (Apr. 2017),
https://ctc.usma.edu/v2/wp-content/uploads/2017/04/CTC-Sentinel_Vol10Iss4.pdf.

                                                   61
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         305.    Several months later, Zarqawi returned to the AAI camp in northern Iraq, run by

his Jund al-Islam/Tawhid lieutenants.

         306.    On September 24, 2003, the U.S. Treasury designated Zarqawi and several of his

associates as Specially Designated Global Terrorists, stating that Zarqawi not only has “ties” to

Hezbollah, but that plans were in place for his deputies to meet with both Hezbollah and Asbat al

Ansar (a Lebanese Sunni terrorist group tied to AQ). 66

         307.    In 2004, Zarqawi changed the name of his group from Al Tawhid to AQI.

         308.    US Department of Treasury designed Tawhid al Jihad as an FTO and SDGT on

October 15, 2004. 67 The OFAC SDN designation was updated on December 1, 2004 to the other

known names of AQI. 68

         309.    MOIS and IRGC-QF are under the general command of Section 101, also called

the Leader’s Intelligence and Security office. They cooperate and share intelligence in “exporting

the revolution” (which is a euphemism for fomenting violence and destabilizing other regimes,

primarily via acts of international terrorism). 69

         310.    Department 15 of MOIS handles liaison responsibilities with foreign terror groups

while the IRGC relies on its Qods Force for many of the same functions. 70



66
     Supra note 37.
67
   U.S. Department of the Treasury, Recent OFAC Actions (Oct. 15, 2004),
https://www.treasury.gov/resource-center/sanctions/OFAC-Enforcement/Pages/20041015.aspx.
68
   U.S. Department of the Treasury, Recent OFAC Actions (Dec. 1, 2004),
https://www.treasury.gov/resource-center/sanctions/OFAC-Enforcement/pages/20041201.aspx.
69
   Stratfor, Iranian Intelligence and Regime Preservation (June 22, 2010),
https://worldview.stratfor.com/article/special-series-iranian-intelligence-and-regime-
preservation.
70
  William Tucker, A Reported Shift in Iran's IRGC, IN HOMELAND SECURITY (Sept. 29,
2015),http://inhomelandsecurity.com/a-reported-shift-in-irans-irgc/; Stratfor Report, Iranian
Intelligence and Regime Preservation (June 22,
                                                     62
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         311.   On June 10, 2003, American intelligence officials asserted that MOIS and the IRGC

Qods Force are deeply involved in supporting AQ. 71

         312.   In December 2006, two Qods force agents were arrested in Baghdad, possessing

“weapons lists, documents pertaining to shipments of weapons into Iraq, organizational charts,

telephone records and maps, among other sensitive intelligence information… [and] information

about importing modern specially shaped explosive charges into Iraq. Officials were particularly

concerned by the fact that the Iranians had information about importing modern, specially shaped

explosive charges into Iraq, weapons that have been used in roadside bombs to target U.S. military

armored vehicles.” 72 An American intelligence official said these documents “show how the Qods

Force … is working with individuals affiliated with Al Qaeda in Iraq and Ansar Al Sunna.” 73 One

of the IRGC Qods Force detainees was, according to General Stanley McChrystal, Mohsen

Chizari, commander of Qods Force’s Operations and Training staff. 74

         313.   Iranian involvement in Iraq with the Sunni terrorists was known in military and

intelligence circles since the Fallujah uprising in March of 2004.

         314.   Iranian mines and weapons were funneled to Zarqawi’s terrorists in Fallujah,

Ramadi and elsewhere throughout “Sunni Triangle” dominating Anbar province.




2010), https://worldview.stratfor.com/article/special-series-iranian-intelligence-and-regime-
preservation.
71
  U.S. says Iran harbors al Qaeda ‘associate’, WASHINGTON TIMES (June 10,
2003, http://www.washingtontimes.com/news/2003/jun/10/20030610-125659-6237r/).
72
  Iraq Expels 2 Iranians Detained by U.S., WASHINGTON POST (Dec. 30
2006, http://www.washingtonpost.com/wp-
dyn/content/article/2006/12/29/AR2006122901510.html).
73
  Iran's Secret Plan For Mayhem, NEW YORK SUN, (Jan. 3
2007, http://www.nysun.com/foreign/irans-secret-plan-for-mayhem/46032/).
74
     Michael Weiss and Hassan Hassan, ISIS: INSIDE THE ARMY OF TERROR 53 (2015).

                                                63
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       315.      On February 16, 2012, the U.S. Department of Treasury designated MOIS,

indicating that it has facilitated AQ operatives in Iran and provided them with documents,

identification cards, and passports. The Treasury also stated that MOIS provided money and

weapons to AQI (a terrorist group designated under E.O. 13224), and negotiated prisoner releases

of AQ operatives. 75

       316.      Under Secretary for Terrorism and Financial Intelligence, David S. Cohen, stated

on July 28, 2011 “that Iran is the leading state sponsor of terrorism in the world today. By exposing

Iran’s secret deal with al-Qa’ida, allowing it to funnel funds and operatives through its territory,

we are illuminating yet another aspect of Iran’s unmatched support for terrorism. Today’s action

[designating the following AQ terrorists and others] also seeks to disrupt this key network and

deny al-Qa’ida’s senior leadership much-needed support…Iran is a critical transit point for funding

to support al-Qa’ida’s activities in Afghanistan and Pakistan.” 76 Among terrorists designated were

the following:

                 a. Ezedin Abdel Aziz Khalil, a prominent AQ facilitator, who has been operating
                    under a secret agreement between AQ and the Iranian government. The Iranian
                    regime has permitted Khalil to operate within its borders since 2005 and
                    maintain a relationship with him. Khalil moved money and recruits from across
                    the Middle East into Iran, then on to Pakistan for the benefit of AQ senior
                    leaders. He was responsible for moving significant amounts of money via Iran
                    for onward passage to AQ leadership in Iraq and Afghanistan.

                 b. Muhsin al-Fadhli, who was considered then an AQ leader in the Gulf countries.
                    Al-Fadhli is so trusted within AQ that he was one of the few terrorists with
                    foreknowledge of the 9/11 attacks. When he was first designated in 2005, al-
                    Fadhli was considered an al Qaeda leader in the Gulf who provided support to
                    Iraq-based fighters for attacks against the U.S.-led Coalition. Al-Fadhli was

75
  U.S. Department of the Treasury, Treasury Designates Iranian Ministry of Intelligence and
Security for Human Rights Abuses and Support for Terrorism (Feb. 16
2012), https://www.treasury.gov/press-center/press-releases/Pages/tg1424.aspx.
              76
        A.       U.S. Department of the Treasury, Treasury Targets Key Al-Qa’ida Funding and
        Support Network Using Iran as a Critical Transit Point (Jul. 28, 2011),
https://www.treasury.gov/press-center/press-releases/Pages/tg1261.aspx.
                                                 64
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                     also a major facilitator for deceased AQI leader Abu Musab al Zarqawi. Al-
                     Fadhli began working with AQ’s Iran-based facilitation network in 2009 and
                     was later arrested by the Iranians. He was subsequently released by the Iranians
                     in 2011 and went on to assume the leadership of the facilitation network from
                     AQ leader Yasin al-Suri later that year.

                  c. AQ leader Yasin al Suri, along with five other terrorist operatives who use
                     Iranian soil to move funds and recruits from Iran’s neighboring Gulf countries
                     to South Asia and elsewhere. Al Suri’s network assists senior AQ operatives in
                     Iraq and Pakistan.

           317.   On February 6, 2014, the U.S. Treasury Department designated senior AQ member

Jafar al-Uzbeki, part of an AQ network which operates in Iran “with the knowledge of Iranian

authorities." 77 The U.S. Treasury added that this network "uses Iran as a transit point for moving

funding and foreign fighters through Turkey to support al Qaeda-affiliated elements inside

Syria." 78

           8.     THE SPECIAL GROUPS

           318.   Iran opposes U.S. peacekeeping efforts and initiated acts of international terrorism

against U.S. nationals, Coalition Forces, and Iraqi citizens with the goals of destabilizing Iraq and

increasing Iranian influence in that country.

           319.   Iran, through its proxies and/or agents acting within the scope of their employment,

agency, and direction from Iran, provided substantial material support and/or resources that

facilitated acts of torture, extrajudicial killing and hostage taking that caused personal injury or

death to more than one thousand Americans in Iraq.

           320.   Iran’s support for the Special Groups is now well established. The IRGC-QF

attempted to develop the Special Groups into a network similar to Hezbollah – a highly-lethal



77
  U.S. Department of the Treasury, Treasury Targets Networks Linked to Iran (Feb. 6
2014), https://www.treasury.gov/press-center/press-releases/Pages/jl2287.aspx.

78   Id.
                                                   65
       Case 1:20-cv-02316-ACR Document 8 Filed 04/22/21 Page 111 of 600




network that relied upon the Iranian regime to survive. The purpose of the IRGC-QF in developing

these Special Groups was to create highly lethal networks that relied upon the Iranian regime to

survive, and thus, were controlled, either directly or indirectly, by Iran.

       321.    Iran leveraged (and continues to do so) its control and dominion over the IRGC,

the IRGC-QF, and Hezbollah, and through those entities, provided the Special Groups with

training (in Iran), weapons, safe harbor, U.S. currency, and intelligence, including those Special

Groups responsible for the Terrorist Attacks which killed, maimed, or otherwise injured

Plaintiffs. 79 The training provided to the Special Groups while they were in Iran included tactics

and technology to conduct kidnappings, small unit tactical operations, and employ sophisticated

IEDs. 80

       322.    These Special Groups returned to Iraq after receiving their Iran-supported training,

maintaining their group’s organization. Thus, each Special Group consisted of Iraqi civilians who

trained together in Iran on how to use IEDs, EFPs, mortars, rockets, as well as intelligence, sniper,

and kidnapping operations.

       323.    The Special Groups operate throughout Iraq and, at all relevant times, remained

under the control of Iran, through its proxies and/or agents, MOIS, IRGC, IRGC-QF, and

Hezbollah.

       324.    During the Relevant Period, the IRGC-QF supplied the Special Groups with an

estimated funding stream of at least $750,000 to $3 million (U.S. Dollars) a month.




79
  U.S. Department of Defense, CDA—Military Power of Iran, Unclassified Report on Military
Power of Iran, at 3 (Apr. 2010), http://www.fas.org/man/eprint/dod_iran_2010.pdf.
80
   U.S. Department of Defense, Iranian Government Behind Shipping Weapons to Iraq,
http://archive.defense.gov/news/newsarticle.aspx?id=1289 (last visited Sept. 13, 2017).

                                                  66
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         325.    Utilizing the training, weapons and funding provided by Defendants, either directly

or indirectly, the Special Groups planned and executed a string of bombings, kidnappings,

sectarian murders, and more against Iraqi civilians, Coalition Forces and U.S. nationals, including

Plaintiffs.

         326.    Although U.S. policy (supported by U.N. Security Council resolutions) was to

establish peace and stability in Iraq in the hopes of establishing a democratic government, Iran

viewed the U.S. and international peacekeeping efforts in Iraq as a potential threat to its regime.

         327.    Rather than cooperate with the U. S. and Coalition Forces authorized by the U.N.

to bring peace, democracy and stability to Iran, or alternatively to openly and directly engage in

armed conflict with the U.S. or other Coalition Forces, Iran chose to undermine U.S. and U.N.

peacekeeping efforts by unleashing massive waves of terrorism and sectarian violence in Iraq, in

part, by targeting U.S. Nationals, including Plaintiffs, through the Special Groups that Iran

controlled.

         328.    President Bush declared on May 1, 2003, that “major combat operations in Iraq

have ended.”

         329.    On May 23, 2003, the Coalition Provisional Authority established as the interim

government for Iraq disbanded the Iraqi military forces.

         330.    The U.N. Security Council authorized the post-conflict occupation of Iraq by

Coalition Forces in October 2003 to maintain “security and stability.” 81

         331.    After 2003, the IRGC inserted hundreds of its Iranian-trained operatives into Iraq’s

state security organs (notably the Ministry of Interior intelligence structure) in part through its

influence within the Badr Organization (discussed further below).



81
     S.C. Res. 1511, ¶ 13, U.N. Doc. S/RES/1511 (Oct. 16, 2003).
                                                  67
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         332.    In addition to its coordination with the Badr Organization, Iran, through its agent

the IRGC-QF, formed the Ramezan Corps intended to operate specifically in Iraq. The Ramezan

Corps cultivated, armed, trained and supported several Shi’a terror groups in Iraq that the U.S.

military later termed “Special Groups.”

         333.    Although a June 7, 2004 U.N. Security Council Resolution expressly assigned

Coalition Forces in Iraq the task of helping Iraq “by preventing and deterring terrorism,” Iran set

out to target Coalition Forces and U.S. nationals, including Plaintiffs, and force them out of Iraq.

(emphasis added). 82

         334.    After Coalition Forces invaded, Iranian intelligence services penetrated Iraq rapidly

and thoroughly. The goal of their collection efforts was finding out what weapons U.S. troops were

carrying and what kind of body armor they were wearing. Iranian agents also sought information

on the location of U.S. Army and intelligence bases; on the routes traveled by U.S. convoys; on

the operations of the Special Forces’ elite Delta Force; and on the plans of the U.S. military and

intelligence inside Iraq. The Iranians preferred not to be directly implicated in attacks on U.S.

forces, but instead offered bounties to Iraqis for killing Americans, shooting down U.S.

helicopters, and destroying American tanks. 83

         335.    The number and sophistication of Special Groups increased in 2005, as the Iranian

regime deployed Hezbollah to train Iraqi civilians in Iran.

         336.    In 2007, the Special Groups further escalated the number of mortar and rocket

attacks against U.S. national targets, including Plaintiffs, in the Baghdad International Zone. The




82
     S.C. Res. 1546, U.N. Doc. S/RES/1546.
83
     Pound, supra note 27.

                                                  68
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accuracy of this indirect fire improved because of the training and weapons these Special Groups

received from Iran.

         337.   In sum, from October 16, 2003 onward, even though U.S. military personnel in Iraq

were present at the request of the sovereign government of Iraq and participants in an

internationally sanctioned peace keeping mission pursuant to the U.N. Security Council Resolution

acting under Chapter VII of the U.N Charter, Iran embarked on a policy of terrorism, extrajudicial

killings and murder, kidnapping and torture to thwart those efforts.

         338.   During the Relevant Period, the conduct of MOIS IRGC, IRGC-QF, Hezbollah,

AAI, AQ, the Special Groups, and other Iranian supported terrorists in the extrajudicial killing,

injuring, and kidnapping and hostage taking of U.S. nationals, Coalition Forces, and civilians were

conducted by operatives who did not carry fixed distinctive signs recognizable at a distance, carry

arms openly, conduct their operations in accordance with the laws and customs of war, or enjoy

any form of combatant immunity for their acts. In fact, Hezbollah, the IRGC, IRGC-QF, AAI, AQ,

the Special Groups and other Iranian supported terrorists acted in flagrant violation of, inter alia,

the Geneva Convention Articles 48, 51(2) 84 and 52(2) of Additional Protocol I; Article 4(2)(d) of

Additional Protocol II 85 and Article 147 of the Geneva Convention on the Protection of Civilian

Persons in Time of War (Fourth Geneva Convention 1949), as well as United Nations Security

Council Resolution 1373. 86


84
   Article 51(2) of Additional Protocol I prohibits acts or threats of violence where the primary
purpose is to spread terror among the civilian population.
85
    The prohibition of acts or threats of violence aimed at terrorizing the civilian population is
further supported by the wider prohibition of acts of terrorism in Article 4(2)(d) of Additional
Protocol II. The UN Secretary-General noted that violations of Article 4 of Additional Protocol
II have long been considered violations of customary international law. UN Secretary-
General, Report on the establishment of a Special Court for Sierra Leone; ICTR Statute, Article
4(d) (cited in Vol. II, Ch. 1, § 545).
86
     United Nations Security Council, Prevention and Suppression of Financing Terrorist Acts,
                                                 69
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       339.    Because of the perceived unreliability and value of the post-Hussein regime Iraqi

currency, Special Groups and other terrorists in Iraq used U.S. currency almost exclusively.

       340.    Iran facilitated and enabled the terrorist attacks launched against U.S. Nationals,

including the Plaintiffs and others, on a massive scale which would not have been possible without

Iran’s provision of hundreds of thousands of munitions, advanced technologies, training, funding,

intelligence, safe harbor and other material support detailed herein.

       341.    Without the massive funding and material support from Iran, Special Groups and

other Iranian proxies would not have been able to conduct the thousands of acts of international

terrorism on the scale and with the lethality they achieved, including the Terrorist Attacks which

resulted in the deaths, maiming, or otherwise injuring of Plaintiffs and Plaintiffs’ family members.

               A. THE BADR CORPS/BADR ORGANIZATION

       342.    The Badr Corps was established in 1982 in Iran as the military wing of the Supreme

Council for Islamic Revolution in Iraq.

       343.    From its headquarters in Iran, the Badr Corps operated extensive networks

throughout Iraq in the 1990s. The group smuggled men and weapons into Iraq to conduct attacks

against the Iraqi regime of Saddam Hussein.

       344.    Like Hezbollah, the Badr Corps established clandestine offices in businesses and

social organizations in Iraq.

       345.    The Badr Corps also used Iraqi front companies to recruit operatives, collect

intelligence, and circulate propaganda materials in Shi’a populated areas.




(Sept. 28, 2001),
http://www.un.org/en/sc/ctc/specialmeetings/2012/docs/United%20Nations%20Security%20Cou
ncil%20Resolution%201373%20(2001).pdf (passing unanimously to reaffirm various UN
resolutions).

                                                70
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       346.    Before 2003, the Badr Corps served as Iran and Hezbollah’s most important

surrogate inside Iraq, acting as a de facto arm of the IRGC-QF.

       347.    The Badr Corps received training and weapons from Iraq through the IRGC and

Hezbollah.

       348.    After Saddam Hussein’s overthrow in 2003, the Badr Corps renamed itself the Badr

Organization, and many of its operatives joined the newly formed Iraqi security forces.

       349.    Published reports indicate that thousands of members of the Badr Organization

remained on the IRGC-QF payroll after 2004.

       350.    Several senior Badr Corps operatives later emerged as key conduits for funneling

weapons to Iranian Proxies in Iraq from 2004 through at least 2011, including Abu Mustafa al-

Sheibani, a key smuggler of deadly Iranian IEDs, and Jamal Ja’far Muhammad, a/k/a Abu Mahdi

al-Muhandis (a/k/a “The Engineer”), who later led Kata’ib Hizballah (discussed below). 87

       351.    “Department 1000” of the IRGC-QF, known as the Ramezan Corps, is in charge of

Iraqi operations and remains the largest Qods Force command outside of Iran. It coordinated,

armed, and influenced the Badr Organization.

       352.    Although the Badr Organization evolved into a major political organization with

seats in the new Iraqi parliament, it also played a significant role in facilitating Special Groups’

operations in Iraq. A number of Special Groups commanders such as Al-Muhandis are, or were,

Badr Corps agents and operatives.




87
  Abu Mahdi al-Muhandis was killed on January 3, 2020 with Major General Qassem Soleimani
by a U.S. drone strike in Baghdad. See: https://ctc.usma.edu/cyber-threat-iran-death-soleimani/
                                                71
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        353.    It was through the Badr Corps that the IRGC inserted hundreds of its Iranian-trained

operatives into Iraq’s state security organs (e.g. the Iraqi Ministry of Interior Intelligence structure)

during the Relevant Period.

                B.      KATA’IB HIZBALLAH

        354.    Kata’ib Hizballah (“KH”) has functioned as Iran’s go-to terror group in Iraq and

received support from Lebanese Hezbollah, including training in weapons use; IED construction

and operation; and sniper, rocket, and mortar attacks. KH is a radical Shi’a Islamist group, an Iraqi

terrorist organization, and an anti-Western establishment responsible for numerous terrorist acts

against Iraqi, U.S., and other targets in Iraq since at least 2007. KH has ideological ties to Lebanese

Hezbollah and may have received support from that group.

        355.    KH has a number of aliases, including Hezbollah Brigades; Hezbollah Brigades in

Iraq; Hezbollah Brigades-Iraq; KH; Kata’ib Hezbollah; Kheta’ib Hezbollah; Khattab Hezballah;

Hezbollah Brigades-Iraq of the Islamic Resistance in Iraq; Islamic Resistance in Iraq; Kata’ib

Hizbollah Fi al-Iraq; Katibat Abu Fathel al-A’abas; Katibat Zayd Ebin Ali; and Katibut Karbalah.

        356.    KH was formed in 2006 and came to prominence in 2007 for attacks against

Coalition Forces and U.S. nationals, including Plaintiffs, and its online propagandizing of those

attacks. The IRGC-QF established it as a vehicle to deploy its most experienced operators and its

most sensitive equipment. Historically, KH operated mainly in Shi’a areas of Baghdad, such as

Sadr City and throughout the south.

        357.    The IRGC-QF positioned one of its own, Abu Mahdi al-Muhandis (aka Jamal al-

Ibrahimi), as the leader of KH. Under al-Muhandis, KH developed as a compact movement of less

than 400 personnel that was firmly under IRGC Qods Force control and maintains relatively good

operational security.



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       358.    In June 2011, five U.S. soldiers were killed in a rocket attack in Baghdad when KH

assailants fired between three and five rockets at U.S. military base Camp Victory.

       359.    In 2015, Iran continued to be deeply involved in the conflict in Syria, working

closely with the Assad regime to counter the Syrian opposition, and also in Iraq where Iran

continued to provide support to militia groups, including the FTO KH. Iranian-backed groups,

including KH, continued to operate in Iraq during 2015, which exacerbated sectarian tensions in

Iraq and contributed to human rights abuses against primarily Sunni civilians. KH and other Iraqi

Shi’a militias associated with the IRGC have been brought into the Iraqi government’s Popular

Mobilization Forces. The inclusion of KH, a designated FTO, in the Popular Mobilization Forces

enlisted by the Iraqi Government in the effort against the Islamic State of Iraq and the Levant

(“ISIL,” aka “ISIS” or “Daesh”), threatens to undermine counterterrorism objectives.

       360.    On June 24, 2009, the United States designated KH an FTO.

       361.    The State Department’s notice of KH’s FTO designation stated that:

               The organization has been responsible for numerous violent terrorist attacks
               since 2007, including improvised explosive device bombings, rocket
               propelled grenade attacks, and sniper operations. Kata’ib Hizbollah [sic]
               also targeted the International Zone in Baghdad in a November 29, 2008
               rocket attack that killed two UN workers. In addition, KH has threatened
               the lives of Iraqi politicians and civilians that support the legitimate political
               process in Iraq. 88

       317.    KH was simultaneously designated an SDGT under E.O. 13224, because it was

“responsible for numerous terrorist acts against Iraqi, U.S., and other targets in Iraq since 2007.” 89

       362.    The U.S. Treasury Department also designated KH pursuant to E.O. 13438.




88
   U.S. Department of State, Office of the Coordinator for Counterterrorism, Designation of
Kata’ib Hizbollah, (June 26, 2009), https://www.state.gov/j/ct/rls/other/des/143209.htm.
89
   Exec. Order 13,224.
                                                  73
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        363.    The U.S. Treasury Department’s 2009 press release announcing KH’s designation

explained that KH had “committed, directed, supported, or posed a significant risk of committing

acts of violence against Coalition and Iraqi Security Forces . . . ” 90

        364.    The press release also quoted then-Under Secretary for Terrorism and Financial

Intelligence, Stuart Levey, as stating “[t]hese designations play a critical role in our efforts to

protect Coalition troops, Iraqi security forces, and civilians from those who use violence against

innocents to intimidate and to undermine a free and prosperous Iraq.” 91

        365.    The U.S Treasury press release also stated: “[f]urther, the IRGC-Qods Force

provides lethal support to KH and other Iraqi Shia militia groups who target and kill Coalition and

Iraqi Security Forces.” 92

        366.    The 2009 press release further reported that between March 2007 and June 2008,

KH led a number of attacks against U.S. forces in Iraq, advising:

                As of 2008, Kata’ib Hizballah was funded by the IRGC-Qods Force and
                received weapons training and support from Lebanon-based Hizballah. In
                one instance, Hizballah provided training--to include building and planting
                IEDs and training in coordinating small and medium arms attacks, sniper
                attacks, mortar attacks, and rocket attacks--to Kata’ib Hizballah members
                in Iran. 93

        367.    Furthermore, the 2009 U.S. Treasury Department press release noted:

                      Recordings made by Kata’ib Hizballah for release to the public as
                      propaganda videos further demonstrate that Kata’ib Hizballah
                      conducted attacks against Coalition Forces. In mid-August 2008,
                      Coalition Forces seized four hard drives from a storage facility
                      associated with a Kata’ib Hizballah media facilitator. The four hard
                      drives included approximately 1,200 videos showing Kata’ib
                      Hizballah’s sophisticated planning and attack tactics, techniques, and
                      procedures, and Kata’ib Hizballah’s use of the most lethal weapons--

90
   Supra note 83.
91 Id.
92
   Id.
93
   Id.
                                                  74
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                       including RPG-29s, IRAMs, and EFPs--against Coalition Forces in
                       Iraq. 94

           368.   One of the hard drives contained 35 attack videos edited with the KH logo in the

top right corner. Additionally, between February and September 2008, Al-Manar in Beirut,

Lebanon broadcast several videos showing KH conducting multiple attacks against U.S. nationals

and Coalition Forces in Iraq.

           369.   Immediately preceding the government of Iraq’s approval of the United States-Iraq

security agreement in late November 2008, KH posted a statement that the group would continue

fighting Coalition Forces and threatened to conduct attacks against the government of Iraq if it

signed the security agreement with the United States.

           370.   In 2008, the U.S. Department of Defense described the linkages it found between

KH, Iran, and multiple terrorist attacks against U.S. nationals in Iraq—including KH’s use of

EFPs:

                  [A]lso known as Hezbollah Brigades, is a terrorist group believed to receive
                  funding, training, logistics and material support from Iran to attack Iraqi and
                  coalition forces using what the military calls ‘explosively formed
                  penetrators’ – roadside bombs designed to pierce armor-hulled vehicles –
                  and other weapons such as rocket-assisted mortars.

           371.   As noted above—and as stated by the U.S. Treasury Department in its July 2009

press release—throughout 2008, Al-Manar, Lebanon Hezbollah’s official television outlet in

Lebanon (and itself a designated SDGT since May 2006), played numerous videos of KH

launching rocket and IED attacks against U.S. troops in Iraq. In this manner, Hezbollah helped

publicize KH’s activities and increase its profile among leading Shi’a terrorist groups.




94
     Id.
                                                    75
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       372.       Although KH’s leadership remains in flux, one individual reportedly associated

with the group is Abu Mahdi al-Muhandis. According to an inquiry published by Kuwaiti daily al-

Rai on June 4, 2016, during the 1980’s, Abu Mahdi al-Muhandis received an Iranian citizenship

from the Iranian regime as part of his prominent role in the Badr Corps. 9594F




       373.       KH’s leader, Abu Mahdi al-Muhandis, is wanted in Kuwait for his alleged role in

the 1983 bombings of the American and French embassies in Kuwait City, as well as for his alleged

involvement in the assassination attempt on the Kuwaiti Emir in 1985. In an interview with

Hezbollah-affiliated media on January 3 2017, Abu Mahdi al-Muhandi admitted that he cooperated

with Hezbollah top commanders Imad Moughniyeh and Mustafa Badreddine from the early 80’s.

According to him, this cooperation included training opposition Iraqi Shiite groups to fight

Saddam Hussein regime and the U.S. troops in Iraq from 2003 onward. 96

       374.       The U.S. Treasury Department designated al-Muhandis an SDGT in July 2009 and

announced the designation in the same press release announcing KH’s designation. That press

release stated:

                  As of early 2007, al-Muhandis formed a Shia militia group employing
                  instructors from Hizballah to prepare this group and certain Jaysh al-Mahdi
                  (JAM) Special Groups for attacks against Coalition Forces. The groups
                  received training in guerilla warfare, handling bombs and explosives, and
                  employing weapons--to include missiles, mortars, and sniper rifles. In
                  another instance as of September 2007, al-Muhandis led networks that
                  moved ammunition and weapons--to include explosively formed
                  penetrators (EFPs)--from Iran to Iraq, distributing them to certain JAM
                  militias to target Coalition Forces. As of mid-February 2007, al-Muhandis
                  also ran a weapons smuggling network that moved sniper rifles through the
                  Iran-Iraq border to Shia militias that targeted Coalition Forces. Al-
                  Muhandis also provided logistical support for attacks against Iraqi Security

95
  See http://www.alraimedia.com/ar/article/special-reports/2016/06/04/684698/nr/nc (last visited
Sept. 13, 2017) (Arabic translation available).
96
   Middle East Media Research Institute TV Monitor Project, Clip #5829,
https://www.memri.org/tv/abu-mahdi-al-muhandis-deputy-commander-popular-mobilization-
units-optimism-over-liberation-mosul (last visited Sept. 12, 2017).

                                                  76
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               Forces and Coalition Forces conducted by JAM Special Groups and certain
               Shia militias. In one instance, in April 2008, al-Muhandis facilitated the
               entry of trucks--containing mortars, Katyusha rockets, EFPs, and other
               explosive devices--from Iran to Iraq that were then delivered to JAM
               Special Groups in Sadr City, Baghdad. Additionally, al-Muhandis
               organized numerous weapons shipments to supply JAM Special Groups
               who were fighting Iraqi Security Forces in the Basrah and Maysan
               provinces during late March-early April 2008.

               In addition to facilitating weapons shipments to JAM Special Groups and
               certain Shia militias, al-Muhandis facilitated the movement and training of
               Iraq-based Shia militia members to prepare them to attack Coalition Forces.
               In one instance in November 2007, al-Muhandis sent JAM Special Groups
               members to Iran to undergo a training course in using sniper rifles. Upon
               completion of the training course, the JAM Special Groups members had
               planned to return to Iraq and carry out special operations against Coalition
               Forces. Additionally, in early March 2007, al-Muhandis sent certain Shia
               militia members to Iran for training in guerilla warfare, light arms,
               marksmanship, improvised explosive devices (IED) and anti-aircraft
               missiles to increase the combat ability of the militias to fight Coalition
               Forces.

               In addition to the reasons for which he is being designated today, al-
               Muhandis participated in the bombing of Western embassies in Kuwait and
               the attempted assassination of the Emir of Kuwait in the early 1980s. Al-
               Muhandis was subsequently convicted in absentia by the Kuwaiti
               government for his role in the bombing and attempted assassination. 97

       375.    In a July 2010 press briefing, U.S. General Ray Odierno identified KH as the group

behind increased threats to U.S. bases in Iraq. General Odierno confirmed that KH operatives had

gone to Iran for special training and then returned to Iraq. General Odierno stated, “[T]hey are

clearly connected to Iranian IRGC.” 98

       376.    In June 2011, it was estimated that KH membership exceeded 1,000 people in Iraq.




97 U.S. Department of the Treasury, Treasury Designates Individual, Entity Posing Threat to
Stability in Iraq (July 2, 2009), https://www.treasury.gov/press-center/press-
releases/Pages/tg195.aspx.
98
   Jim Loney, Iran-backed force threatens U.S. Iraq bases - general, REUTERS, July 13, 2010,
https://in.reuters.com/article/idINIndia-50093520100713.
                                               77
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        377.    Senior Iraqi Intelligence officials have stated that KH receives unlimited funding

from Iran, allowing KH operatives to be paid $300-$500 per month.

                C.    JAYSCH AL MAHDI & THE PROMISED DAY BRIGADES

        378.    Jaysh al Mahdi (“JAM” or the “Mahdi Army”) was established by radical Shi’a

cleric Muqtada al-Sadr in June 2003. On April 18, 2004, it led the first major armed confrontation

by Shi’a militia against U.S.-led forces in Iraq.

        379.    JAM was co-founded by Imad Mughniyah, once the terrorism chief of Hezbollah

and “an agent of Iran and a direct role in Iran’s sponsorship of terrorist activities.” 99 Prior to

September 11, 2001, Mughniyah was ranked number one on the FBI’s Most Wanted list for leading

the attacks which killed 183 Marines in the bombing of the Holiday Inn in Beirut, the hijacking of

a TWA plane and murder of a U.S. Navy diver, and the bombing of the U.S. Embassy in Beirut

(replaced as number one most wanted by Usama bin Laden).

        380.    JAM expanded its territorial control of mixed or predominantly Shi’a

neighborhoods and displaced or killed the local Sunni population.

        381.    JAM was able to gain initial control in many of the neighborhoods in and around

Baghdad (such as Sadr City) by offering the Shi’a population protection and social services.

        382.    In a Department of Defense news briefing on August 24, 2007, General Rick Lynch

confirmed that on August 7, 2006, the 3rd Brigade Combat Team “conducted a raid on a militant



99
   “Imad Fayez Mughniyah (a/k/a Hajj Radwan) was, for decades prior to his death in February
2008, the terrorist operations chief of Hizballah. Mughniyah played a critical role in a series of
imaginative high-profile terrorist attacks across the globe, and his abilities as a terrorist
coordinator, director, and operative was an order of magnitude beyond anything comparable on
the scene between 1980-2008. Mughniyah was, since the early 1980s, an agent of the Islamic
Republic of Iran, where he lived for many years. Imad Mughniyah had a direct reporting
relationship to Iranian intelligence and a direct role in Iran's sponsorship of terrorist activities.”
Havlish v. Bin Laden (In re Terrorist Attacks on September 11, 2001), 2011 U.S. Dist. LEXIS
155899, at 106-107 (S.D.N.Y. Dec. 22, 2011).
                                                    78
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house . . . about 20 miles east of Baghdad . . . They arrested one of our division’s most valued

targets, . . . [who] acted as a link between Iran and the [JAM]. He was the main Shia conduit in

that region for getting Iranian EFPs and rockets into Baghdad, . . .” 100

          383.   Al-Sadr dissolved part of his militia after 2007, but maintained a small group of

Iranian-supported militants called the Promised Day Brigades (“PDB”) to carry out terrorist

attacks against Coalition Forces and U.S. nationals, including certain Plaintiffs.

          384.   The PDB has received funding, training, and weapons from the IRGC and is one of

the Special Groups.

          385.   It is estimated that the PDB had approximately 5,000 active members in June 2011.

          386.   The PDB actively targeted U.S. nationals, including Plaintiffs and U.S. forces, in

an attempt to disrupt security operations and further destabilize Iraq.

          387.   For example, in June 2011, the PBD claimed responsibility for 52 attacks on U.S.

Forces.

          388.   On June 28, 2011, the PDB issued a statement claiming responsibility for ten (10)

mortar and Katyusha rocket attacks against U.S. Military convoys in which U.S. officials

confirmed that three U.S. service members were killed.

          389.   PDB’s headquarters is located in Sadr City, Baghdad, and the groups’ main areas

of operation include southern Iraq, and Baghdad.

                 D.   ASA’IB AHL AL HAQ




100
  Kimberly Kagan, THE SURGE: A MILITARY HISTORY (ENCOUNTER
BROADSIDES) 50 (2010).

                                                 79
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        390.   Asa’ib Ahl Al Haq (“AAH” or the “League of the Righteous”) terrorist organization

is a Shi’a Special Group supported by Hezbollah and the IRGC-QF that conducted assassinations

and operations in Iraq against Coalition Forces and various individuals and U.S. nationals.

        391.   AAH was originally established by Senior Sadrist and MDF-I detainee Qais al-

Khazali. His brother, Laith Khazali, also helped lead the organization.

        392.   AAH split from al-Sadr’s JAM in 2006. Since that time, AAH has conducted:

thousands of IED attacks against U.S. and Iraqi forces; targeted kidnappings of Westerners and

Iraqis; rocket and mortar attacks on the U.S. Embassy; murders of American and British soldiers;

and assassinations of Iraqi officials.

        393.   AAH fought alongside Hezbollah in the 2006 Lebanon-Israeli War.

        394.   During the Relevant Period, AAH received significant funding from Iran, and had

links to Iran’s IRGC-QF and Hezbollah.

        395.   Senior Lebanese Hezbollah operative Ali Musa Daqduq provided training to AAH

terrorists.

        396.   Daqduq reported to Youssef Hashim, the head of Lebanese Hezbollah Special

Operations, and the latter reported to Abdul Reza Shahlai, the director of the IRGC-QF External

Operations.

        397.   In October 2006, AAH used mortars to attack Coalition Forces at Forward

Operating Base Falcon.

        398.   In May of 2007, AAH operatives attacked the Iraqi Finance Ministry, kidnapping

British contractor, Peter Moore, and his four bodyguards. AAH released Moore in December 2009

in exchange for the Iraqi government’s release of its leader Qais al-Khazali, but not before

murdering Moore’s four bodyguards.



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       399.    In October 2009, AAH used mortars to attack the U.S. Consulate in Al Hillah,

Babil, Iraq.

       400.    In October 2011, AAH claimed responsibility for a roadside bomb that killed the

last American to die before the U.S. withdrawal in Iraq in November 2011.

       401.    Hezbollah and the IRGC-QF provided JAM, PDB, KH, AAH, and other Shi’a

groups with a variety of weapons and training used to target U.S. nationals, including Plaintiffs,

and Coalition Forces engaged in their post-2003 peacekeeping mission.

       402.    These weapons included signature Iranian munitions such as EFPs and Improvised

Rocket Assisted Munitions (“IRAMs”), as well as 107 mm rockets (often used as part of IRAMs),

120 mm and 60 mm mortars, Rocket Propelled Grenade (“RPG”) launchers and other small arms.

       403.    The training and weapons provided by Iran and its agents resulted in an increased

lethality and effectiveness of the Terrorist Attacks, and included sophisticated tell-tale tactics that

had not previously been seen in Iraq prior to infusion of Iranian agents, Hezbollah and the IRGC-

QF in 2003.

       9.      IRANIAN SIGNATURE WEAPONS USED IN THE TERRORIST
               ATTACKS

       404.    In addition to conventional former Soviet-block weapons, a variety of Iranian

weapons flowed into Iraq through direct purchases, smuggling, and dual-purpose component

exportation to Iraq by Iran.

               A.    EXPLOSIVELY FORMED PENETRATORS

       405.    One of Iran’s primary forms of material support and/or resources that facilitated

extrajudicial killings of U.S. citizens in Iraq was the financing, manufacturing and deployment of

EFPs and IEDs.




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          406.   IED is a term commonly used by the U.S. military as shorthand for a roadside

bomb. The Terrorist Groups consistently sought to attempt to improve IED effectiveness and

sophistication. 101

          407.   EFPs, IEDs, and other WMDs were typically smuggled from Iran to Iraq, and the

IRGC-QF played a vital role in that process.

          408.   Additionally, in Iraq, the IRGC and Hezbollah supplied and trained various Special

Groups, Al Qaida, and Ansar al Islam to deploy EFPs and IEDs. Iran, through Hezbollah, the

IRGC-QF, and MOIS provided EFP and IED component to Iraqi insurgents and paid them up to

$200 U.S. to use these weapons against U.S. soldiers in Iraq.

          409.   The number of EFPs used against Coalition Forces and U.S. nationals rose at a rate

of 150% between January 2006 and December 2006, and increased every month between

November 2006 and January 2007.

          410.   EFPs are a particularly effective form of manufactured IED and are sometimes

known as a “shaped charge,” usually made with a manufactured concave copper disk and a high

explosive packed behind the liner.




101
      Pound, supra note 27.

                                                 82
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       411.      The EFPs deployed by the IRGC and Hezbollah in Iraq were not truly “improvised”

explosive devices but professionally manufactured and specifically designed to target U.S.

nationals, including Plaintiffs, and Coalition Forces’ armor. These EFPs cannot be made without

specific machinery, access to which Iran controls, and without which Special Groups and other

terrorist organizations could not obtain or use these munitions.

       412.      EFPs constitute “weapons of mass destruction” as that term is defined in 18 U.S.C.

§ 2332a(2)(A).

       413.      In Iraq, EFPs were often triggered by various technologies, including passive infra-

red sensors (tripped by the engine heat of passing vehicles) and radio frequency modules

(triggering the weapon when high-powered radio waves were generated by Coalition Forces’

jamming devices), ultimately setting off an explosion within the steel casing of the EFP, forcing

the copper disk forward, and turning it into a high-velocity molten slug, traveling at over a mile

per second, that could pierce the military-grade armor of most U.S. vehicles deployed in Iraq even

up to 300 feet away.


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       414.    Metallurgic analysis by U.S. technicians helped confirm the high-purity copper

EFP liners were not generally produced in Iraq.

       415.    Differences in the liners indicated the kind of press that was required to fabricate

them—a heavy (hydraulic) press not commonly seen in Iraq.

       416.    To produce these weapons, copper sheets are often loaded onto a punch press to

yield copper discs. These discs are annealed in a furnace to soften the copper. The discs are then

loaded into a large hydraulic press and formed into the disk-like final shape.

       417.    The hydraulic press machinery was transported to Iran by Iran’s national maritime

carrier, Islamic Republic of Iran Shipping Line (“IRISL”).

       418.    This munitions manufacturing process is critical to the design and concomitant

lethality of the weapon and is controlled by Iran.

       419.    EFPs are far more sophisticated than homemade explosive devices such as

traditional improvised explosive devices, and they are designed specifically to target vehicles such

as armored patrols and supply convoys, though Hezbollah and the Special Groups have deployed

them against U.S. and Iraqi civilians as well.

       420.    One of the ways in which the IRGC provided “militants with the capability to

assemble improvised explosive devices (IEDs) with explosively formed penetrators (EFPs) that

were specially designed to defeat armored vehicles” included providing them with manufacturing

supplies such as copper and steel, as well as machinery—including hydraulic presses used to form

copper into the shape of disks used in EFPs.

       421.    Iran propagated its specialized weapons knowledge up and down its network of

terror proxies in Iraq. As documented by the U.S. State Department in its 2006 Country Reports

on Terrorism regarding Iran’s specific efforts to provide terrorists with lethal EFPs to ambush and



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murder U.S. nationals, including Plaintiffs, and other Coalition Forces, “Iran provided guidance

and training to select Iraqi Shia political groups, and weapons and training to Shia militant groups

to enable anti-Coalition attacks.” 102

        422.    As reported by the New York Times on March 26, 2007, U.S. Army officials

believe that terrorists first began using EFPs in Iraq in August 2003.

        423.    In December 2003, Coalition Forces recovered radio equipment that was most

likely intended for use with EFPs in Iraq.

        424.    In December 2004, Coalition Forces recovered passive infrared sensors modified

for use with EFPs.

        425.    Although Iran’s use of EFPs was publicly disclosed by U.S. and British officials in

2005 when the two countries issued diplomatic protests, the official identification of specific

attacks as EFP attacks was not first publicly disclosed until 2010.

        426.    In 2006, the U.S. State Department’s Country Reports on Terrorism further

documented Iran’s specific efforts to provide terrorists with lethal EFPs to ambush and murder

U.S. nationals, including Plaintiffs, and other Coalition Forces:

                Iranian government forces have been responsible for at least some of the
                increasing lethality of anti-Coalition attacks by providing Shia militants
                with the capability to build IEDs with explosively formed projectiles similar
                to those developed by Iran and Lebanese Hezbollah [sic]. The Iranian
                Revolutionary Guard was linked to armor-piercing explosives that resulted
                in the deaths of Coalition Forces. The Revolutionary Guard, along with
                Lebanese Hezbollah [sic], implemented training programs for Iraqi
                militants in the construction and use of sophisticated lED technology. These
                individuals then passed on this training to additional militants in Iraq.
                (emphasis added). 103




102 U.S. Department of State, Office of the Coordinator for Counterterrorism, Country Reports on
Terrorism 2006, at 369 (April 2007), https://www.state.gov/j/ct/rls/crt/2006/.
103
    Id.
                                                 85
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           427.   Also in 2006, Brigadier Gen. Michael Barbero, Deputy Chief of Staff for Strategic

Operations of the Multi-National Force-Iraq stated, “Iran is definitely a destabilizing force in Iraq.

I think it’s irrefutable that Iran is responsible for training, funding and equipping some of these

Shi’a extremist groups and also providing advanced IED technology to them, and there’s clear

evidence of that.” 104

           428.   Brigadier Gen. Kevin Bergner commented on Iran funding of Hezbollah operatives

in Iraq:

                  Actions against these Iraqi groups have allowed coalition intelligence
                  officials to piece together the Iranian connection to terrorism in Iraq [...]
                  Iran’s Qods Force, a special branch of Iran’s Revolutionary Guards, is
                  training, funding and arming the Iraqi groups. [...] It shows how Iranian
                  operatives are using Lebanese surrogates to create Hezbollah-like
                  capabilities. And it paints a picture of the level of effort in funding and
                  arming extremist groups in Iraq.... The groups operate throughout Iraq.
                  They planned and executed a string of bombings, kidnappings, sectarian
                  murders and more against Iraqi citizens, Iraqi forces and coalition
                  personnel. They receive arms – including explosively formed penetrators,
                  the most deadly form of improvised explosive device – and funding from
                  Iran. They also have received planning help and orders from Iran.

           429.   In May 2007, the Commander of the Multinational Division-Center, U.S. Army

Major General Richard Lynch, confirmed that “[m]ost of our casualties have come from

improvised explosive devices. That’s still the primary threat to our soldiers—IEDs. And we have

an aggressive campaign to counter those IEDs, but they still are taking a toll on our soldiers: 13

killed, 39 soldiers wounded. What we’re finding is that the technology and the financing and the

training of the explosively formed penetrators are coming from Iran. The EFPs are killing our

soldiers, and we can trace that back to Iran.” (Emphasis added.)




  John Hendron and Alex Chadwick, Pentagon: Iran Training Shiite Militias in Iraq, NPR,
104

August 24, 2006, https://www.npr.org/templates/story/story.php?storyId=5703572.
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        430.   That same year, the Deputy Chief of Staff for Intelligence with the MNF-I, U.S.

Army Major General Richard Zahner, declared that:

               Labels on weapons stocks seized inside and outside Iraq point to Iranian
               government complicity in arming Shiite militias in Iraq […] Iran is
               funneling millions of dollars for military goods into Iraq […] You’ll find a
               red label on the C-4 [explosive] printed in English and will tell you the lot
               number and name of the manufacturer.

Major General Zahner further added:

               [T]he control of military-grade explosives in Iran is controlled through the
               state apparatus and is not committed through rogue elements right there. It
               is a deliberate decision on the part of elements associated with the Iranian
               government to affect this type of activities.

        431.   According to the U.S. State Department’s 2007 Country Reports on Terrorism:

               Despite its pledge to support the stabilization of Iraq, Iranian authorities
               continued to provide lethal support, including weapons, training, funding,
               and guidance, to some Iraqi militant groups that target Coalition and Iraqi
               security forces and Iraqi civilians. In this way, Iranian government forces
               have been responsible for attacks on Coalition forces. The Islamic
               Revolutionary Guard Corps (IRGC) ­Qods Force, continued to provide Iraqi
               militants with Iranian­produced advanced rockets, sniper rifles, automatic
               weapons, mortars that have killed thousands of Coalition and Iraqi Forces,
               and explosively formed projectiles (EFPs) that have a higher lethality rate
               than other types of improvised explosive devices (IEDs), and are specially
               designed to defeat armored vehicles used by Coalition Forces. The Qods
               Force, in concert with Lebanese Hezbollah, provided training outside Iraq
               for Iraqi militants in the construction and use of sophisticated IED
               technology and other advanced weaponry. These individuals then passed on
               this training to additional militants inside Iraq, a “train-the-trainer”
               program. In addition, the Qods Force and Hezbollah have also provided
               training inside Iraq. In fact, Coalition Forces captured a Lebanese Hezbollah
               operative in Iraq in 2007.

        432.   Other U.S. Government reports, such as the Department of Defense’s December

2007 “Measuring Stability and Security in Iraq” quarterly report to Congress, similarly concluded

that:




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               Iranian Islamic Revolutionary Guard Corps-Qods Force (IRGC­QF) efforts
               to train, equip, and fund Shi’a extremists also continue despite reported
               assurances to Prime Minister Maliki that Iran will cease lethal aid.

       433.    These observations continued in 2008. According to the U.S. State Department’s

2008 Country Reports on Terrorism:

               The Qods Force, an elite branch of the Islamic Revolutionary Guard Corps
               (IRGC), is the regime’s primary mechanism for cultivating and supporting
               terrorists abroad. The Qods Force provided aid in the form of weapons,
               training, and funding to HAMAS and other Palestinian terrorist groups,
               Lebanese Hezbollah, Iraq-based militants, and Taliban fighters in
               Afghanistan ...

               Despite its pledge to support the stabilization of Iraq, Iranian authorities
               continued to provide lethal support, including weapons, training, funding,
               and guidance, to Iraqi militant groups that targeted Coalition and Iraqi
               forces and killed innocent Iraqi civilians. Iran’s Qods Force continued to
               provide Iraqi militants with Iranian­ produced advanced rockets, sniper
               rifles, automatic weapons, and mortars that have killed Iraqi and Coalition
               Forces as well as civilians. Tehran was responsible for some of the lethality
               of anti-Coalition attacks by providing militants with the capability to
               assemble improvised explosive devices (IEDs) with explosively formed
               projectiles (EFPs) that were specially designed to defeat armored vehicles.
               The Qods Force, in concert with Lebanese Hezbollah, provided training
               both inside and outside of Iraq for Iraqi militants in the construction and use
               of sophisticated IED technology and other advanced weaponry.

       434.    Similarly, in 2011, the U.S. Ambassador to Iraq, James F. Jeffrey, was quoted as

saying “[F]resh forensic testing on weapons used in the latest deadly attacks in the country bolsters

assertions by U.S. officials that Iran is supporting Iraqi insurgents with new weapons and training.

[…] We’re not talking about a smoking pistol. There is no doubt this is Iranian.”

       435.    Further, the State Department’s 2011 Country Reports on Terrorism reported:

               Despite its pledge to support the stabilization of Iraq, Iran continued to
               provide lethal support, including weapons, training, funding, and guidance,
               to Iraqi Shia militant groups targeting U.S. and Iraqi forces, as well as
               civilians. Iran was responsible for the increase of lethal attacks on U.S.
               forces and provided militants with the capability to assemble explosives
               designed to defeat armored vehicles. The IRGC-QF [Islamic Revolutionary
               Guard Corps-Qods Force], in concert with Lebanese Hezbollah, provided

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               training outside of Iraq as well as advisors inside Iraq for Shia militants in
               the construction and use of sophisticated improvised explosive device
               technology and other advanced weaponry.

       436.    Iran also introduced other weapons into Iraq for the purpose of supporting terrorist

attacks on U.S. nationals and coalition personnel, including Plaintiffs. These included 81 mm

mortars (the remainder of the region uses 82 mm mortars), repainted 107 and 122mm rockets

imported into Iran from China and marked for sale in the open markets, 60 mm canisters filled

with Iranian-manufactured mortar rounds, 240 mm rockets, IRAMs, RPG-7s, RPG-29s, and RG-

3 armor penetrating anti-tank grenades deployed by the Terrorist Groups in various acts of

international terrorism, including the Terrorist Attacks wherein Plaintiffs and/or Plaintiffs’ family

members were killed, maimed, or otherwise injured.

       437.    The presence of these weapons shows a high level of sophistication of the Iranian

arms flow into Iraq as the purchases are made by the Iranian regime.

               B.    IMPROVISED ROCKET ASSISTED MUNITIONS

       438.    In addition to EFPs, Iran also provided material support to the Terrorist Groups by

providing them with IRAMs.

       439.    Along with EFPs, Improvised Rocket Assisted Munitions were a signature weapon

of terrorists in Iraq that were supplied by the IRGC.

       440.    An IRAM is a rocket-fired improvised explosive device made from a large metal

canister—such as a propane gas tank—filled with explosives, scrap metal, ball bearings, and

propelled by rockets, most commonly 107 and 122mm rockets launched from fixed or mobile sites

by remote control. They are designed to cause catastrophic damage and inflict mass casualties.




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       441.    According to The Joint Improvised Explosive Device Defeat Organization of the

U.S. Department of Defense, IRAMs were first introduced by Iran in November 2007 against U.S.

personnel in Iraq.




                                                                                105




105
    Bill Roggio, “Mahdi Army Uses ‘Flying IEDs’ In Baghdad,” The Long War Journal, June 28,
2008, available at: https://www.longwarjournal.org/archives/2008/06/mahdi_army_uses_flyi.php
(last accessed July 4, 2018).
                                             90
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       442.    Although Iran’s use of IRAMs was publicly disclosed by U.S. officials after their

introduction in 2007, systematic identification of specific attacks as IRAM attacks was not publicly

disclosed until 2010.

       443.    IRAM attacks occurred primarily in Baghdad and in the Shi’a dominated areas in

southern Iraq, where Iranian-backed militias primarily operate.

       444.    All of the foregoing material support provided to Terrorist Groups, including those

Special Groups that perpetrated the Terrorist Attacks that resulted in the death, maiming, or

otherwise injuring of Plaintiffs and Plaintiffs’ family members, was provided by Iran for attacks

on Coalition Forces and U.S. nationals, including Plaintiffs, or was financed and facilitated in

substantial part by Iran.

       10.     IRAN EVADES SANCTIONS & COMMITS ACTS OF TERRORISM
               THROUGH ITS AGENTS/PROXIES

       445.    Because Iran is under numerous sanctions issued by other countries, it continues to

evade those sanctions by operating clandestinely through agents of Iran, including the Islamic

Republic of Iran Shipping Lines, Mahan Air, and the National Iranian Oil Company.

       446.    Iran obtains and provides weapons and other material support to Terrorist Groups

and other terrorist organizations through agents and proxies that are nothing more than extensions

of the Iranian regime.

       447.    Congress and successive Administrations have enacted several laws and executive

orders that imposed sanctions on countries and firms that sell WMD technology and military

equipment to Iran. Despite these efforts, Iran continued to evade sanctions.

       448.    In order to thwart U.S. sanctions efforts, Iran cultivated close relationships with

foreign arms suppliers, including Russia, China, and North Korea.




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        449.    In addition, Iran sought to clandestinely acquire dual-use technologies from

European manufacturers, and certain export-controlled defense products, aircraft parts, dual-use

technologies and materials from the United States.

        450.    Iran used proxies and agents as tools to circumvent sanctions, including IRISL,

NIOC, KAA, and Mahan Air.

        451.    IRISL, NIOC, KAA, Mahan Air, and other Iranian government and IRGC fronts

serve as financial, physical, and logistical conduits for Iran and its terroristic goals. At all relevant

times, these agents and proxies of Iran acted in concert with Defendants.

                A.    ISLAMIC REPUBLIC OF IRAN SHIPPING LINES

        452.    As Iran’s national maritime carrier, IRISL 106 is an agent and instrumentality of Iran.

        453.    IRISL has a long history of facilitating arms shipments on behalf of the IRGC and

the Iranian military, including copper discs that are a key component in EFPs (discussed below)

used to kill and maim many of the Plaintiffs herein.

        454.    For example, a November 2007 State Department cable noted:

                Washington remains concerned about on-going conventional arms transfers
                from China to Iran, particularly given Iran’s clear policy of providing arms
                and other support to Iraqi insurgents and terrorist groups like the Taliban
                and Hezbollah….

                We have specific information that Chinese weapons and components for
                weapons transferred to Iran are being used against U.S. and Coalition Forces
                in Iraq, which is a grave U.S. concern.




106
   IRISL is Iran’s national maritime carrier: a global operator of merchant vessels with a
worldwide network of subsidiaries, branch offices and agent relationships. It provides a variety
of maritime transport services, including bulk, break-bulk, cargo and containerized shipping.

                                                   92
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        455.   The diplomatic cable went on to note that an IRISL-flagged vessel was loaded at a

Chinese port with multiple containers of cargo bound for delivery at the port of Bandar Abbas,

Iran.

        456.   The cargo included DIO 107 manufactured ammunition cartridges (7.62 x 39 rounds

for AK-47 assault rifles).

        457.   DIO is an Iranian government-owned weapons manufacturer controlled by

MODAFL.

        458.   An April 2008 State Department cable warned of an IRISL shipment of chemical

weapons precursors from China aboard the IRISL-leased, Iranian flagged merchant vessel

(“M/V”) Iran Teyfouri.

        459.   In September 2008, the U.S. Treasury Department designated IRISL a SDN,

stating: “Not only does IRISL facilitate the transport of cargo for U.N. designated proliferators, it

also falsifies documents and uses deceptive schemes to shroud its involvement in illicit

commerce.”

        460.   The Treasury Department further noted that:

               [i]n order to ensure the successful delivery of military-related goods, IRISL
               has deliberately misled maritime authorities through the use of deception
               techniques. These techniques were adopted to conceal the true nature of
               shipments ultimately destined for MODAFL [Iran’s Ministry of Defense
               and Armed Forces Logistics].




107
    DIO was designated an SDN by the U.S. on March 30, 2007. IRGC Brigadier-General
Seyyed Mahdi Farahi was the Managing Director of DIO and has been sanctioned by the
European Union since 2008. He was later sanctioned by the U.S. on January 17, 2016.
See, http://eur-lex.europa.eu/legal-content/EN/TXT/?uri=celex%3A32010D0644 (last visited
Sept. 13, 2017).

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       461.    In January 2009, a former Russian merchant ship chartered by IRISL—named the

M/V Monchegorsk and flying a Cypriot flag—was spotted leaving the Iranian port of Bandar

Abbas and heading for the Suez Canal.

       462.    Egyptian authorities were alerted by the U.S. Navy and the M/V Monchegorsk was

forced into an Egyptian port to be searched. Iran’s DIO was later determined to be the shipper of

the military-related cargo.

       463.    Munitions, believed to be headed for Gaza, were found hidden in the cargo,

including components for mortars and thousands of cases of powder, propellant, and shell casings

for 125mm and 130mm guns.

       464.    In October 2009, U.S. troops boarded a German-owned freighter, the M/V Hansa

India, in the Gulf of Suez and found eight containers full of ammunition that were headed to Syria

from Iran.

       465.    The vessel carried seven containers of small arms ammunition (including 12 million

bullet casings), as well as one container containing copper discs of the type used in EFPs to kill

and maim Coalition Forces and U.S. nationals, including Plaintiffs.

       466.    The acronym “IRISL” was painted in large block letters on the exterior side walls

of each shipping container, and the barrels of munition parts discovered inside the containers were

marked with the inscription “SAEZMANE SANAYE DEFA,” a common transliteration from

Farsi to English of the name for Iran’s Defense Industries Organization.

       467.    The M/V Hansa India was registered to the Hamburg-based shipping company

Leonhardt & Blumberg, but had been under charter to IRISL for several years.

       468.    In November 2009, the Government of Israel intercepted an IRISL-flagged ship,

the M/V Francop, headed for Beirut, Lebanon and then Latakia, Syria. The vessel was loaded with



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munitions crates that were either stamped “IRISL” or included documentation marked with the

IRGC-QF logo.

       469.    The munitions found onboard included over two thousand 107mm “Katyusha”

rockets, more than six hundred 122mm “Grad 20” rockets, and also various rocket fuses, mortar

shells, rifle cartridges, fragment grenades and 7.62mm bullets.

       470.    The M/V Francop, owned by the Cypriot shipping company UFS, was carrying

shipping containers clearly marked IRISL.

       471.    Because the DIO, as discussed infra, was one of MODAFL’s three main weapons

systems manufacturers, it was required to use IRISL for most of its illicit shipments of military-

related raw-materials, parts and finished products for, and from, foreign suppliers, Iranian arms

dealers and terrorist organizations.

       472.    Iran’s DIO was listed as an entity of concern for military procurement activities in

an early warning document distributed by the German government to industry in July 2005.

       473.    The DIO was also designated by the United Nations in 2006 for its involvement in

Iran’s WMD program.

       474.    During 2006 and 2007, weapons caches seized by Coalition Forces from the Special

Groups in Iraq contained large quantities of weapons produced by Iran; including many 107

millimeter artillery rockets with closely clustered DIO lot numbers and production dates between

2005 and 2007, as well as rounds and fuses for 60 millimeter and 81 millimeter mortars with DIO

lot markings and 2006 production dates.

       475.    There can be no question that IRISL facilitated shipments of military cargo to FTOs

and Special Groups, including those responsible for carrying out the Terrorist Attacks that killed,

maimed, and/or injured Plaintiffs or Plaintiffs’ family members.



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       476.    IRISL did, in fact, facilitate shipments of military cargo to Hezbollah, one of the

organizations controlled and/or otherwise substantially and materially supported by Iran and

responsible for acts of international terrorism that killed and injured American citizens in Iraq,

including the Plaintiffs. However, IRISL was not Iran’s only means of passing weapons on to the

Terrorist Groups, weapons used to commit acts of international terrorism, including the Terrorist

Attacks carried out against Plaintiffs and/or Plaintiffs’ family members.

               B.    MAHAN AIR

       477.    Mahan Airlines was founded in 1991 and began passenger air travel services in

June 1992 as the first Iranian “private” airline. Since 1997, Mahan Airlines has also provided air

cargo operations.

       478.    Mahan Airlines operates under the name “Mahan Air” and uses the Tehran Imam

Khomeini International Airport and Mehrabad International Airport as its main business hubs.

       479.    As of November 2016, Mahan Air owned at least 60 passenger and cargo aircraft,

and, in additional to domestic flights, flew to 52 destinations in Europe, Asia and the Middle East.

       480.    Mahan Air publically acknowledges that it is wholly-owned by Mol-Al-Movahedin

Charity.

       481.    The Mol-A-Movahedin Charity is managed and controlled by the IRGC.

       482.    Mahan Air is an “agency or instrumentality” of the government of Iran as defined

by 28 U.S.C. § 1603(b).

       483.    On October 12, 2011, the United States designated Mahan Air as an SDGT for

“providing financial, material and technological support to the Islamic Revolutionary Guard

Corps-Qods Force.”

       484.    According to the U.S. government, Mahan Air (1) “facilitated the covert travel of

suspected IRGC-QF officers into and out of Iraq;” (2) “facilitated IRGC-QF arms shipments”; and
                                                96
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(3) “transported personnel, weapons and goods on behalf of Hezbollah [sic].” (Brackets in

original).

        485.   The Treasury Department explained Mahan Air’s direct involvement with terrorist

operations, personnel movements and logistics on behalf of the IRGC-QF:

               Mahan Air also facilitated the covert travel of suspected IRGC-QF officers
               into and out of Iraq by bypassing normal security procedures and not
               including information on flight manifests to eliminate records of the IRGC-
               QF travel.

               Mahan Air crews have facilitated IRGC-QF arms shipments. Funds were
               also transferred via Mahan Air for the procurement of controlled goods by
               the IRGCQF.

               In addition to the reasons for which Mahan Air is being designated today,
               Mahan Air also provides transportation services to Hezbollah [sic], a
               Lebanon-based designated Foreign Terrorist Organization. Mahan Air has
               transported personnel, weapons and goods on behalf of Hezbollah [sic] and
               omitted from Mahan Air cargo manifests secret weapons shipments bound
               for Hezbollah [sic].

        486.   Under-Secretary of Commerce Eric L. Hirschhorn described this supply chain as

“egregious conduct by… foreign companies and individuals who have endangered the lives of

U.S. and coalition forces in Iraq.”

        487.   During a press conference, Under-Secretary for Terrorism and Financial

Intelligence David S. Cohen said that "Mahan Air's close coordination with the Qods Force –

secretly ferrying operatives, weapons and funds on its flights – reveals yet another facet of the

IRGC's extensive infiltration of Iran's commercial sector to facilitate its support for terrorism."

        488.   The U.S. Department of Treasury further highlighted that Mahan Air provided

travel services to Qods Force personnel to fly to and from Iran and for military training.

        489.   The airline facilitated arms shipments and "covert travels" to Iraq of suspected Qods

Force members who were responsible for targeting Coalition Forces.



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       490.    Mahan Air was also later identified as the conduit to Iran of thousands of radio

frequency modules recovered by Coalition Forces in Iraq from IEDs that were used to target U.S.

nationals, including Plaintiffs, and Coalition Forces. 108

       491.    Coalition Forces recovered these modules from IED devices in Iraq that were used

to target U.S. nationals, including Plaintiffs, and Coalition Forces.

       492.    The modules had encryption capabilities and a particularly long range that allowed

Special Groups operatives to operate them across significant distances.

       493.    In 2008, Mahan Air transported the IED components from Singapore and Thailand

to Tehran, Iran.

       494.    In short, at the direction of Iran, Mahan Air transported weapons, personnel, and

technology into Iraq on behalf of the IRGC-QF and Hezbollah, and did, in fact, transport modules

used to control and activate IEDs and EFPs deployed against Coalition Forces in Iraq.

       495.    Mahan Air, in its supporting, albeit crucial, role of exporting terrorism, and the

materials and instruments thereof for Iran, is an agent and instrumentality of Iran.

       496.    Due to the role played by Mahan Air, Iran was able to effectuate global jihad and

commit acts of terrorism much more effectively and conveniently during the Relevant Period,

including the time in which the Terrorist Attacks at issue were committed.

       497.    Since 2012, Mahan Air has multiple daily flights from Tehran, Mashhad, Isfahan,

Shiraz and Abadan to Damascus. These flights use Iraqi air space and carry weapons, equipment

and Revolutionary Guard personnel to be used on the ground in Syria in support of Iranian-backed

operations.



108
   See Superseding Indictment in United States v. Larijani, available at:
https://www.justice.gov/opa/file/837996/download (last visited Sept. 13, 2017).

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       498.    Since fighting began in Syria, the Iraqi Special Groups linked to the Qods Force

have been sent by bus through Basra to Abadan and from there are transferred to Damascus with

Mahan aircraft. According to reports obtained from the IRGC, these groups include the Special

Groups: Badr Corps., KH, AAH, as well as the FTO Hezbollah. As they were in Iraq, these terrorist

groups, now operating in Syria, are commanded by the IRGC and have been directly linked to the

massacres of Aleppo and killings of Syrian civilians.

               C.     NATIONAL IRANIAN OIL COMPANY (NIOC)

       499.    Defendant NIOC is not a state agency, operation, or program of the Iranian

Government. Rather, it is a front-company for the IRGC, and therefore an agent and

instrumentality of Iran.

       500.    At all relevant times, the NIOC was controlled by Iran through the IRGC.

       501.    NIOC is an “agency or instrumentality” of the government of Iran as defined by 28

U.S.C. § 1603(b).

       502.    In 2008, the Treasury Department identified NIOC (and other Iranian agencies) as

“centrally involved in the sale of Iranian oil, as entities that are owned or controlled by the

[government of Iran].”

       503.    Pursuant to E.O. 13382, the United States designated NIOC as an SDN.

       504.    The United States has identified NIOC as an agent or affiliate of the IRGC.

       505.    Under the ITRSHRA, the U.S. government determined that that NIOC is an agent

or affiliate of the IRGC under section 104(c)(2)(E)(i) of the CISADA and section 302 of the

ITRSHRA. As part of that 2012 certification, NIOC was formally determined to be part of the

Government of Iran.

       506.    During the Relevant Period, the NIOC not only was under IRGC control, but it also

served a critical function in supporting the IRGC’s activities.
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       507.    The Iranian Helicopter Aviation Company, Ahwaz Pipe Mill Co., and Kala Naft 109

are all subsidiaries of the NIOC.

       508.    As early as February 1998, Kala Naft was identified by the UK government “as

having procured goods and/or technology for weapons of mass destruction programs.”

       509.    Kala Naft was also publicly identified as a NIOC subsidiary in a 2003 Commerce

Department action that further stated that Kala Naft was a recipient of illegally exported U.S. origin

oil field equipment from the U.S.

               D.      KHATAM AL-ANBIYA CONSTRUCTION COMPANY & THE
                       HEADQUARTERS FOR THE RESTORATION OF HOLY
                       SHRINES

       510.    Iran also logistically and financially supports terrorist groups through proxies of

Iran, including, but not limited to Khatam al-Anbiya Construction Company (a/k/a Khatam al-

Anbiya Construction Headquarters, Qaragah-e Sazandegi-ye Khatam al-Anbiya, or “Seal of the

Prophets,” hereinafter referred to as “KAA”), and The Headquarters for the Restoration of the

Holy Shrines (“HRHS”), both Qods Force front entities, as well as their agents and subsidiaries.

       511.    KAA serves to help the IRGC disguise its funding and operations, including IRGC-

Qods Force terror activities.

       512.    KAA is a large Iranian corporation, controlled by the IRGC, and serves to help the

IRGC funnel money, material, and personnel to its operations.




109
   Kala Naft was designated as a Specially Designated National (SDN) by the United States
Treasury on June 16, 2010. U.S. Department of the Treasury, Recent OFAC Actions (June 16,
2010), https://www.treasury.gov/resource-center/sanctions/OFAC-
Enforcement/Pages/20100616.aspx.

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           513.   KAA was originally founded by the IRGC as an engineering wing to assist in the

building of fortifications during the Iran-Iraq War (1980-1989) and to rebuild after the conflict.

Since then it has diversified into mechanical engineering, energy, mining, and defense.

           514.   KAA is an “agency or instrumentality” of the government of Iran as defined by 28

U.S.C. § 1603(b), and, as a designated IRGC entity, is owned and controlled by the government

of Iran.

           515.   IRGC Commander-in-Chief, Major General Mohammad Ali Jafari, serves as

KAA’s council chairman.

           516.   KAA functions as the IRGC’s engineering and logistical arm, conducting a range

of civil engineering activities, such as road and dam construction, the manufacturing of pipelines

to transport water, oil, gas (within and outside Iran’s borders), mining operations, agriculture, and

telecommunications.

           517.   On October 25, 2007, KAA was designated by the U.S. Treasury Department under

E.O. 13382 for extensively assisting IRGC to gain financial support for IRGC activities.

           518.   The U.S. Treasury designated nine IRGC-affiliated entities, including KAA, and

five IRGC-affiliated individuals as derivative designations of the IRGC.

           519.   On June 23, 2008, the European Union also designated IRGC-affiliated companies,

including KAA, for their support to Iranian ballistic missile and nuclear programs.

           520.   On June 9, 2010, the U.N. Security Council designated KAA in the 1929 Resolution

for its involvement with Iranian military and nuclear activities. 110




110
   United Nations, Security Council Imposes Additional Sanctions on Iran, Voting 12 in Favour
to 2 Against, with 1 Abstention, (June 9 2010),
https://www.un.org/press/en/2010/sc9948.doc.htm.
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       521.   On February 10, 2010, The U.S. Department of the Treasury took further action to

implement then-existing U.S. sanctions against the IRGC by designating an individual and four

companies affiliated with the IRGC pursuant to Executive Order (E.O.) 13382, which freezes the

assets of designated proliferators of weapons of mass destruction (WMD) and their supporters.

This action focused in particular on KAA, considered an arm of the IRGC designated pursuant to

E.O. 13382 in 2007. At the time, Treasury stated:

              Today's designations include IRGC General Rostam Qasemi, who is also
              the commander of Khatam al-Anbiya Construction Headquarters, the
              engineering arm of the IRGC that serves to help the IRGC generate income
              and fund its operations. Khatam al-Anbiya is owned or controlled by the
              IRGC and is involved in the construction of streets, highways, tunnels,
              water conveyance projects, agricultural restoration projects, and pipelines.
              Treasury also today designated four companies that are owned or controlled
              by, or that act on behalf of, Khatam al-Anbiya.

              As the IRGC consolidates control over broad swaths of the Iranian
              economy, displacing ordinary Iranian businessmen in favor of a select
              group of insiders, it is hiding behind companies like Khatam al-Anbiya and
              its affiliates to maintain vital ties to the outside world," said Under Secretary
              for Terrorism and Financial Intelligence Stuart Levey. "Today's action
              exposing Khatam al-Anbiya subsidiaries will help firms worldwide avoid
              business that ultimately benefits the IRGC and its dangerous activities.

       522.   In 2011, the British and Japanese governments both listed KAA as an entity of

concern due to its involvement in the proliferation of WMDs, missiles, and biological, chemical,

and nuclear weapons.

       523.   KAA also owns and controls Ghorb Karbala (a/k/a Gharargah Karbala, Gharargah

Sazandegi Karbala-Moasseseh Taha, or Ghorb-e Karbala), an entity also listed in an annex to U.N.

Security Council Resolution 1929 of June 9, 2010, as an entity of Iran's IRGC, with a role "in

Iran's proliferation-sensitive nuclear activities and the development of nuclear weapon delivery

systems."




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       524.    Companies that are owned or controlled by KAA, or that act on its behalf, and

directly support its efforts include: Fater Engineering Institute, Imensazen Consultant Engineers

Institute (ICEI), Makin Institute, and Rahab Institute.

       525.    By 2010, KAA had become a massive holding firm with control of more than 812

registered companies inside and outside of Iran and the recipient of over 1,700 Iranian-government

contracts, many awarded on a no-bid basis.

       526.    KAA has undertaken infrastructure development projects in Iraq, Syria, and

Lebanon, extending its services as a tool of the IRGC and Iran.

       527.    KAA was operating on the ground in Iraq during the entire Relevant Time period.

       528.    No later than October 2006, western media outlets were reporting that KAA was

involved in hidden and unlawful economic activities beyond the borders of Iran.

       529.    On May 7, 2008, Mohammad Reza Pourzeyai, then KAA deputy head, announced

that KAA had built a railway line connecting Iraq’s Basra and Iran’s Khorramshar.

       530.    KAA also performed due diligence and planned a project for building a water

pipeline from the Iraqi border to the middle of Syria, a distance of approximately 256 kilometers,

and also designed a project for building an oil pipeline from Iran’s Abadan refinery to Basra, Iraq.

       531.    KAA also undertook efforts to renovate the Mosul Dam in Iraq. KAA’s work on

Dam projects around the globe is a known conduit through which the IRGC moves its operatives

into foreign countries.

       532.    On December 13, 2011, then commander of KAA, Abu al-Qassem Mozaffari,

confirmed that KAA operates in Iraq, Syria and Lebanon.




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       533.    From 2002 through 2007, Defendant Banks sent and received payments totaling

nearly USD $100 million for KAA, and supplied financial services and other material support to

many KAA subsidiaries.

       534.    KAA, under the guise of various construction development projects in Iraq, in

concert with other agents of Iran, provided the means by which Iran and other Defendants were

able to supply raw materials, currency, weapons, and munitions used by the Special Groups and

other terrorist organizations to effectuate Iran’s campaign of terror in Iraq.

       535.    A critical IRGC agent, subsidiary and Iranian-proxy is the HRHS.

       536.    HRHS was established in 2003, purportedly to renovate the Shiite shrines in Iran

and in Iraq. In order to do so, HRHS enlisted the assistance of KAA.

       537.    According to its charter, as listed on its website, HRHS was authorized by the

Islamic regime to, among other things, renovate Shiite shrines in Iraq and to coordinate between

the Iranian regime and Iraqi government organizations and NGOs.

       538.    HRHS does not hide its links to the Qods Force; a provincial official in the HRHS

told Iranian media that the organization is affiliated with the Qods Force.

       539.    The commander of the Qods Force, Qassem Soleimani, and the Supreme Leader’s

representative to the Qods Force both sat on HRHS’s Board of Trustees. The four other board

members include HRHS head Hassan Pelarak, and three senior clerics who are members of the

Supreme Leader’s office. Thus, the Supreme Leader and his top general responsible for external

operations control HRHS. 111




111
   Major General Qassem Soleimani was killed in Baghdad, Iraq on January 3, 2020 by a U.S.
drone strike. See: https://www.aljazeera.com/news/2020/01/qassem-soleimani-iran-elite-quds-
force-leader-200103033905377.html
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          540.    Hassan Pelarak is a former mining executive and former IRGC commander, and,

according to Iranian media, has served in the Qods Force.

          541.    All HRHS heads have served as Qods Force officers. Pelarak’s predecessors,

Hassan Danaeifar, who was Iran’s ambassador to Iraq from 2010 to 2017, and Mansour

Haghighatpour, who is now a former parliamentarian, have been Qods Force officers. In 2008,

Soleimani touted Danaeifar’s Qods Force credentials in a famous message passed along to General

David Patraeus, commander of U.S. forces in Iraq.

          542.    It is no coincidence that Qassem Soleimani sat on HRHS’s Board of Trustees and

that the organization’s Directors have been Qods Force officers; the unit uses the infrastructure of

the HRHS to funnel weapons, manpower, money, equipment, and supplies into Iraq.

          543.    HRHS publishes on its website that it renovates Shiite shrines in Najaf, Karbala,

Kadhimiya, Samarra, and other places.

          544.    HRHS claims to have spent millions of dollars on more than 200 projects in Iraq

and further plans to develop projects valued at approximately $1.6 billion.

          545.    HRHS also claims that its finances are charitable donations from citizens, as well

as government, private, and quasi-government entities.

          546.    HRHS embraces and supports the Special Groups. The direct link between HRHS

and the Special Groups is concretely reflected on its official website of the HRHS Samarra

office. 112




112
      See http://setadsamarra.ir/ (last visited Sept. 13, 2017) (translation available).

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       547.    HRHS considers the Special Groups to be “Defenders of the Shiite Holy Shrines in

Iraq,” as stated on websites controlled by the IRGC-QF. 113

       548.    HRHS is nothing more than a front for the IRGC-QF, whose mission is to support

the Iranian-backed terror groups in Iraq, disrupt the stability of free and democratic Iraq, and

expand Iranian influence in the country.

       549.    HRHS and KAA worked closely together in Iraq.

       550.    HRHS worked in cooperation with the IRGC-QF-affiliated KAA to perform

construction work on the Zahra Shrine in Najaf, Iraq. This project involved the HRHS subsidiary,

Kowsar Engineering.

       551.    Under the guise of serving the faithful, KAA and HRHS act as a pipeline for the

Qods Force, whose mission is to support the Iranian-backed Iraqi network and expand Iranian

influence in the country.

       552.    KAA and HRHS, much like its IRGC affiliates, work closely with the well-known

FTO, Hezbollah. This relationship was highlighted following the assassination of IRGC-QF senior

commander Hassan Shateri (a/k/a Hesam Khoshnevis) in February 2013.

       553.    Shateri was deployed to Lebanon by KAA to lead its Lebanese branch, while at the

same time serving as senior IRGC-QF commander.

       554.    Shateri’s role in the Lebanese branch of KAA extended far beyond construction

projects into extensive terror activities. On August 3, 2010, the U.S. Department of Treasury



113
     Introduction with the Brigades of the Defenders of the Shiite Holy Shrines Operating in Iraq,
OWEIS, Iran (January 12, 2015), http://oweis.ir/ (Farsi web address and translation available).
Marking the Fourth Anniversary of the [Assassination of] Martyr Hassan Shateri, Tasnim News,
Tehran (February 16, 2007), https://www.tasnimnews.com/fa/news/ (Farsi web address and
translation available).


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designated Hassan Shateri “for providing technical support to Hizballah's reconstruction efforts in

Lebanon and to the expansion of the terrorist group's private communications network.

Khoshnevis [Shateri] also operates as President Ahmadinejad's personal representative in

Lebanon.”

        555.    Shateri arrived in Lebanon after the Lebanon War of 2006 in order to: (1)

rehabilitate Hezbollah's operational infrastructure damaged during the conflict; (2) to replace

Hezbollah’s lost arsenal; and (3) to rebuild its missile sites close to the demarcation line with Israel.

Shateri served as a Special Representative of the IRGC, sitting on Hezbollah’s Central Command

where he helped shape Hezbollah’s policies with advice from Secretary-General Hassan Nasrallah.

        556.    Prior to working in Lebanon, Shateri operated in Afghanistan, where his mission

was to renovate regions that were damaged during fighting with Coalition Forces in

Afghanistan. 114

        557.    Between his services in Afghanistan and Lebanon, Shateri was operating in Iraq. 115

        558.    Though his detailed activities in Iraq were concealed, the Supreme Leader’s

Representative to the Qods Force, Ali Shirazi, mentioned Shateri’s time there, saying he was

dispatched to Iraq as part of his extensive service for the Islamic Revolution. 116

        559.    In or around February 2013, after Shateri’s assassination, Hezbollah published

details that showed that KAA functioned as a cover for Qods Force insurgent activities.




114
   Where and How Volunteers for Fighting ISIS are Trained, Masregh News, Tehran (June 23,
2014), https://www.mashreghnews.ir/news/ (Farsi web address and translation available).
115
   Dexter Filkins, The Shadow Commander, THE NEW YORKER (Sept. 30,
2013), http://www.newyorker.com/magazine/2013/09/30/the-shadow-commander.
116
   Will Fulton, The Assassination of Iran Quds Force General Hassan Shateri in Syria (Feb. 28,
2013), https://www.criticalthreats.org/analysis/the-assassination-of-iranian-quds-force-general-
hassan-shateri-in-syria#_edn77efea9b2d5a1d9d20e5cb794c934c9632.
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       560.    As of July 2007, both Defendant Bank Melli and Bank Mellat were headed by

UNSCR 1737 designee and former IRGC Commander Rahim Safavi.

       561.    Defendant Bank Melli and Bank Mellat also provided material support to KAA and

its subsidiaries by handling their letters of credit. These letters of credit are primarily used to

finance KAA’s purchase of equipment and services from overseas suppliers.

       562.    KAA subsidiaries serviced by Defendant Bank Melli and Bank Mellat include the

designated entities Ghorb Nooh, Sepasad, Sahel Consultant Engineers and Gharargah Sazandegi

Ghaem.

       563.    KAA and HRHS’ activities in Iraq, from 2003 until the present, provided the perfect

vehicle through which Iran smuggled and disguised raw materials, currency, weapons, and

munitions used by the Terrorist Groups to effectuate Iran’s campaign of terror in Iraq.

                   6.     THE PLAINTIFFS & THE TERRORIST ATTACKS

       564.    At issue in this case are terrorist attacks perpetrated by AQ, AAI, the Special

Groups, other terrorist organizations, including the FTOs, SDGTs, SDTs, SDNs and other

terrorists with known links to Iran which killed or injured Plaintiffs (the “Terrorist Attacks”).

       565.    During the Relevant Period, the injuries and deaths caused by Defendants to

Plaintiffs were the result of acts of international terrorism committed, planned, or authorized by

organizations designated as foreign terrorist organizations pursuant to Section 219 of the

Immigration and Nationality Act (8 U.S.C. § 1189), as of the date on which such acts of

international terrorism were committed, planned, and/or authorized. Iran funded, aided and abetted

such foreign terrorist organizations by, at least, knowingly providing funding and other substantial

and material support to the Terrorist Groups who committed such acts of international terrorism.




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       566.    Further, none of the Terrorist Attacks occurred in the course of (1) a declared war;

(2) an armed conflict, whether or not war had been declared between two or more nations; or (3)

an armed conflict between military forces of any origin.

       567.    All Plaintiffs physically injured or killed in Iraq were, at the time of their injury or

extrajudicial killing, participating in a peacekeeping mission intended to contribute to the security

of the United Nations Assistance Mission for Iraq, the Governing Council of Iraq and other

institutions of the Iraqi interim administration, and key humanitarian and economic infrastructure.

       568.    Without Iran’s conduct, support, control and authority described herein, the

Terrorist Groups, including the FTOs, SDGTs, SDTs, and/or SDNs responsible for the Terrorist

Attacks would not have had the funding or material support necessary to carry out these Terrorist

Attacks.

       569.    Plaintiffs are individuals who were injured or killed in the Terrorist Attacks that

occurred in Iraq, and who, as a result, experienced physical and mental pain and suffering and

emotional distress. Some Plaintiffs are decedents, whose anticipated personal representatives and

Estates, 117 bring claims for the named-individuals who were killed in those attacks, as well as all

heirs thereof. Other Plaintiffs are family members of the victims of the Terrorist Attacks and have

experienced injuries including anxiety, severe mental anguish, extreme emotional distress, and

loss of companionship as a result of their relatives’ injuries or death.




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   In some instances, families are in the process of establishing estates and the identified family
members, as the Anticipated Personal Representatives, bring these actions, individually, and on
behalf of the anticipated estates of their deceased family members and all heirs thereof.


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        570.    Iran goes to great lengths to hide the fact that it funds terrorism, including funding

the Special Groups and terrorists that perpetrated the terrorist attacks that resulted in the death or

injury of Plaintiffs.

        571.    Additionally, even utilizing the utmost diligence, it can take months, or even years,

before the terrorist group who perpetrated an act of international terrorism, or the type of

weapon/explosive used by a terrorist group in a terrorist attack, can be identified.

        572.    Here, Plaintiffs did not know and did not have reason to know of their potential

claims against Defendants until recently, and have worked diligently to adequately investigate and

pursue their claims.

        573.    As it concerns Plaintiffs’ claims, and as outlined above, Iran has fraudulently

concealed its involvement with any of the Terrorist Groups and terrorists responsible for

perpetrating the Terrorist Attacks. Iran has further denied the fact it provided material support and

resources to the Terrorist Groups responsible for perpetrating the Terrorist Attacks. As such, the

doctrine of equitable tolling applies to this Action and all Plaintiffs.

        574.    On June 13, 2016, a Class Action Complaint was filed in the District of Columbia

captioned Alan Burks, et al. v. Islamic Republic of Iran, et al., Case. No. 1:16-cv-01102,

“bring[ing] this class action pursuant to 28 U.S.C. § 1605A of the Foreign Sovereign Immunities

Act (“FSIA”) for wrongful death, personal injury, and related torts on behalf of a class consisting

of all United States nationals, members of the United States armed forces, or employees of the

United States Government acting within the scope of their employment, injured or killed by an

EFP, and no other form of improvised explosive device, after June 1, 2005, their estates, and

immediate family members[.]” Should Defendants appear in this case and raise affirmative




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defenses, the doctrine of American Pipe tolling should apply to the claims of possible class

members.

       575.    Pursuant to the Service Members Civil Relief Act (SCRA). “[t]he period of a

service member’s military service may not be included in computing any period limited by law,

regulation, or order for the bringing of any action or proceeding in a court, or in any board, bureau,

commission, department, or other agency of a State (or political subdivision of a State) or the

United States by or against the service member or the service member's heirs, executors,

administrators, or assigns.” 50 U.S.C.A. § 3936.

       576.    The following Plaintiffs are United States’ nationals, members of the U.S. armed

forces, or government contractors injured or killed in the acts of international terrorism complained

of herein, and estates and/or family members of such U.S. nationals, members of the U.S. armed

forces, or contractors:

       1.      THE MARCH 26, 2003 ATTACK- NASSIRIYA

                          A. JAMES SWINNEY

       577.    Plaintiff James Swinney is a citizen of the United States and is domiciled in the

State of Florida.

       578.    On March 26, 2003, James Swinney, age 32, was serving as a peacekeeping

serviceman in the U.S. Army, with Bravo Company, 1st Battalion, 64th Armored Regiment, 2nd

Brigade, 3rd Infantry Division. At the time, Mr. Swinney held the rank of Sergeant.

       579.    Mr. Swinney was performing his duties as a Vehicle Passenger in Nassiriya, Iraq.

While conducting a mounted security patrol, Mr. Swinney’s vehicle was hit by mortar fire that

knocked Mr. Swinney violently around his vehicle severely injured.

       580.    The weapons used to attack and injure Mr. Swinney were an unknown amount of

82mm mortar rounds provided by Iran and/or one of its agents to Iranian-funded and Iranian-

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trained terror operatives in Iraq.

        581.    As a result of the March 26, 2003 Terrorist Attack, Mr. Swinney sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

        582.    Mr. Swinney was treated locally in Iraq and released to continue his tour. Mr.

Swinney was awarded the Combat Medical Badge for being engaged by the enemy. He will require

further continuous treatment and care.

        583.    As a result of the March 26, 2003 Terrorist Attack, and the injuries he suffered,

James Swinney has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        584.    Mr. Swinney has received a disability rating of 100% by the Veteran’s

Administration.

        2.      THE MARCH 29, 2003 ATTACK- AL KUT

                        A. LEE CANNON

        585.    Plaintiff Lee Cannon is a citizen of the United States and is domiciled in the State

of Texas.

        586.    On March 29, 2003, Lee Cannon, age 28, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 4th Light Armored Reconnaissance Battalion. At the

time, Mr. Cannon held the rank of Sergeant.

        587.    Mr. Cannon was performing his duties as a Vehicle Commander in Al Kut, Iraq.

While conducting a mounted security patrol, Mr. Cannon’s vehicle was hit by an 83mm Rocket

Propelled Grenade (RPG) that knocked Mr. Cannon violently around his vehicle severely injured.

        588.    The weapon used to attack and injure Mr. Cannon was an RPG provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        589.    As a result of the March 29, 2003 Terrorist Attack, Mr. Cannon sustained

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significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation in both arms.

       590.    Mr. Cannon was treated locally at Camp Viper, Iraq and was air medevaced to

Kuwait and Germany. Mr. Cannon was awarded the Purple Heart Medal for being wounded at the

hands of the enemy. He will require further continuous treatment and care.

       591.    As a result of the March 29, 2003 Terrorist Attack, and the injuries he suffered, Lee

Cannon has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       592.    Mr. Cannon has received a disability rating of 100% by the Veteran’s

Administration.

       3.      THE MARCH 30, 2003 ATTACK- BASRAH

                       A. VICTOR MONTIEL

       593.    Plaintiff Victor Montiel is a citizen of the United States and is domiciled in the

State of California.

       594.    On March 30, 2003, Victor Montiel, age 28, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 3rd Air and Naval Gunfire Liaison Company supporting

British Army efforts in southern Iraq. At the time, Mr. Montiel held the rank of Sergeant.

       595.    Mr. Montiel was performing his duties as a Motor Transport Operator the day of

his injury. During the execution of a routine security patrol mission with the British Paras, near

Basra, Iraq, his vehicle was hit by an IED consisting of an unknown amount of explosive material

throwing Mr. Montiel unconscious around his vehicle.

       596.    The weapons used to attack and injure Mr. Montiel were employed by Iranian-

funded and Iranian-trained terror operatives in Iraq.


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        597.    As a result of the March 30, 2003 Terrorist Attack, Mr. Montiel sustained injuries

due to the concussive blast of the explosion impacting his head and neck trauma as well as loss of

vision in his right eye and loss of his right ring finger.

        598.    Mr. Montiel was treated locally at the scene of the incident and the Basrah British

Military Hospital in Iraq in the days following the attack and was eventually released to continue

operations. Mr. Montiel was awarded the Purple Heart for wounds received at the hands of the

enemy. He will require further continuous treatment and care.

        599.    As a result of the March 30, 2003 Terrorist Attack, and the injuries he suffered,

Victor Montiel has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        600.    Mr. Montiel has received a disability rating of 100% by the Veteran’s

Administration.

        4.      THE APRIL 7, 2003 ATTACK- BAGHDAD

                        A. TEDDY JOHNSON


        601.    Plaintiff Teddy Johnson is a citizen of the United States and is domiciled in the

State of California.

        602.    On April 7, 2003, Teddy Johnson, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with B Company, 103rd Military Intelligence Battalion. At the time,

Mr. Johnson held the rank of Sergeant.

        603.    Mr. Johnson was performing his duties as a Vehicle Driver on Route Irish in

Baghdad, Iraq. While conducting a mounted security patrol, Mr. Johnson was hit by an IED that

knocked Mr. Johnson violently around his vehicle causing severe injury.




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        604.   The weapon used to attack and injure Mr. Johnson was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        605.   As a result of the April 7, 2003 Terrorist Attack, Mr. Johnson sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered a skull

fracture.

        606.   Mr. Johnson was treated locally in Baghdad, Iraq and was released to continue his

tour. He will require further continuous treatment and care.

        607.   As a result of the April 7, 2003 Terrorist Attack, and the injuries he suffered, Teddy

Johnson has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        608.   Mr. Johnson has received a disability rating of 100% by the Veteran’s

Administration.

        5.     THE APRIL 7, 2003 ATTACK- BAGHDAD

                       A. MICHAEL HERTIG

        609.   Plaintiff Michael Hertig is a citizen of the United States and is domiciled in the

State of Virginia.

        610.   On April 7, 2003, Michael Hertig, age 33, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Brigade, 3rd Infantry Division. At the time, Mr. Hertig

held the rank of Staff Sergeant.

        611.   Mr. Hertig was performing his duties as a Bradley Commander in Baghdad, Iraq.

While conducting combat operations, Mr. Hertig’s vehicle was hit by an IED that knocked Mr.

Hertig violently around his vehicle severely injured.

        612.   The weapon used to attack and injure Mr. Hertig was an IED consisting of an

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unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       613.    As a result of the April 7, 2003 Terrorist Attack, Mr. Hertig sustained significant

injuries due to the concussive blast of the explosion to his head and neck. Mr. Hertig also received

shrapnel to the face.

       614.    Mr. Hertig was air medevaced to Kuwait and Fort Benning. Mr. Hertig was

awarded the Purple Heart for being wounded at the hands of the enemy. He will require further

continuous treatment and care.

       615.    As a result of the April 7, 2003 Terrorist Attack, and the injuries he suffered,

Michael Hertig has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       616.    Mr. Hertig has received a disability rating of 90% by the Veteran’s Administration.

       6.      THE JUNE 15, 2003 ATTACK- AL ASAD

                          A. THOMAS CONNOR

       617.    Plaintiff Thomas Connor is a citizen of the United States and is domiciled in the

State of California.

       618.    On June 15, 2003, Thomas Connor, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Armored Calvary Regiment. At the time, Mr. Connor held

the rank of Specialist.

       619.    Mr. Connor was performing his duties as a Vehicle Turret Gunner in Al Asad, Iraq.

While conducting a mounted security patrol, Mr. Connor’s vehicle was hit by an IED that knocked

Mr. Connor violently around his vehicle severely injured.

       620.    The weapon used to attack and injure Mr. Connor was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

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funded and Iranian-trained terror operatives in Iraq.

       621.       As a result of the June 15, 2003 Terrorist Attack, Mr. Connor sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       622.       Mr. Connor was treated locally in Camp Al Asad, Iraq and released to continue his

tour. He will require further continuous treatment and care.

       623.       As a result of the June 15, 2003 Terrorist Attack, and the injuries he suffered,

Thomas Connor has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       624.       Mr. Connor has received a disability rating of 100% by the Veteran’s

Administration.



       7.         THE JUNE 19, 2003 ATTACK- SCANDARIA

                         A. BRETT SWAIN

       625.       Plaintiff Brett Swain is a citizen of the United States and is domiciled in the State

of Mississippi.

       626.       On June 19, 2003, Brett Swain, age 47, was serving as a peacekeeping serviceman

in the U.S. Army, with the 150th Combat Engineer Battalion. At the time, Mr. Swain held the rank

of Sergeant.

       627.       Mr. Swain was performing his duties as a Vehicle Passenger in Scandaria, Iraq.

While conducting a mounted IED Clearance patrol, Mr. Swain was hit by an IED that knocked

Mr. Swain violently around his vehicle severely injured.

       628.       The weapon used to attack and injure Mr. Swain was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

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        629.   As a result of the June 19, 2003 Terrorist Attack, Mr. Swain sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered a skull

fracture.

        630.   Mr. Swain was treated locally in Baghdad, Iraq and medevaced to Germany and Ft.

Gordon, Georgia. Mr. Swain was awarded the Combat Medical Badge for being engaged by the

enemy. He will require further continuous treatment and care.

        631.   As a result of the June 19, 2003 Terrorist Attack, and the injuries he suffered, Brett

Swain has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        632.   Mr. Swain has received a disability rating of 100% by the Veteran’s

Administration.

        8.     THE JUNE 20, 2003 ATTACK- AL ASAD

                       A. SEAN DOUGLASS

        633.   Plaintiff Sean Douglass is a citizen of the United States and is domiciled in the State

of Washington.

        634.   On June 20, 2003, Sean Douglass, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Squadron, 3rd Armored Cavalry Regiment. At the time, Mr.

Douglass held the rank of Sergeant.

        635.   Mr. Douglass was performing his duties as a Vehicle Driver in Al Asad, Iraq when

he was attacked. While conducting a mounted route clearance mission, Mr. Douglass’s armored

vehicle was hit by an IED leaving Mr. Douglass in the vehicle severely injured.

        636.   The weapon used to attack and injure Mr. Douglass was an IED consisting of an

unknown amount of homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

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       637.    As a result of the June 20, 2003 Terrorist Attack, Mr. Douglass sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to the left eye.

       638.    Mr. Douglass was treated locally in Al Asad, Iraq and released to continue his tour.

He will require further continuous treatment and care for mental and physical issues.

       639.    As a result of the June 20, 2003 Terrorist Attack, and the injuries he suffered, Sean

Douglass has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       640.    Mr. Douglass has been rated by the Veteran’s Administration as 100% disabled.

       9.      THE JULY 1, 2003 ATTACK- BAGHDAD

                       A. JOSE ESPADA

       641.    Plaintiff Jose Espada is a citizen of the United States and is domiciled in the State

of New York.

       642.    On July 1, 2003, Jose Espada, age 42, was serving as a peacekeeping serviceman

in the U.S. Army, with 2nd Platoon, 219th Transportation Company, 369th Transportation

Detachment. At the time, Mr. Espada held the rank of Specialist.

       643.    Mr. Espada was performing his duties as a Vehicle Driver on Main Supply Route

Tampa in Baghdad, Iraq. While conducting a mounted logistics patrol, Mr. Espada was hit by an

IED that knocked Mr. Espada violently around his vehicle severely injured.

       644.    The weapon used to attack and injure Mr. Espada was an IED consisting of an

unknown amount of home-made explosives hidden in a dead animal that were provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       645.    As a result of the July 1, 2003 Terrorist Attack, Mr. Espada sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

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       646.    Mr. Espada was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Espada was awarded the Combat Medical Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       647.    As a result of the July 1, 2003 Terrorist Attack, and the injuries he suffered, Jose

Espada has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       648.    Mr. Espada has received a disability rating of 90% by the Veteran’s Administration.

       10.     THE JULY 1, 2003 ATTACK- FALLUJAH

                         A. JOHN MAZZUCHELLI

       649.    Plaintiff John Mazzuchelli is a citizen of the United States and is domiciled in the

State of Rhode Island.

       650.    On July 1, 2003, John Mazzuchelli, age 27, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Platoon, 115th Military Police Company, 43rd

Military Police Brigade. At the time, Mr. Mazzuchelli held the rank of Specialist.

       651.    Mr. Mazzuchelli was performing his duties as a Military Police Officer in Fallujah,

Iraq. While conducting a dismounted patrol, Mr. Mazzuchelli was hit by an IED that knocked Mr.

Mazzuchelli violently to the ground severely injured.

       652.    The weapon used to attack and injure Mr. Mazzuchelli was an IED consisting of a

mortar round with an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       653.    As a result of the July 1, 2003 Terrorist Attack, Mr. Mazzuchelli sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       654.    Mr. Mazzuchelli was treated locally in Baghdad, Iraq and released to continue his

tour. Mr. Mazzuchelli was awarded the Combat Action Badge for being engaged by the enemy.

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He will require further continuous treatment and care.

         655.   As a result of the July 1, 2003 Terrorist Attack, and the injuries he suffered, John

Mazzuchelli has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

         656.   Mr. Mazzuchelli has received a disability rating of 50% by the Veteran’s

Administration.

         11.    THE JULY 4, 2003 ATTACK- BAGHDAD

                        A. KWAN JOHNSON

         582.   Plaintiff Kwan Johnson is a citizen of the United States and is domiciled in the State

of Texas.

         583.   On July 4, 2003, Kwan Johnson, age 21, was serving as a peacekeeping serviceman

in the U.S. Army, with the Fire Support Team, 3rd Brigade Combat Team, 4th Infantry Division.

At the time, Mr. Johnson held the rank of Sergeant.

         584.   Mr. Johnson performed his duties as a Fire Support Squad Leader on Main Supply

Route Tampa, Baghdad, Iraq at time of injury. While conducting a security patrol, Mr. Johnson’s

armored vehicle was struck by an IED consisting of one 155mm artillery shell that ripped through

his vehicle, throwing Mr. Johnson around the inside of his vehicle and leaving him injured.

         585.   The weapons used to attack and injure Mr. Johnson was an Iranian-procured

155mm artillery shell and provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

         586.   As a result of the July 4, 2003 Terrorist Attack, Mr. Johnson sustained significant

injuries due to the concussive blast of the explosion impacting his head and fracturing his right

wrist.



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        587.    Mr. Johnson was treated at a field hospital in Baghdad, Iraq in the days following

the attack and was eventually released to continue operations. Mr. Johnson was awarded the

Combat Action Badge for receiving enemy fire. He will require further continuous treatment and

care.

        588.    As a result of the July 4, 2003 Terrorist Attack, and the injuries he suffered, Kwan

Johnson has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        589.    Mr. Johnson has received a disability rating of 100% by the Veteran’s

Administration.

        12.     THE JULY19, 2003 ATTACK- MOSUL

                       A. TYLER COFFIE


        657.    Plaintiff Tyler Coffie is a citizen of the United States and is domiciled in the State

of Tennessee.

        658.    On July 19, 2003, Tyler Coffie, age 25, was serving as a peacekeeping serviceman

in the U.S. Army, with D Company, 2nd Battalion, 502nd Infantry Regiment, 101st Airborne

Division. At the time, Mr. Coffie held the rank of Private First Class.

        659.    Mr. Coffie was performing his duties as a Vehicle Turret Gunner in Mosul, Iraq.

While conducting a mounted security patrol, Mr. Coffie’s vehicle was hit by an VBIED that

knocked Mr. Coffie violently around his vehicle severely injured.

        660.    The weapon used to attack and injure Mr. Coffie was an VBIED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        661.    As a result of the July 19, 2003 Terrorist Attack, Mr. Coffie sustained significant

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injuries due to the concussive blast of the explosion to his head and neck. He also suffered fractures

to his T1-3, L5 and L2 and fragmentation injuries to his right forearm.

       662.    Mr. Coffie was treated locally in Baghdad, Iraq and medevaced to Germany and

Andrews Air Force Base. Mr. Coffie was awarded the Purple Heart Medal for wounds received by

the hands of the enemy. He will require further continuous treatment and care.

       663.    As a result of the July 19, 2003 Terrorist Attack, and the injuries he suffered, Tyler

Coffie has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       664.    Mr. Coffie has received a disability rating of 100% by the Veteran’s

Administration.

       13.     THE JULY 23, 2003 ATTACK- MOSUL

                       A. MICHAEL DESALVO

       590.    Plaintiff Michael DeSalvo is a citizen of the United States and is domiciled in the

State of Maryland.

       591. On July 23, 2003, Michael DeSalvo, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with the C Company, 3rd Battalion, 502nd Infantry Regiment, 101st

Airborne Division. At the time, Mr. DeSalvo held the rank of Private First Class.

       592.    Mr. DeSalvo performed his duties as a Vehicle Commander in Mosul, Iraq at time

of injury. While conducting a route security/resupply mission, Mr. DeSalvo’s armored vehicle was

struck by an IED consisting of a 155mm artillery shell that ripped fragments through his legs and

face, knocking Mr. DeSalvo to the ground severely injured and subjecting him to enemy small

arms fire as a part of a complex enemy ambush.




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       593.      The weapon used to attack and injure Mr. DeSalvo was an Iranian-procured 155mm

artillery shell provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       594.      As a result of the July 23, 2003 Terrorist Attack, Mr. DeSalvo sustained significant

injuries due to the concussive blast of the explosion and shrapnel impacting his legs and face.

       595.      Mr. DeSalvo was treated at a field hospital in Iraq in the days following the attack

and was eventually sent to Germany for follow on treatment and returned to the United States

where he was medically discharged from the U.S. Army. Mr. DeSalvo was awarded the Purple

Heart Medal for wounds received by the hands of the enemy. He will require further continuous

treatment and care.

       596.      As a result of the July 23, 2003 Terrorist Attack, and the injuries he suffered,

Michael DeSalvo has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       597.      Mr. DeSalvo has received a disability rating of 100% by the Veteran’s

Administration.

       14.       THE AUGUST 4, 2003 ATTACK- TAJI

                        A. NOAH BURTON

       598.      Plaintiff Noah Burton is a citizen of the United States and is domiciled in the State

of California.

       599.      On August 4, 2003, Noah Burton, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with B Company, 1st Battalion, 66th Armored Regiment. At the

time, Mr. Burton held the rank of Sergeant.




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       600.    Mr. Burton was performing his duties as a Vehicle Turret Gunner in Taji, Iraq.

While conducting a mounted security patrol, Mr. Burton’s vehicle was hit by an IED that knocked

Mr. Burton violently around his vehicle severely injured.

       601.    The weapon used to attack and injure Mr. Burton was an IED consisting of an

unknown amount of home-made explosives with nails and screws provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       602.    As a result of the August 4, 2003 Terrorist Attack, Mr. Burton sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered two

large pieces and 15 micro-pieces of fragmentation to his head.

       603.    Mr. Burton was treated locally in Balad, Iraq and released to continue his tour. Mr.

Burton was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       604.    As a result of the August 4, 2003 Terrorist Attack, and the injuries he suffered,

Noah Burton has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       605.    Mr. Burton has received a disability rating of 100% by the Veteran’s

Administration.

       15.     THE AUGUST 19, 2003 ATTACK- BAGHDAD

                       A. ANTHONY PIERCE

       606.    Plaintiff Athony Pierce is a citizen of the United States and is domiciled in the State

of Florida.




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       607.    On August 19, 2003, Anthony Pierce, age 43, was serving as a peacekeeping

serviceman in the U.S. Army, with 1165th Military Police Company, 18th MP Brigade. At the

time, Mr. Pierce held the rank of Staff Sergeant.

       608.    Mr. Pierce was performing his duties as a Military Policeman in Baghdad, Iraq.

While conducting convoy operations, Mr. Pierce’s vehicle was hit by an IED that knocked Mr.

Pierce violently around his vehicle severely injured. After the initial blast, Mr. Pierce’s vehicle

was struck again by an RPG.

       609.    The weapons used to attack and injure Mr. Pierce was an IED consisting of an

unknown amount of home-made explosives and a RPG, both were provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       610.    As a result of the August 19, 2003 Terrorist Attack, Mr. Pierce sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Pierce

also received shrapnel to right shoulder and arm and left leg.

       611.    Mr. Pierce was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Pierce was awarded the Purple Heart for being wounded at the hands of the enemy. He will

require further continuous treatment and care.

       612.    As a result of the August 19, 2003 Terrorist Attack, and the injuries he suffered,

Anthony Pierce has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       613.    Mr. Pierce has received a disability rating of 60% by the Veteran’s

Administration.




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        16.     THE SEPTEMBER, 2003 ATTACK- KIRKUK

                        A. PAUL WALKER

        614.    Plaintiff Paul Walker is a citizen of the United States and is domiciled in the State

of Arkansas.

        615.    In September, 2003, Paul Walker, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with Bravo Company, 2nd Battalion, 503rd Infantry Regiment,

173rd Airborne Brigade. At the time, Mr. Walker held the rank of Private First Class.

        616.    Mr. Walker was performing his duties as a Vehicle Driver in Kirkuk, Iraq. While

conducting a mounted security patrol, Mr. Walker’s vehicle was hit by an IED that knocked Mr.

Walker violently around his vehicle severely injured.

        617.    The weapon used to attack and injure Mr. Walker was an IED composed of

homemade explosives provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        618.    As a result of the September, 2003 Terrorist Attack, Mr. Walker sustained

significant injuries due to his head and neck. He also received fragmentation to his face that left

significant scarring.

        619.    Mr. Walker was treated locally at Kirkuk Air Base and returned to complete his

tour. Mr. Walker was awarded the Purple Heart Medal for wounds received at the hands of the

enemy. He will require further continuous treatment and care.

        620.    As a result of the September, 2003 Terrorist Attack, and the injuries he suffered,

Paul Walker has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        621.    Mr. Walker has been rated 60% disabled by the Veteran’s Administration.



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       17.     THE SEPTEMBER 1, 2003 ATTACK- FALLUJAH

                       A. KENNETH PLAKE

       622.    Plaintiff Kenneth Plake is a citizen of the United States and is domiciled in the State

of Texas.

       623.    On September 1, 2003, Kenneth Plake, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with the B Troop, 1st Squadron, 9th Cavalry Regiment. At the time,

Mr. Plake held the rank of Sergeant.

       624.    Mr. Plake was performing his duties as a Vehicle Gunner on Route Fran in Fallujah,

Iraq. While conducting a mounted security patrol, Mr. Plake was hit by a VBIED that knocked

Mr. Plake violently around his vehicle severely injured.

       625.    The weapon used to attack and injure Mr. Plake was a VBIED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       626.    As a result of the September 1, 2003 Terrorist Attack, Mr. Plake sustained

significant injuries due to the concussive blast of the explosion to his head, neck and spine.

       627.    Mr. Plake was treated locally in Fallujah, Iraq and released to continue his tour. He

later required two spinal fusions to correct damage incurred in the blast. Mr. Plake was awarded

the Combat Action Badge for being engaged by the enemy. He will require further continuous

treatment and care.

       628.    As a result of the September 1, 2003 Terrorist Attack, and the injuries he suffered,

Kenneth Plake has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       629.    Mr. Plake has been rated 100% disabled by the Veteran’s Administration.



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       18.     THE SEPTEMBER 11, 2003 ATTACK- SAMARRA

                        A. JOSE GARCIA

       630.    Plaintiff Jose Garcia is a citizen of the United States and is domiciled in the State

of Georgia.

       631.    On September 11, 2003, Jose Garcia, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with the 64th Military Police Company. At the time, Mr. Garcia held

the rank of Sergeant.

       632.    Mr. Garcia was performing his duties as a Vehicle Driver in Samarra, Iraq. While

conducting a mounted security patrol, Mr. Garcia was hit by an IED that knocked Mr. Garcia

violently around his vehicle severely injured.

       633.    The weapon used to attack and injure Mr. Garcia was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       634.    As a result of the September 11, 2003 Terrorist Attack, Mr. Garcia sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a hairline hip fracture that later required replacement.

       635.    Mr. Garcia was treated locally in Samarra, Iraq and released to continue his tour.

Mr. Garcia was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       636.    As a result of the September 11, 2003 Terrorist Attack, and the injuries he suffered,

Jose Garcia has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       637.    Mr. Garcia has yet to be rated by the Veteran’s Administration, as he is still on

Active Duty.

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       19.     THE SEPTEMBER 14, 2003 ATTACK- RAMADI

                       A. DONALD REESE

       638.    Plaintiff Donald Reese is a citizen of the United States and is domiciled in the State

of New York.

       639.    On September 14, 2003, Donald Reese, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with the 2133rd Transportation Company, 1st Battalion, 124th

Infantry Regiment. At the time, Mr. Reese held the rank of Specialist.

       640.    Mr. Reese was performing his duties as a Vehicle Turret Gunner on Route

Michigan in Ramadi, Iraq. While conducting a mounted security patrol, Mr. Reese’s vehicle was

hit by an IED that knocked Mr. Reese violently around his vehicle severely injured.

       641.    The weapon used to attack and injure Mr. Reese was an IED consisting of a 155mm

artillery round with an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       642.    As a result of the September 14, 2003 Terrorist Attack, Mr. Reese sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to the right side of his face.

       643.    Mr. Reese was treated locally in Ramadi, Iraq and released to continue his tour. Mr.

Reese was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       644.    As a result of the September 14, 2003 Terrorist Attack, and the injuries he suffered,

Donald Reese has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       645.    Mr. Reese has received a disability rating of 80% by the Veteran’s Administration.



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       20.      THE SEPTEMBER 19, 2003 ATTACK- MOSUL

                       A. THOMAS LOVE

       646.     Plaintiff Thomas Love is a citizen of the United States and is domiciled in the State

of Tennessee.

       647.     On September 19, 2003, Thomas Love, age 34, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, D Company, 3rd Battalion, 327th Infantry Regiment

101st Airborne Division. At the time, Mr. Love held the rank of Specialist.

       648.     Mr. Love was performing his duties as a Vehicle Turret Gunner in Mosul, Iraq

when he was attacked. While conducting a mounted security mission, Mr. Love’s vehicle was hit

by an IED leaving Mr. Love in the vehicle severely injured.

       649.     The weapon used to attack and injure Mr. Love was an IED consisting of a 155mm

artillery shell with homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       650.     As a result of the September 19, 2003 Terrorist Attack, Mr. Love sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered an amputation of his left arm at the shoulder, a collapsed lung and required open heart

surgery.

       651.     Mr. Love was treated locally in Mosul, Iraq and medevaced to Germany and Walter

Reed Army Hospital in the United States. Mr. Love was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care

for mental and physical issues. Mr. Love’s career in the United States Military was tragically cut

short, his family relationships came under severe strain as a result of his care requirements and

additional medical treatment (surgeries and physical therapy) will be required to marginally

improve the quality of his life.

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       652.    As a result of the September 19, 2003 Terrorist Attack, and the injuries he suffered,

Thomas Love has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       653.    Mr. Love has been rated by the Veteran’s Administration as 100% disabled.

       21.     THE SEPTEMBER 23, 2003 ATTACK- ABU GRAIB

                       A. ADAM BAGBY

       654.    Plaintiff Adam Bagby is a citizen of the United States and is domiciled in the State

of Florida.

       655.    On September 24, 2003, Adam Bagby, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with the 527th Military Police Company, 709th Military Police

Battalion, 18th Military Police Brigade, 5th Corps. At the time, Mr. Bagby held the rank of

Specialist.

       656.    Mr. Bagby was performing his duties as a Vehicle Turret Gunner in Abu Graib,

Iraq. While conducting a mounted security patrol, Mr. Bagby’s vehicle was hit by an IED that

knocked Mr. Bagby violently around his vehicle severely injured.

       657.    The weapon used to attack and injure Mr. Bagby was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       658.    As a result of the September 24, 2003 Terrorist Attack, Mr. Bagby sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Bagby

also received fragmentation to his right calf, knee and both hands.




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       659.    Mr. Bagby was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Bagby was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       660.    As a result of the September 24, 2003 Terrorist Attack, and the injuries he suffered,

Adam Bagby has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       661.    Mr. Bagby has received a disability rating of 80% by the Veteran’s Administration.

       22.     THE SEPTEMBER 30, 2003 ATTACK- BALAD

                      A. JOSEPH CORDER

       662.    Plaintiff Joseph Corder is a citizen of the United States and is domiciled in the State

of Colorado.

       663.    On September 30, 2003, Joseph Corder, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 8th Infantry Regiment, 3rd Brigade, 4th Infantry

Division. At the time, Mr. Corder held the rank of Private First Class.

       664.    Mr. Corder was performing his duties as a Construction Equipment Repairman in

Balad, Iraq. While conducting mounted patrolls, Mr. Corder’s person was hit by an IED that

knocked Mr. Corder violently around his vehicle and severely injured.

       665.    The weapon used to attack and injure Mr. Corder was an IED consisting of a

landmine provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       666.    As a result of the September 30, 2003 Terrorist Attack, Mr. Corder sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Corder

also received fragmentation to his head and face.


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        667.   Mr. Corder was treated locally in Balad at Forward Operating Base Eagle, Iraq and

released to continue his tour. Mr. Corder was awarded the Purple Heart for his injuries and the

Combat Action Badge for being engaged by the enemy. He will require further continuous

treatment and care.

        668.   As a result of the September 30, 2003 Terrorist Attack, and the injuries he suffered,

Joseph Corder has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        669.   Mr. Corder has received a disability rating of 90% by the Veteran’s Administration.

        23.    THE OCTOBER 1, 2003 ATTACK- KARBALA

                       A. PAUL HETTICH

        670.   Plaintiff Paul Hettich is a citizen of the United States and is domiciled in the State

of Illinois.

        671.   On October 1, 2003, Paul Hettich, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Company, 308th Civil Affairs Brigade. At the

time, Mr. Hettich held the rank of Major.

        672.   Mr. Hettich was performing his duties as a Vehicle Commander on Route 1 in

Karbala, Iraq. While conducting a mounted security patrol, Mr. Hettich’s vehicle was hit by an

IED that knocked Mr. Hettich violently around his vehicle severely injured.

        673.   The weapon used to attack and injure Mr. Hettich was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        674.   As a result of the October 1, 2003 Terrorist Attack, Mr. Hettich sustained

significant injuries due to the concussive blast of the explosion to his head and neck.


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       675.    Mr. Hettich was treated locally at Camp Victory in Baghdad, Iraq and released to

continue his tour. Mr. Hettich was awarded the Combat Action Badge for being engaged by the

enemy. He will require further continuous treatment and care.

       676.    As a result of the October 1, 2003 Terrorist Attack, and the injuries he suffered,

Paul Hettich has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       677.    Mr. Hettich has received a disability rating of 100% by the Veteran’s

Administration.

       24.     THE OCTOBER 5, 2003 ATTACK- BAGHDAD

                       A. REX RAMCHARAN

       678.    Plaintiff Rex Ramcharan is a citizen of the United States and is domiciled in the

State of Florida.

       679.    On October 5, 2003, Rex Ramcharan, age 36, was serving as a peacekeeping

serviceman in the U.S. Army, with 812th Military Police Company, 1st Armored Division. At the

time, Mr. Ramcharan held the rank of Sergeant.

       680.    Mr. Ramcharan was performing his duties as a Truck Commander in Baghdad, Iraq.

While conducting on convoy operations, Mr. Ramcharan’s vehicle was hit by an IED that knocked

Mr. Ramcharan violently around his vehicle severely injured.

       681.    The weapon used to attack and injure Mr. Ramcharan was an IED consisting of an

unknown amount explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.




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       682.    As a result of the October 5, 2003 Terrorist Attack, Mr. Ramcharan sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr

Ramcharan also severely fractured his nose and required surgery shortly following his deployment.

       683.    Mr. Ramcharan was treated locally at the 28th Combat Support Hospital and

medevaced to Germany. Mr. Ramcharan was awarded the Purple Heart for being wounded at the

hands of the enemy. He will require further continuous treatment and care.

       684.    As a result of the October 5, 2003 Terrorist Attack, and the injuries he suffered,

Rex Ramcharan has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       685.    Mr. Ramcharan has received a disability rating of 100% by the Veteran’s

Administration.

       25.     THE OCTOBER 9, 2003 ATTACK- ABU GRAIB

                      A. VLADIMIR QUERALES

       686.    Plaintiff Vladimir Querales is a citizen of the United States and is domiciled in the

State of Louisiana.

       687.    On October 9, 2003, Vladimir Querales, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 1st Battalion, 504th Infantry Regiment, 82nd

Airborne Division. At the time, Mr. Querales held the rank of Staff Sergeant.

       688.    Mr. Querales was performing his duties as a Vehicle Commander in Abu Graib,

Iraq. While conducting a mounted security patrol, Mr. Querales’s vehicle was hit by an IED that

knocked Mr. Querales violently around his vehicle severely injured.




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       689.       The weapon used to attack and injure Mr. Querales was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       690.       As a result of the October 9, 2003 Terrorist Attack, Mr. Querales sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to the face.

       691.       Mr. Querales was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Querales was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       692.       As a result of the October 9, 2003 Terrorist Attack, and the injuries he suffered,

Vladimir Querales has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       693.       Mr. Querales has yet to be rated by the Veteran’s Administration as he is still on

active duty.

       26.        THE OCTOBER 12, 2003 ATTACK- BAYJI

                         A. LEONARD JOHNSON

       694.       Plaintiff Leonard Johnson is a citizen of the United States and is domiciled in the

State of Texas.

       695.       On October 12, 2003, Leonard Johnson, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, B Company, 1st Battalion, 22nd Infantry Regiment,

4th Infantry Division. At the time, Mr. Johnson held the rank of Specialist.




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       696.    Mr. Johnson was performing his duties as a Turret Gunner in Bayji, Iraq. While

conducting a mounted ambush patrol, Mr. Johnson was hit by an IED that knocked Mr. Johnson

violently around his vehicle severely injured.

       697.    The weapon used to attack and injure Mr. Johnson was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       698.    As a result of the October 12, 2003 Terrorist Attack, Mr. Johnson sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered lacerations to the face that required stiches and left scarring.

       699.    Mr. Johnson was treated locally at Camp Lancer, Iraq and released to continue his

tour. Mr. Johnson was awarded the Combat Action Badge for being engaged by the enemy. He

will require further continuous treatment and care.

       700.    As a result of the October 12, 2003 Terrorist Attack, and the injuries he suffered,

Leonard Johnson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       701.    Mr. Johnson has received a disability rating of 80% by the Veteran’s

Administration.

       27.     THE OCTOBER 15, 2003 ATTACK- RAMADI

                       A. BRUCE MILLSAP

       702.    Plaintiff Bruce Millsap is a citizen of the United States and is domiciled in the State

of Alabama.




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       703.    On October 15, 2003, Bruce Millsap, age 40, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Battalion, 319th Field Artillery, 82nd Airborne Division. At

the time, Mr. Millsap held the rank of Chief Warrant Officer-2.

       704.    Mr. Millsap was performing his duties as a Vehicle Commander in Ramadi, Iraq.

While conducting a mounted security patrol, Mr. Millsap’s vehicle was hit by an IED that knocked

Mr. Millsap violently around his vehicle severely injured.

       705.    The weapon used to attack and injure Mr. Millsap was an IED consisting of a “daisy

chain” of artillery shells with an unknown amount of home-made explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       706.    As a result of the October 15, 2003 Terrorist Attack, Mr. Millsap sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his left shoulder.

       707.    Mr. Millsap was treated locally in Ramadi, Iraq and medevaced to the Green Zone.

Mr. Millsap was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       708.    As a result of the October 15, 2003 Terrorist Attack, and the injuries he suffered,

Bruce Millsap has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       709.    Mr. Millsap has received a disability rating of 100% by the Veteran’s

Administration.




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       28.     THE OCTOBER 22, 2003 ATTACK- AL QUIM

                       A. MATTHEW MALOY

       710.    Plaintiff Mathew Maloy is a citizen of the United States and is domiciled in the

State of Kentucky.

       711.    In the early morning of October 22, 2003, Matthew Maloy, age 22, was serving as

a peacekeeping serviceman in the U.S. Army, with C Troop, 1st Squadron, 73rd Cavalry Regiment,

82nd Airborne Division. At the time, Mr. Maloy held the rank of Staff Sergeant.

       712.    Mr. Maloy performed his duties as the Senior Scout/Section Sergeant in Al Quim,

Al Anbar Providence, Iraq at time of injury. While moving to establish a blocking position in

support of an outer cordon and to allow a forward passage of lines for friendly forces, Mr. Maloy’s

armored vehicle was struck by an IED consisting of 2 x 155mm artillery rounds that initiated a

close ambush of his three vehicle section. The explosion ripped through his vehicle, knocking Mr.

Maloy around his vehicle severely injured.

       713.    The weapon used to attack and injure Mr. Maloy was two Iranian-procured 155mm

artillery shells provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       714.    As a result of the October 22, 2003 Terrorist Attack, Mr. Maloy sustained

significant injuries due to the concussive blast of the explosion to his head, neck, right knee and

lower back.

       715.    Mr. Maloy was treated at a local field hospital in Iraq in the days following the

attack and was eventually released to continue operations. Mr. Maloy was awarded the Combat

Action Badge for this engagement with the enemy. He will require further continuous treatment

and care.



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       716.    As a result of the October 22, 2003 Terrorist Attack, and the injuries he suffered,

Matthew Maloy has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       717.    Mr. Maloy has received a disability rating of 100% by the Veteran’s

Administration.

       29.     THE OCTOBER 22, 2003 ATTACK- TAJI

                       A. DAVID BARCUS

       718.    Plaintiff David Barcus is a citizen of the United States and is domiciled in the State

of Ohio.

       719.    On October 22, 2003, David Barcus, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1485th Transportation Company, 3rd COSCOM. At the time,

Mr. Barcus held the rank of Sergeant.

       720.    Mr. Barcus was performing his duties as a Vehicle Driver in Taji, Iraq when he was

attacked. While conducting a mounted security mission, Mr. Barcus’ vehicle was hit by an IED

leaving Mr. Barcus in the vehicle severely injured.

       721.    The weapon used to attack and injure Mr. Barcus was an IED consisting of a

120mm shell with homemade explosives and was command detonated. The IED was provided by

Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       722.    As a result of the October 22, 2003 Terrorist Attack, Mr. Barcus sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered Shrapnel to right ankle, right elbow and back of head. He has two surgeries on his ankle

and one on his arm.




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        723.   Mr. Barcus was treated locally in Taji, Iraq and medevaced to Germany and Walter

Reed Army Hospital in the United States. Mr. Barcus was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care

for mental and physical issues.

        724.   As a result of the October 22, 2003 Terrorist Attack, and the injuries he suffered,

David Barcus has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        725.   Mr. Barcus has been rated by the Veteran’s Administration as 60% disabled.

        30.    THE OCTOBER 28, 2003 ATTACK- BALAD

                       A. LANCE GIESELMANN

        726.   Plaintiff Lance Gieselmann is a citizen of the United States and is domiciled in the

State of Alabama.

        727.   On October 28, 2003, Lance Gieselmann, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 3rd Battalion, 67th Armor, 4th Infantry Division.

At the time, Mr. Gieselmann held the rank of Specialist.

        728.   Mr. Gieselmann was performing his duties as a M1 Tank loader in Balad, Iraq.

While conducting a resupply mission, Mr. Gieselmann’s tank was hit by an IED, the force of which

propelled him 39 feet into the air from the turret while fragmentation ripped through his chest and

leaving Mr. Gieselmann on the ground severely injured.

        729.   The weapon used to attack and injure Mr. Gieselmann was comprised of five

155mm artillery shells with 100 pounds of a secondary propellant charge. The IED material was

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.


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       730.    As a result of the October 28, 2003 Terrorist Attack, Mr. Gieselmann sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his chest.

       731.    Mr. Gieselmann was treated at several different hospitals in the days and months

following the attack and was eventually transferred to the Walter Reed General Hospital in

Bethesda, Maryland where he continued to be hospitalized and received intensive treatment for

twelve months due to the severity of his injuries while enduring the course of ten subsequent

surgeries. It was during his time at Walter Reed Hospital, Mr. Gieselmann had his left leg above

the knee amputated as a result of his extensive injuries. Mr. Gieselmann was awarded the Purple

Heart Medal for wounds received by the hands of the enemy. He will require further continuous

treatment and care in the future. Mr. Gieselmann’s career in the United States Military was

tragically cut short, his family relationships came under severe strain as a result of his care

requirements and additional medical treatment (surgeries and physical therapy) will be required to

marginally improve the quality of his life.

       732.    As a result of the October 28, 2003 Terrorist Attack, and the injuries he suffered,

Lance Gieselmann has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       733.    Mr. Gieselmann received a disability rating of 100% by the Veteran’s

Administration.

       31.     THE NOVEMBER 1, 2003 ATTACK- RAMADI

                       A. ROBERT LAWSON

       734.    Plaintiff Robert Lawson is a citizen of the United States and is domiciled in the

State of Kansas.




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       735.    On November 1, 2003, Robert Lawson, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Brigade, 1st Infantry Division. At the time, Mr. Lawson held

the rank of Corporal.

       736.    Mr. Lawson was performing his duties as a Vehicle Driver on Route Michigan in

Ramadi, Iraq. While conducting a mounted security patrol, Mr. Lawson’s vehicle was hit by an

IED that knocked Mr. Lawson violently around his vehicle severely injured.

       737.    The weapons used to attack and injure Mr. Lawson were “daisy chained” IEDs

consisting of an unknown amount of home-made explosives provided by Iran and/or one of its

agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       738.    As a result of the November 1, 2003 Terrorist Attack, Mr. Lawson sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       739.    Mr. Lawson was treated locally in Ramadi, Iraq (Junction City) and released to

continue his tour. Mr. Lawson will require further continuous treatment and care.

       740.    As a result of the November 1, 2003 Terrorist Attack, and the injuries he suffered,

Robert Lawson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       741.    Mr. Lawson has received a disability rating of 100% by the Veteran’s

Administration.

       32.     THE NOVEMBER 9, 2003 ATTACK- FALLUJAH

                        A. WILLIAM LOTT

       742.    Plaintiff William Lott is a citizen of the United States and is domiciled in the State

of South Carolina.




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       743.    On November 9, 2003, William Lott, age 19, was serving as a peacekeeping

serviceman in the U.S. Army, with the 122nd Engineer Battalion. At the time, Mr. Lott held the

rank of Specialist.

       744.    Mr. Lott was performing his duties as a Vehicle Gunner in Fallujah, Iraq. While

conducting a mounted security patrol, Mr. Lott’s vehicle was hit by an IED that knocked Mr. Lott

violently around his vehicle severely injured.

       745.    The weapon used to attack and injure Mr. Lott was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       746.    As a result of the November 9, 2003 Terrorist Attack, Mr. Lott sustained significant

injuries due to the concussive blast of the explosion to his head and neck. The force of the

explosion caused several herniated disk in his back. He also received fragmentation to the face and

neck that left scarring on his neck.

       747.    Mr. Lott was treated locally at Camp Fallujah, Iraq and released to continue his

tour. Mr. Lott was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care.

       748.    As a result of the November 9, 2003 Terrorist Attack, and the injuries he suffered,

William Lott has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       749.    Mr. Lott has received a disability rating of 100% by the Veteran’s Administration.

       33.     THE NOVEMBER 12, 2003 ATTACK- MOSUL

                       A. MITCHELL BURNS

       750.    Plaintiff Mitchell Burns is a citizen of the United States and is domiciled in the State


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of South Carolina.

        751.    On November 12, 2003, Mitchell Burns, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Company, 3rd Brigade, 101st Airborne Division.

At the time, Mr. Burns held the rank of Specialist.

        752.    Mr. Burns was performing his duties as a Vehicle Passenger on Main Supply Route

Tampa in Mosul, Iraq. While conducting a mounted security patrol, Mr. Burn’s vehicle was hit by

an VBIED that knocked Mr. Burns violently around his vehicle severely injured.

        753.    The weapon used to attack and injure Mr. Burns was an VBIED composed of an

homemade explosives provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        754.    As a result of the November 12, 2003 Terrorist Attack, Mr. Burns sustained

significant injuries due to his head and neck. He also received fragmentation to his throat and face

as well as his left knee and shin.

        755.    Mr. Burns was treated locally at Talafar and returned to complete his tour. Mr. Burns

was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will require

further continuous treatment and care.

        756.    As a result of the November 12, 2003 Terrorist Attack, and the injuries he suffered,

Mitchell Burns has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        757.    Mr. Burns has been rated 100% disabled by the Veteran’s Administration.

        34.     THE NOVEMBER 15, 2003 ATTACK- FALLUJAH

                        A. DAVID MORROW

        758.    Plaintiff David Morrow is a citizen of the United States and is domiciled in the

State of Louisiana.

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       759.    On November 15, 2003, David Morrow, age 27, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1087th Transportation Company. At the time, Mr. Morrow

held the rank of Staff Sergeant.

       760.    Mr. Morrow was performing his duties as a Vehicle Driver on Main Supply Route

Sword in Fallujah, Iraq. While conducting a mounted resupply patrol, Mr. Morrow was hit by an

IED that knocked Mr. Morrow violently around his vehicle severely injured.

       761.    The weapon used to attack and injure Mr. Morrow was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       762.    As a result of the November 15, 2003 Terrorist Attack, Mr. Morrow sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       763.    Mr. Morrow was treated locally in Kuwait and released to continue his tour. Mr.

Morrow was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.

       764.    As a result of the November 15, 2003 Terrorist Attack, and the injuries he suffered,

David Morrow has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       765.    Mr. Morrow has received a disability rating of 100% by the Veteran’s

Administration.

       35.     THE DECEMBER 10, 2003 ATTACK- MOSUL

                       A. CHARLES JACKSON

       766.    Plaintiff Charles Jackson is a citizen of the United States and is domiciled in the

State of Kentucky.


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       767.    On December 10, 2003, Charles Jackson, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, C Company, 3rd Battalion, 502nd Infantry

Regiment, 101st Airborne Division. At the time, Mr. Jackson held the rank of Private First Class.

       768.    Mr. Jackson was performing his duties as a Vehicle Passenger in Mosul, Iraq. While

conducting a mounted security patrol, Mr. Jackson’s vehicle was hit by an IED that knocked Mr.

Jackson violently around his vehicle severely injured.

       769.    The weapon used to attack and injure Mr. Jackson was an IED consisting of four

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       770.    As a result of the December 10, 2003 Terrorist Attack, Mr. Jackson sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his left eye.

       771.    Mr. Jackson was treated locally in Mosul, Iraq and released to continue his tour.

Mr. Jackson was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       772.    As a result of the December 10, 2003 Terrorist Attack, and the injuries he suffered,

Charles Jackson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       773.    Mr. Jackson has received a disability rating of 70% by the Veteran’s

Administration.

       36.     THE JANUARY 4, 2004 ATTACK- TIKRIT

                       A. JUSTIN NORTH

       774.    Plaintiff Justin North is a citizen of the United States and is domiciled in the State

of Arizona.

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       775.    On January 4, 2004, Justin North, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, A Company, 299th Combat Engineer Battalion. At

the time, Mr. North held the rank of Private-2.

       776.    Mr. North was performing his duties as a Combat Engineer in Tikrit, Iraq. While

conducting a dismounted IED Clearance patrol, Mr. North was hit by an IED that knocked Mr.

North violently to the ground severely injured.

       777.    The weapon used to attack and injure Mr. North was an IED consisting of an anti-

tank round with an unknown amount of home-made explosives provided by Iran and/or one of its

agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       778.    As a result of the January 4, 2004 Terrorist Attack, Mr. North sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to the left calf and to the back of the head/face that left a three-inch scar on his

forehead.

       779.    Mr. North was treated locally in Baghdad, Iraq and medevaced to Germany and

Walter Reed Army Hospital. Mr. North was awarded the Combat Action Badge for being engaged

by the enemy. He will require further continuous treatment and care. Mr. North’s career in the

United States Military was tragically cut short, his family relationships came under severe strain

as a result of his care requirements and additional medical treatment (surgeries and physical

therapy) will be required to marginally improve the quality of his life.

       780.    As a result of the January 4, 2004 Terrorist Attack, and the injuries he suffered,

Justin North has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       781.    Mr. North has received a disability rating of 100% by the Veteran’s Administration.



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       37.     THE JANUARY 20, 2004 ATTACK- BAQUBA

                       A. LEROY FARMER

       782.    Plaintiff Leroy Farmer is a citizen of the United States and is domiciled in the State

of Arkansas.

       783.    On January 20, 2004, Leroy Farmer, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, with the 362nd TPU, 10th POB, 7th Psychological Operations Group.

At the time, Mr. Farmer held the rank of Sergeant.

       784.    Mr. Farmer was performing his duties as a Vehicle Turret Gunner in Baquba, Iraq.

While conducting a mounted security patrol, Mr. Farmer’s vehicle was hit by an IED that knocked

Mr. Farmer violently around his vehicle severely injured.

       785.    The weapon used to attack and injure Mr. Farmer was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       786.    As a result of the January 20, 2004 Terrorist Attack, Mr. Farmer sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       787.    Mr. Farmer was treated locally in Baquba, Iraq and medevaced to Germany and

returned to Iraq to continue his tour. Mr. Farmer was awarded the Purple Heart Medal for wounds

received by the hands of the enemy. He will require further continuous treatment and care.

       788.    As a result of the January 20, 2004 Terrorist Attack, and the injuries he suffered,

Leroy Farmer has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       789.    Mr. Farmer has received a disability rating of 100% by the Veteran’s

Administration.



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       38.     THE JANUARY 27, 2004 ATTACK- SCANDERIA

                       A. ROBERT JEPSEN

       790.    Plaintiff Robert Jepsen is a citizen of the United States and is domiciled in the State

of Virginia.

       791.    On January 27, 2004, Robert Jepsen, age 27, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Battalion, 505th Infantry Regiment, 82nd Airborne Division.

At the time, Mr. Jepsen held the rank of Sergeant.

       792.    At the time of his injury, Mr. Jepsen was performing his duties as a Squad Leader

in Scanderia, Iraq. While conducting a dismounted security patrol, Mr. Jepsen’s person was hit by

an IED, leaving Mr. Jepsen on the ground severely injured.

       793.    The weapon used to attack and injure Mr. Jepsen was comprised of an IED

consisting of a 160mm mortar round with an unknown amount of home-made explosives. The IED

was provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       794.    As a result of the January 27, 2004 Terrorist Attack, Mr. Jepsen sustained

significant injuries due to the concussive blast of the explosion to his head and neck, while also

suffering fragmentation injuries to his left and right hips requiring skin grafts as well as burns and

scars on his face.

       795.    Mr. Jepsen was treated locally at a field hospital in Balad, Iraq and eventually was

medevaced to Germany and the United States for follow on treatment. Mr. Jepsen was awarded

the Purple Heart Medal for wounds received by the hands of the enemy. He will require further

continuous treatment and care.




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       796.    As a result of the January 27, 2004 Terrorist Attack, and the injuries he suffered,

Robert Jepsen has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       797.    Mr. Jepsen has received a disability rating of 100% by the Veteran’s

Administration.

       39.     THE JANUARY 29, 2004 ATTACK- BAGHDAD

                       A. KEVIN SMITH

       798.    Plaintiff Kevin Smith is a citizen of the United States and is domiciled in the State

of New Mexico.

       799.    On January 29, 2004, Kevin Smith, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, A Company, 2nd Battalion, 37th Armored Regiment,

1st Brigade, 1st Armored Division. At the time, Mr. Smith held the rank of Private First Class.

       800.    Mr. Smith was performing his duties as a Provisional Rifleman on Main Supply

Route Mill Skinner in Baghdad, Iraq. While conducting a dismounted security patrol, Mr. Smith’s

person was hit by an EFP that knocked Mr. Smith violently to the ground severely injured.

       801.    The weapon used to attack and injure Mr. Smith was an EFP consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       802.    As a result of the January 29, 2004 Terrorist Attack, Mr. Smith sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his left thigh and his lower back.




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       803.    Mr. Smith was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Smith was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       804.    As a result of the January 29, 2004 Terrorist Attack, and the injuries he suffered,

Kevin Smith has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       805.    Mr. Smith has received a disability rating of 90% by the Veteran’s Administration.

       40.     THE FEBRUARY 4, 2004 ATTACK- DIYALA PROVINCE

                       A. EUGENE SIMIONESCU

       806.    Plaintiff Eugene Simionescu is a citizen of the United States and is domiciled in the

State of Michigan.

       807.    On February 4, 2004, Eugene Simionescu, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, with the 745th EOD Company, 62nd Ordinance Battalion. At the

time, Mr. Simionescu held the rank of Sergeant.

       808.    Mr. Simionescu was performing his duties as an EOD Tech in Diyala, Iraq when

he was attacked. While conducting a dismounted IED clearing mission, Mr. Simionescu’s person

was hit by an IED leaving Mr. Simionescu on the ground severely injured.

       809.    The weapon used to attack and injure Mr. Simionescu was an IED of three South

African 155mm artillery shells with home-made explosives. The IED was provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       810.    As a result of the February 4, 2004 Terrorist Attack, Mr. Simionescu sustained

significant injuries due to the concussive blast of the explosion to his head and neck.




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        811.    Mr. Simionescu was treated locally on scene in Iraq and released to continue his

tour. Mr. Simionescu was awarded the Combat Action Badge for being engaged by the enemy. He

will require further continuous treatment and care for mental and physical issues.

        812.    As a result of the February 4, 2004 Terrorist Attack, and the injuries he suffered,

Eugene Simionescu has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        813.    Mr. Simionescu has been rated by the Veteran’s Administration as 90% disabled.

        41.     THE FEBRUARY 9, 2004 ATTACK- BAQUBA

                        A. ROBERT LORIA

        814.    Plaintiff Robert Loria is a citizen of the United States and is domiciled in the State

of Florida.

        815.    On February 9, 2004, Robert Loria, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with Company, 588th Engineer Battalion, 4th Infantry Division. At

the time, Mr. Loria held the rank of Corporal.

        816.    Mr. Loria was performing his duties as a vehicle driver. His unit was tasked to

reduce explosive devices in the vicinity of Baquba, Iraq in support of an Explosive Ordinance

Disposal (EOD) unit. While addressing a primary device, Mr. Loria was exposed to secondary and

tertiary devices consisting of three 155mm artillery shells and P4 explosives. The explosion ripped

through his unarmored vehicle, knocking Mr. Loria to the ground severely injured.

        817.    The weapon used to attack and injure Mr. Loria were three 155mm artillery shells

with P4 explosives provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.




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       818.    As a result of the February 9, 2004 Terrorist Attack, Mr. Loria sustained significant

injuries due to the concussive blast of the explosion and shrapnel impacting his left hand, causing

an amputation below the elbow, sciatic nerve damage from a snapped left femur.

       819.    Mr. Loria was treated at a local field hospital in Balad, Iraq with follow on care in

Germany and the United States. Mr. Loria was awarded the Purple Heart Medal for wounds

received at the hands of the enemy. He will require further continuous treatment and care. Mr.

Loria’s career in the United States Military was tragically cut short, his family relationships came

under severe strain as a result of his care requirements and additional medical treatment (surgeries

and physical therapy) will be required to marginally improve the quality of his life.

       820.    As a result of the February 9, 2004 Terrorist Attack, and the injuries he suffered,

Robert Loria has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       821.    Mr. Loria has received a disability rating of 100% by the Veteran’s Administration.

       42.     THE FEBRUARY 16, 2004 ATTACK- BABIL

                       A. GABOR FALVY

       822.    Plaintiff Gabor Falvy is a citizen of the United States and is domiciled in the State

of Colorado.

       823.    On February 16, 2004, Gabor Falvy, age 33, was serving as a peacekeeping

serviceman in the U.S. Army, with the 418th Civil Affairs Battalion, 308th Civil Affairs Brigade.

At the time, Mr. Falvy held the rank of Specialist.

       824.    Mr. Falvy was performing his duties as a Psychological Operations Specialist in

Babil Providence, Iraq. While preparing to move out, Mr. Falvy’s unit was struck by a Suicide

Vehicle Borne Improvised Explosive Device (SVBIED). The explosion from the SVBIED ripped


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through his vehicle throwing him violently to the ground with second and third degree burns,

severe head trauma and fragmentation in his right leg.

        825.   The weapons used to attack and injure Mr. Falvy were explosives and operatives

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        826.   As a result of the February 16, 2004 Terrorist Attack, Mr. Falvy sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his body.

Mr. Falvy was also severely burned.

        827.   Mr. Falvy was treated locally at field hospital in Babil, Iraq and released to continue

operations. Mr. Falvy was awarded the Purple Heart Medal for wounds received by the hands of

the enemy. He will require further continuous treatment and care.

        828.   As a result of the February 16, 2004 Terrorist Attack, and the injuries he suffered,

Gabor Falvy has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        829.   Mr. Falvy has received a disability rating of 90% by the Veteran’s Administration.

        43.    THE MARCH 2004 ATTACK- BAGHDAD

                       A. MARK VILLANTI

        830.   Plaintiff Mark Villanti is a citizen of the United States and is domiciled in the State

of North Carolina.

        831.   In March 2004, Mark Villanti, age 29, was serving as a peacekeeping serviceman in

the U.S. Army, with 100th Training Division. At the time, Mr. Villanti held the rank of Sergeant.

        832.   Mr. Villanti was performing his duties as a Vehicle Commander on MSR Tampa in

Baghdad, Iraq. While conducting a mounted security/route clearance patrol, Mr. Villanti’s vehicle


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was hit by an IED that knocked Mr. Villanti violently around his vehicle severely injured.

       833.    The weapon used to attack and injure Mr. Villanti was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       834.    As a result of the March 2004 Terrorist Attack, Mr. Villanti sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered the full

removal of his medial cartilage in his left knee.

       835.    Mr. Villanti was treated locally in Baghdad, Iraq and was air medevaced to Balad,

Germany and Fort Knox. He will require further continuous treatment and care.

       836.    As a result of the March 2004 Terrorist Attack, and the injuries he suffered, Mark

Villanti has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       837.    Mr. Villanti has received a disability rating of 80% by the Veteran’s Administration.

       44.     THE MARCH 4, 2004 ATTACK- RAMADI

                       A. RONALD CONAWAY

       838. Plaintiff Ronald Conaway is a citizen of the United States and is domiciled in the State

of Oklahoma.

       839. On March 4, 2004, Ronald Conaway, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, Bravo Company, 1st Battaion,16th Infantry Regiment,

1st Infantry Division. At the time, Mr. Conaway held the rank of Sergeant.

       840. Mr. Conaway was performing his duties as a Vehicle Turret Gunner in Ramadi, Iraq.

While conducting a mounted security patrol, Mr. Conaway’s vehicle was hit by an IED and RPG

that knocked Mr. Conaway violently around his vehicle severely injured.


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       841. The weapon used to attack and injure Mr. Conaway was an IED composed of two

155mm artillery rounds with homemade explosives and an 83mm RPG rocket provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       842. As a result of the March 4, 2004 Terrorist Attack, Mr. Conaway sustained significant

injuries due to his head and neck. He also received fragmentation to the entire right side of his body.

       843. Mr. Conaway was treated locally at Camp Junction City and air medevaced to Balad

for additional treatment. Mr. Conaway was awarded the Purple Heart Medal for wounds received

at the hands of the enemy. He will require further continuous treatment and care.

       844. As a result of the March 4, 2004 Terrorist Attack, and the injuries he suffered, Ronald

Conaway has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       845. Mr. Conaway has been rated 90% disabled by the Veteran’s Administration.

       45.       THE MARCH 4, 2004 ATTACK- BASRAH

                        A. KEVIN PURIFOY

       846.      Plaintiff Kevin Purifoy is a citizen of the United States and is domiciled in the State

of California.

       847.      On March 4, 2004, Kevin Purifoy, age 35, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Battalion, 8th Marine Regiment. At the time, Mr.

Purifoy held the rank of Staff Sergeant.

       848.      Mr. Purifoy was performing his duties as a Scout Sniper Platoon Sergeant the day

of his injury. During the execution of a routine mounted security patrol mission near Baghdad,

Iraq, his vehicle was hit by an IED consisting of a “daisy chain” of artillery shells, throwing Mr.

Purifoy unconscious around his vehicle.


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       849.       The weapons used to attack and injure Mr. Purifoy were employed by Iranian-

funded and Iranian-trained terror operatives in Iraq.

       850.       As a result of the March 4, 2004 Terrorist Attack, Mr. Purifoy sustained injuries

due to the concussive blast of the explosion impacting his head and neck.

       851.       Mr. Purifoy was treated locally at the scene of the incident and at Forward

Operating Base Bemstein in Iraq in the days following the attack and was eventually medevaced

to Germany and Womack Army Medical Hospital in Ft Bragg, North Carolina. Mr. Purifoy was

awarded the Purple Heart for wounds received at the hands of the enemy. He will require further

continuous treatment and care.

       852.       As a result of the March 4, 2004 Terrorist Attack, and the injuries he suffered, Kevin

Purifoy has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       853.       Mr. Purifoy has received a disability rating of 100% by the Veteran’s

Administration.

       46.        THE MARCH 9, 2004 ATTACK- MOSUL

                         A. ANDREW MCDANIEL

       854.       Plaintiff Andrew McDaniel is a citizen of the United States and is domiciled in the

State of Texas.

       855.       On March 9, 2004, Andrew McDaniel, age 41, was serving as a peacekeeping

serviceman in the U.S. Army, with 380th Medical Company, 101st Airborne Division. At the time,

Mr. McDaniel held the rank of Captain.

       856.       Mr. McDaniel was performing his duties as a Dentist in Mosul, Iraq. While in his

living quarters, Mr. McDaniel’s person was hit by Indirect Fire that knocked Mr. McDaniel


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violently to the ground severely injured.

        857.      The weapon used to attack and injure Mr. McDaniel was a Rocket of unknown size

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        858.      As a result of the March 9, 2004 Terrorist Attack, Mr. McDaniel sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. McDaniel

also received shrapnel to right arm.

        859.      Mr. McDaniel was treated locally at Forward Operating Base Diamondback, Iraq

and released to continue his tour. Mr. McDaniel was awarded the Purple Heart for being wounded

at the hands of the enemy. He will require further continuous treatment and care.

        860.      As a result of the March 9, 2004 Terrorist Attack, and the injuries he suffered,

Andrew McDaniel has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        861.      Mr. McDaniel has received a disability rating of 100% by the Veteran’s

Administration.

        47.       THE APRIL 1, 2004 ATTACK- KARBALA

                         A. DANILO MARTINEZ

        862.      Plaintiff Danilo Martinez is a citizen of the United States and is domiciled in the

State of Texas.

        863.      On April 1, 2004, Danilo Martinez, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, C Company, 1st Battalion, 36th Infantry. At the time,

Mr. Martinez held the rank of Sergeant.

        864.      Mr. Martinez was performing his duties as a Rifleman in Karbala, Iraq. While


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conducting a dismounted security patrol, Mr. Martinez’s person was hit by indirect fire that knocked

Mr. Martinez violently to the ground severely injured.

       865.    The weapon used to attack and injure Mr. Martinez was a mortar round provided by

Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       866.    As a result of the April 1, 2004 Terrorist Attack, Mr. Martinez sustained significant

injuries due to his head and neck. He also received fragmentation to his left hand, specifically his

ring and middle ringers.

       867.    Mr. Martinez was treated locally at the Karbala Battalion Aid Station and returned

to complete his tour. Mr. Martinez was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care.

       868.    As a result of the April 1, 2004 Terrorist Attack, and the injuries he suffered, Danilo

Martinez has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       869.    Mr. Martinez has yet to be rated by the Veteran’s Administration, as he is still on

Active Duty.

       48.     THE APRIL 1, 2004 ATTACK- BAGHDAD

                       A. ERNEST GRANT

       870.    Plaintiff Ernest Grant is a citizen of the United States and is domiciled in the State

of Florida.

       871.    On April 1, 2004, Ernest Grant, age 26, was serving as a peacekeeping serviceman

in the U.S. Army, with 3rd Platoon, D Battery, 1st Cavalry Division. At the time, Mr. Grant held

the rank of Sergeant First Class.




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       872.    Mr. Grant was performing his duties as a Vehicle Passenger on Route Pluto in

Baghdad, Iraq. While conducting a mounted security patrol, Mr. Grant was hit by an IED that

knocked Mr. Grant violently around his vehicle severely injured.

       873.    The weapon used to attack and injure Mr. Grant was an IED consisting of six

155mm artillery shell with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       874.    As a result of the April 1, 2004 Terrorist Attack, Mr. Grant sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       875.    Mr. Grant was treated locally on the scene in Iraq and released to continue his tour.

Mr. Grant was awarded the Combat Action Badge for contact with the enemy. He will require

further continuous treatment and care.

       876.    As a result of the April 1, 2004 Terrorist Attack, and the injuries he suffered, Ernest

Grant has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       877.    Mr. Grant has received a disability rating of 100% by the Veteran’s Administration.

       49.     THE APRIL 4, 2004 ATTACK- BASRAH

                       A. ROBERT CHELONE

       878.    Plaintiff Robert Chelone is a citizen of the United States and is domiciled in the

State of Michigan.

       879.    On April 4, 2004, Robert Chelone, age 43, was serving as a peacekeeping

serviceman in the U.S. Army, with Task Force Shield. At the time, Mr. Chelone held the rank of

Lieutenant Colonel.




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        880.   Mr. Chelone performed his duties as a Psyops Officer in Basrah, Iraq at time of

injury. While conducting a route security mission with influence operations Mr. Chelone’s

armored vehicle was struck by an EFP that ripped through his vehicle, throwing Mr. Chelone

around the inside of his vehicle’s turret and leaving him injured.

        881.   The weapon (EFP) used to attack and injure Mr. Chelone were provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        882.   As a result of the April 4, 2004 Terrorist Attack, Mr. Chelone sustained significant

injuries due to the concussive blast of the explosion impacting his head and neck.

        883.   Mr. Chelone was treated at a field hospital in Basrah in the days following the attack

and was eventually returned to duty for follow-on care. Mr. Chelone was awarded the Combat

Action Badge for being engaged by the enemy. He will require further continuous treatment and

care.

        884.   As a result of the April 4, 2004 Terrorist Attack, and the injuries he suffered, Robert

Chelone has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        885.   Mr. Chelone has received a disability rating of 100% by the Veteran’s

Administration.

        50.    THE APRIL 4, 2004 ATTACK- TAQADDUM

                       A. CLIFTON COFFEY

        886.   Plaintiff Clifton Coffey is a citizen of the United States and is domiciled in the State

of Texas.




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          887.   On April 4, 2004, Clifton Coffey, age 32, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Military Police Company, 1st Battalion, Marine

Logistics Group. At the time, Mr. Coffey held the rank of Sergeant.

          888.   Mr. Coffey was performing his duties as a Vehicle Commander the day of his

injury. During the execution of a mounted security patrol, near Taqaddum, Iraq, Mr. Coffey was

hit by an IED, throwing Mr. Coffey unconscious and injuring him severely.

          889.   The weapon used to attack and injure Mr. Coffey was comprised of an IED with an

unknown amount of homemade explosives provided by Iran. This weapon was employed by

Iranian-funded and Iranian-trained terror operatives in Iraq.

          890.   As a result of the April 4, 2004 Terrorist Attack, Mr. Coffee sustained injuries due

to the concussive blast of several explosions impacting his head and neck. He also suffered facial

trauma caused by impacting the vehicle’s windshield requiring 16 separate surgeries and 21

screws.

          891.   Mr. Coffey was treated at a field hospital in Baghdad, Iraq following the attack and

was air medevaced to Germany, then Camp Pendleton, California. Mr. Coffey was awarded the

Purple Heart for wounds received at the hands of the enemy. He will require further continuous

treatment and care. Mr. Coffee’s career in the United States Military was tragically cut short, his

family relationships came under severe strain as a result of his care requirements and additional

medical treatment (surgeries and physical therapy) will be required to marginally improve the

quality of his life.

          892.   As a result of the April 4, 2004 Terrorist Attack, and the injuries he suffered, Clifton

Coffey has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.



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       893.     Mr. Coffey has been rated by the Veteran’s Administration as 100% disabled.

       51.      THE APRIL 4, 2004 ATTACK- BAJI

                       A. NIXON PIERRE

       894.     Plaintiff Nixon Pierre is a citizen of the United States and is domiciled in the State

of Tennessee.

       895.     On April 6, 2004, Nixon Pierre, age 31, was serving as a peacekeeping serviceman

in the U.S. Army, with 1st Platoon, Charlie Company, 1st Battalion, 7th Field Artillery Regiment,

1st Infantry Division. At the time, Mr. Pierre held the rank of Specialist.

       896.     Mr. Pierre was performing his duties as a Vehicle Passenger in Baji, Iraq. While

conducting a mounted security patrol, Mr. Pierre’s vehicle was hit by an IED that knocked Mr.

Pierre violently around his vehicle severely injured.

       897.     The weapon used to attack and injure Mr. Pierre was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       898.     As a result of the April 6, 2004 Terrorist Attack, Mr. Pierre sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his left arm and left ear. He also suffered L3-5 and S-1 lower back injuries.

       899.     Mr. Pierre was treated locally in Baji, Iraq and released to continue his tour. Mr.

Pierre was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       900.     As a result of the April 6, 2004 Terrorist Attack, and the injuries he suffered, Nixon

Pierre has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.


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       901.    Mr. Pierre has received a disability rating of 90% by the Veteran’s Administration.

       52.     THE APRIL 8, 2004 ATTACK- HUSAYBAH

                       A. KEVIN RUMLEY

       902.    Plaintiff Kevin Rumley is a citizen of the United States and is domiciled in the State

of North Carolina.

       903.    On April 8, 2004, Kevin Rumley, age 18, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Lima Company, 3rd Battalion, 7th Marine Regiment. At

the time, Mr. Rumley held the rank of Private First Class.

       904.    Mr. Rumley was performing his duties as a Marine Rifleman training Iraqi soldiers.

During the execution of a joint security patrolling mission with Iraqi partners, an explosion ripped

through the armored vehicle, knocking Mr. Rumley unconscious and severely injured.

       905.    The weapon used to attack and injure Mr. Rumley was an Iranian-manufactured

IED provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       906.    As a result of the April 8, 2004 Terrorist Attack, he sustained significant injuries

due to the concussive blast of the explosion and shrapnel impacting his right arm, right lower

extremities, and hands. Mr. Rumely also suffered a left tibial plateau fracture and nerve damage.

       907.    Mr. Rumley was treated at several different hospitals in the days and months

following the attack and was eventually transferred to the Walter Reed General Hospital in

Bethesda, Maryland where he continued to be hospitalized and received intensive treatment for

eighteen months due to the severity of his injuries. During his treatment at Bethesda, Mr. Rumley

was awarded the Purple Heart Medal by the Assistant Commandant of the Marine Corps, General

Nyland, USMC for wounds received by the hands of the enemy. He will require further continuous


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treatment and care. Mr. Rumley’s career in the United States Military was tragically cut short, his

family relationships came under severe strain as a result of his care requirements and additional

medical treatment (surgeries and physical therapy) will be required to improve the quality of his

life.

        908.   As a result of the April 8, 2004 Terrorist Attack, and the injuries he suffered, Kevin

Rumley has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        909.   Mr. Rumley has received a disability rating of 100% by the Veteran’s

Administration.

        53.    THE APRIL 12, 2004 ATTACK- BALAD

                       A. JOSEPH BOWSER

        910.   Plaintiff Joseph Bowser is a citizen of the United States and is domiciled in the

State of Maryland.

        911.   On April 12, 2004, Joseph Bowser, age 44, was serving as a peacekeeping

serviceman in the U.S. Army, with the 382nd Transportation Company, 2nd Brigade, 1st Infantry

Division. At the time, Bowser held the rank of Staff Sergeant.

        912.   Mr. Bowser was performing his duties as a Motor Transport Operator in Balad,

Iraq. Having returned from a resupply mission, Mr. Bowser was walking across a street in Logistics

Support Area (LSA) Anaconda, a secured area, when an explosion from a 122mm rocket ripped

through his right leg, throwing Bowser to the ground severely injured.

        913.   The weapon used to attack and injure Bowser was a Chinese-made 122mm Rocket

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.


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       914.    As a result of the April 12, 2004 Terrorist Attack, Mr. Bowser sustained significant

injuries due to the concussive blast of the explosion and shrapnel impacting his right leg.

       915.    Mr. Bowser was treated at several different hospitals in the days and months

following the attack and was eventually transferred to the Walter Reed General Hospital in

Bethesda, Maryland where he continued to be hospitalized and received intensive treatment for 30

months due to the severity of his injuries while enduring the course of 15 subsequent surgeries. It

was during his time at Walter Reed Hospital, Mr. Bowser had his right leg below the knee

amputated as a result of his extensive injuries. Mr. Bowser was awarded the Purple Heart Medal

for wounds received by the hands of the enemy. He will require further continuous treatment and

care. Mr. Bowser’s career in the United States Military was tragically cut short, his family

relationships came under severe strain as a result of his care requirements and additional medical

treatment (surgeries and physical therapy) will be required to improve the quality of his life.

       916.    As a result of the April 12, 2004 Terrorist Attack, and the injuries he suffered,

Joseph Bowser has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       917.    Mr. Bowser has received a disability rating of 100% by the Veteran’s

Administration.

       54.     THE APRIL 12, 2004 ATTACK- BAGHDAD

                       A. DAVID WRIGHT

       918.    Plaintiff David Wright is a citizen of the United States and is domiciled in the State

of Colorado.

       919.    On April 12, 2004, David Wright, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Battalion, 14th Infantry Regiment, 10th Mountain Division.

At the time, Mr. Wright held the rank of Sergeant.

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        920.    Mr. Wright performed his duties as a Squad Leader in Baghdad, Iraq at time of

injury. While moving on a dismounted patrol, he came into close contact with the enemy. Mr.

Wright received small arms fire while being hit by fragmentation from a RG-3 Hand Grenade from

an adjacent position. The explosion ripped through his person, knocking Mr. Wright around to the

ground severely injured.

        921.    The weapon used to attack and injure Mr. Wright was an Iranian procured RG-3

hand grenade provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       922.    As a result of the April 12, 2004 Terrorist Attack, Mr. Wright sustained significant

injuries due to the concussive blast of the explosion to his head and fragmentation from his mid

right thigh to his armpit.

       923.    Mr. Wright was treated at a local field hospital at Camp Liberty, Baghdad, Iraq in

the hours/days following the attack and was eventually released to continue operations. Mr. Wright

was awarded the Purple Heart for wounds received at the hands of the enemy. He will require

further continuous treatment and care.

       924.    As a result of the April 12, 2004 Terrorist Attack, and the injuries he suffered, David

Wright has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       925.    Mr. Wright has yet to be evaluated by the Veteran’s Administration, as he is still

on Active Duty.




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       55.     THE APRIL 12, 2004 ATTACK- BAGHDAD

                       A. WILLIAM COLLINS

       926.    Plaintiff William Collins is a citizen of the United States and is domiciled in the

State of New Jersey.

       927.    On April 12, 2004, William Collins, age 43, was serving as a peacekeeping

serviceman in the U.S. Army, with HQ Platoon, Charlie Company, 759th Military Police Company.

At the time, Mr. Collins held the rank of Sergeant First Class.

       928.    Mr. Collins was performing his duties as a Vehicle Passenger in Baghdad, Iraq

when he was attacked. While conducting a mounted security mission, Mr. Collins’s vehicle was

hit by an IED leaving Mr. Collins in the vehicle severely injured.

       929.    The weapon used to attack and injure Mr. Collins was an IED consisting of three

155mm artillery rounds with home-made explosives. The IED was provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       930.    As a result of the April 12, 2004 Terrorist Attack, Mr. Collins sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       931.    Mr. Collins was treated locally on scene in Iraq and released to continue his tour.

Mr. Collins was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care for mental and physical issues.

       932.    As a result of the April 12, 2004 Terrorist Attack, and the injuries he suffered,

William Collins has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       933.    Mr. Collins has been rated by the Veteran’s Administration as 100% disabled.




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       56.     THE APRIL 14, 2004 ATTACK- BAQUBA

                         A. MATTHEW STROUP

       934.    Plaintiff Matthew Stroup is a citizen of the United States and is domiciled in the

State of Pennsylvania.

       935.    On April 14, 2004, Matthew Stroup, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Company, 2nd Battalion, 63rd

Armor, 3rd Brigade, 1st Infantry Division. At the time, Mr. Stroup held the rank of Specialist.

       936.    Mr. Stroup was performing his duties as a Vehicle Turret Gunner in Baquba, Iraq.

While conducting a mounted security patrol, Mr. Stroup was hit by an IED that knocked Mr. Stroup

violently around his vehicle severely injured.

       937.    The weapon used to attack and injure Mr. Stroup was an IED consisting of a 155mm

artillery shell with an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       938.    As a result of the April 14, 2004 Terrorist Attack, Mr. Stroup sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       939.    Mr. Stroup was treated locally on the scene in Iraq and released to continue his tour.

       940.    Mr. Stroup was awarded the Combat Action Badge for contact with the enemy. He

will require further continuous treatment and care.

       941.    As a result of the April 14, 2004 Terrorist Attack, and the injuries he suffered,

Matthew Stroup has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       942.    Mr. Stroup has received a disability rating of 100% by the Veteran’s

Administration.



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       57.       THE APRIL 15, 2004 ATTACK- AL QAIM

                        A. LORIN SMITH

       943.      Plaintiff Lorin Smith is a citizen of the United States and is domiciled in the State

of California.

       944.      On April 15, 2004, Lorin Smith, age 21, was serving as a peacekeeping serviceman

in the U.S. Marine Corps, with 3rd Battalion, 7th Marine Regiment. At the time, Mr. Smith held the

rank of Corporal.

       945.      Mr. Smith was performing his duties as a Vehicle Driver. During the execution of

security patrol mission in Al Qaim, Iraq, an explosion ripped through the armored vehicle,

knocking Mr. Smith around the vehicle severely injured.

       946.      The weapon used to attack and injure Mr. Smith was an Iranian-manufactured IED

consisting of an 155mm artillery shell provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       947.      As a result of the April 15, 2004 Terrorist Attack, he sustained significant injuries

due to the concussive blast of the explosion to his head and neck.

       948.      Mr. Smith was treated locally in Iraq and released to finish his tour of duty. He was

awarded the Combat Action Ribbon for being engaged by the enemy. He will require further

continuous treatment and care.

       949.      As a result of the April 15, 2004 Terrorist Attack, and the injuries he suffered, Lorin

Smith has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       950.      Mr. Smith has received a disability rating of 100% by the Veteran’s Administration.




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        58.      THE APRIL 16, 2004 ATTACK- FALLUJAH

                        A. WALLACE MAINS

        951.     Plaintiff Wallace Mains is a citizen of the United States and is domiciled in the State

of California.

        952.     On April 16, 2004, Wallace Mains, age 36, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 1st Platoon, Company A, 1st Battalion, 5th Marine

Regiment. At the time, Mr. Mains held the rank of Gunnery Sergeant.

        953.     Mr. Mains was performing his duties as a Platoon Sergeant in Fallujah, Iraq. While

conducting preparation for a combat mission, Mr. Mains’ person was hit by a 122mm Chinese

Rocket that knocked Mr. Mains violently to the ground severely injured.

        954.     The weapon used to attack and injure Mr. Mains was a 122mm Chinese-made rocket

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        955.     As a result of the April 16, 2004 Terrorist Attack, Mr. Mains sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to the forehead that left significant facial scarring.

        956.     Mr. Mains was treated locally at Camp Fallujah, Iraq and was air medevaced to

Germany and Walter Reed. Mr. Mains was awarded the Purple Heart Medal for being wounded at

the hands of the enemy. He will require further continuous treatment and care.

        957.     As a result of the April 16, 2004 Terrorist Attack, and the injuries he suffered,

Wallace Mains has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        958.     Mr. Mains has received a disability rating of 100% by the Veteran’s Administration.



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           59.    THE APRIL 19, 2004 ATTACK- BALAD

                         A. WEYMAN COVINGTON

           959.   Plaintiff Weyman Covington is a citizen of the United States and is domiciled in the

State of South Carolina.

           960.   On April 19, 2004, Weyman Covington, age 30, was serving as an Engineering

Contractor with KBR Inc.

           961.   Mr. Covington was performing his duties as an Engineering Contractor on Balad

Air Base Iraq. While standing at a bus stop, Mr. Covington’s person was hit by a Rocket that

knocked Mr. Covington violently to the ground severely injured.

           962.   The weapon used to attack and injure Mr. Covington was a Rocket of an unknown

size provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives

in Iraq.

           963.   As a result of the April 19, 2004 Terrorist Attack, Mr. Covington sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Covington

also received shrapnel to the top of his head and left side of his face.

           964.   Mr. Covington was treated locally at Camp Anaconda, Balad, Iraq and released to

continue his tour.

           965.   As a result of the April 19, 2004 Terrorist Attack, and the injuries he suffered,

Weyman Covington has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

           966.   Mr. Covington was not rated by the Veterans Administration for the attack as he was

not on active duty.




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        60.     THE APRIL 20, 2004 ATTACK- HADITHA

                           A. JOSHUA VALENCIA-DAVEY

        967.    Plaintiff Joshua Valencia-Davey is a citizen of the united states and is domiciled in

the state of california.

        968.    On April 20, 2004, Joshua Valencia-Davey, age 19, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Small Craft Company, 2nd Marine Division. At the

time, Mr. Valencia-Davey held the rank of Lance Corporal.

        969.    Mr. Valencia-Davey was performing his duties as a Vehicle Passenger in Haditha,

Iraq. While conducting a Quick Reaction Force, Mr. Valencia-Davey’s vehicle was hit by an IED

that knocked Mr. Valencia-Davey violently around his vehicle severely injured.

        970.    The weapon used to attack and injure Mr. Valencia-Davey were two Anti-Tank

mines with home-made explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

        971.    As a result of the April 20, 2004 Terrorist Attack, Mr. Valencia-Davey sustained

significant injuries due to his head and neck. He also suffered an amputated middle finger on his

right hand.

        972.    Mr. Valencia-Davey was treated locally at Camp Wolverine and air medevaced to

Germany for additional treatment. Mr. Valencia-Davey was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care.

        973.    As a result of the April 20, 2004 Terrorist Attack, and the injuries he suffered,

Joshua Valencia-Davey has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

        974.    Mr. Valencia-davey has been rated 100% disabled by the Veteran’s Administration



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       61.     THE APRIL 20, 2004 ATTACK- HADITHA

                       A. WESAM MAHMOUD

       975.    Plaintiff Wesam Mahmoud is a citizen of the United States and is domiciled in the

State of Virginia.

       976.    On April 20, 2004, Wesam Mahmoud, age 24, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Platoon, Small Craft Company, 2nd Marine

Division. At the time, Mr. Mahmoud held the rank of Corporal.

       977.    Mr. Mahmoud was performing his duties as a Vehicle Turret Gunner the day of his

injury. During the execution of a routine mounted security patrol mission near Haditha Dam in

Haditha, Iraq, his vehicle was hit by an IED consisting of artillery shells and an unknown amount

of home-made explosives, throwing Mr. Mahmoud unconscious around his vehicle.

       978.    The weapons used to attack and injure Mr. Mahmoud were employed by Iranian-

funded and Iranian-trained terror operatives in Iraq.

       979.    As a result of the April 20, 2004 Terrorist Attack, Mr. Mahmoud sustained injuries

due to the concussive blast of the explosion impacting his head and neck along with fragmentation

in the right foot and temporary loss of vision in his right eye at the time. He is now blind in the

right eye.

       980.    Mr. Mahmoud was treated locally at the scene of the incident and in Baghdad, Iraq

in the days following the attack. Mr. Mahmoud was awarded the Purple Heart for wounds received

at the hands of the enemy. He will require further continuous treatment and care. Mr. Mahmoud’s

career in the United States Military was tragically cut short, his family relationships came under

severe strain as a result of his care requirements and additional medical treatment (surgeries and

physical therapy) will be required to marginally improve the quality of his life.



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        981.    As a result of the April 20, 2004 Terrorist Attack, and the injuries he suffered,

Wesam Mahmoud has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        982.    Mr. Mahmoud has received a disability rating of 100% by the Veteran’s

Administration.

        62.     THE APRIL 25, 2004 ATTACK- CAMP TAJI

                       A. ROBERT CLARK

        983.    Robert Clark is a citizen of the United States and is domiciled in the State of

Pennsylvania.

        984.    On April 25, 2004, Robert Clark, age 40, was serving as a peacekeeping serviceman

in the U.S. Army, with 2nd Platoon, 14th Transportation Company, 52nd Maintenance Battalion. At

the time, Mr. Clark held the rank of Specialist.

        985.    Mr. Clark was performing his duties as a Motor Transport Operator in Camp Taji,

Iraq. While on a secured area, Robert Clark was hit Plaintiff a 122mm rocket that exploded and

knocked Mr. Clark violently to the ground severely injured.

        986.    The weapon used to attack and injure Mr. Clark was a Chinese-made 122mm rocket

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        987.    As a result of the April 25, 2004 Terrorist Attack, Mr. Clark sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        988.    Mr. Clark was treated at Camp Taji and released to continue his tour of duty. Mr.

Clark was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.


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       989.    As a result of the April 25, 2004 Terrorist Attack, and the injuries he suffered,

Robert Clark has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       990.    Mr. Clark has received a disability rating of 100% by the Veteran’s Administration.

       63.     THE MAY 1, 2004 ATTACK- AL HIT

                       A. JEREMY BINDER

       991.    Plaintiff Jeremy Binder is a citizen of the United States and is domiciled in the State

of Michigan.

       992.    On May 1, 2004, Jeremy Binder, age 25, was serving as a peacekeeping serviceman

in the U.S. Marine Corps, with Weapons Company, 2nd Battalion, 7th Marine Regiment. At the

time, Mr. Binder held the rank of Private First Class.

       993.    Mr. Binder was performing his duties as a Rifleman in Al Hit, Iraq. While

conducting dismounted security operations, Mr. Binder’s person was hit by a mortar round that

knocked Mr. Binder violently to the ground severely injured.

       994.    The weapon used to attack and injure Mr. Binder was a mortar round of unknown

composition provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       995.    As a result of the May 1, 2004 Terrorist Attack, Mr. Binder sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered the

amputation of his right hand and severed right brachial artery from fragmentation as well as

receiving fragmentation in his back.

       996.    Mr. Binder was treated locally at Al Asad in Iraq and air medevaced to Baghdad,

Germany and Walter Reed. Mr. Binder was awarded the Purple Heart Medal for wounds received


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at the hands of the enemy. He will require further continuous treatment and care. Mr. Binder’s

career in the United States Military was tragically cut short, his family relationships came under

severe strain as a result of his care requirements and additional medical treatment (surgeries and

physical therapy) will be required to marginally improve the quality of his life.

       997.    As a result of the May 1, 2004 Terrorist Attack, and the injuries he suffered, Jeremy

Binder has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       998.    Mr. Binder is rated by the Veteran’s Administration as 100% disabled.

       64.     THE MAY 2, 2004 ATTACK- RAMADI

                         A. JAMES NAPPIER
                         B. CHRISTOPHER RITCHIE
                         C. MARVIN CRAIG

       999.    Plaintiff James Nappier is a citizen of the United States and is domiciled in the State

of Florida.

       1000. On May 2, 2004, James Nappier, age 45, was serving as a peacekeeping serviceman

in the U.S. Navy, with Company H, Naval Mobile Construction Battalion-14, I Marine

Expeditionary Force. At the time, Mr. Nappier held the rank of Petty Officer 2nd Class.

       1001. Mr. Nappier was performing his duties as a Construction Engineer the day of his

injury. During mission preparation on Camp Ramadi, Iraq, the enemy launched six rounds of

120mm mortars hitting his position, throwing Mr. Nappier unconscious and hitting him with

several pieces of fragmentation on the right side of his body.

       1002. The weapons used to attack and injure Mr. Nappier were six Iranian-provided

120mm mortars employed by Iranian-funded and Iranian-trained terror operatives in Iraq.




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        1003. As a result of the May 2, 2004 Terrorist Attack, Mr. Nappier sustained injuries due

to the concussive blast of several explosions impacting his head and breaking both of his arms and

legs.

        1004. Mr. Nappier was treated at Camp Ramadi, Iraq in the hours following the attack

and was eventually transferred to Germany and Walter Reed in the United States in the following

weeks and months. Mr. Nappier was awarded the Purple Heart for wounds received at the hands

of the enemy. He will require further continuous treatment and care.

        1005. As a result of the May 2, 2004 Terrorist Attack, and the injuries he suffered, James

Nappier has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        1006. Mr. Nappier has received a disability rating of 100% by the Veteran’s

Administration.

        1007. Plaintiff Christopher Ritchie is a citizen of the United States and is domiciled in the

State of Tennessee.

        1008. On May 2, 2004, Christopher Ritchie, age 27, was serving as a peacekeeping

serviceman in the U.S. Navy, with Company H, Naval Mobile Construction Battalion- 14, I Marine

Expeditionary Force. At the time, Mr. Ritchie held the rank of Petty Officer 3rd Class.

        1009. Mr. Ritchie was performing his duties as a Construction Engineer the day of his

injury. During mission preparation on Camp Ramadi, Iraq, the enemy launched six rounds of

120mm mortars hitting his position, throwing Ritchie unconscious and hitting him with several

pieces of fragmentation in his lower abdominal area and legs.

        1010. The weapons used to attack and injure Mr. Ritchie were six Iranian-provided

120mm mortars employed by Iranian-funded and Iranian-trained terror operatives in Iraq.



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       1011. As a result of the May 2, 2004 Terrorist Attack, Mr. Ritchie sustained injuries due

to the concussive blast of several explosions impacting his head, lower abdominal area and legs.

       1012. Mr. Ritchie was treated at Camp Ramadi, Iraq in the hours following the attack and

was eventually transferred to Germany and Walter Reed in the United States in the following

weeks and months. Mr. Ritchie was awarded the Purple Heart for wounds received at the hands of

the enemy. He will require further continuous treatment and care.

       1013. As a result of the May 2, 2004 Terrorist Attack, and the injuries he suffered,

Christopher Ritchie has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1014. Mr. Ritchie has received a disability rating of 60% by the Veteran’s Administration.

       1015. Plaintiff Marvin Craig is a citizen of the United States and is domiciled in the State

of Tennessee.

       1016. On May 2, 2004, Marvin Craig, age 41, was serving as a peacekeeping serviceman

in the U.S. Navy, with Company H, Naval Mobile Construction Battalion-14, I Marine

Expeditionary Force. At the time, Mr. Craig held the rank of Petty Officer 1st Class.

       1017. Mr. Craig was performing his duties as a Construction Engineer the day of his

injury. During mission preparation on Camp Ramadi, Iraq, the enemy launched six rounds of

120mm mortars hitting his position, throwing Mr. Craig unconscious and hitting him with several

pieces of fragmentation all over his body and requiring a spinal fusion.

       1018. The weapons used to attack and injure Mr. Craig were six Iranian-provided 120mm

mortars employed by Iranian-funded and Iranian-trained terror operatives in Iraq.




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       1019. As a result of the May 2, 2004 Terrorist Attack, Mr. Craig sustained injuries due to

the concussive blast of several explosions impacting his head, with fragmentation injuries to the

lower abdominal area and legs.

       1020. Mr. Craig was treated at Camp Ramadi, Iraq in the hours following the attack and

was eventually transferred to Germany and Walter Reed in the United States in the following

weeks and months. Mr. Craig was awarded the Purple Heart for wounds received at the hands of

the enemy. He will require further continuous treatment and care.

       1021. As a result of the May 2, 2004 Terrorist Attack, and the injuries he suffered, Marvin

Craig has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1022. Mr. Craig has received a disability rating of 90% by the Veteran’s Administration.

       65.     THE MAY 9, 2004 ATTACK- RAMADI

                       A. JESUS CARDENAS

       1023. Plaintiff Jesus Cardenas is a citizen of the United States and is domiciled in the

State of California.

       1024. On May 9, 2004, Jesus Cardenas, age 22, was serving as a peacekeeping serviceman

in the U.S. Marine Corps, with 2nd Battalion, 4th Marine Regiment. At the time, Mr. Cardenas held

the rank of Lance Corporal.

       1025. Mr. Cardenas was performing his duties as a Vehicle Driver in Ramadi, Iraq. While

conducting a mounted security patrol, Mr. Cardenas’s vehicle was hit by an VBIED that knocked

Mr. Cardenas violently around his vehicle severely injured.




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       1026. The weapon used to attack and injure Mr. Cardenas was an VBIED consisting of

1000 pounds of home-made explosives provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1027. As a result of the May 9, 2004 Terrorist Attack, Mr. Cardenas sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to both of his hands and the back of his head.

       1028. Mr. Cardenas was treated locally in Ramadi, Iraq and released to continue his tour.

Mr. Cardenas was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       1029. As a result of the May 9, 2004 Terrorist Attack, and the injuries he suffered, Jesus

Cardenas has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1030. Mr. Cardenas has received a disability rating of 100% by the Veteran’s

Administration.

       66.     THE MAY 12, 2004 ATTACK- BAGHDAD

                       A. JAMES BURNS

       1031. Plaintiff James Burns is a citizen of the United States and is domiciled in the State

of Kansas.

       1032. On May 12, 2004, James Burns, age 34, was serving as a peacekeeping serviceman

in the U.S. Army, with the 752nd EOD Company. At the time, Mr. Burns held the rank of Staff

Sergeant.




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       1033. Mr. Burns was performing his duties as an EOD Technician in Baghdad, Iraq.

While conducting a dismounted security patrol mission, Mr. Burns’ person was hit by an IED

leaving Mr. Burns on the ground severely injured.

       1034. The weapon used to attack and injure Mr. Burns was comprised of an unknown

amount of explosives concealed along the road. The complexity of the IED included use of a

chemical artillery shell. The IED material was provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1035. As a result of the May 12, 2004 Terrorist Attack, Mr. Burns sustained significant

injuries due to the concussive blast of the explosion to include chemical burns to his hands, face,

lungs and eyes. The initial injury left him blind for two weeks and on a ventilator to breath.

       1036. Mr. Burns was treated locally in Forward Operating Base Falcon in Baghdad, Iraq

and released to continue his tour. Mr. Burns was awarded the Purple Heart Medal for wounds

received by the hands of the enemy. He will require further continuous treatment and care.

       1037. As a result of the May 12, 2004 Terrorist Attack, and the injuries he suffered, James

Burns has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1038. Mr. Burns has received a disability rating of 90% by the Veteran’s Administration.

       67.       THE MAY 27, 2004 ATTACK- NAJAF

                       A. SHAWN PRYOR

       1039. Plaintiff Shawn Pryor is a citizen of the United States and is domiciled in the

State of Ohio.

       1040. On May 27, 2004, Shawn Pryor, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with Mortar Platoon, Headquarters Company, 1st Battalion, 32nd

Infantry Regiment, 10th Mountain Division. At the time, Mr. Pryor held the rank of Specialist.

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       1041. Mr. Pryor was performing his duties as a Vehicle Turret Gunner in Fallujah, Iraq.

While conducting a mounted security patrol, Mr. Pryor’s vehicle was hit by an IED that knocked

Mr. Pryor violently around his vehicle severely injured.

       1042. The weapon used to attack and injure Mr. Pryor was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1043. As a result of the May 27, 2004 Terrorist Attack, Mr. Pryor sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered a

fractured C3-4 and shattered teeth from the force of the explosion. Long term effects of the

explosion also caused seizures.

       1044. Mr. Pryor was treated locally in Tadquuadum, Iraq and air medevaced to

Germany, Walter Reed and Ft. Drum. Mr. Pryor was awarded the Combat Infantry Badge for

being engaged by the enemy. He will require further continuous treatment and care.

       1045. As a result of the May 27, 2004 Terrorist Attack, and the injuries he suffered,

Shawn Pryor has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1046. Mr. Pryor has received a disability rating of 90% by the Veteran’s Administration.

       68.     THE MAY 28, 2004 ATTACK- NAJAF

                       A. MATTHEW CLARK

       1047. Plaintiff Matthew Clark is a citizen of the United States and is domiciled in the

State of North Carolina.

       1048. On May 28, 2004, Matthew Clark, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with C Company, 2nd Battalion, 37th Armored Regiment. At the

time, Mr. Clark held the rank of Staff Sergeant.

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       1049. Mr. Clark was performing his duties as a Tank Commander in Najaf, Iraq. While

conducting a mounted security patrol, Mr. Clark was hit by an IED that knocked Mr. Clark

violently around his tank severely injured.

       1050. The weapon used to attack and injure Mr. Clark was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1051. As a result of the May 28 2004 Terrorist Attack, Mr. Clark sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered lower

back injuries.

       1052. Mr. Clark was treated locally in Najaf, Iraq and released to continue his tour. Mr.

Clark was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.

       1053. As a result of the May 28, 2004 Terrorist Attack, and the injuries he suffered,

Matthew Clark has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1054. Mr. Clark has received a disability rating of 100% by the Veteran’s Administration.

       69.       THE JUNE 1, 2004 ATTACK- BAGHDAD

                       A. TODD CLITES

       1055. Plaintiff Todd Clites is a citizen of the United States and is domiciled in the State

of Pennsylvania.

       1056. On June 1, 2004, Todd Clites, age 21, was serving as a peacekeeping serviceman

in the U.S. Army, with A Company, 458th Engineer Battalion, 1st Cavalry Division. At the time,

Mr. Clites held the rank of Sergeant.


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       1057. Mr. Clites was performing his duties as a Vehicle Driver in Baghdad, Iraq. While

conducting a mounted security patrol, Mr. Clites’s vehicle was hit by an IED that knocked Mr.

Clites violently around his vehicle severely injured.

       1058. The weapon used to attack and injure Mr. Clites was an IED consisting two 155mm

artillery shells with an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1059. As a result of the June 1, 2004 Terrorist Attack, Mr. Clites sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered disk

injuries to his lower back requiring daily pain medication.

       1060. Mr. Clites was treated locally in Baghdad, Iraq and medevaced to Germany and the

United States. Mr. Clites was awarded the Purple Heart Medal for wounds received by the hands

of the enemy. He will require further continuous treatment and care.

       1061. As a result of the June 1, 2004 Terrorist Attack, and the injuries he suffered, Todd

Clites has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1062. Mr. Clites has received a disability rating of 100% by the Veteran’s Administration.

       70.       THE JUNE 3, 2004 ATTACK- BAGHDAD

                       A. JOSEPH NYZIO

       1063. Plaintiff Joseph Nyzio is a citizen of the United States and is domiciled in the State

of New Jersey.

       1064. On June 3, 2004, Joseph Nyzio, age 25, was serving as a peacekeeping serviceman

in the U.S. Army, with the 759th Military Police Company, 1st Cavalry Division. At the time, Mr.

Nyzio held the rank of Sergeant.


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       1065. At the time of his injury, Mr. Nyzio was performing his duties as a Vehicle

Commander in Sadr City, Baghdad, Iraq securing an Iraqi Police Station. While conducting a

mounted security patrol, Mr. Nyzio’s vehicle was hit by an IED, leaving Mr. Nyzio inside his

vehicle severely injured.

       1066. The weapon used to attack and injure Mr. Nyzio was comprised of an IED of an

unknown amount of homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1067. As a result of the June 3, 2004 Terrorist Attack, Mr. Nyzio sustained significant

injuries due to the concussive blast of the explosion to his head and neck, while suffering the loss

of his left eye while receiving 2nd and 3rd degree burns to the face and neck.

       1068. Mr. Nyzio was treated locally at a field hospital in Balad, Iraq and eventually was

medevaced to Germany and the United States for follow on treatment. Mr. Nyzio was awarded the

Purple Heart Medal for wounds received by the hands of the enemy. He will require further

continuous treatment and care. Mr. Nyzio’s career in the United States Military was tragically cut

short, his family relationships came under severe strain as a result of his care requirements and

additional medical treatment (surgeries and physical therapy) will be required to marginally

improve the quality of his life.

       1069. As a result of the June 3, 2004 Terrorist Attack, and the injuries he suffered, Joseph

Nyzio has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1070. Mr. Nyzio has received a disability rating of 100% by the Veteran’s Administration.




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       71.     THE JUNE 17, 2004 ATTACK- AL QAIM

                       A. BRIAN SCHULTZ

       1071. Plaintiff Brian Schultz is a citizen of the United States and is domiciled in the State

of Arizona.

       1072. On June 17, 2004, Brian Schultz, age 19, was serving as a peacekeeping serviceman

in the U.S Marine Corps, with Company K, 3rd Battalion, 4th Marine Regiment. At the time, Mr.

Schultz held the rank of Lance Corporal.

       1073. Mr. Schultz was performing his duties as a Vehicle Passenger in Al Qaim, Iraq.

While conducting resupply operations, Mr. Schultz’s vehicle was hit by an IED that knocked Mr.

Schultz violently around his vehicle severely injured.

       1074. The weapon used to attack and injure Mr. Schultz was an IED consisting of a

155mm artillery shell with home-made explosives provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1075. As a result of the June 17, 2004 Terrorist Attack, Mr. Schultz sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to the face.

       1076. Mr. Schultz was treated locally in Iraq and released to continue his tour. Mr. Schultz

was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will

require further continuous treatment and care.

       1077. As a result of the June 17, 2004 Terrorist Attack, and the injuries he suffered, Brian

Schultz has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1078. Mr. Schultz is rated 70% disabled by the Veteran’s Administration.



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        72.    THE JUNE 18, 2004 ATTACK- BAQUBA

                       A. ELLIS BROUGHTON

        1079. Plaintiff Ellis Broughton is a citizen of the United States and is domiciled in the

State of South Carolina.

        1080. On June 18, 2004, Ellis Broughton, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with the 216th Engineer Battalion, 1st Infantry Division. At the time,

Mr. Broughton held the rank of Staff Sergeant.

        1081. Mr. Broughton was performing his duties as a Vehicle Commander in Baquba, Iraq.

While conducting a mounted security patrol, Mr. Broughton’s vehicle was hit by an IED that

knocked Mr. Broughton violently around his vehicle severely injured.

        1082. The weapon used to attack and injure Mr. Broughton was an IED consisting of

several “daisy chained” artillery shells with an unknown amount of home-made explosives

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1083. As a result of the June 18, 2004 Terrorist Attack, Mr. Broughton sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered damage to his right occipital neuralgia, causing a loss of feeling in the right side of his

face for 12 years. The force of the explosion also caused a compression fracture in his T-7/8 that

required surgery, while also fusing his C5/6.

        1084. Mr. Broughton was treated locally in Baquba, Iraq and released to continue his tour.

Mr. Broughton was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.




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       1085. As a result of the June 18, 2004 Terrorist Attack, and the injuries he suffered, Ellis

Broughton has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1086. Mr. Broughton has received a disability rating of 100% by the Veteran’s

Administration.

       73.     THE JUNE 21, 2004 ATTACK- BAQUBA

                       A. HUGO GONZALEZ

       1087. Plaintiff Hugo Gonzalez is a citizen of the United States and is domiciled in the

State of Florida.

       1088. On June 21, 2004, Hugo Gonzalez, age 30, was serving as a peacekeeping

serviceman in the U.S. Army, with C Battery, 1st Battalion, 6th Field Artillery Regiment, 1st

Infantry Division. At the time, Mr. Gonzalez held the rank of Specialist.

       1089. Mr. Gonzalez was performing his duties as a Vehicle Turret Gunner in Baquba,

Iraq. While conducting a mounted security patrol, Mr. Gonzalez’s vehicle was hit by an IED that

knocked Mr. Gonzalez violently around his vehicle severely injured.

       1090. The weapon used to attack and injure Mr. Gonzalez was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1091. As a result of the June 21, 2004 Terrorist Attack, Mr. Gonzalez sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered a loss

of vision in his right eye as a result of his skull being crushed in from the force of the explosion

and fragmentation in the left eye, right forearm and arm pit.




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        1092. Mr. Gonzalez was treated locally at Forward Operating Base Workhorse Iraq and

medevaced to Germany and Walter Reed Army Hospital. Mr. Gonzalez was awarded the Purple

Heart Medal for wounds received by the hands of the enemy. He will require further continuous

treatment and care. Mr. Gonzalez’s career in the United States Military was tragically cut short,

his family relationships came under severe strain as a result of his care requirements and additional

medical treatment (surgeries and physical therapy) will be required to marginally improve the

quality of his life.

        1093. As a result of the June 21, 2004 Terrorist Attack, and the injuries he suffered, Hugo

Gonzalez has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1094. Mr. Gonzalez has received a disability rating of 100% by the veteran’s

administration.

        74.     THE JUNE 22, 2004 ATTACK- BALAD

                       A. ULYSSES WILLIS

        1095. Plaintiff Ulysses Willis is a citizen of the United States and is domiciled in the State

of Colorado.

        1096. On June 22, 2004, Ulysses Willis, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with C Company, 1st Battalion, 26th Infantry Regiment, Task Force

177th Armor. At the time, Mr. Willis held the rank of Specialist.

        1097. Mr. Willis was performing his duties as a Vehicle Driver in Balad, Iraq. While

conducting a mounted security patrol, Mr. Willis’s vehicle was hit by an IED that knocked Mr.

Willis violently around his vehicle severely injured.




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       1098. The weapon used to attack and injure Mr. Willis was an IED consisting of four

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1099. As a result of the June 22, 2004 Terrorist Attack, Mr. Willis sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

lacerations to his face from the force of the explosion.

       1100. Mr. Willis was treated locally in Balad, Iraq and released to continue his tour. Mr.

Willis was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       1101. As a result of the June 22, 2004 Terrorist Attack, and the injuries he suffered,

Ulysses Willis has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1102. Mr. Willis has received a disability rating of 100% by the Veteran’s Administration.

       75.     THE JULY 1, 2004 ATTACK- BAGHDAD

                       A. MARK JORDAN

       1103. Plaintiff Mark Jordan is a citizen of the United States and is domiciled in the State

of Oklahoma.

       1104. On July 1, 2004, Mark Jordan, age 31, was serving as a peacekeeping serviceman

in the U.S. Army, with the Headquarters Company, 4th Materiel Management Center. At the time,

Mr. Jordan held the rank of Corporal.

       1105. Mr. Jordan was performing his duties as a Vehicle Commander on Main Supply

Route Tampa in Baghdad, Iraq. While conducting a mounted logistic patrol, Mr. Jordan’s vehicle

was hit by an IED that knocked Mr. Jordan violently around his vehicle severely injured.


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       1106. The weapon used to attack and injure Mr. Jordan was an IED with an unknown

amount of home-made explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       1107. As a result of the July 1, 2004 Terrorist Attack, Mr. Jordan sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his left eye and face that left facial scarring.

       1108. Mr. Jordan was treated locally in Balad, Iraq and medevaced to Kuwait. Mr. Jordan

was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He will

require further continuous treatment and care.

       1109. As a result of the July 1, 2004 Terrorist Attack, and the injuries he suffered, Mark

Jordan has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1110. Mr. Jordan has received a disability rating of 100% by the Veteran’s

Administration.

       76.     THE JULY 1, 2004 ATTACK- BAGHDAD

                       A. DENNIS SAXTON

       1111. Plaintiff Dennis Saxton is a citizen of the United States and is domiciled in the

State of Tennessee.

       1112. On July 1, 2004, Dennis Saxton, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, Headquarters Company, 1st Battalion, 87th Infantry Brigade. At the

time, Mr. Saxton held the rank of Staff Sergeant.




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        1113. Mr. Saxton was performing his duties as a Vehicle Commander in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Saxton’s vehicle was hit by an IED that

knocked Mr. Saxton violently around his vehicle severely injured.

        1114. The weapon used to attack and injure Mr. Saxton was an IED consisting of

multiple artillery shells with 500 pounds of home-made explosives provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        1115. As a result of the July 1, 2004 Terrorist Attack, Mr. Saxton sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to the left arm and leg.

        1116. Mr. Saxton was treated locally in Forward Operating Base Falcon, Iraq and released

to continue his tour. Mr. Saxton was awarded the Combat Action Badge for being engaged by the

enemy. He will require further continuous treatment and care.

        1117. As a result of the July 1, 2004 Terrorist Attack, and the injuries he suffered,

Dennis Saxton has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1118. Mr. Saxton has received a disability rating of 100% by the Veteran’s

Administration.

        77.      THE JULY 1, 2004 ATTACK- SYMARIA

                       A. JASON O’GARRO

        1119. Plaintiff Jason O’Garro is a citizen of the United States and is domiciled in the State

of Georgia.

        1120. On July 1, 2004, Jason O’Garro, age 31, was serving as a peacekeeping serviceman

in the U.S. Army, with B Company, 9th Engineer Battalion. At the time, Mr. O’Garro held the rank

of Specialist.

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       1121. Mr. O’Garro was performing his duties as a Vehicle Driver on Main Supply Route

Tampa in Symaria, Iraq. While conducting a mounted security/route clearance patrol, Mr.

O’Garro’s vehicle was hit by an IED that knocked Mr. O’Garro violently around his vehicle

severely injured.

       1122. The weapon used to attack and injure Mr. O’Garro was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1123. As a result of the July 1, 2004 Terrorist Attack, Mr. O’Garro sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1124. Mr. O’Garro was treated locally Camp Spiker, Iraq and released to continue his

tour. Mr. O’Garro was awarded the Combat Action Badge for being engaged by the enemy. He

will require further continuous treatment and care.

       1125. As a result of the July 1, 2004 Terrorist Attack, and the injuries he suffered, Jason

O’Garro has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1126. Mr. O’Garro has received a disability rating of 100% by the Veteran’s

Administration.

       78.     THE JULY 02, 2004 ATTACK- TIKRIT

                       A. MARTEZE FORD

       1127. Plaintiff Marteze Ford is a citizen of the United States and is domiciled in the State

of Alabama.




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       1128. On July 02, 2004, Marteze Ford, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with 498 Transportation Company. At the time, Mr. Ford held the

rank of Specialist.

       1129. Mr. Ford was performing his duties as a Transport Operator in Tikrit, Iraq. While

conducting convoy operations, Mr. Ford’s vehicle was hit by an IED that knocked Mr. Ford

violently around his vehicle severely injured.

       1130. The weapon used to attack and injure Mr. Ford was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1131. As a result of the July, 02 2004 Terrorist Attack, Mr. Ford sustained significant

injuries due to the concussive blast of the explosion to his head and neck. Mr. Ford also received

shrapnel to the abdomen and buttocks.

       1132. Mr. Ford was treated locally at FOB Speicher, Iraq and released to continue his

tour. Mr. Ford was awarded the Purple Heart for being wounded at the hands of the enemy. He

will require further continuous treatment and care.

       1133. As a result of the July 02, 2004 Terrorist Attack, and the injuries he suffered,

Marteze Ford has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1134. Mr. Ford has received a disability rating of 80% by the Veteran’s Administration.

       79.     THE JULY 27, 2004 ATTACK- BAGHDAD

                       A. JOE DRENNEN

       1135. Plaintiff Joe Drennen is a citizen of the United States and is domiciled in the State

of Georgia.


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        1136. On July 27, 2004, Joe Drennen, age 37, was serving as a peacekeeping serviceman

in the U.S. Army, with A Company, 115th Signal Battalion. At the time, Mr. Drennen held the rank

of Specialist.

        1137. Mr. Drennen was performing his duties as a Vehicle Passenger in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Drennen’s vehicle was hit by an IED that

knocked Mr. Drennen violently around his vehicle severely injured.

        1138. The weapon used to attack and injure Mr. Drennen was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        1139. As a result of the July 27, 2004 Terrorist Attack, Mr. Drennen sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        1140. Mr. Drennen was treated locally in Forward Operating Base Danger, Iraq and

released to continue his tour. Mr. Drennen was awarded the Combat Action Badge for being

engaged by the enemy. He will require further continuous treatment and care.

        1141. As a result of the July 27, 2004 Terrorist Attack, and the injuries he suffered, Joe

Drennen has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        1142. Mr. Drennen has received a disability rating of 100% by the Veteran’s

Administration.

        80.      THE JULY 28, 2004 ATTACK- FALLUJAH

                       A. MICHAEL PAINE

        1143. Plaintiff Michael Paine is a citizen of the United States and is domiciled in the State

of Colorado.


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       1144. On July 28, 2004, Michael Paine, age 20, was serving as a peacekeeping serviceman

in the U.S. Marine Corps, with CAAT Platoon, Weapons Company, 3rd Battalion,1st Marine

Regiment. At the time, Mr. Paine held the rank of Lance Corporal.

       1145. Mr. Paine was performing his duties as a Vehicle Driver the day of his injury.

During the execution of a mounted security patrol, near the intersection of Routes Fran and Mobile

east of Fallujah, Iraq, Mr. Paine was hit by a command detonated IED, throwing Mr. Paine

unconscious and injuring him severely.

       1146. The weapon used to attack and injure Mr. Paine was comprised of an unknown

amount of homemade explosives provided by Iran. This weapon was employed by Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1147. As a result of the July 28, 2004 Terrorist Attack, Mr. Paine sustained injuries due

to the concussive blast of several explosions impacting his head and neck. He also suffered a left

tibia compound fracture and right calcaneus fracture. As a result of the left tibia fracture, he now

has a titanium rod in his left leg from his knee to his ankle.

       1148. Mr. Paine was treated at Abu Graib Prison in Iraq following the attack and was air

medevaced to Germany, then Walter Reed Army Hospital and Balboa Naval Hospital. Mr. Paine

was awarded the Purple Heart for wounds received at the hands of the enemy. He will require

further continuous treatment and care. Mr. Paine’s career in the United States Military was

tragically cut short, his family relationships came under severe strain as a result of his care

requirements and additional medical treatment (surgeries and physical therapy) will be required to

marginally improve the quality of his life.




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       1149. As a result of the July 28, 2004 Terrorist Attack, and the injuries he suffered,

Michael Paine has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1150. Mr. Paine has been rated by the Veteran’s Administration as 70% disabled.

       81.       THE JULY 29, 2004 ATTACK- BAGHDAD

                       A. LARRY GRAY

       1151. Plaintiff Larry Gray is a citizen of the United States and is domiciled in the State

of Kentucky.

       1152. On July 29, 2004, Larry Gray, age 44, was serving as a peacekeeping serviceman

in the U.S. Army, with 428th Military Police Company. At the time, Mr. Gray held the rank of

Master Sergeant.

       1153. Mr. Gray was performing his duties as a Vehicle Turret Gunner on Main Supply

Route Tampa in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Gray’s vehicle

was hit by a VBIED that knocked Mr. Gray violently around his vehicle severely injured.

       1154. The weapon used to attack and injure Mr. Gray was a VBIED composed of two

122mm artillery rounds with homemade explosives provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1155. As a result of the July 29, 2004 Terrorist Attack, Mr. Gray sustained significant

injuries due to his head and neck. He also received lacerations to the right side of his face from

fragmentation.

       1156. Mr. Gray was treated locally at Abu Graib Prison and returned to complete his tour.

Mr. Gray was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care.


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        1157. As a result of the July 29, 2004 Terrorist Attack, and the injuries he suffered, Larry

Gray has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        1158. Mr. Gray has been rated 90% disabled by the Veteran’s Administration.




        82.    THE AUGUST 1, 2004 ATTACK- BAGHDAD

                       A. EUGENIO ESPARZA

        1159. Plaintiff Eugenio Esparza is a citizen of the United States and is domiciled in the

State of Maryland.

        1160. On August 1, 2004, Eugenio Esparza, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Squadron, 9th Cavalry Regiment, 1st Cavalry Division.

At the time, Mr. Esparza held the rank of Sergeant.

        1161. Mr. Esparza was performing his duties as a Rifleman in Baghdad, Iraq. While

conducting a dismounted security patrol, Mr. Esparza was hit by indirect fire that knocked Mr.

Esparza violently to the ground severely injured.

        1162. The weapon used to attack and injure Mr. Esparza was an 82mm mortar round

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1163. As a result of the August 1, 2004 Terrorist Attack, Mr. Esparza sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

extensive nerve damage and memory loss for several years after the explosion.




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        1164. Mr. Esparza was treated locally on the scene and the Green Zone in Baghdad in

Iraq and released to continue his tour. Mr. Esparza was awarded the Combat Infantry Badge for

contact with the enemy. He will require further continuous treatment and care.

        1165. As a result of the August 1, 2004 Terrorist Attack, and the injuries he suffered,

Eugenio Esparza has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1166. Mr. Esparza has received a disability rating of 70% by the Veteran’s

Administration.

        83.     THE AUGUST 1, 2004 ATTACK- TAQUADDUM

                        A. JOSHUA PETITT

        1167. Plaintiff Joshua Petitt is a citizen of the United States and is domiciled in the State

of Arkansas.

        1168. On August 1, 2004, Joshua Petitt, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with Support Platoon, Headquarters Company, 1st Battalion, 503rd

Infantry Regiment, 2nd Infantry Division. At the time, Mr. Petitt held the rank of Specialist.

        1169. Mr. Petitt was performing his duties as a Vehicle Turret Machine Gunner on Route

Michigan in Tadqaddum, Iraq when he was attacked. While conducting a mounted security

mission, Mr. Petitt’s vehicle was hit by a IED leaving Mr. Petitt in the vehicle severely injured.

        1170. The weapon used to attack and injure Mr. Petitt was a IED with a 155mm artillery

shell. The IED was provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.




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          1171. As a result of the August 1, 2004 Terrorist Attack, Mr. Petitt sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation injuries to his chin and left eye leaving facial scarring.

          1172. Mr. Petitt was treated locally on scene and in Camp Habbanaya in Iraq and released

to continue his tour. Mr. Petitt was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care for mental and physical

issues.

          1173. As a result of the August 1, 2004 Terrorist Attack, and the injuries he suffered,

Joshua Petitt has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

          1174. Mr. Petitt has been rated by the Veteran’s Administration as 100% disabled.

          84.    THE AUGUST 1, 2004 ATTACK- BAQUBAH

                         A. JULIAN CARRERA

          1175. Plaintiff Julian Carrera is a citizen of the United States and is domiciled in the State

of Pennsylvania.

          1176. On August 1, 2004, Julian Carrera, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Battalion, 63rd Armored Regiment, 3rd Brigade, 1st Infantry

Division. At the time, Mr. Carrera held the rank of Specialist.

          1177. Mr. Carrera was performing his duties as a Vehicle Turret Gunner in Baqubah, Iraq.

While conducting a mounted security patrol, Mr. Carrera’s vehicle was hit by an IED that knocked

Mr. Carrera violently around his vehicle severely injured.




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       1178. The weapon used to attack and injure Mr. Carrera was an IED composed of two

155mm artillery rounds and an RPG round with homemade explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1179. As a result of the August 1, 2004 Terrorist Attack, Mr. Carrera sustained significant

injuries due to his head and neck. As a result of the force of the explosion, he suffered Hiatal

Hernia from being throw from the vehicle’s turret 30 feet. He also suffered tissue damage and

scarring of the ear drums.

       1180. Mr. Carrera was treated locally at Forward Operating Base Scunion and returned to

complete his tour. Mr. Carrera was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care.

       1181. As a result of the August 1, 2004 Terrorist Attack, and the injuries he suffered,

Julian Carrera has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1182. Mr. Carrera has been rated 70% disabled by the Veteran’s Administration.

       85.        THE AUGUST 1, 2004 ATTACK-AL ASAD

                       A. OLIVER HENDERSON

       1183. Plaintiff Oliver Henderson is a citizen of the United States and is domiciled in the

State of Texas.

       1184. On August 1, 2004, Oliver Henderson, age 44, was serving as a peacekeeping

serviceman in the U.S. Army, with 94th Military Police Company, 3rd Armored Cavalry Regiment,

82nd Airborne Division. At the time, Mr. Henderson held the rank of Staff Sergeant.




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       1185. Mr. Henderson was performing his duties as a Military Police Officer in Al Asad,

Iraq. While conducting dismounted operations, Mr. Henderson’s person was hit by indirect fire

that knocked Mr. Henderson violently to the ground severely injured.

       1186. The weapon used to attack and injure Mr. Henderson was a mortar round provided

by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1187. As a result of the August 1, 2004 Terrorist Attack, Mr. Henderson sustained

significant injuries due to the concussive blast of the explosion to his head and neck that cause his

C3-6 to bulge as he was thrown off a roof top.

       1188. Mr. Henderson was treated locally in Iraq and released to continue his tour. Mr.

Henderson was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       1189. As a result of the August 1, 2004 Terrorist Attack, and the injuries he suffered,

Oliver Henderson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1190. Mr. Henderson has received a disability rating of 100% by the Veteran’s

Administration.

       86.     THE AUGUST 4, 2004 ATTACK- FALLUJAH

                       A. BRIAN SALAZAR

       1191. Plaintiff Brian Salazar is a citizen of the United States and is domiciled in the State

of Arizona.

       1192. On August 4, 2004, Brian Salazar, age 25, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Motor Transportation Platoon, Headquarters Company,

1st Battalion, 5th Marine Regiment. At the time, Mr. Salazar held the rank of Sergeant.


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       1193. Mr. Salazar was performing his duties as a vehicle gunner in Fallujah, Iraq. While

conducting convoy operations, Mr. Salazar’s vehicle was hit by an IED that knocked Mr. Salazar

violently around his vehicle severely injured.

       1194. The weapon used to attack and injure Mr. Salazar was an IED consisting of two

155mm rounds, with an unknown amount plastic explosives and home-made explosives provided

by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1195. As a result of the August 4, 2004 Terrorist Attack, Mr. Salazar sustained significant

injuries due to the concussive blast of the explosion to his head and neck. Mr. Salazar also received

shrapnel to his face and required surgery for nerve damage in both arms.

       1196. Mr. Salazar was treated locally at Camp Fallujah, Iraq and medevaced to Kuwait

before being released to continue his tour. Mr. Salazar was awarded the Purple Heart for being

wounded at the hands of the enemy. He will require further continuous treatment and care.

       1197. As a result of the August 4, 2004 Terrorist Attack, and the injuries he suffered,

Brian Salazar has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1198. Mr. Salazar has received a disability rating of 90% by the Veteran’s Administration.

       87.        THE AUGUST 4, 2004 ATTACK- BAGHDAD

                       A. HECTOR ESPARZA

       1199. Plaintiff Hector Esparza is a citizen of the United States and is domiciled in the

State of Texas.

       1200. On August 4, 2004, Hector Esparza, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with C Company, 515th Support Battalion, 1st Cavalry Division. At

the time, Mr. Esparza held the rank of Sergeant.


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       1201. Mr. Esparza was performing his duties as a Vehicle Gunner on Route Irish in

Baghdad, Iraq when he was attacked. While conducting a mounted security patrol mission, Mr.

Esparza’s armored vehicle was hit by an IED leaving Mr. Esparza in the vehicle severely injured.

       1202. The weapon used to attack and injure Mr. Esparza was comprised of an unknown

amount of explosives concealed in the road. The IED material was provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1203. As a result of the August 4, 2004 Terrorist Attack, Mr. Esparza sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1204. Mr. Esparza was treated locally in Iraq and released to continue his tour. Mr.

Esparza was awarded the Combat Action Badge for contact with the enemy. He will require further

continuous treatment and care for mental and physical issues.

       1205. As a result of the August 4, 2004 Terrorist Attack, and the injuries he suffered,

Hector Esparza has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1206. Mr. Esparza has been rated by the Veteran’s Administration as 100% disabled.

       88.       THE AUGUST 5, 2004 ATTACK- NAJAF

                       A. JAY MERCADO

       1207. Plaintiff Jay Mercado is a citizen of the United States and is domiciled in the State

of New Jersey.

       1208. On August 5, 2004, Jay Mercado, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with Company C, 1st Light Armored Reconnaissance Battalion. At

the time, Mr. Mercado held the rank of Corporal.




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       1209. Mr. Mercado was performing his duties as a Rifleman in Najaf, Iraq. While

conducting convoy operations, Mr. Mercados’s person was hit by Indirect Fire that knocked Mr.

Mercado violently to the ground severely injured.

       1210. The weapon used to attack and injure Mr. Mercado was a mortar round consisting

of an unknown amount of explosives provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1211. As a result of the August 5, 2004 Terrorist Attack, Mr. Mercado sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Mercado

also received shrapnel to the right leg that severed his femoral artery.

       1212. Mr. Mercado was treated locally at Balad, Iraq and medevaced to Baghdad and

Germany for further treatment. Mr. Mercado was awarded the Purple Heart for being wounded at

the hands of the enemy. He will require further continuous treatment and care.

       1213. As a result of the August 5, 2004 Terrorist Attack, and the injuries he suffered, Jay

Mercado has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1214. Mr. Mercado has received a disability rating of 100% by the Veteran’s

Administration.

       89.     THE AUGUST 16, 2004 ATTACK- SADR CITY

                       A. HURLEN CROSS, JR.

       1215. Plaintiff Hurlen Cross, Jr. is a citizen of the United States and is domiciled in the

State of Arkansas.




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        1216. On August 16, 2004, Hurlen Cross, Jr., age 39, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Squadron, 5th Cavalry Regiment, 1st Cavalry Division. At

the time, Mr. Cross held the rank of Staff Sergeant.

        1217. Mr. Cross was performing his duties as a Vehicle Driver in Sadr City, Baghdad,

Iraq. While conducting a mounted security patrol, Mr. Cross’s vehicle was hit by a RPG that

knocked Mr. Cross violently around his vehicle severely injured.

        1218. The weapon used to attack and injure Mr. Cross was an 83mm RPG provided by

Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        1219. As a result of the August 16, 2004 Terrorist Attack, Mr. Cross sustained significant

injuries due to his head and neck. He also received fragmentation to the lower ride side of his back

and his right elbow. The force of the explosion damaged his L3-5 and C4-5 requiring surgery in

2018.

        1220. Mr. Cross was treated locally at Forward Operating Base War Eagle and returned

to complete his tour. Mr. Cross was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care.

        1221. As a result of the August 16, 2004 Terrorist Attack, and the injuries he suffered,

Hurlen Cross, Jr. has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1222. Mr. Cross has been rated 100% disabled by the Veteran’s Administration.

        90.    THE AUGUST 24, 2004 ATTACK- BAGHDAD

                       A. JOSHUA SESTERS

        1223. Plaintiff Joshua Sesters is a citizen of the United States and is domiciled in the State

of Texas.


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         1224. On August 24, 2004, Joshua Sesters, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with F Battery, 3rd Battalion, 82nd Field Artillery Regiment. At the

time, Mr. Sesters held the rank of Corporal.

         1225. Mr. Sesters was performing his duties as a Vehicle Turret Gunner from Baghdad to

Abu Graib, Iraq. While conducting a mounted security patrol, Mr. Sesters’s vehicle was hit by an

IED that knocked Mr. Sesters violently around his vehicle severely injured.

         1226. The weapon used to attack and injure Mr. Sesters was an IED consisting P4 with

homemade explosives provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

         1227. As a result of the August 24, 2004 Terrorist Attack, Mr. Sesters sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his right chest that required a drainage tube.

         1228. Mr. Sesters was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Sesters was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

         1229. As a result of the August 24, 2004 Terrorist Attack, and the injuries he suffered,

Joshua Sesters has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

         1230. Mr. Sesters has received a disability rating of 90% by the Veteran’s Administration.

         91.    THE AUGUST 26, 2004 ATTACK- NAJAF

                        A. ELI RICH

         1231. Plaintiff Eli Rich is a citizen of the United States and is domiciled in the State of

Texas.


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       1232. On August 26, 2004, Eli Rich, age 24, was serving as a peacekeeping serviceman

in the U.S. Army, with 1st Platoon, A Company, 2nd Squadron, 7th Cavalry Regiment. At the time,

Mr. Rich held the rank of Specialist.

       1233. Mr. Rich was performing his duties as a Rifleman in Najaf, Iraq. While conducting

a dismounted security patrol, Mr. Rich’s person was hit by a hand grenade that knocked Mr. Rich

violently to the ground severely injured.

       1234. The weapon used to attack and injure Mr. Rich was a Soviet hand grenade provided

by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1235. As a result of the August 26, 2004 Terrorist Attack, Mr. Rich sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his lower back, left buttocks and left hip.

       1236. Mr. Rich was treated locally in Najaf, Iraq and released to continue his tour. Mr.

Rich was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He will

require further continuous treatment and care.

       1237. As a result of the August 26, 2004 Terrorist Attack, and the injuries he suffered, Eli

Rich has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1238. Mr. Rich has received a disability rating of 90% by the Veteran’s Administration.

       92.     THE SEPTEMBER 1, 2004 ATTACK- BAGHDAD

                       A. GEOFFREY SPEYRER

       1239. Plaintiff Geoffrey Speyrer is a citizen of the United States and is domiciled in the

State of Florida.




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       1240. On September 1, 2004, Geoffrey Speyrer, age 47, was serving as a peacekeeping

serviceman in the U.S. Army, with Alpha Company, 1088th Combat Engineer Battalion, 256th

Engineer Brigade. At the time, Mr. Speyrer held the rank of Specialist.

       1241. Mr. Speyrer was performing his duties as a Combat Engineer in Baghdad, Iraq.

While conducting several mounted IED Clearance patrols, Mr. Speyrer was hit by several IEDs

that knocked Mr. Speyrer violently around his vehicle severely injured.

       1242. The weapon used to attack and injure Mr. Speyrer was an IED consisting of 152mm

artillery shells with an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1243. As a result of the September 1, 2004 Terrorist Attack, Mr. Speyrer sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1244. Mr. Speyrer was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Speyrer was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       1245. As a result of the September 1, 2004 Terrorist Attack, and the injuries he suffered,

Geoffrey Speyrer has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1246. Mr. Speyrer has received a disability rating of 70% by the Veteran’s

Administration.

       93.       THE SEPTEMBER 4, 2004 ATTACK- FALLUJAH TO RAMADI

                       A. MICHAEL MCBROOM

       1247. Plaintiff Michael McBroom is a citizen of the United States and is domiciled in the

State of Ohio.


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        1248. On September 4, 2004, Michael McBroom, age 21, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Battalion, 2nd Marine Regiment. At the time, Mr.

McBroom held the rank of Lance Corporal.

        1249. Mr. McBroom was performing his duties as a Vehicle Passenger between Fallujah

and Ramadi in Iraq. While conducting a security patrol on a bridge, Mr. McBroom’s vehicle was

hit by an VBIED that knocked Mr. McBroom violently around his vehicle severely injured.

        1250. The weapon used to attack and injure Mr. McBroom was an VBIED with

homemade explosives provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        1251. As a result of the September 4, 2004 Terrorist Attack, Mr. McBroom sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He now

suffers from a loss of balance regularly and sever migraine headaches.

        1252. Mr. McBroom was treated locally at Camp Fallujah, Iraq and released to continue

his tour. Mr. McBroom was awarded the Combat Action Ribbon for contact with the enemy. He

will require further continuous treatment and care.

        1253. As a result of the September 4, 2004 Terrorist Attack, and the injuries he suffered,

Michael McBroom has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1254. Mr. McBroom is rated 100% disabled by the Veteran’s Administration.

        94.     THE SEPTEMBER 8, 2004 ATTACK- MOSUL

                        A. WILLIAM GRIMES

        1255. Plaintiff William Grimes is a citizen of the United States and is domiciled in the

State of Florida.


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       1256. On September 8, 2004, William Grimes, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Squadron, 4th Cavalry Regiment, 3rd Brigade, 2nd Infantry

Division. At the time, Mr. Grimes held the rank of Specialist.

       1257. Mr. Grimes was performing his duties as a Cavalry Scout in Mosul, Iraq when he

was attacked. While conducting a mounted counter-mortar patrol mission, Mr. Grimes’ armored

vehicle was hit by an VBIED leaving Mr. Grimes in the vehicle severely injured.

       1258. The weapon used to attack and injure Mr. Grimes was an VBIED consisting of an

unknown amount of homemade explosives. The VBIED was provided by Iran and/or one of its

agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1259. As a result of the September 8, 2004 Terrorist Attack, Mr. Grimes sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

sustained fragmentation to the face and his left arm.

       1260. Mr. Grimes was treated locally in Mosul, Iraq and released to continue his tour. Mr.

Grimes was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care for mental and physical issues.

       1261. As a result of the September 8, 2004 Terrorist Attack, and the injuries he suffered,

William Grimes has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1262. Mr. Grimes has been rated by the Veteran’s Administration as 90% disabled.

       95.     THE SEPTEMBER 9, 2004 ATTACK- MOSUL

                       A. JOSEPH GIBSON

        1263. Plaintiff Joseph Gibson is a citizen of the United States and is domiciled in the State

of Alabama.


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        1264. On September 9, 2004, Joseph Gibson, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with C Company, 115th Signal Battalion. At the time, Mr. Gibson

held the rank of Specialist.

        1265. Mr. Gibson was performing his duties as a Vehicle Turret Gunner in Mosul, Iraq.

While conducting a mounted security patrol, Mr. Gibson’s vehicle was hit by an IED that knocked

Mr. Gibson violently around his vehicle severely injured.

        1266. The weapon used to attack and injure Mr. Gibson was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        1267. As a result of the September 9, 2004 Terrorist Attack, Mr. Gibson sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to his left shoulder and right leg that endanger his femoral artery as well

as second degree burns to his face that left significant scarring.

        1268. Mr. Gibson was treated locally at Camp Freedom and Diamondback, Iraq and was

air medevaced to Kuwait, Germany, Andrews Air Force Base and Fort Campbell. Mr. Gibson was

awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will require

further continuous treatment and care.

        1269. As a result of the September 9, 2004 Terrorist Attack, and the injuries he suffered,

Joseph Gibson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1270. Mr. Gibson has received a disability rating of 100% by the Veteran’s

Administration.




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       96.     THE SEPTEMBER 13, 2004 ATTACK- BALAD

                       A. KEYONTA OATES

       1271. Plaintiff Keyonta Oates is a citizen of the United States and is domiciled in the State

of Georgia.

       1272. On September 13, 2004, Keyonta Oates, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 299th Forward Support Battalion. At the time, Mr.

Oates held the rank of Sergeant.

       1273. Mr. Oates was performing his duties as a Vehicle Passenger on Main Supply Route

Tampa in Balad, Iraq. While conducting a mounted security patrol, Mr. Oates’s vehicle was hit by

an IED that knocked Mr. Oates violently around his vehicle severely injured.

       1274. The weapon used to attack and injure Mr. Oates was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1275. As a result of the September 13, 2004 Terrorist Attack, Mr. Oates sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his right bicep and dislocated his left shoulder resulting in arthroplasty

to remove dead bone and replace it with metal from the force of the explosion.

       1276. Mr. Oates was treated locally in Balad, Iraq and air medevaced to Germany and

Walter Reed Army Hospital. Mr. Oates was awarded the Purple Heart Medal for wounds received

by the hands of the enemy. He will require further continuous treatment and care.

       1277. As a result of the September 13, 2004 Terrorist Attack, and the injuries he suffered,

Keyonta Oates has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1278. Mr. Oates has received a disability rating of 80% by the Veteran’s Administration.

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       97.     THE SEPTEMBER 13, 2004 ATTACK- BAGHDAD

                       A. SCOTT GARRETT

       1279. Plaintiff Scott Garrett is a citizen of the United States and is domiciled in the State

of Texas.

       1280. On September 13, 2004, Scott Garrett, age 34, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Squadron, 7th Cavalry Regiment, 1st Cavalry Division. At

the time, Mr. Garrett held the rank of Specialist.

       1281. Mr. Garrett was performing his duties as a Vehicle Driver on Route Senator in

Baghdad, Iraq when he was attacked. While conducting a mounted security patrol mission, Mr.

Garrett’s armored vehicle was hit by an IED leaving Mr. Garrett in the vehicle severely injured.

       1282. The weapon used to attack and injure Mr. Garrett was multiple “daisy chained”

IEDs consisting of an unknown amount of homemade explosives. The IEDs were provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1283. As a result of the September 13, 2004 Terrorist Attack, Mr. Garrett sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to his lower abdomen, both forearms/hands. The force of the explosion

compressed and fractured his L and C spine.

       1284. Mr. Garrett was treated locally in Baghdad, Iraq and air medevaced to Balad and

Germany, then Walter Reed Army Hospital in the United States. Mr. Garrett was awarded the

Purple Heart Medal for wounds received at the hands of the enemy. He will require further

continuous treatment and care for mental and physical issues. Mr. Garrett’s career in the United

States Military was tragically cut short, his family relationships came under severe strain as a result

of his care requirements and additional medical treatment (surgeries and physical therapy) will be

required to marginally improve the quality of his life.

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       1285. As a result of the September 13, 2004 Terrorist Attack, and the injuries he suffered,

Scott Garrett has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1286. Mr. Garrett has been rated by the Veteran’s Administration as 80% disabled.

       98.     THE SEPTEMBER 14, 2004 ATTACK- RAMADI

                       A. DONALD LAPLANTE

       1287. Plaintiff Donald LaPlante is a citizen of the United States and is domiciled in the

State of Wisconsin.

       1288. On September 14, 2004, Donald LaPlante, age 38, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Company, 1st Battalion, 34th Armored Regiment,

1st Infantry Division. At the time, Mr. LaPlante held the rank of Sergeant.

       1289. Mr. LaPlante was performing his duties as a Mechanic on Forward Operating Base

Manhattan in Ramadi, Iraq. While conducting Physical Training, Mr. LaPlante’s person was hit

by a 122mm Rocket that knocked Mr. LaPlante violently to the ground severely injured.

       1290. The weapon used to attack and injure Mr. LaPlante was a 122mm Rocket provided

by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1291. As a result of the September 14, 2004 Terrorist Attack, Mr. LaPlante sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to the left ear that required surgery to repair.

       1292. Mr. LaPlante was treated locally at Forward Operating Base Manhattan, Ramadi

Iraq and released to continue his tour. Mr. LaPlante was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care.




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       1293. As a result of the September 14, 2004 Terrorist Attack, and the injuries he suffered,

Donald LaPlante has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1294. Mr. LaPlante has received a disability rating of 90% by the Veteran’s

Administration.

       99.     THE SEPTEMBER 22, 2004 ATTACK- KIRKUK

                       A. CHRISTOPHER BRUCE

       1295. Plaintiff Christopher Bruce is a citizen of the United States and is domiciled in the

State of Washington.

       1296. On September 22, 2004, Christopher Bruce, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with Scout Platoon, Headquarters and Headquarters Company, 3rd

Battalion, 116th Cavalry Regiment. At the time, Mr. Bruce held the rank of Specialist.

       1297. Mr. Bruce was performing his duties as a Vehicle Passenger on Route Clemson in

Kirkuk, Iraq. While conducting a mounted IED Clearance patrol, Mr. Bruce was hit by an IED that

knocked Mr. Bruce violently around his vehicle severely injured.

       1298. The weapon used to attack and injure Mr. Bruce was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1299. As a result of the September 22, 2004 Terrorist Attack, Mr. Bruce sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1300. Mr. Bruce was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Bruce was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.


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        1301. As a result of the September 22, 2004 Terrorist Attack, and the injuries he suffered,

Christopher Bruce has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1302. Mr. Bruce has received a disability rating of 90% by the Veteran’s Administration.

        100.   THE SEPTEMBER 30, 2004 ATTACK- BAGHDAD

                       A. JASON HALL

        1303. Plaintiff Jason Hall is a citizen of the United States and is domiciled in the State of

Missouri.

        1304. On September 30, 2004, Jason Hall, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Squadron, 7th Cavalry Regiment, 1st Cavalry Division. At

the time, Mr. Hall held the rank of Sergeant.

        1305. Mr. Hall was performing his duties as a Psychological Operations Specialist

preparing to return to friendly lines from the Al Jihad District of Baghdad, Iraq. While preparing

to move out, Mr. Hall’s unit was struck by three Suicide Vehicle Borne Improvised Explosive

Devices (SVBIEDs). The first SVBIED hit a medical vehicle requiring Mr. Hall to dismount his

vehicle and recover the injured Medics from the vehicle. While recovering the third Medic, a

second SVBIED hit Mr. Halls position. The explosion from the SVBIED ripped through his right

knee, left foot, left tibia, lower back, and removed part of his left thumb while throwing him

violently to the ground with severe head trauma.

        1306. The weapons used to attack and injure Mr. Hall were explosives and operatives

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.




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       1307. As a result of the September 30, 2004 Terrorist Attack, Mr. Hall sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his body.

Mr. Hall was also severely burned.

       1308. Mr. Hall was treated at a local field hospital in Balad, Iraq then Germany and

eventually Ft Sam Houston in the United States for his fragmentation injuries and burns. Mr. Hall

was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He will

require further continuous treatment and care.

       1309. As a result of the September 30, 2004 Terrorist Attack, and the injuries he suffered,

Jason Hall has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1310. Mr. Hall has received a disability rating of 100% by the Veteran’s Administration.

       101.    THE OCTOBER 1, 2004 ATTACK- TAJI

                      A. TYLER FOSHEIM

       1311. Plaintiff Tyler Fosheim is a citizen of the United States and is domiciled in the State

of Washington.

       1312. On October 1, 2004, Tyler Fosheim, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with C Company, 1st Battalion, 23rd Infantry Regiment, 3rd Brigade,

2nd Infantry Division. At the time, Mr. Fosheim held the rank of Sergeant.

       1313. Mr. Fosheim was performing his duties as a Vehicle Passenger in Taji, Iraq. While

conducting a mounted security patrol, Mr. Fosheim’s vehicle was hit by an IED that knocked Mr.

Fosheim violently around his vehicle severely injured.




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        1314. The weapon used to attack and injure Mr. Fosheim was an IED composed of an

unknown amount of homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        1315. As a result of the October 1, 2004 Terrorist Attack, Mr. Fosheim sustained

significant injuries due to his head and neck. He also received fragmentation to the back of his

head.

        1316. Mr. Fosheim was treated locally at Camp Taji and returned to complete his tour.

Mr. Fosheim was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care.

        1317. As a result of the October 1, 2004 Terrorist Attack, and the injuries he suffered,

Tyler Fosheim has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1318. Mr. Fosheim has been rated 100% disabled by the Veteran’s Administration.

        102.   THE OCTOBER 1, 2004 ATTACK- FALLUJAH

                       A. RICHARD MONTANO

        1319. Plaintiff Richard Montano is a citizen of the United States and is domiciled in the

State of Tennessee.

        1320. On October 1, 2004, Richard Montano, age 20, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 1st Platoon, Company L, 3rd Battalion, 5th Marine

Regiment. At the time, Mr. Montano held the rank of Lance Corporal.

        1321. Mr. Montano was performing his duties as a Vehicle Passenger in Fallujah, Iraq.

While responding to a troops in contact call, Mr. Montano’s vehicle was hit by an IED that knocked

Mr. Montano violently around his vehicle severely injured.


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         1322. The weapon used to attack and injure Mr. Montano was an IED of four 155mm

artillery shells with and unknown amount of home-made explosives provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

         1323. As a result of the October 1, 2004 Terrorist Attack, Mr. Montano sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to the back of the head, causing him to lose his senses of sight, taste and

smell.

         1324. Mr. Montano was treated locally Tadquddum in Iraq and held for observation. Mr.

Montano was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care. Mr. Montano’s career in the United States

Military was tragically cut short, his family relationships came under severe strain as a result of

his care requirements and additional medical treatment (surgeries and physical therapy) will be

required to marginally improve the quality of his life.

         1325. As a result of the October 1, 2004 Terrorist Attack, and the injuries he suffered,

Richard Montano has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

         1326. Mr. Montano is rated by the Veteran’s Administration as 100% disabled.

         103.    THE OCTOBER 21, 2004 ATTACK- BAGHDAD

                        A. MILTON BLISS

         1327. Plaintiff Milton Bliss is a citizen of the United States and is domiciled in the State

of California.




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        1328. On October 21, 2004, Milton Bliss, age 36, was serving as a peacekeeping

serviceman in the U.S. Army, with the Mobile Training Team, Task Force Eagle, 1st Battalion,

161st Infantry Regiment. At the time, Mr. Bliss held the rank of Sergeant.

        1329. Mr. Bliss was performing his duties as a Driver on Route Wilde in Eastern

Baghdad, Iraq. While conducting a mounted security patrol mission, Mr. Bliss’ vehicle was hit by

an IED leaving Mr. Bliss in the vehicle severely injured.

        1330. The weapon used to attack and injure Mr. Bliss was comprised of a 155mm artillery

shell in the road. The attack was coupled with a small arms ambush. The IED material was

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1331. As a result of the October 21, 2004 Terrorist Attack, Mr. Bliss sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        1332. Mr. Bliss was treated locally at Camp Cuervo, Iraq and released to continue his

tour. Mr. Bliss was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.

        1333. As a result of the October 21, 2004 Terrorist Attack, and the injuries he suffered,

Milton Bliss has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1334. Mr. Bliss has received a disability rating of 100% by the Veteran’s Administration.

        104.   THE OCTOBER 22, 2004 ATTACK- BAGHDAD

                       A. JESSE JACKSON III

        1335. Plaintiff Jesse Jackson, III is a citizen of the United States and is domiciled in the

State of Florida.


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        1336. On October 22, 2004, Jesse Jackson, III, age 30, was serving as a peacekeeping

serviceman in the U.S. Army, with B Company, 91st Engineer Battalion, 1st Cavalry Division. At

the time, Mr. Jackson held the rank of Staff Sergeant.

        1337. Mr. Jackson performed his duties as an Acting Engineer Squad Leader in Bagdad,

Iraq at time of injury. While conducting a route security/route clearance mission, a complex

ambush was initiated by an IED and Jackson’s armored vehicle was struck by an 83mm RPG

rocket that ripped fragments through his chest, knocking Mr. Jackson to the ground severely

injured.

        1338. The weapon used to attack and injure Jackson was an Iranian-made RPG provided

by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        1339. As a result of the October 22, 2004 Terrorist Attack, Mr. Jackson sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his chest.

        1340. Mr. Jackson was treated at a field hospital in Baghdad in the days following the

attack and was eventually released to continue operations. Mr. Jackson was awarded the Purple

Heart Medal for wounds received by the hands of the enemy. He will require further continuous

treatment and care. Mr. Jackson’s career in the United States Military was tragically cut short, his

family relationships came under severe strain as a result of his care requirements and additional

medical treatment (surgeries and physical therapy) will be required to marginally improve the

quality of his life.

        1341. As a result of the October 22, 2004 Terrorist Attack, and the injuries he suffered,

Jesse Jackson, III has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1342. Mr. Jackson received a disability rating of 80% by the Veteran’s Administration.



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       105.      THE OCTOBER 28, 2004 ATTACK- TIKRIT

                       A. RICKY NEWMAN

       1343. Plaintiff Ricky Newman is a citizen of the United States and is domiciled in the

State of Ohio.

       1344. On October 28, 2004, Ricky Newman, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with 216th Engineer Battalion, 1st Infantry Division. At the time, Mr.

Newman held the rank of Specialist.

       1345. Mr. Newman was performing his duties as a Heavy Equipment Operator in Tikrit,

Iraq. While conducting convoy operations, Mr. Newman’s vehicle was hit by an IED that knocked

Mr. Newman violently around his vehicle severely injured.

       1346. The weapon used to attack and injure Mr. Newman was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1347. As a result of the October 28, 2004 Terrorist Attack, Mr. Newman sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Newman

also received glass fragments to his face and both his hands.

       1348. Mr. Newman was treated locally in Forward Operating Base Speicher, Iraq and

released to continue his tour. Mr. Newman was awarded the Purple Heart for being injured at the

hands of the enemy. He will require further continuous treatment and care.

       1349. As a result of the October 28, 2004 Terrorist Attack, and the injuries he suffered,

Ricky Newman has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1350. Mr. Newman has received a disability rating of 60% by the Veteran’s

Administration.

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        106.    THE OCTOBER 28, 2004 ATTACK- BAGHDAD

                         A. MICHAEL MARINKOVICH

        1351. Plaintiff Michael Marinkovich is a citizen of the United States and is domiciled in

the State of Colorado.

        1352. On October 28, 2004, Michael Marinkovich, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Company, 4th Battalion, 31st Infantry Regiment,

10th Mountain Division. At the time, Mr. Marinkovich held the rank of Staff Sergeant.

        1353. Mr. Marinkovich was performing his duties as the Scout Team Leader and Vehicle

Commander. His unit was tasked to conduct show of force patrols in the vicinity of Main Supply

Route Hurricane Baghdad, Iraq. While moving he hit an IED consisting of three 105mm artillery

shells and P4 explosives. The explosion ripped through his unarmored vehicle, knocking Mr.

Marinkovich around the vehicle severely injured.

        1354. The weapon used to attack and injure Mr. Marinkovich was three 105mm artillery

shells with P4 explosives provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        1355. As a result of the October 28, 2004 Terrorist Attack, Mr. Marinkovich sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his right

eye and a broken jaw.

        1356. Mr. Marinkovich was treated at a local field hospital in Baghdad, Iraq with follow

on care in Germany and the United States. Mr. Marinkovich was awarded the Purple Heart Medal

for wounds received by the hands of the enemy. He will require further continuous treatment and

care.


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       1357. As a result of the October 28, 2004 Terrorist Attack, and the injuries he suffered,

Michael Marinkovich has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1358. Mr. Marinkovich has received a disability rating of 50% by the Veteran’s

Administration.

       107.    THE OCTOBER 28, 2004 ATTACK- TAJI

                       A. DAVID COONEY

       1359. Plaintiff David Cooney is a citizen of the United States and is domiciled in the State

of New York.

       1360. On October 28, 2004, David Cooney, age 30, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, 594th Transportation Company. At the time, Mr.

Cooney held the rank of Sergeant.

       1361. Mr. Cooney was performing his duties as a Vehicle Driver on Main Supply Route

Tampa near Taji, Iraq. While conducting a mounted security patrol, Mr. Cooney’s vehicle was hit

by an IED that knocked Mr. Cooney violently around his vehicle severely injured.

       1362. The weapon used to attack and injure Mr. Cooney was an IED consisting of two

105mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1363. As a result of the October 28, 2004 Terrorist Attack, Mr. Cooney sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to both eyes, the face and both hands.




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       1364. Mr. Cooney was treated locally in Baghdad, Iraq and air medevaced to Germany

and St. Louis in the United States. Mr. Cooney was awarded the Purple Heart Medal for wounds

received by the hands of the enemy. He will require further continuous treatment and care.

       1365. As a result of the October 28, 2004 Terrorist Attack, and the injuries he suffered,

David Cooney has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1366. Mr. Cooney has received a disability rating of 90% by the Veteran’s

Administration.

       108.    THE OCTOBER 30, 2004 ATTACK- SALADIN

                       A. SHAWN TABANKIN

       1367. Plaintiff Shawn Tabankin is a citizen of the United States and is domiciled in the

State of New York.

       1368. On October 30, 2004, Shawn Tabankin, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 77th Armored Regiment, 2nd Brigade. 1st Infantry

Division. At the time, Mr. Tabankin held the rank of First Lieutenant.

       1369. Mr. Tabankin was performing his duties as a Rifleman in Saladin Governorate, Iraq.

While conducting convoy operations around Named Area of Interest 226, Mr. Tabankin’s vehicle

was hit by an IED that knocked Mr. Tabankin violently around his vehicle and severely injured.

       1370. The weapon used to attack and injure Mr. Tabankin was an IED consisting of a

125mm round and an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1371. As a result of the October 30, 2004 Terrorist Attack, Mr. Tabankin sustained

significant injuries due to the concussive blast of the explosion to his head and neck.


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       1372. Mr. Tabankin was treated locally in Forward Operating Base Anaconda, Iraq and

released to continue his tour. Mr. Tabankin was awarded the Purple Heart for his injuries. He will

require further continuous treatment and care.

       1373. As a result of the October 30, 2004 Terrorist Attack, and the injuries he suffered,

Shawn Tabankin has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1374. Mr. Tabankin has yet to be rated by the Veteran’s Administration as he is still on

Active Duty.

       109.    THE NOVEMBER 1, 2004 ATTACK- RAMDI

                         A. DOUGLAS BETZ, JR.

       1375. Plaintiff Douglas Betz, Jr. is a citizen of the United States and is domiciled in the

State of Pennsylvania.

       1376. On November 1, 2004, Douglas Betz, Jr., age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 2nd Battalion, 17th Field Artillery Regiment, 2nd

Brigade, 2nd Infantry Division. At the time, Mr. Betz held the rank of Private First Class.

       1377. Mr. Betz was performing his duties as a Vehicle Driver in Ramadi, Iraq. While

conducting a mounted security patrol, Mr. Betz’s vehicle was hit by an IED that knocked Mr. Betz

violently around his vehicle severely injured.

       1378. The weapon used to attack and injure Mr. Betz was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       1379. As a result of the November 1, 2004 Terrorist Attack, Mr. Betz sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered injuries

to his lower back from being thrown from the vehicle.

       1380. Mr. Betz was treated locally in Ramadi, Iraq and released to continue his tour. Mr.

Betz was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.

       1381. As a result of the November 1, 2004 Terrorist Attack, and the injuries he suffered,

Douglas Betz, Jr. has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1382. Mr. Betz has received a disability rating of 100% by the Veteran’s Administration.

       110.    THE NOVEMBER 1, 2004 ATTACK- MOSUL

                         A. RONALD BROCHEY

       1383. Plaintiff Ronald Brochey is a citizen of the United States and is domiciled in the

State of Pennsylvania.

       1384. On November 1, 2004, Ronald Brochey, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with A Battery, 1st Battalion, 107th Field Artillery Regiment. At the

time, Mr. Brochey held the rank of Specialist.

       1385. Mr. Brochey was performing his duties as a Vehicle Turret Gunner on Main Supply

Route Tampa in Mosul, Iraq when he was attacked. While conducting a mounted security patrol,

Mr. Brochey’s vehicle was hit by an IED leaving Mr. Brochey in the vehicle severely injured.

       1386. The weapon used to attack and injure Mr. Brochey was an IED of unknown

composition with home-made explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.


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       1387. As a result of the November 1, 2004 Terrorist Attack, Mr. Brochey sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1388. Mr. Brochey was treated locally on scene in Iraq and released to continue his tour.

Mr. Brochey was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care for mental and physical issues.

       1389. As a result of the November 1, 2004 Terrorist Attack, and the injuries he suffered,

Ronald Brochey has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1390. Mr. Brochey has been rated by the Veteran’s Administration as 100% disabled.

       111.    THE NOVEMBER 2, 2004 ATTACK- RAMADI

                       A. ERRICK HOLMES

       1391. Plaintiff Errick Holmes is a citizen of the United States and is domiciled in the State

of South Carolina.

       1392. On November 2, 2004, Errick Holmes, age 42, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 506th Infantry Regiment, 2nd Infantry Division.

At the time, Mr. Holmes held the rank of Sergeant.

       1393. Mr. Holmes was performing his duties as a Rifleman in Ramadi, Iraq. While

conducting convoy operations, Mr. Holmes’s vehicle was hit by a IED that knocked Mr. Holmes

violently around his vehicle severely injured.

       1394. The weapon used to attack and injure Mr. Holmes was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       1395. As a result of November 2, 2004 Terrorist Attack, Mr. Holmes sustained significant

injuries due to the concussive blast of the explosion to his head and neck. Mr. Holmes also received

shrapnel to the right side of his body.

       1396. Mr. Holmes was treated locally in Ramadi, Iraq and released to continue his tour of

duty. Mr. Holmes was awarded the Purple Heart for being injured at the hands of the enemy. He

will require further continuous treatment and care.

       1397. As a result of the November 2, 2004 Terrorist Attack, and the injuries he suffered,

Errick Holmes has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1398. Mr. Holmes has received a disability rating of 100% by the Veteran’s

Administration.

       112.      THE NOVEMBER 4, 2004 ATTACK- FALLUJAH

                       A. PURI DELISIO

       1399. Plaintiff Puri Delisio is a citizen of the United States and is domiciled in the State

of California.

       1400. On November 4, 2004, Puri Delisio, age 23, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Platoon, Company C, 3rd AAV Battalion. At the

time, Mr. Delisio held the rank of Sergeant.

       1401. Mr. Delisio was performing his duties as a Vehicle Turret Gunner in Fallujah, Iraq.

While conducting a mounted security patrol, Mr. Delisio was hit by an IED that knocked Mr.

Delisio violently around his vehicle severely injured.




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        1402. The weapon used to attack and injure Mr. Delisio was an IED consisting of four

155mm artillery rounds with an unknown amount of home-made explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        1403. As a result of the November 4, 2004 Terrorist Attack, Mr. Delisio sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

        1404. Mr. Delisio was treated locally in Fallujah, Iraq and released to continue his tour.

Mr. Delisio was awarded the Combat Action Ribbon for being engaged by the enemy. He will

require further continuous treatment and care.

        1405. As a result of the November 4, 2004 Terrorist Attack, and the injuries he suffered,

Puri Delisio has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1406. Mr. Delisio has yet to receive a rating from the Veteran’s Administration, as he is

still on active duty.

        113.    THE NOVEMBER 4, 2004 ATTACK- BALAD

                        A. NORMAN VALDEZ

        1407. Plaintiff Norman Valdez is a citizen of the United States and is domiciled in the

State of California.

        1408. On November 4, 2004, Norman Valdez, age 41, was serving as a peacekeeping

serviceman in the U.S. Army, with the 579th Engineer Battalion, 81st Engineer Brigade. At the

time, Mr. Valdez held the rank of Sergeant First Class.

        1409. Mr. Valdez was performing his duties as a Platoon Sergeant in Balad, Iraq when he

was attacked. While conducting a mounted security mission, Mr. Valdez’s vehicle was hit by an

IED leaving Mr. Valdez in the vehicle severely injured.


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       1410. The weapon used to attack and injure Mr. Valdez was an IED consisting of an

unknown of homemade explosives. The IED was provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1411. As a result of the November 4, 2004 Terrorist Attack, Mr. Valdez sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation injuries to the left arm and leg and required nerve reconstructive surgery.

       1412. Mr. Valdez was treated locally in Balad, Iraq and medevaced to Germany and

Walter Reed Army Hospital in the United States. Mr. Valdez was awarded the Purple Heart Medal

for wounds received at the hands of the enemy. He will require further continuous treatment and

care for mental and physical issues.

       1413. As a result of the November 4, 2004 Terrorist Attack, and the injuries he suffered,

Norman Valdez has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1414. Mr. Valdez has been rated by the Veteran’s Administration as 80% disabled.

       114.    THE NOVEMBER 6, 2004 ATTACK- RAMADI

                       A. ERIK JOHNSON

       1415. Plaintiff Erik Johnson is a citizen of the United States and is domiciled in the State

of Virginia.

       1416. On November 6, 2004, Erik Johnson, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, Charlie Company, 1st Battalion, 503rd Infantry

Regiment, 2nd Brigade Combat Team, 2nd Infantry Division. At the time, Mr. Johnson held the

rank of Private First Class.




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       1417. Mr. Johnson performed his duties a Rifleman in support of a mounted security

patrol operation on Route Michigan in Ramadi, Iraq. While stationary Mr. Johnson’s vehicle was

struck by a SVBIED (an Iraqi Police Car) consisting of an unknown amount of explosives. The

explosion ripped through his vehicle, knocking Mr. Johnson around his vehicle severely injured.

       1418. The explosives used to attack and injure Mr. Johnson were provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1419. As a result of the November 6, 2004 Terrorist Attack, Mr. Johnson sustained

significant injuries due to the concussive blast of the explosion to his head and lower back. He also

sustained 3rd degree burns to his hands that required surgery.

       1420. Mr. Johnson was treated locally at Charlie Surgical on Camp Ramadi in Iraq and

was medevaced to Germany and Military hospitals in the United States. Mr. Johnson was awarded

the Purple Heart Medal for wounds received at the enemy. He will require further continuous

treatment and care.

       1421. As a result of the November 6, 2004 Terrorist Attack, and the injuries he suffered,

Erik Johnson has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1422. Mr. Johnson has received a disability rating of 100% by the Veteran’s

Administration.

       115.       THE NOVEMBER 9, 2004 ATTACK- AL ASAD

                       A. JOSHUA ALMAREZ

       1423. Plaintiff Joshua Almarez is a citizen of the United States and is domiciled in the

State of Texas.




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        1424. On November 9, 2004, Joshua Almarez, age 23, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 3rd Platoon, Weapons Company, 3rd Battalion, 23rd

Marine Regiment. At the time, Mr. Almarez held the rank of Corporal.

        1425. Mr. Almarez was performing his duties as a Vehicle Driver on Route Uranium in

Al Asad, Iraq. While conducting a mounted security patrol, Mr. Almarez’s person was hit by an

IED that knocked Mr. Almarez violently around his vehicle severely injured.

        1426. The weapon used to attack and injure Mr. Almarez was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        1427. As a result of the November 9, 2004 Terrorist Attack, Mr. Almarez sustained

significant injuries due to the concussive blast of the explosion to his head and neck. As a result

of the force of the explosion, he fractured T1-8, two ribs on the right and left sides each, as well

as the right side of his collar bone.

        1428. Mr. Almarez was treated locally at Al Asad and was air medevaced to Baghdad,

Germany, Walter Reed and Brook Army Medical Center for additional treatment. Mr. Almarez

was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will

require further continuous treatment and care.

        1429. As a result of the November 9, 2004 Terrorist Attack, and the injuries he suffered,

Joshua Almarez has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1430. Mr. Almarez has been rated 100% disabled by the Veteran’s Administration.




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       116.    THE NOVEMBER 11, 2004 ATTACK- SHAMARA

                       A. DWAYNE PETERSEN

       1431. Plaintiff Dwayne Petersen is a citizen of the United States and is domiciled in the

State of Wyoming.

       1432. On November 11, 2004, Dwayne Petersen, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Battalion, 26th Infantry Regiment, 3rd Brigade Combat

Team, 1st Infantry Division. At the time, Mr. Petersen held the rank of Sergeant.

       1433. Mr. Petersen was performing his duties as Squad Leader at the time of his incident.

While moving in an armored vehicle on Route Heat in Shamara, Iraq, Mr. Petersen’s vehicle was

struck by an IED consisting of three 155mm artillery rounds. The explosive device ripped through

his right bicep and left temple, knocking Mr. Petersen around his vehicle’s turret severely injured.

       1434. The weapons used to attack and injure Mr. Petersen were provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1435. As a result of the November 11, 2004 Terrorist Attack, Mr. Petersen sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his head

and bicep.

       1436. Mr. Petersen was treated at a local field hospital in Tikrit, Iraq, and eventually

returned to duty. Mr. Petersen will require further continuous treatment and care.

       1437. As a result of the November 11, 2004 Terrorist Attack, and the injuries he suffered,

Dwayne Petersen has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1438. Mr. Petersen has received a disability rating of 100% by the Veteran’s

Administration.



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        117.    THE NOVEMBER 11, 2004 ATTACK- MOSUL

                        A. MARK HOLLIFIELD

        1439. Plaintiff Mark Hollifield is a citizen of the United States and is domiciled in the

State of North Carolina.

        1440. On November 11, 2004, Mark Hollifield, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with the 293rd Military Police Company, 3rd Military Police Brigade,

3rd Infantry Division. At the time, Mr. Hollifield held the rank of Specialist.

        1441. Mr. Hollifield performed his duties a provisional Machine Gunner in support of

capturing a high value target from Camp Diamondback, in the vicinity of Mosul, Iraq at time of

his injury. While moving with a vehicle mounted element to apprehend the target, Mr. Hollifield’s

armored vehicle was struck by an 120mm mortar round. The explosion ripped through his vehicle,

knocking Mr. Hollifield into the .50 caliber machine gun and making him susceptible to small

arms fire.

        1442. The weapon used to attack and injure Mr. Hollifield was one Iranian-procured

120mm mortar round provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        1443. As a result of the November 11, 2004 Terrorist Attack, Mr. Hollifield sustained

significant injuries due to the concussive blast of the explosion to his head, lower back and right

shoulder blade from the follow-on small arms fire.

        1444. Mr. Hollifield was treated locally by a Medic in Iraq and evacuated to Germany,

Dover, Delaware and Ft Gordon, Georgia in the days and weeks following the attack. He was

eventually released after several surgeries and medically discharged from the U.S. Army. Mr.

Hollifield was awarded the Purple Heart for wounds inflicted by the enemy. He will require further

continuous treatment and care.

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       1445. As a result of the November 11, 2004 Terrorist Attack, and the injuries he suffered,

Mark Hollifield has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1446. Mr. Hollifield has received a disability rating of 100% by the Veteran’s

Administration.

       118.    THE NOVEMBER 15, 2004 ATTACK- MOSUL

                       A. DAVID NIERADKA

       1447. Plaintiff David Nieradka is a citizen of the United States and is domiciled in the

State of Oregon.

       1448. On November 15, 2004, David Nieradka, age 32, was serving as a peacekeeping

serviceman in the U.S. Army, with B Company, 1st Battalion, 24th Infantry Regiment. At the time,

Mr. Nieradka held the rank of Staff Sergeant.

       1449. Mr. Nieradka was performing his duties as a Vehicle Commander in Mosul, Iraq.

While conducting a mounted security patrol, Mr. Nieradka’s vehicle was hit by an VBIED that

knocked Mr. Nieradka violently around his vehicle severely injured.

       1450. The weapon used to attack and injure Mr. Nieradka was an VBIED consisting of

2000 pounds of home-made explosives provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1451. As a result of the November 15, 2004 Terrorist Attack, Mr. Nieradka sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his head and neck.




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       1452. Mr. Nieradka was treated locally in Iraq and released to continue his tour. Mr.

Nieradka was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       1453. As a result of the November 15, 2004 Terrorist Attack, and the injuries he suffered,

David Nieradka has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1454. Mr. Nieradka has received a disability rating of 100% by the Veteran’s

Administration.

       119.    THE NOVEMBER 15, 2004 ATTACK- HABBANIYA

                       A. ELI MASTERSON

       1455. Eli Masterson is a citizen of the United States and is domiciled in the State of Texas.

       1456. On November 15, 2004, Eli Masterson, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with B Battery, 2nd Battalion, 17th Field Artillery, 2nd Brigade, 2nd

Infantry Division. At the time, Mr. Masterson held the rank of Private First Class.

       1457. Mr. Masterson was performing his duties as a Vehicle Turret Gunner in Habbaniya,

Iraq. While conducting a mounted security patrol, Mr. Masterson was hit by an IED that knocked

Mr. Masterson violently around his vehicle severely injured.

       1458. The weapon used to attack and injure Mr. Masterson was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1459. As a result of the November 15, 2004 Terrorist Attack, Mr. Masterson sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered burns to his hands.


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       1460. Mr. Masterson was treated locally in Habbaniya, Iraq and released to continue his

tour. Mr. Masterson was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.

       1461. As a result of the November 15, 2004 Terrorist Attack, and the injuries he suffered,

Eli Masterson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1462. Mr. Masterson has received a disability rating of 100% by the Veteran’s

Administration.

       120.     THE NOVEMBER 23, 2004 ATTACK- RAMADI

                       A. HEATH ARNOLD

       1463. Plaintiff Heath Arnold is a citizen of the United States and is domiciled in the State

of Louisiana.

       1464. On November 23, 2004, Heath Arnold, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, A Company, 1st Battalion, 9th Infantry Regiment.

At the time, Mr. Arnold held the rank of Sergeant.

       1465. Mr. Arnold was performing his duties as a Rifleman in the eastern portion of

Ramadi, Iraq. While conducting a dismounted security patrol mission, Mr. Arnold’s person was

hit by an VBIED leaving Mr. Arnold on the ground severely injured.

       1466. The weapon used to attack and injure Mr. Arnold was comprised of an unknown

amount of explosives concealed in a vehicle. The VBIED material was provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1467. As a result of the November 23, 2004 Terrorist Attack, Mr. Arnold sustained

significant injuries due to the concussive blast of the explosion to his head and neck while also


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sustaining fragmentation injuries to his left shoulder. Since the incident, he has required additional

reconstructive surgery to his left shoulder to gain limited mobility.

        1468. Mr. Arnold was treated locally at Camp Ramadi, Iraq and medevaced to Germany

and Walter Reed Hospital in the United States. Mr. Arnold was awarded the Purple Heart Medal

for wounds received by the hands of the enemy. He will require further continuous treatment and

care.

        1469. As a result of the November 23, 2004 Terrorist Attack, and the injuries he suffered,

Heath Arnold has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1470. Mr. Arnold has received a disability rating of 100% by the Veteran’s

Administration.

        121.   THE NOVEMBER 27, 2004 ATTACK- RAWAH

                       A. SCOTT MURPHY

        1471. Plaintiff Scott Murphy is a citizen of the United States and is domiciled in the State

of Ohio.

        1472. In the early morning of November 27, 2004, Scott Murphy, age 26, was serving as

a peacekeeping serviceman in the U.S. Army, with the 172nd Striker Brigade assigned to 2nd

Marine Division. At the time, Mr. Murphy held the rank of Sergeant.

        1473. Mr. Murphy performed his duties as the Scout Section leader in Rawah, Al Anbar

Providence, Iraq at time of injury. While conducting a retrograde movement after completion of a

mission, Mr. Murphy’s armored vehicle was struck by an IED consisting of one Anti-Tank Mine

and one propane tank filled with the explosive compound P4 as a “kicker charge.” The explosion




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ripped through his right side of his vehicle, knocking Mr. Murphy around the gunner’s position of

his vehicle severely injured.

       1474. The weapon used to attack and injure Mr. Murphy was an Iranian-procured Anti-

Tank mine with P4 explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       1475. As a result of the November 27, 2004 Terrorist Attack, Mr. Murphy sustained

significant injuries due to the concussive blast of the explosion to his head and neck, while also

receiving fragmentation to his right leg and groin.

       1476. Mr. Murphy was treated at a local field hospital in Iraq in the days following the

attack and was eventually transferred to Baghdad, Iraq, Germany and the United Stated for follow

on surgery and care. Mr. Murphy was awarded the Purple Heart for wounds received at the hands

of the enemy. He will require further continuous treatment and care.

       1477. As a result of the November 27, 2004 Terrorist Attack, and the injuries he suffered,

Scott Murphy has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1478. Mr. Murphy has received a disability rating of 100% by the Veteran’s

Administration.

       122.    THE DECEMBER 3, 2004 ATTACK- MOSUL

                       A. JOSHUA HELGUERO

       1479. Plaintiff Joshua Helguero is a citizen of the United States and is domiciled in the

State of Arkansas.




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       1480. On December 3, 2004, Joshua Helguero, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Squad, 2nd Platoon, A Company, 3rd Battalion, 21st Infantry

Regiment. At the time, Mr. Helguero held the rank of Specialist.

       1481. Mr. Helguero was performing his duties as a Rifleman acting as a provisional

Driver in Mosul, Iraq when he was attacked. While conducting a mounted security patrol mission,

Mr. Helguero’s armored vehicle was hit by a VBIED leaving Mr. Helguero in the vehicle severely

injured.

       1482. The weapon used to attack and injure Mr. Helguero was comprised of an unknown

amount of explosives concealed in a vehicle. The VBIED material was provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1483. As a result of the December 3, 2004 Terrorist Attack, Mr. Helguero sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1484. Mr. Helguero was treated locally in Mosul, Iraq and released to continue his tour.

Mr. Helguero was awarded the Combat Action Badge for contact with the enemy. He will require

further continuous treatment and care for mental and physical issues.

       1485. As a result of the December 3, 2004 Terrorist Attack, and the injuries he suffered,

Joshua Helguero has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1486. Mr. Helguero has been rated by the Veteran’s Administration as 100% disabled.

       123.    THE DECEMBER 11, 2004 ATTACK- HAWIJAH

                       A. NATHAN JOHNSON

       1487. Plaintiff Nathan Johnson is a citizen of the United States and is domiciled in the

State of Florida.


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       1488. On December 11, 2004, Nathan Johnson, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Platoon, Bravo Company, 1st Battalion, 27th Infantry

Regiment, 2nd Brigade, 25th Infantry Division. At the time, Mr. Johnson held the rank of Specialist.

       1489. Mr. Johnson was performing his duties as a Vehicle Passenger in Hawijah, Iraq.

While conducting a mounted security patrol, Mr. Johnson’s vehicle was hit by an IED that knocked

Mr. Johnson violently around his vehicle severely injured.

       1490. The weapon used to attack and injure Mr. Johnson was an IED consisting of 8-10

155mm artillery rounds with an unknown amount of home-made explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1491. As a result of the December 11, 2004 Terrorist Attack, Mr. Johnson sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to the skull and left leg.

       1492. Mr. Johnson was treated locally in Forward Operating Base McHenry, Iraq and

released to continue his tour. Mr. Johnson was awarded the Purple Heart Medal for wounds

received by the hands of the enemy. He will require further continuous treatment and care.

       1493. As a result of the December 11, 2004 Terrorist Attack, and the injuries he suffered,

Nathan Johnson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1494. Mr. Johnson has received a disability rating of 50% by the Veteran’s

Administration.




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       124.    THE DECEMBER 12, 2004 ATTACK- TAL AFAR

                       A. CASEY WALL

       1495. Plaintiff Casey Wall is a citizen of the United States and is domiciled in the State

of New York.

       1496. On December 12, 2004, Casey Wall, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with the 3rd Platoon, Alpha Company, 1-5 Infantry, 25th Infantry

Division. At the time, Mr. Wall held the rank of Private-2.

       1497. Mr. Wall was performing his duties as a Vehicle Commander in Tal Afar, Iraq.

While conducting a mounted security patrol, Mr. Wall’s vehicle was hit by an IED that knocked

Mr. Wall violently around his vehicle severely injured.

       1498. The weapon used to attack and injure Mr. Wall was an IED consisting of three anti-

tank mines an unknown amount of home-made explosives provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1499. As a result of the December 12, 2004 Terrorist Attack, Mr. Wall sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his face and head along with 1st-2nd degree burns causing scaring on his

lips and eyebrows.

       1500. Mr. Wall was treated locally in Tal Afar, Iraq and released to continue his tour. Mr.

Wall was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       1501. As a result of the December 12, 2004 Terrorist Attack, and the injuries he suffered,

Casey Wall has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1502. Mr. Wall has received a disability rating of 80% by the Veteran’s Administration.

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       125.    THE DECEMBER 15, 2004 ATTACK- BAYJI

                       A. MELVIN DAVIS

       1503. Plaintiff Melvin Davis is a citizen of the United States and is domiciled in the State

of Texas.

       1504. On December 15, 2004, Melvin Davis, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, A Company, 1st Battalion, 26th Infantry Regiment,

3rd Brigade, 1st Infantry Division. At the time, Mr. Davis held the rank of Staff Sergeant.

       1505. Mr. Davis was performing his duties as a Vehicle Commander on Main Supply

Route 1 in Bayji, Iraq. While conducting a mounted security patrol, Mr. Davis’s vehicle was hit

by an VBIED that knocked Mr. Davis violently around his vehicle severely injured.

       1506. The weapon used to attack and injure Mr. Davis was an VBIED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1507. As a result of the December 15, 2004 Terrorist Attack, Mr. Davis sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his head, hands and has nerve damage to his right leg.

       1508. Mr. Davis was treated locally in Tikrit, Iraq and released to continue his tour. Mr.

Davis was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       1509. As a result of the December 15, 2004 Terrorist Attack, and the injuries he suffered,

Melvin Davis has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1510. Mr. Davis has received a disability rating of 100% by the Veteran’s Administration.



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        126.    THE DECEMBER 16, 2004 ATTACK- MAMUDIYAH

                          A. JEREMY BURNSIDE

        1511. Plaintiff Jeremy Burnside is a citizen of the United States and is domiciled in the

State of Michigan.

        1512. On December 16, 2004, Jeremy Burnside, age 19, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Battalion, 24th Marine Regiment. At the time, Mr.

Burnside held the rank of Private First Class.

        1513. Mr. Burnside was performing his duties as a Vehicle Turret Gunner on Route

Jackson in Mamudiyah, Iraq. While conducting a mounted security patrol, Mr. Burnside’s vehicle

was hit an VBIED that knocked Mr. Burnside violently around his vehicle severely injured.

        1514. The weapon used to attack and injure Mr. Burnside was an VBIED of 12 155mm

artillery shells and 200 pounds of home-made explosives provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

        1515. As a result of the December 16, 2004 Terrorist Attack, Mr. Burnside sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received 32 pieces of fragmentation from head to toe and required three separate surgeries to re-

attached his right ear.

        1516. Mr. Burnside was treated locally in Fallujah and Balad, Iraq and was released to

continue his tour. Mr. Burnside was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care.

        1517. As a result of the December 16, 2004 Terrorist Attack, and the injuries he suffered,

Jeremy Burnside has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.


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       1518. Mr. Burnside has been rated by the Veteran’s Administration as 90% disabled.

       127.    THE DECEMBER 21, 2004 ATTACK- MOSUL

                       A. VICTOR QUINONEZ

       1519. Plaintiff Victor Quinonez is a citizen of the United States and is domiciled in the

State of California.

       1520. On December 21, 2004, Victor Quinonez, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with the Security Detachment, Headquarters Company, 1st Battalion,

24th Infantry Regiment. At the time, Mr. Quinonez held the rank of Private First Class.

       1521. Mr. Quinonez was performing his duties as a Vehicle Turret Gunner in Mosul, Iraq.

While conducting a mounted security patrol, Mr. Quinonez’s vehicle was hit by an IED that

knocked Mr. Quinonez violently around his vehicle severely injured.

       1522. The weapon used to attack and injure Mr. Quinonez was an IED composed of an

unknown homemade explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       1523. As a result of the December 21, 2004 Terrorist Attack, Mr. Quinonez sustained

significant injuries due to his head and neck.

       1524. Mr. Quinonez was treated locally at Camp Marez and returned to complete his tour.

Mr. Quinonez was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care.

       1525. As a result of the December 21, 2004 Terrorist Attack, and the injuries he suffered,

Victor Quinonez has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1526. Mr. Quinonez has been rated 100% disabled by the Veteran’s Administration.


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       128.    THE DECEMBER 24, 2004 ATTACK- BAGHDAD

                       A. JASON COOK

       1527. Plaintiff Jason Cook is a citizen of the United States and is domiciled in the State

of New York.

       1528. On December 24, 2004, Jason Cook, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, with 43rd Medical Detachment, 115th Field Hospital. At the time,

Mr. Cook held the rank of Specialist.

       1529. Mr. Cook was performing his duties as a Vehicle Passenger in Baghdad, Iraq. While

conducting a mounted security patrol, Mr. Cook’s vehicle was hit by an IED that knocked Mr.

Cook violently around his vehicle severely injured.

       1530. The weapon used to attack and injure Mr. Cook was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1531. As a result of the December 24, 2004 Terrorist Attack, Mr. Cook sustained

significant injuries due to the concussive blast of the explosion to his head and neck. As a result

of the explosion, post-deployment he was required to have his L4/5 fused together.

       1532. Mr. Cook was treated locally in Baghdad, Iraq and released to continue his tour. He

will require further continuous treatment and care.

       1533. As a result of the December 24, 2004 Terrorist Attack, and the injuries he suffered,

Jason Cook has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1534. Mr. Cook has received a disability rating of 100% by the Veteran’s Administration.




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       129.    THE DECEMBER 24, 2004 ATTACK- BAGHDAD/CAMP LIBERTY

                         A. DENNIS BOWERS

       1535. Plaintiff Dennis Bowers is a citizen of the United States and is domiciled in the

State of Pennsylvania.

       1536. On December 24, 2004, Dennis Bowers, age 38, was serving as a peacekeeping

Defense Contractor with the U.S. Army.

       1537. Mr. Bowers was performing his duties as a Contractor and driving a vehicle on

Camp Liberty in Baghdad, Iraq when he was attacked. While dismounted at a guard post dropping

off Christmas dinner to Guards, Mr. Bowers was hit by SVBIED leaving Mr. Bowers severely

injured on the ground.

       1538. The weapon used to attack and injure Mr. Bowers was a SVBIED facilitated by

Iran. The vehicle and explosives was provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1539. As a result of the December 24, 2004 Terrorist Attack, Mr. Bowers sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a compressed L1-5 and reduced long-term mobility in his right arm as a result of the

explosion.

       1540. Mr. Bowers was treated locally in Baghdad, Iraq and released to continue his work.

He will require further continuous treatment and care for mental and physical issues associated

with PTSD and TBI.

       1541. As a result of the December 24, 2004 Terrorist Attack, and the injuries he suffered,

Dennis Bowers has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.



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         130.   THE JANUARY 2, 2005 ATTACK- BAGHDAD

                        A. DANIEL TITUS

         1542. Plaintiff Daniel Titus is a citizen of the United States and is domiciled in the State

of Virginia.

         1543. In the early morning of January 2, 2005, Daniel Titus, age 23, was serving as a

peacekeeping serviceman in the U.S. Army, with 1st Battalion, 156th Armored Regiment, 1st

Cavalry Division. At the time, Mr. Titus held the rank of Specialist.

         1544. Mr. Titus was performing his duties as Mortarman at the time of his incident. While

moving in an armored vehicle in Sector 00 along Route Irish, Baghdad, Iraq, Mr. Titus’ vehicle

was struck by an IED consisting of five 155mm artillery shells when his vehicle crossed over a

culvert in the road. The explosive device ripped through his right wrist and hand, knocking Mr.

Titus around his vehicle severely injured.

         1545. The weapons used to attack and injure Mr. Titus were Iranian procured 155mm

artillery shells provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

         1546. As a result of the January 2, 2005 Terrorist Attack, Mr. Titus sustained significant

injuries due to the concussive blast of the explosion and shrapnel impacting his right hand and

wrist.

         1547. Mr. Titus was treated at a local field hospital in Baghdad, Iraq, then Germany and

eventually Walter Reed in the United States. Mr. Titus was awarded the Purple Heart Medal for

wounds received by the hands of the enemy. He will require further continuous treatment and care.

         1548. As a result of the January 2, 2005 Terrorist Attack, and the injuries he suffered,

Daniel Titus has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

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       1549. Mr. Titus has received a disability rating of 100% by the Veteran’s Administration.

       131.    THE JANUARY 2, 2005 ATTACK- RAMADI

                       A. VANCE PHILLIPS

       1550. Plaintiff Vance Phillips is a citizen of the United States and is domiciled in the State

of Pennsylvania.

       1551. On January 2, 2005, Vance Phillips, age 21, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Headquarters Platoon, Company G, 2nd Battalion, 5th

Marine Regiment. At the time, Mr. Phillips held the rank of Lance Corporal.

       1552. Mr. Phillips was performing his duties as a Vehicle Driver on Route Michigan in

Ramadi, Iraq. While conducting a mounted security patrol, Mr. Phillips’s vehicle was hit by an

IED that knocked Mr. Phillips violently around his vehicle severely injured.

       1553. The weapon used to attack and injure Mr. Phillips was an IED provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1554. As a result of the January 2, 2005 Terrorist Attack, Mr. Phillips sustained

significant injuries due to his head and neck. He also received fragmentation to his face that left

permanent scarring.

       1555. Mr. Phillips was treated locally at Hurricane Point and released to continue his tour.

Mr. Phillips was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care.

       1556. As a result of the January 2, 2005 Terrorist Attack, and the injuries he suffered,

Vance Phillips has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1557. Mr. Phillips has yet to be rated by the Veteran’s Administration.


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        132.   THE JANUARY 13, 2005 ATTACK- RAMADI

                       A. MARK FETTIG

        1558. Plaintiff Mark Fettig is a citizen of the United States and is domiciled in the State

of Michigan.

        1559. On January 13, 2005, Mark Fettig, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 503rd Infantry Regiment, 2nd Infantry Division.

At the time, Mr. Fettig held the rank of Specialist.

        1560. Mr. Fettig was performing his duties as a sniper over watch in Ramadi, Iraq. While

conducting a dismounted security operation, Mr. Cope’s person was hit by a Soviet hand grenade

that knocked Mr. Fettig violently to the ground severely injured.

        1561. The weapon used to attack and injure Mr. Fettig was a Soviet hand grenade

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1562. As a result of the January 13, 2005 Terrorist Attack, Mr. Fettig sustained significant

injuries due to his head and neck. He also received fragmentation to his left arm.

        1563. Mr. Fettig was treated locally in Baghdad and was air medevace to Germany and

Walter Reid in the United States. Mr. Fettig was awarded the Purple Heart Medal for wounds

received at the hands of the enemy. He will require further continuous treatment and care.

        1564. As a result of the January 13, 2005 Terrorist Attack, and the injuries he suffered,

Mark Fettig has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1565. Mr. Fettig has been rated 70% disabled by the Veteran’s Administration.




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       133.    THE JANUARY 13, 2005 ATTACK- KIRKUK

                       A. JOSIAH JURICH

       1566. Plaintiff Josiah Jurich is a citizen of the United States and is domiciled in the State

of Hawaii.

       1567. On January 13, 2005, Josiah Jurich, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Squadron, 116 Cavalry Regiment, 25th Infantry Division.

At the time, Mr. Jurich held the rank of Specialist.

       1568. Mr. Jurich was performing his duties as a Vehicle Turret Gunner in Kirkuk, Iraq

when he was attacked. While conducting a mounted route clearance mission, Mr. Jurich’s vehicle

was hit by an IED leaving Mr. Jurich in the vehicle severely injured.

       1569. The weapon used to attack and injure Mr. Jurich was an IED consisting of an anti-

tank mine with P4 homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1570. As a result of the January 13, 2005 Terrorist Attack, Mr. Jurich sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1571. Mr. Jurich was treated locally in Kirkuk, Iraq and released to continue his tour of

duty. Mr. Jurich was awarded the Purple Heart Medal for wounds received at the hands of the

enemy. He will require further continuous treatment and care for mental and physical issues.

       1572. As a result of the January 13, 2005 Terrorist Attack, and the injuries he suffered,

Josiah Jurich has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1573. Mr. Jurich has been rated by the Veteran’s Administration as 100% disabled.




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       134.    THE JANUARY 26, 2005 ATTACK- ISKANDARIYA

                       A. WILLIAM RODGERS

       1574. Plaintiff William Rodgers is a citizen of the United States and is domiciled in the

State of North Carolina.

       1575. On January 26, 2005, William Rodgers, age 22, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Weapons Company, 1st Battalion, 2nd Marine Regiment.

At the time, Mr. Rodgers held the rank of Specialist.

       1576. Mr. Rodgers was performing his duties as a Field Radio Operator in Iskandariya,

Iraq. While conducting daily operations on Camp Iskandariya, Mr. Rodgers’s person was hit by a

Mortar that knocked Mr. Rodgers violently to the ground severely injured.

       1577. The weapon used to attack and injure Mr. Rodgers was a Mortar consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1578. As a result of the January 26, 2005 Terrorist Attack, Mr. Rodgers sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1579. Mr. Rodgers was treated locally at Camp Iskandariya, Iraq and released to continue

his tour. Mr. Rodgers was awarded the Combat Action Ribbon for his engagement with the enemy.

He will require further continuous treatment and care.

       1580. As a result of the January 26, 2005 Terrorist Attack, and the injuries he suffered,

William Rodgers has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1581. Mr. Rodgers has received a disability rating of 60% by the Veteran’s

Administration.



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       135.    THE JANUARY 28, 2005 ATTACK- HASWA

                       A. JOSEPH ROE

       1582. Plaintiff Joseph Roe is a citizen of the United States and is domiciled in the State

of South Carolina.

       1583. On January 28, 2005, Joseph Roe, age 36, was serving as a peacekeeping

serviceman in the U.S. Navy, with 24th Marine Expeditionary Unit. At the time, Mr. Roe held the

rank of Petty Officer 3rd Class.

       1584. Mr. Roe was performing his duties as a Corpsman the day of his injury. During the

execution of a dismounted security patrol, near the intersection of Route Dolly Ave in Haswa, Iraq,

Mr. Roe was hit by a command detonated IED, throwing Mr. Roe unconscious and injuring him

severely.

       1585. The weapons used to attack and injure Mr. Roe were comprised of three 132mm

Anti-Aircraft rounds provided by Iran. These weapons were employed by Iranian-funded and

Iranian-trained terror operatives in Iraq.

       1586. As a result of the January 28, 2005 Terrorist Attack, Mr. Roe sustained injuries due

to the concussive blasts of the explosions impacting his head and neck. He also suffered the

amputation of his 1st finger and the tip of his thumb on his right hand. He also had to have his

middle knuckle on his right hand salvaged.

       1587. Mr. Roe was treated at Scanderia and Baghdad in Iraq following the attack and was

air medevaced to Germany, then San Antonio, Texas in the United States. Mr. Roe was awarded

the Purple Heart for wounds received at the hands of the enemy. He will require further continuous

treatment and care. Mr. Roe’s career in the United States Military was tragically cut short, his

family relationships came under severe strain as a result of his care requirements and additional



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medical treatment (surgeries and physical therapy) will be required to marginally improve the

quality of his life.

        1588. As a result of the January 28, 2005 Terrorist Attack, and the injuries he suffered,

Joseph Roe has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1589. Mr. Roe has been rated by the Veteran’s Administration as 100% disabled.

        136.    THE FEBRUARY 1, 2005 ATTACK- TIKRIT

                       A. GARON MOANEY

        1590. Plaintiff Garon Moaney is a citizen of the United States and is domiciled in the

State of Virginia.

        1591. On February 1, 2005, Garon Moaney, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with 384th Movement Control Team, 101st Airborne Division. At

the time, Mr. Moaney held the rank of Sergeant.

        1592. Mr. Moaney was performing his duties as a Vehicle Turret Gunner in Tikrit, Iraq.

While conducting a mounted security patrol, Mr. Moaney’s vehicle was hit by an IED that knocked

Mr. Moaney violently around his vehicle severely injured.

        1593. The weapon used to attack and injure Mr. Moaney was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        1594. As a result of the February 1, 2005 Terrorist Attack, Mr. Moaney sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered nerve damage to his Ulnar nerve damage for the force of the explosion.




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       1595. Mr. Moaney was treated locally in Tikrit, Iraq and air medevaced to Germany and

the United States for follow on care. Mr. Moaney was awarded the Combat Action Badge for being

engaged by the enemy. He will require further continuous treatment and care.

       1596. As a result of the February 1, 2005 Terrorist Attack, and the injuries he suffered,

Garon Moaney has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1597. Mr. Moaney has received a disability rating of 100% by the Veteran’s

Administration.

       137.       THE FEBRUARY 3, 2005 ATTACK- AL ANBAR

                       A. RICHARD FORD

       1598. Plaintiff Richard Ford is a citizen of the United States and is domiciled in the State

of Mississippi.

       1599. On February 3, 2005, Richard Ford, age 40, was serving as a peacekeeping

serviceman in the U.S. Army, with B Company, 150th Combat Engineer Battalion. At the time,

Mr. Ford held the rank of Sergeant.

       1600. Mr. Ford was performing his duties as a Combat Engineer from Camp Dogwood in

Al Anbar, Iraq when he was attacked. While conducting a mounted counter-mortar patrol mission,

Mr. Ford’s armored vehicle was hit by an IED leaving Mr. Ford in the vehicle severely injured.

       1601. The weapon used to attack and injure Mr. Ford was an IED consisting of a single

155mm artillery round with home-made explosives. The IED was provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1602. As a result of the February 3, 2005 Terrorist Attack, Mr. Ford sustained significant

injuries due to the concussive blast of the explosion to his head and neck.


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       1603. Mr. Ford was treated locally in Baghdad, Iraq and released to continue his tour. Mr.

Ford was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will

require further continuous treatment and care for mental and physical issues.

       1604. As a result of the February 3, 2005 Terrorist Attack, and the injuries he suffered,

Richard Ford has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1605. Mr. Ford has been rated by the Veteran’s Administration as 50% disabled.

       138.    THE FEBRUARY 7, 2005 ATTACK - FALLUJAH

                        A. CHRISTOPHER GARDELLA

       1606. Plaintiff Christopher Gardella is a citizen of the United States and is domiciled in

the State of Montana.

       1607. On February 27, 2005, Christopher Gardella, age 28, was serving as a

peacekeeping serviceman in the U.S. Marine Corps, with the 2nd Marine Expeditionary Force. At

the time, Mr. Gardella held the rank of Sergeant.

       1608. Mr. Gardella was performing his duties as a Motor Vehicle Operator in Fallujah,

Iraq. While conducting convoy operations, Mr. Gardella vehicle was hit by an IED that knocked

Mr. Gardella violently around his vehicle severely injured.

       1609. The weapon used to attack and injure Mr. Gardella was an IED consisting of four

155mm rounds and an unknown amount of home-made explosives provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1610. As a result of the February 27, 2005 Terrorist Attack, Mr. Gardella sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr.




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Gardella is also now blind in the left eye, deaf in the left ear, and suffers from epilepsy as a result

of the blast.

        1611. Mr. Gardella was treated locally at Camp Fallujah before being medevaced to

Balad Air Base, Iraq. Mr. Gardella was awarded the Combat Action Ribbon for his engagement

with the enemy. He will require further continuous treatment and care.

        1612. As a result of the February 27, 2005 Terrorist Attack, and the injuries he suffered,

Christopher Gardella has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

        1613. Mr. Gardella has received a disability rating of 100% by the Veteran’s

Administration.

        139.    THE FEBRUARY 8, 2005 ATTACK - ABU GRAIB

                       A. JOHN FONTENOY

        1614. Plaintiff John Fontenoy is a citizen of the United States and is domiciled in the State

of North Carolina.

        1615. On February 8, 2005, John Fontenoy, age 34, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 1st Battalion, 10th Marine Regiment. At the time, Mr.

Fontenoy held the rank of Gunnery Sergeant.

        1616. Mr. Fontenoy was performing his duties as a Vehicle Passenger in Abu Graib, Iraq.

While conducting security operations, Mr. Fontenoy’s vehicle was hit by an IED that knocked Mr.

Fontenoy violently around his vehicle severely injured.

        1617. The weapon used to attack and injure Mr. Fontenoy was an IED of unknown

composition provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.


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       1618. As a result of the February 8, 2005 Terrorist Attack, Mr. Fontenoy sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered Polyneuropathy causing nerve damage to arms and legs.

       1619. Mr. Fontenoy was treated locally at Abu Graib Prison in Iraq and released to

continue his tour. Mr. Fontenoy was awarded the Combat Action Ribbon for being engaged by the

enemy. He will require further continuous treatment and care.

       1620. As a result of the February 8, 2005 Terrorist Attack, and the injuries he suffered,

John Fontenoy has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1621. Mr. Fontenoy is rated by the Veteran’s Administration as 100% disabled.

       140.       THE FEBRUARY 14, 2005 ATTACK- BAQBAH

                       A. CAMERON GAINES

       1622. Plaintiff Cameron Gaines is a citizen of the United States and is domiciled in the

State of Texas.

       1623. On February 14, 2005, Anthony Johnson, age 37, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Brigade, 1st Infantry Division. At the time, Mr. Gaines held

the rank of Sergeant First Class.

       1624. Mr. Gaines performed his duties aa a vehicle driver operating in Baqbah, Iraq at

time of injury. While conducting a mounted security patrol, Mr. Gaines’ armored vehicle was

struck by an IED consisting of two155mm artillery rounds. The explosion ripped through his

vehicle, knocking Mr. Gaines around his vehicle severely injured.




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        1625. The weapon used to attack and injure Mr. Gaines were two Iranian-procured

155mm artillery shells provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        1626. As a result of the February 14, 2005 Terrorist Attack, Mr. Gaines sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Additionally,

he received fragmentation injuries to his neck.

        1627. Mr. Gaines was treated at a local field hospital in Iraq in the days following the

attack and was eventually released to continue operations. Mr. Gaines was awarded the Purple

Heart for wounds received at the hands of the enemy. He will require further continuous treatment

and care.

        1628. As a result of the February 14, 2005 Terrorist Attack, and the injuries he suffered,

Cameron Gaines has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1629. Mr. Gaines has received a disability rating of 100% by the Veteran’s

Administration.

        141.    THE FEBRUARY 24, 2005 ATTACK- BAGHDAD

                        A. TIMOTHY POPE

        1630. Plaintiff Timothy Pope is a citizen of the United States and is domiciled in the State

of Virginia.

        1631. On February 24, 2005, Timothy Pope, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, D Company, 1st Battalion, 15th Infantry Regiment,

3rd Infantry Division. At the time, Mr. Pope held the rank of Private.




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       1632. Mr. Pope was performing his duties as a M1 Tank Driver in Baghdad, Iraq. While

conducting mounted security mission, Mr. Pope’s tank was hit by an IED leaving Mr. Pope inside

his tank severely injured.

       1633. The weapon used to attack and injure Mr. Pope was comprised of two Anti-Tank

mines. The IED material was provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       1634. As a result of the February 24, 2005 Terrorist Attack, Mr. Pope sustained significant

injuries due to the concussive blast of the explosion to his head and neck. The force of the

explosion broke both of his legs, broke his left ankle, shattered his left pelvis, ruptured his liver

and removed his bottom row of teeth.

       1635. Mr. Pope was treated at several different hospitals in the days and months following

the attack and was eventually transferred to the Walter Reed General Hospital in Bethesda,

Maryland where he continued to be hospitalized and received intensive treatment. Mr. Pope was

awarded the Purple Heart Medal for wounds received by the hands of the enemy. He will require

further continuous treatment and care. Mr. Pope’s career in the United States Military was

tragically cut short, his family relationships came under severe strain as a result of his care

requirements and additional medical treatment (surgeries and physical therapy) will be required to

marginally improve the quality of his life.

       1636. As a result of the February 24, 2005 Terrorist Attack, and the injuries he suffered,

Tim Pope has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1637. Mr. Pope has received a disability rating of 100% by the Veteran’s Administration.




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       142.    THE MARCH 15, 2005 ATTACK- AL NASR WAL SALAM

                         A. RODRIGO MAGALHAES

       1638. Plaintiff Rodrigo Magalhaes is a citizen of the United States and is domiciled in the

State of Pennsylvania.

       1639. In the early morning of March 15, 2005, Rodrido Magalhaes, age 19, was serving

as a peacekeeping serviceman in the U.S. Marine Corps, with Company K, 3rd Battalion, 8th Marine

Regiment. At the time, Mr. Magalhaes held the rank of Lance Corporal.

       1640. Mr. Magalhaes was performing his duties as a Marine Rifleman securing the Abu

Grab Prison Complex west of Baghdad, Iraq near the village of Al Nassar-Wa-Salam. During the

execution of a security patrol mission, an explosion ripped through his dismounted foot patrol,

knocking Mr. Magalhaes to the ground injured.

       1641. The weapons used to attack and injure Mr. Magalhaes was an Iranian-facilitated

IED of three 155mm artillery shells provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1642. As a result of the March 15, 2005 Terrorist Attack, he sustained significant injuries

due to the concussive blast of the explosion.

       1643. Mr. Magalhaes was treated at locally at the Company and Battalion Aid Station

and remained in country to fulfill the deployment. He will require further continuous treatment

and care from TBI and PTSD issues resulting from the concussive blast effects of the explosion.

       1644. As a result of the March 15, 2005 Terrorist Attack, and the injuries he suffered,

Rodrigo Magalhaes has experienced, and will continue to experience, severe mental anguish and

extreme emotional pain and suffering.

       1645. Mr. Magalhaes has received a disability rating of 100% by the Veteran’s

Administration.

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       143.    THE APRIL 1, 2005 ATTACK- BAGHDAD

                       A. RICHARD SAYLOR

       1646. Plaintiff Richard Saylor is a citizen of the United States and is domiciled in the

State of Kentucky.

       1647. On April 1, 2005, Richard Saylor, age 34, was serving as a peacekeeping

serviceman in the U.S. Army with the 1st Battalion, 38th Infantry Regiment. At the time, Mr. Saylor

held the rank of Specialist.

       1648. Mr. Saylor was performing his duties as a Vehicle Turret Gunner in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Saylor’s vehicle was hit by an VBIED that

knocked Mr. Saylor violently around his vehicle severely injured.

       1649. The weapon used to attack and injure Mr. Saylor was an VBIED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1650. As a result of the April 1, 2005 Terrorist Attack, Mr. Saylor sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered 3rd

degree burns to his hands, arms and face.

       1651. Mr. Saylor was treated locally in Baghdad, Iraq and was medevaced to Germany

and Brook Army Medical Center. Mr. Saylor was awarded the Purple Heart Medal for wounds

received by the hands of the enemy. He will require further continuous treatment and care.

       1652. As a result of the April 1, 2005 Terrorist Attack, and the injuries he suffered,

Richard Saylor has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1653. Mr. Saylor has received a disability rating of 100% by the Veteran’s

Administration.

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       144.    THE APRIL 1, 2005 ATTACK- MOSUL

                       A. RICKEY HALL

       1654. Plaintiff Rickey Hall is a citizen of the United States and is domiciled in the State

of Alabama.

       1655. On April 1, 2005, Rickey Hall, age 42, was serving as a peacekeeping serviceman

in the U.S. Army, with Headquarters Platoon, Charlie Company, 115th Signal Battalion. At the

time, Mr. Hall held the rank of Sergeant.

       1656. Mr. Hall was performing his duties as a Communications Specialist on Camp Mosul

in Mosul, Iraq. While conducting maintenance on a vehicle, Mr. Hall’s person was hit by indirect

fire that knocked Mr. Hall violently to the ground severely injured.

       1657. The weapon used to attack and injure Mr. Hall was a mortar round provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1658. As a result of the April 1, 2005 Terrorist Attack, Mr. Hall sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his face.

       1659. Mr. Hall was treated locally in Mosul, Iraq and released to continue his tour. Mr.

Hall was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He will

require further continuous treatment and care.

       1660. As a result of the April 1, 2005 Terrorist Attack, and the injuries he suffered, Rickey

Hall has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1661. Mr. Hall has received a disability rating of 100% by the Veteran’s Administration.




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        145.    THE APRIL 1, 2005 ATTACK- SAMARRA

                        A. DAVID GAY

        1662. Plaintiff David Gay is a citizen of the United States and is domiciled in the State of

Florida.

        1663. On April 1, 2005, David Gay, age 24, was serving as a peacekeeping serviceman

in the U.S. Army with C Company, 1st Battalion, 15th Infantry Regiment, 3rd Infantry Division. At

the time, Mr. Gay held the rank of Private First Class.

        1664. Mr. Gay was performing his duties as a M-1 Tank Driver in Samarra, Iraq when he

was attacked. While conducting a mounted security patrol mission, Mr. Gay’s tank was hit by an

IED leaving Mr. Gay in the vehicle severely injured.

        1665. The weapon used to attack and injure Mr. Gay was 4-6 155mm artillery shells as

an IED. The IED was provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        1666. As a result of the April 1, 2005 Terrorist Attack, Mr. Gay sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to his left big toe, wrist and shoulder and the back of his head. The force of the

explosion dislocated his right shoulder.

        1667. Mr. Gay was treated locally at Forward Operating Bases McKenzie and Anaconda

Iraq and air medevaced to Germany, then Ft Benning in the United States. Mr. Gay was awarded

the Combat Action Badge for being engaged by the enemy. He will require further continuous

treatment and care for mental and physical issues.

        1668. As a result of the April 1, 2005 Terrorist Attack, and the injuries he suffered, David

Gay has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

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       1669. Mr. Gay has been rated by the Veteran’s Administration as 100% disabled.

       146.      THE APRIL 12, 2005 ATTACK- FALLUJAH

                       A. NICHOLAS SIEWERT

       1670. Plaintiff Nicholas Siewert is a citizen of the United States and is domiciled in the

State of Ohio.

       1671. On April 12, 2005, Nicholas Siewert, age 19, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Company K, 3rd Battalion, 8th Marine Regiment. At the

time, Mr. Siewert held the rank of Lance Corporal.

       1672. Mr. Siewert was performing his duties as a Vehicle Passenger in Fallujah, Iraq.

While conducting a mounted security patrol, Mr. Siewert’s vehicle was hit by an IED that knocked

Mr. Siewert violently around his vehicle severely injured.

       1673. The weapon used to attack and injure Mr. Siewert was an IED provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1674. As a result of the April 12, 2005 Terrorist Attack, Mr. Siewert sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to his groin.

       1675. Mr. Siewert was treated locally at Camp Fallujah, Iraq and was returned to his unit

to complete his tour. Mr. Siewert was awarded the Purple Heart Medal for being wounded at the

hands of the enemy. He will require further continuous treatment and care.

       1676. As a result of the April 12, 2005 Terrorist Attack, and the injuries he suffered,

Nicholas Siewert has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.




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        1677. Mr. Siewert has received a disability rating of 80% by the Veteran’s

              Administration.

       147.     THE APRIL 15, 2005 ATTACK- MOSUL

                       A. ANDREW BRITT

       1678. Plaintiff Andrew Britt is a citizen of the United States and is domiciled in the State

of Indiana.

       1679. On April 15, 2005, Andrew Britt, age 20, was serving as a peacekeeping serviceman

in the U.S. Army, with A Company, 2nd Battalion, 3rd Infantry Battalion. At the time, Mr. Britt

held the rank of Private First Class.

       1680. Mr. Britt was performing his duties as a vehicle gunner on Route Irish in Mosul,

Iraq. While conducting route clearance operations, Mr. Britt’s vehicle was sturck by an IED that

knocked Mr. Britt violently around his vehicle severely injured.

       1681. The weapon used to attack and injure Mr. Britt was an IED composed of an

unknown amount of homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1682. As a result of the April 15, 2005 Terrorist Attack, Mr. Britt sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1683. Mr. Britt was treated locally at Forward Operating Base Maraz, Iraq and was

returned to his unit to complete his tour. Mr. Britt was awarded the Combat Action Badge for his

engagement with the enemy. He will require further continuous treatment and care.

       1684. As a result of the April 15, 2005 Terrorist Attack, and the injuries he suffered,

Andrew Britt has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.


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           590. Mr. Britt has received a disability rating of 100% by the Veteran’s Administration.

       148.      THE APRIL 16, 2005 ATTACK- TIKRIT

                        A. WILLIAM COOK

       591.      Plaintiff William Cook is a citizen of the United States and is domiciled in the State

of Texas.

       592.      On April 16, 2005, William Cook, age 39, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Battalion 10th Special Forces Group. At the time, Mr. Cook

held the rank of Master Sergeant.

       593.      Mr. Cook was performing his duties as a Team Sergeant in the Team Safe House

off Main Supply Route Tampa in Tikrit, Iraq. While conducting preparation for combat operations,

Mr. Cook’s person was hit by an SVIED that knocked Mr. Cook violently to the ground severely

injured.

       594.      The weapon used to attack and injure Mr. Cook was an VBIED composed of 25

155mm artillery rounds and 450 pounds of homemade explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       595.      As a result of the April 16, 2005 Terrorist Attack, Mr. Cook sustained significant

injuries due to his head and neck. He also received fragmentation to his arms and legs.

       596.      Mr. Cook was treated locally at Camp Spicher and returned to complete his tour.

Mr. Cook was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care.

       597.      As a result of the April 16, 2005 Terrorist Attack, and the injuries he suffered,

William Cook has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.


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        598. Mr. Cook has been rated 100% disabled by the Veteran’s Administration.

       149.    THE APRIL 20, 2005 ATTACK- MAHMUDIYAH

                       A. ROGER YURASKA JR.

       599.    Plaintiff Roger Yuraska Jr. is a citizen of the United States and is domiciled in the

State of Florida.

       600.    On April 20 2005, Roger Yuraska Jr., age 41, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Battalion, 70th Armored Regiment. At the time, Mr.

Yuraska held the rank of First Sergeant.

       601.    Mr. Yuraska was performing his duties as a Armor First Sergeant in

Mahmudiyah, Baghdad, Iraq. While conducting convoy operations, Mr. Yuraska’s person was

hit by an IED that knocked Mr. Yuraska violently around his vehicle and severely injured.

       602.    The weapon used to attack and injure Mr. Yuraska was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       603.    As a result of the April 20, 2005 Terrorist Attack, Mr. Yuraska sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       604.    Mr. Yuraska was treated locally in Forward Operating Base Anaconda, Iraq and

released to continue his tour. Mr. Yuraska was awarded the Combat Action Badge for being

engaged by the enemy. He will require further continuous treatment and care.

       605.    As a result of the April 20, 2005 Terrorist Attack, and the injuries he suffered,

Roger Yuraska Jr. has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.




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       606.    Mr. Yuraka has a received a disability rating of 100% by the Veteran’s

Administration.

       150.    THE APRIL 20, 2005 ATTACK- TAL AFAR

                       A. RANDAL COPELAND

       607.    Plaintiff Randal Copeland is a citizen of the United States and is domiciled in the

State of Colorado.

       608.    On April 20, 2005, Randal Copeland, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Troop, 2nd Squadron, 14th

Cavalry Regiment, 25th Infantry Division. At the time, Mr. Copeland held the rank of Specialist.

       609.    Mr. Copeland was performing his duties as a Signalman in Tal Afar, Iraq. While

conducting a dismounted security patrol, Mr. Copeland’s person was hit by an IED that knocked

Mr. Copeland violently to the ground severely injured.

       610.    The weapon used to attack and injure Mr. Copeland was an IED consisting of a

155mm artillery shell with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       611.    As a result of the April 20, 2005 Terrorist Attack, Mr. Copeland sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       612.    Mr. Copeland was treated locally in Mosul, Iraq and released to continue his tour.

Mr. Copeland was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       613.    As a result of the April 20, 2005 Terrorist Attack, and the injuries he suffered,

Randal Copeland has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.


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       614.    Mr. Copeland has received a disability rating of 100% by the Veteran’s

Administration.



       151.    THE APRIL 24, 2005 ATTACK- SCANDERIA

                        A. MICHAEL O’REAR

       615.    Plaintiff Michael O’Rear is a citizen of the United States and is domiciled in the

State of Mississippi.

       616.    On April 24, 2005, Michael O’Rear, age 36, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 1st Battalion, 155th Infantry Regiment. At the time,

Mr. O’Rear held the rank of Staff Sergeant.

       617.    Mr. O’Rear was performing his duties as a Turret Machine Gunner in Scanderia,

Iraq when he was attacked. While conducting a mounted security patrol mission, Mr. O’Rear’s

armored vehicle was hit by an IED leaving Mr. O’Rear in the vehicle severely injured.

       618.    The weapon used to attack and injure Mr. O’Rear was an IED consisting of four

155mm artillery rounds with homemade explosives. The IED was provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       619.    As a result of the April 24, 2005 Terrorist Attack, Mr. O’Rear sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation injuries to his left elbow, forearm, hand and fingers, both legs and to his face.

       620.    Mr. O’Rear was treated locally in Baghdad, Iraq and air medevaced to Balad for

further treatment before being released to continue his tour of duty. Mr. O’Rear was awarded the

Purple Heart Medal for wounds received at the hands of the enemy. He will require further

continuous treatment and care for mental and physical issues.



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       621.      As a result of the April 24, 2005 Terrorist Attack, and the injuries he suffered,

Michael O’Rear has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       622.      Mr. O’Rear has been rated by the Veteran’s Administration as 90% disabled.

       152.      THE APRIL 28, 2005 ATTACK- KIRKUK

                        A. TREVOR MITCHELL

       623.      Plaintiff Trevor Mitchell is a citizen of the United States and is domiciled in the

State of Utah.

       624.      On April 28, 2005, Trevor Mitchell, age 25, was serving as a peacekeeping

serviceman in the U.S. Air Force, with Detachment 3, 1058th Gun Truck Company. At the time,

Mr. Mitchell held the rank of Staff Sergeant.

       625.      Mr. Mitchell was performing his duties as a Truck Commander in Kirkuk, Iraq.

While conducting convoy operations, Mr. Mitchell’s vehicle was hit by an IED that knocked Mr.

Mitchell violently around his vehicle severely injured.

       626.      The weapon used to attack and injure Mr. Mitchell was an IED consisting of three

155mm rounds and an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       627.      As a result of the April 25, 2005 Terrorist Attack, Mr. Mitchell sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       628.      Mr. Mitchell was treated locally at Camp Speicher, Iraq and released to continue

his tour. Mr. Mitchell was awarded the Combat Action Ribbon for being engaged by the enemy.

He will require further continuous treatment and care.




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        629.   As a result of the April 25, 2005 Terrorist Attack, and the injuries he suffered,

Trevor Mitchell has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        630.   Mr. Mitchell has received a disability rating of 90% by the Veteran’s

Administration.

        153.   THE APRIL 28, 2005 ATTACK- TIKRIT

                         A. BRIAN MCCAULEY

        631.   Plaintiff Brian McCauley is a citizen of the United States and is domiciled in the

State of Pennsylvania.

        632.   On April 28, 2005, Brian McCauley, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, A Company, 1st Battalion, 112th Infantry Battalion, 28th Infantry

Division. At the time, Mr. McCauley held the rank of Specialist.

        633.   Mr. McCauley was performing his duties as a Rifleman in Tikrit, Iraq. While

conducting a dismounted traffic control point, Mr. McCauley’s position was struck by a Suicide

Vehicle Borne Improvised Explosive Device (SVBIED). The explosion from the SVBIED ripped

through his body throwing him violently to the ground with head trauma and fragmentation

injuries.

        634.   The weapons used to attack and injure Mr. McCauley were explosives and

operatives provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

        635.   As a result of the April 28, 2005 Terrorist Attack, Mr. McCauley sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his body.




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       636.    Mr. McCauley was treated locally at field hospital at Forward Operating Bases

Spiker and Anaconda, Iraq and transferred to Germany and eventually the United States. Mr.

McCauley was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       637.    As a result of the April 28, 2005 Terrorist Attack, and the injuries he suffered, Brian

McCauley has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       638.    Mr. McCauley has received a disability rating of 90% by the Veteran’s

Administration.

       154.    THE APRIL 29, 2005 ATTACK- MOSUL

                       A. WALLACE BISHOP, III

       639.    Plaintiff Wallace Bishop, III is a citizen of the United States and is domiciled in the

State of Michigan.

       640.    On April 29, 2005, Wallace Bishop, III, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with the 194th Military Police Company,716th Military Police

Battalion. At the time, Mr. Bishop held the rank of Specialist.

       641.    Mr. Bishop was performing his duties as a Vehicle Turret Gunner in Mosul, Iraq.

While conducting a mounted security patrol, Mr. Bishop’s vehicle was hit by an IED that knocked

Mr. Bishop violently around his vehicle severely injured.

       642.    The weapon used to attack and injure Mr. Bishop was an IED composed of an

unknown amount homemade explosives provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.




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       643.       As a result of the April 29, 2005 Terrorist Attack, Mr. Bishop sustained significant

injuries due to his head and neck. He also suffered an amputation of his middle and ring finger on

his right hand along with a severed nerve to his right hand.

       644.       Mr. Bishop was treated locally at Forward Operating Base Diamondback and air

medevaced to Balad, Germany and Fort Campbell. Mr. Bishop was awarded the Purple Heart

Medal for wounds received at the hands of the enemy. He will require further continuous treatment

and care.

       645.       As a result of the April 29, 2005 Terrorist Attack, and the injuries he suffered,

Wallace Bishop, III has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       646.       Mr. Bishop has been rated 100% disabled by the Veteran’s Administration.




       155.       THE MAY 7, 2005 ATTACK- HADITHA

                         A. RANDALL WATKINS

       647.       Plaintiff Randall Watkins is a citizen of the United States and is domiciled in the

State of Texas.

       648.       On May 7, 2005, Randall Watkins, age 24, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Weapons Company, 3rd Battalion, 25th Marine

Regiment. At the time, Mr. Watkins held the rank of Sergeant.

       649.       Mr. Watkins was performing his duties as a Platoon Sergeant at Haditha Dam, Iraq.

While conducting dismounted security operations, Mr. Watkins’s person was hit by an SVIED that

knocked Mr. Watkins violently to the ground severely injured.




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        650.    The weapon used to attack and injure Mr. Watkins was an SVIED of unknown

composition provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

        651.    As a result of the May 7, 2005 Terrorist Attack, Mr. Watkins sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his left leg causing the loss of a large piece of his left calf as well as his right calf.

He was also engaged by an enemy sniper, receiving a gunshot wound to his left shoulder.

        652.    Mr. Watkins was treated locally at Haditha Dam in Iraq and air medevaced to Al

Asad, Balad, Germany and Walter Reed Army Hospital. Mr. Watkins was awarded the Purple

Heart Medal for wounds received at the hands of the enemy. He will require further continuous

treatment and care.

        653.    As a result of the May 7, 2005 Terrorist Attack, and the injuries he suffered, Randall

Watkins has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        654.    Mr. Watkins is rated by the Veteran’s Administration as 80% disabled.

        156.    THE MAY 11, 2005 ATTACK- FALLUJAH

                        A. RICHARD CRANE

        655.    Plaintiff Richard Crane is a citizen of the United States and is domiciled in the State

of Missouri.

        656.    On May 11, 2005, Richard Crane, age 20, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 1st Platoon, Weapons Company, 3rd Battalion, 8th

Marine Regiment. At the time, Mr. Crane held the rank of Private First Class.




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       657.       Mr. Crane was performing his duties as a Vehicle Passenger on Main Supply Route

Mobile in Fallujah, Iraq. While conducting a mounted security patrol, Mr. Crane was hit by an

IED that knocked Mr. Crane violently around his vehicle severely injured.

       658.       The weapon used to attack and injure Mr. Crane was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       659.       As a result of the May 11, 2005 Terrorist Attack, Mr. Crane sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       660.       Mr. Crane was treated locally Camp Fallujah, Iraq and released to continue his tour.

Mr. Crane was awarded the Combat Action Ribbon for being engaged by the enemy. He will

require further continuous treatment and care.

       661.       As a result of the May 11, 2005 Terrorist Attack, and the injuries he suffered,

Richard Crane has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       662.       Mr. Crane has received a disability rating of 100% by the Veteran’s Administration.

       157.       THE MAY 14, 2005 ATTACK- AL ASAD

                         A. BRADLEY GARFIELD

       663.       Plaintiff Bradley Garfield is a citizen of the United States and is domiciled in the

State of Texas.

       664.       On May 14, 2005, Bradley Garfield, age 41, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Explosive Ordinance Disposal Section, Marine Wing

Support Squadron 271. At the time, Mr. Garfield held the rank of Chief Warren Officer-3.




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       665.    Mr. Garfield was performing his duties as an EOD Officer the day of his injury.

During the execution of an IED interrogation in Al Asad, Iraq, his person was hit by an IED

consisting of one 155mm South African artillery shell and one 120mm mortar round throwing Mr.

Garfield unconscious around his vehicle.

       666.    The weapons used to attack and injure Mr. Garfield were employed by Iranian-

funded and Iranian-trained terror operatives in Iraq.

       667.    As a result of the May 14, 2005 Terrorist Attack, Mr. Garfield sustained injuries

due to the concussive blast of the explosion impacting his head and neck while receiving

fragmentation injuries to his left knee, both arms and legs. He also suffered bi-lateral ear drum

rupture from the explosion.

       668.    Mr. Garfield was treated locally at the scene of the incident and Al Asad Naval

Hospital in Iraq in the days following the attack and was eventually medevaced to Balad, Germany

and Walter Reed Army Hospital in the United States. Mr. Garfield was awarded a Purple Heart for

wounds received at the hands of the enemy. He will require further continuous treatment and care.

       669.    As a result of the May 14, 2005 Terrorist Attack, and the injuries he suffered,

Bradley Garfield has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       670.    Mr. Garfield has received a disability rating of 100% by the Veteran’s

Administration.

       158.    THE MAY 15, 2005 ATTACK- BALAD

                       A. WILLIAM WILLIS

       671.    Plaintiff William Willis is a citizen of the United States and is domiciled in the

State of Tennessee.


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       672.    On May 19, 2005, William Willis, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, K Company, 3rd Battalion, 128th Infantry Regiment.

At the time, Mr. Willis held the rank of Specialist.

       673.    Mr. Willis was performing his duties as a provisional Rifleman in Balad, Iraq when

he was attacked. While conducting a mounted security patrol mission, Mr. Willis’ armored vehicle

was hit by an IED leaving Mr. Willis in the vehicle severely injured.

       674.    The weapon used to attack and injure Mr. Willis was an IED consisting of a 155mm

artillery round with homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       675.    As a result of the May 19, 2005 Terrorist Attack, Mr. Willis sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation injuries to his right shoulder/arm and to his face that left scarring.

       676.    Mr. Willis was treated locally in Balad for further treatment before being released

to continue his tour of duty. Mr. Willis was awarded the Purple Heart Medal for wounds received

at the hands of the enemy. He will require further continuous treatment and care for mental and

physical issues.

       677.    As a result of the May 19, 2005 Terrorist Attack, and the injuries he suffered,

William Willis has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       678.    Mr. Willis has been rated by the Veteran’s Administration as 100% disabled.




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        159.    THE MAY 16, 2005 ATTACK- BAGHDAD

                        A. DANIEL HOF

        679.    Plaintiff Daniel Hof is a citizen of the United States and is domiciled in the State

of Ohio.

        680.    On May 16, 2005, Daniel Hof, age 26, was serving as a peacekeeping serviceman

in the U.S. Army, with Alpha Company, 216th Engineer Battalion, 16th Engineer Brigade. At the

time, Mr. Hof held the rank of Specialist.

        681.    Mr. Hof was performing his duties as a Vehicle Passenger in Baghdad, Iraq. While

conducting a mounted security patrol, Mr. Hof was hit by a secondary IED while dismounted

examining a vehicle that was hit by an IED. The secondary IED threw Mr. Hof violently around

to the ground severely injured.

        682.    The weapon used to attack and injure Mr. Hof was an IED composed of an unknown

homemade explosives provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        683.    As a result of the May 16, 2005 Terrorist Attack, Mr. Hof sustained significant

injuries due to his head and neck. He also received fragmentation to his right knee.

        684.    Mr. Hof was treated locally at Camp Victory and returned to complete his tour. Mr.

Hof was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will

require further continuous treatment and care.

        685.    As a result of the May 16, 2005 Terrorist Attack, and the injuries he suffered, Daniel

Hof has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        686.    Mr. Hof has been rated 90% disabled by the Veteran’s Administration.



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       160.    THE MAY 21, 2005 ATTACK- BAGHDAD

                          A. HENRY JAMES

       687.    Plaintiff Henry James is a citizen of the United States and is domiciled in the State

of Kentucky.

       688.    On May 21, 2005, Henry James, age 42, was serving as a peacekeeping serviceman

in the U.S. Army, with B Company, 1st Battalion, 623rd Field Artillery Regiment. At the time, Mr.

James held the rank of Specialist.

       689.    Mr. James was performing his duties as a Turret Machine Gunner on Route Central

in Baghdad, Iraq when he was attacked. While conducting a mounted convoy security mission,

Mr. James’ vehicle was hit by an SVBIED leaving Mr. James’ in the vehicle severely injured.

       690.    The weapon used to attack and injure Mr. James was an SVBIED consisting of an

unknown amount of homemade explosives. The SVBIED was provided by Iran and/or one of its

agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       691.    As a result of the May 21, 2005 Terrorist Attack, Mr. James sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to his right shoulder and broke the right side of his jaw and C4 and C5 from the

force of the explosion.

       692.    Mr. James was treated locally at the Green Zone in Baghdad, Iraq and air

medevaced to Germany, then Walter Reed and Fort Knox Army Medical Centers. Mr. James was

awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will require

further continuous treatment and care for mental and physical issues.

       693.    As a result of the May 21, 2005 Terrorist Attack, and the injuries he suffered, Henry

James has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

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       694.       Mr. James has been rated by the Veteran’s Administration as 90% disabled.

       161.       THE MAY 23, 2005 ATTACK- HASAWA

                         A. THE SHAVERS-VARNADO FAMILY

       695.       Plaintiff Daniel R. Varnado was a citizen of the United States and domiciled in the

State of Mississippi at the time of his death.

       696.       On May 23, 2005, Daniel R. Varnado, age 23, was serving as a peacekeeping

serviceman in the U.S. Army assigned to C Company, 1st Battalion, 155th Infantry Regiment, II

Marine Expeditionary Force. At the time, Mr. Varnado held the rank of Specialist.

       697.       Mr. Varnado was performing his duties as a vehicle gunner aboard an armored

vehicle in the vicinity of Hasawa, Iraq (30 miles south of Baghdad) moving from position to

position during a vehicle mounted security patrol when his vehicle was hit by an Improvised

Explosive Device (IED) of unknown size, killing Mr. Varnado and three other Soldiers instantly.

Mr. Varnado’s family was awarded his Purple Heart Medal.

       698.       The weapon used to attack and kill Mr. Varnado was provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       699.       Plaintiff Sharon Michelle Shavers-Varnado is a citizen of the United States and

domiciled in the state of Mississippi. She is the widow of Daniel R. Varnado.

       700.       Plaintiff Sharon Michelle Shavers-Varnado brings an action individually, and on

behalf of the anticipated Estate of Daniel R. Varnado, and all heirs thereof, as its anticipated legal

representative.

       701.       Plaintiff K.J.V., a minor, represented by his legal guardian Sharon Michelle

Shavers-Varnado, is a citizen of the United States and domiciled in the state of Mississippi. He is

the son of Sharon Michelle Shavers-Varnado and Daniel R. Varnado.


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       702.    As a result of the May 23, 2005 Terrorist Attack, the Shavers-Varnado Family has

suffered the irreplaceable loss of a Husband and Father who was killed in a most horrible and cruel

way that didn’t allow for proper closure.

       703.    Additionally, as a result of the May 23, 2005 Terrorist Attack, and the injuries

suffered by, and the death of Daniel R. Varnado, Plaintiffs Sharon Michelle Shavers-Varnado and

K.J.V. have experienced, and continue to experience severe mental anguish, extreme emotional

pain and suffering, and loss of Daniel R. Varnado’s society, companionship, comfort, advice and

counsel.

       162.    THE JUNE 1, 2005 ATTACK- TEL AFAR

                       A. KURT TAITO

       704.    Plaintiff Kurt Taito is a citizen of the United States and is domiciled in the State of

Hawaii.

       705.    On June 1, 2005, Kurt Taito, age 36, was serving as a peacekeeping serviceman in

the U.S. Army, with F Troop, 2nd Squadron, 3rd Armored Cavalry Regiment. At the time, Mr. Taito

held the rank of Sergeant.

       706.    Mr. Taito was performing his duties as a Combat Medic in Tel Afar, Iraq. While

conducting a mounted security patrol, Mr. Taito’s person was hit by an IED that knocked Mr. Taito

violently around his vehicle and severely injured.

       707.    The weapon used to attack and injure Mr. Taito was an IED consisting an unknown

amount of home-made explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       708.    As a result of the June 1, 2005 Terrorist Attack, Mr. Taito sustained significant

injuries due to the concussive blast of the explosion to his head and neck.


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       709.    Mr. Taito was treated locally in Tel Afar, Iraq and released to continue his tour. Mr.

Taito was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.

       710.    As a result of the June 1, 2005 Terrorist Attack, and the injuries he suffered, Kurt

Taito has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       711.    Mr. Taito has received a disability rating of 100% by the Veteran’s Administration.

       163.    THE JUNE 1, 2005 ATTACK- BAGHDAD

                       A. ANGELO BENCIVENGA

       712.    Plaintiff Angelo Bencivenga is a citizen of the United States and is domiciled in the

State of New York.

       713.    On June 1, 2005, Angelo Bencivenga, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Battalion, 69th Infantry Regiment, 42nd Infantry Division.

At the time, Mr. Bencivenga held the rank of Specialist.

       714.    Mr. Bencivenga was performing his duties as Rifleman at the time of his incident.

While moving in an armored vehicle in Baghdad, Iraq, Mr. Bencivenga’s vehicle was struck by an

IED of an unknown composition. The explosive device ripped through his right and left

wrists/hands, knocking Mr. Bencivenga around his vehicle severely injured.

       715.    The weapons used to attack and injure Mr. Bencivenga were provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       716.    As a result of the June 1, 2005 Terrorist Attack, Mr. Bencivenga sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his head,

hands and wrists.


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       717.    Mr. Bencivenga was treated at a local field hospital in Baghdad, Iraq, then Germany

and eventually Walter Reed in the United States. Mr. Bencivenga will require further continuous

treatment and care.

       718.    As a result of the June 1, 2005 Terrorist Attack, and the injuries he suffered, Angelo

Bencivenga has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       719.    Mr. Bencivenga has received a disability rating of 100% by the Veteran’s

Administration.

       164.    THE JUNE 1, 2005 ATTACK- BAGHDAD

                       A. ZACHARIA STEED

       720.    Plaintiff Zacharia Steed is a citizen of the United States and is domiciled in the

State of Georgia.

       721.    On June 1, 2005, Zacharia Steed, age 24, was serving as a peacekeeping serviceman

in the U.S. Army, with Scout Platoon, Headquarters and Headquarters Company, 2nd Battalion,

121st Infantry Regiment, 48th Brigade Combat Team. At the time, Mr. Steed held the rank of

Specialist.

       722.    Mr. Steed was performing his duties as a Vehicle Passenger in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Steed’s vehicle was hit by an IED that knocked

Mr. Steed violently around his vehicle severely injured.

       723.    The weapon used to attack and injure Mr. Steed was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       724.    As a result of the June 1, 2005 Terrorist Attack, Mr. Steed sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his left thigh.

       725.    Mr. Steed was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Steed was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       726.    As a result of the June 1, 2005 Terrorist Attack, and the injuries he suffered,

Zacharia Steed has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       727.    Mr. Steed has received a disability rating of 80% by the Veteran’s Administration.

       165.    THE JUNE 1, 2005 ATTACK- BAGHDAD

                       A. ROY HEFFNER

       728.    Plaintiff Roy Heffner is a citizen of the United States and is domiciled in the State

of Georgia.

       729.    On June 1, 2005, Roy Heffner, age 37, was serving as a peacekeeping serviceman

in the U.S. Army, with the 612th Quartermaster Company. At the time, Mr. Heffner held the rank

of Captain.

       730.    Mr. Heffner was performing his duties as a Company Commander on Route Red in

Baghdad, Iraq when he was attacked. While conducting a mounted logistics patrol, Mr. Heffner’s

vehicle was hit by an IED leaving Mr. Heffner in the vehicle severely injured.

       731.    The weapon used to attack and injure Mr. Heffner was an IED with an unknown

amount of home-made explosives. The IED was provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.


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        732.    As a result of the June 1, 2005 Terrorist Attack, Mr. Heffner sustained significant

 injuries due to the concussive blast of the explosion to his head and neck.

        733.    Mr. Heffner was treated locally on scene in Iraq and released to continue his tour.

 Mr. Heffner was awarded the Combat Action Badge for being engaged by the enemy. He will

 require further continuous treatment and care for mental and physical issues.

        734.    As a result of the June 1, 2005 Terrorist Attack, and the injuries he suffered, Roy

 Heffner has experienced, and will continue to experience, severe physical and mental anguish and

 extreme emotional pain and suffering.

        735.    Mr. Heffner has been rated by the Veteran’s Administration as 100% disabled.

        166.    THE JUNE 1, 2005 ATTACK- MOSUL

                        A. JEREMY WALLACE

        736.    Plaintiff Jeremy Wallace is a citizen of the United States and is domiciled in the

State of Alabama.

        737.    On June 1, 2005, Jeremy Wallace, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Battalion, 5th Infantry Regiment, 1st Brigade, 25th Infantry

Division. At the time, Mr. Wallace held the rank of Private-2.

        738.    Mr. Wallace was performing his duties as a Vehicle Driver on Route Minneapolis

in Mosul, Iraq. While conducting a mounted security patrol, Mr. Wallace’s vehicle was hit by an

IED that knocked Mr. Wallace violently around his vehicle severely injured.

        739.    The weapon used to attack and injure Mr. Wallace was an IED consisting of a

“daisy chain” of 155mm artillery shells with an unknown amount of home-made explosives

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.


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        740.      As a result of the June 1, 2005 Terrorist Attack, Mr. Wallace sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered ear

drum ruptures that required surgery.

        741.      Mr. Wallace was treated locally in Mosul, Iraq and released to continue his tour.

Mr. Wallace was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

        742.      As a result of the June 1, 2005 Terrorist Attack, and the injuries he suffered, Jeremy

Wallace has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        743.      Mr. Wallace has received a disability rating of 100% by the Veteran’s

Administration.

        167.      THE JUNE 6, 2005 ATTACK- RAMADI

                         A. ADAM HAILEY

        744.      Plaintiff Adam Hailey is a citizen of the United States and is domiciled in the State

of South Carolina.

        745.      On June 6, 2005, Adam Hailey, age 20, was serving as a peacekeeping serviceman

in the U.S. Army, with 3rd Platoon, B Company, 2nd Battalion, 6th Infantry Regiment, 2nd Brigade,

1st Armored Division. At the time, Mr. Hailey held the rank of Private-2.

        746.      Mr. Hailey was performing his duties as a Vehicle Driver on Route Spears in

Ramadi, Iraq. While conducting a mounted security patrol, Mr. Hailey’s vehicle was hit by an IED

that knocked Mr. Hailey violently around his vehicle severely injured.




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       747.    The weapon used to attack and injure Mr. Hailey was an IED consisting of an

unknown amount of home-made explosives with ball bearings provided by Iran and/or one of its

agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       748.    As a result of the June 6, 2005 Terrorist Attack, Mr. Hailey sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his lower back.

       749.    Mr. Hailey was treated locally in Ramadi, Iraq and released to continue his tour.

Mr. Hailey was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       750.    As a result of the June 6, 2005 Terrorist Attack, and the injuries he suffered, Adam

Hailey has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       751.    Mr. Hailey has received a disability rating of 100% by the Veteran’s

Administration.

       168.    THE JUNE 10, 2005 ATTACK- QAYAT AL ASHIA TO MOSUL

                       A. ROBERT DAVIS

       752.    Plaintiff Robert Davis is a citizen of the United States and is domiciled in the State

of Oklahoma.

       753.    On June 10, 2005, Robert Davis, age 29, was serving as a peacekeeping serviceman

in the U.S. Army, with Delta Company, 1st Battalion, 4th Air Defense Artillery Regiment, 101st

Airborne Division. At the time, Mr. Davis held the rank of Specialist.




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       754.     Mr. Davis was performing his duties as a Vehicle Turret Gunner between Qaryat al

Ashiq and Mosul in Iraq when he was attacked. While conducting a mounted security mission,

Mr. Davis’ vehicle was hit by 22 IEDs leaving Mr. Davis in the vehicle severely injured.

       755.     The weapons used to attack and injure Mr. Davis were 22 IEDs of unknown

composition with homemade explosives. The IEDs was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       756.     As a result of the June 10, 2005 Terrorist Attack, Mr. Davis sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered shrapnel

to left knee and 3rd degree burns from his right knee to his mid chest. He suffered three bullet

injuries following the IED attack and was confined to a wheel chair for seven months.

       757.     Mr. Davis was treated locally in Baghdad, Iraq and medevaced to Germany and

Walter Reed Army Hospital in the United States. Mr. Davis was awarded the Purple Heart Medal

for wounds received at the hands of the enemy. He will require further continuous treatment and

care for mental and physical issues.

       758.     As a result of the June 10, 2005 Terrorist Attack, and the injuries he suffered, Robert

Davis has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       169.     THE JUNE 11, 2005 ATTACK- FALLUJAH

                       A. BRYAN WALKER

       759.     Plaintiff Bryan Walker is a citizen of the United States and is domiciled in the State

of Tennessee.




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       760.    On June 11, 2005, Bryan Walker, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with A Troop, 1st Squadron, 11th Armored Cavalry Regiment. At

the time, Mr. Walker held the rank of Sergeant.

       761.    Mr. Walker was performing his duties as a Vehicle Passenger on Route San Juan

outside Fallujah, Iraq. While conducting a mounted security patrol, Mr. Walker was hit by an IED

that knocked Mr. Walker violently around his vehicle severely injured.

       762.    The weapon used to attack and injure Mr. Walker was an IED consisting of a two

155mm artillery shell with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       763.    As a result of the June 11, 2005 Terrorist Attack, Mr. Walker sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered the loss

of a testicle from the concussive effects of the explosion.

       764.    Mr. Walker was treated locally on the scene in Iraq and sent to Germany. Mr.

Walker was awarded the Combat Action Badge for contact with the enemy. He will require further

continuous treatment and care.

       765.    As a result of the June 11, 2005 Terrorist Attack, and the injuries he suffered, Bryan

Walker has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       766.    Mr. Walker has received a disability rating of 100% by the Veteran’s

Administration.




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        170.    THE JUNE 14, 2005 ATTACK- RUTUBA

                        A. LUIS ZABALA

        767.    Plaintiff Luis Zabala is a citizen of the United States and is domiciled in the State

of Virginia.

        768.    On June 14, 2005, Luis Zabala, age 21, was serving as a peacekeeping serviceman

in the U.S. Marine Corps, with Company C, 2nd Light Armored Vehicle Battalion, 2nd Marine

Regiment. At the time, Mr. Zabala held the rank of Lance Corporal.

        769.    Mr. Zabala was performing his duties as a Vehicle Commander the day of his

injury. During the execution of a security patrol mission on Route Mobile, near Rutuba (Forward

Operating Base Korean Village), Iraq, an explosion ripped through his light armored vehicle,

throwing Mr. Zabala unconscious and severely injured from the vehicle.

        770.    The weapon used to attack and injure Mr. Zabala was comprised of two 155mm

artillery shells provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

        771.    As a result of the June 14, 2005 Terrorist Attack, he sustained significant injuries

due to the concussive blast of the explosion to his head and neck. He also required reconstructive

surgery on his right rotator cuff as a result of the blast.

        772.    Mr. Zabala was treated at a local field hospital in Iraq in the days following the

attack and was eventually released to return to the front to continue operations. Mr. Zabala was

awarded the Combat Action Ribbon for being engaged by the enemy. He will require further

continuous treatment and care.

        773.    As a result of the June 14, 2005 Terrorist Attack, and the injuries he suffered, Luis

Zabala has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

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        774.   Mr. Zabala has received a disability rating of 70% by the Veteran’s Administration.

        171.   THE JUNE 25, 2005 ATTACK- MOSUL

                       A. DANIEL HALL

        775.   Plaintiff Daniel Hall is a citizen of the United States and is domiciled in the State

of Ohio.

        776.   On June 25, 2005, Daniel Hall, age 23, was serving as a peacekeeping serviceman

in the U.S. Army, with Headquarters Platoon, 2nd Squadron, 14th Cavalry Regiment. At the time,

Mr. Hall held the rank of Specialist.

        777.   Mr. Hall was a Vehicle Commander on Main Supply Route Tampa in Mosul, Iraq

when he was attacked. While conducting a mounted security patrol, Mr. Hall’s person was hit by

an explosion, leaving Mr. Hall in the vehicle severely injured.

        778.   The weapon used to attack and injure Mr. Hall was an IED placed in a tire

consisting of 155mm artillery shell with an unknown amount of homemade explosives. IED were

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        779.   As a result of the June 25, 2005 Terrorist Attack, Mr. Hall sustained significant

injuries due to the impact of the round as well as the concussive blast of the explosion to his head

and neck. He also received fragmentation injuries that shattered his left humorous.

        780.   Mr. Hall was treated locally at Camp Diamondback in Iraq and medevaced to

Germany and the United States. Mr. Hall was awarded the Purple Heart Medal for wounds received

at the hands of the enemy. He will require further continuous treatment and care for mental and

physical issues.




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       781.    As a result of the June 25, 2005 Terrorist Attack, and the injuries he suffered, Daniel

Hall has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       782.    Mr. Hall has been rated by the Veteran’s Administration as 80% disabled.

       172.    THE JUNE 30, 2005 ATTACK- AL HIT

                       A. PAUL JENSEN

       783.    Plaintiff Paul Jensen is a citizen of the United States and is domiciled in the State

of Texas.

       784.    In the early morning of June 30, 2005, Paul Jensen, age 28, was serving as a

peacekeeping serviceman in the U.S. Marine Corps, with 2nd Light Armored Vehicle Battalion, 2nd

Marine Regiment. At the time, Mr. Jensen held the rank of Staff Sergeant.

       785.    Jensen was performing his duties as a Section Leader and Platoon Sergeant the day

of his injury. During the execution of a security patrol mission in Al Hit, Iraq, an explosion ripped

through his light armored vehicle, throwing Mr. Jensen unconscious and severely injured from the

vehicle.

       786.    The weapons used to attack and injure Jensen were two Iranian-manufactured anti-

tank mines and a field expedient “kicker” charge comprised of P-4 explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       787.    As a result of the June 30, 2005 Terrorist Attack, Mr. Jensen sustained significant

injuries due to the concussive blast of the explosion impacting the right side of his rib cage, right

lower extremities, chin and upper portion of his neck.

       788.    Mr. Jensen was treated at Al Asad Naval Hospital in Iraq in the days following the

attack and was eventually released after a week of recovery to return to the front to continue


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operations. Mr. Jensen was awarded the Purple Heart Medal for wounds received by the hands of

the enemy. He will require further continuous treatment and care. Mr. Jensen’s career in the United

States Military was lackluster following his injury and he couldn’t complete it to his best potential,

his family relationships came under severe strain as a result of his care requirements and additional

medical treatment (physical therapy) will be required to improve the quality of his life.

       789.    As a result of the June 30, 2005 Terrorist Attack, and the injuries he suffered, Paul

Jensen has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       790.    Mr. Jensen received a disability rating of 90% by the Veteran’s Administration.

       173.    THE JULY 1, 2005 ATTACK- BAGHDAD

                       A. TORRANCE MONTGOMERY

       791.    Plaintiff Torrance Montgomery is a citizen of the United States and is domiciled in

the State of Texas.

       792.    On July 1, 2005, Torrance Montgomery, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with E Company, 1st Battalion, 15th Infantry Regiment, 3rd Infantry

Division. At the time, Mr. Montgomery held the rank of Specialist.

       793.    Mr. Montgomery was performing his route clearance duties in Baghdad, Iraq.

While conducting route clearance operations, Mr. Montgomery’s vehicle was hit by an IED that

knocked Mr. Montgomery violently around his vehicle severely injured.

       794.    The weapon used to attack and injure Mr. Montgomery was an IED consisting of

an unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       795.    As a result of the July 1, 2005 Terrorist Attack, Mr. Montgomery sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       796.    Mr. Montgomery was treated locally at Camp Hammer, Iraq with follow on

treatment at Balad Airbase before being released to continue his tour. Mr. Montgomery was

awarded the Combat Action Badge for being engaged by the enemy. He will require further

continuous treatment and care.

       797.    As a result of the July 1, 2005 Terrorist Attack, and the injuries he suffered,

Torrance Montgomery has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       798.    Mr. Montgomery has received a disability rating of 100% by the Veteran’s

Administration.

       174.    THE JULY 1, 2005 ATTACK- AL ANBAR

                       A. ROBERT CASH

       799.    Plaintiff Robert Cash is a citizen of the United States and is domiciled in the State

of Georgia.

       800.    On July 1, 2005, Robert Cash, age 30, was serving as a peacekeeping serviceman

in the U.S. Army, with Headquarters and Headquarters Company, 48th Brigade Combat Team. At

the time, Mr. Cash held the rank of Sergeant.

       801.    Mr. Cash was performing his duties as a Vehicle Turret Gunner near the

intersections of Routes Aeros and Tampa in Al Anbar, Iraq when he was attacked. While

conducting a mounted security mission, Mr. Cash’s vehicle was hit by an IED leaving Mr. Cash

in the vehicle severely injured.




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       802.    The weapons used to attack and injure Mr. Cash were IEDs consisting of several

155mm artillery shells with homemade explosives. The IEDs were provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       803.    As a result of the July 1, 2005 Terrorist Attack, Mr. Cash sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       804.    Mr. Cash was treated locally at FOB Striker in Iraq and released to continue his

tour of duty. Mr. Cash was awarded the Combat Action Badge for contact with the enemy. He will

require further continuous treatment and care for mental and physical issues.

       805.    As a result of the July 1, 2005 Terrorist Attack, and the injuries he suffered, Robert

Cash has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       806.    Mr. Cash has been rated by the Veteran’s Administration as 80% disabled.

       175.    THE JULY 3, 2005 ATTACK- TIKRIT

                       A. TIM FOX

       807.    Plaintiff Tim Fox is a citizen of the United States and is domiciled in the State of

Oregon.

       808.    On July 5, 2005, Tim Fox, age 42, was serving as a peacekeeping serviceman in

the U.S. Army, with 3rd Platoon, G Troop, 1st Squadron, 82nd Cavalry Regiment. At the time, Mr.

Fox held the rank of Staff Sergeant.

       809.    Mr. Fox was performing his duties as a vehicle commander in Tikrit, Iraq. While

conducting quick reaction force operations, Mr. Fox’s vehicle was hit by an IED that knocked Mr.

Fox violently around his vehicle severly injured.




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       810.     The weapons used to attack and injure Mr. Fox was an IEDs consisting of the

warhead of an SA-2 missle and detonated by cell phone. The IED was provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       811.     As a result of the July 3, 2005 Terrorist Attack, Mr. Fox sustained significant

injuries due to the concussive blast of the explosion to his head and neck. Mr. Fox also suffered a

fractured lumbar and cervical spine causing ulnar nerve damage.

       812.     Mr. Fox was treated locally at Forward Operating Base Gainmill before being

released to continue his tour. Mr. Fox was awarded the Combat Action Badge for his engagement

with the enemy. He will require further continuous treatment and care.

       813.     As a result of the July 3, 2005 Terrorist Attack, and the injuries he suffered, Tim

Fox has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       814.     Mr. Fox has received a disability rating of 100% by the Veteran’s Administration.

       176.     THE JULY 5, 2005 ATTACK- DIYALA PROVIDENCE

                       A. ROBERT OGURA

       815.     Plaintiff Robert Ogura is a citizen of the United States and is domiciled in the State

of Minnesota.

       816.     On July 5, 2005, Robert Ogura, age 22, was serving as a peacekeeping serviceman

in the U.S. Army, with A Company, 1st Battalion, 30th Infantry Regiment, 3rd Brigade, 3rd Infantry

Division. At the time, Mr. Ogura held the rank of Specialist.

       817.     Mr. Ogura performed his duties as a Rifleman in Diyala Providence, north of

Baghdad, Iraq at time of injury. While moving with his unit, he and his unit were attacked by an




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SVBIED. The explosion ripped through his person, knocking Mr. Ogura around to the ground

severely injured.

        818.    The weapon used to attack and injure Mr. Ogura were explosives and war materials

Iranian provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

        819.    As a result of the July 5, 2005 Terrorist Attack, Mr. Ogura sustained significant

injuries due to the concussive blast of the explosion to his head and body. Mr. Ogura also suffered

a fractured skull.

        820.    Mr. Ogura was treated at a local field hospital in Diyala before being sent to Balad,

Iraq in the hours/days following the attack. Mr. Ogura was awarded the Purple Heart for wounds

received at the hands of the enemy. He will require further continuous treatment and care.

        821.    As a result of the July 5, 2005 Terrorist Attack, and the injuries he suffered, Robert

Ogura has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        822.    Mr. Ogura has received a disability rating of 100% by the Veteran’s

Administration.

        177.    THE JULY 11, 2005 ATTACK- BAGHDAD

                       A. WILLIAM LOWERY

        823.    Plaintiff William Lowery is a citizen of the United States and is domiciled in the

State of Arkansas.

        824.    On July 11, 2005, William Lowery, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Squad, 1st Platoon, M Company, 3rd Squadron, 3rd Armored




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Cavalry Regiment, 3rd Infantry Division. At the time, Mr. Lowery held the rank of Private First

Class.

         825.   Mr. Lowery performed his duties as a Scout along Main Supply Route Tampa,

south of the “Clover Leaf” in southern Baghdad, Iraq at time of injury. While conducting a security

patrol, Mr. Lowery’s armored vehicle was struck by an IED consisting of three 155mm artillery

shells with a pressure plate initialing device. The explosion ripped through his vehicle, knocking

Mr. Lowery around the gunner’s position of his vehicle severely injured with fragmentation to his

back, right hand, left knee and his face.

         826.   The weapon used to attack and injure Mr. Lowery were Iranian-procured Artillery

shells provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

         827.   As a result of the July 11, 2005 Terrorist Attack, Mr. Lowery sustained significant

injuries due to the concussive blast of the explosion to his head while also receiving fragmentation

to his back, right hand, left knee and his face.

         828.   Mr. Lowery was treated at a local field hospital in Iraq in the days following the

attack and was eventually transferred to Baghdad, Iraq, Germany and the United Stated for follow

on surgery and care. Mr. Lowery was awarded the Purple Heart for wounds received at the hands

of the enemy. He will require further continuous treatment and care.

         829.   As a result of the July 11, 2005 Terrorist Attack, and the injuries he suffered,

William Lowery has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

         830.   Mr. Lowery has received a disability rating of 100% by the Veteran’s

Administration.



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       178.    THE AUGUST 2005 ATTACK- BAGHDAD

                       A. DAVID ALLEN

       831.    Plaintiff David Allen is a citizen of the United States and is domiciled in the State

of Michigan.

       832.    In August 2005, David Allen, age 25, was serving as a peacekeeping serviceman

in the U.S. Army, with Charlie Battery, 1st Battalion, 12th Field Artillery Battalion. At the time,

Mr. Allen held the rank of Specialist.

       833.    Mr. Allen was performing his duties as a Vehicle Turret Gunner in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Allen’s vehicle was hit by an IED that knocked

Mr. Allen violently around his vehicle severely injured.

       834.    The weapon used to attack and injure Mr. Allen was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       835.    As a result of the August 2005 Terrorist Attack, Mr. Allen sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       836.    Mr. Allen was treated locally in Iraq and released to continue his tour. He will

require further continuous treatment and care.

       837.    As a result of the August 2005 Terrorist Attack, and the injuries he suffered,

David Allen has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       838.    Mr. Allen has received a disability rating of 70% by the Veteran’s Administration.




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       179.    THE AUGUST 7, 2005 ATTACK- RAMADI

                       A. NORRIS PEDULLA

       839.    Plaintiff Norris Pedulla is a citizen of the United States and is domiciled in the State

of Pennsylvania.

       840.    On August 7, 2005, Norris Pedulla, age 35, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 6th Infantry Regiment. At the time, Mr. Pedulla

held the rank of Sergeant.

       841.    Mr. Pedulla was performing his duties as a Medic in Ramadi, Iraq. While

conducting route clearance operations, Mr. Pedulla vehicle was hit by an IED that knocked Mr.

Pedulla violently around his vehicle severely injured.

       842.    The weapon used to attack and injure Mr. Pedulla was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       843.    As a result of the August 7, 2005 Terrorist Attack, Mr. Pedulla sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       844.    Mr. Pedulla was treated locally at Forward Operating Base Ramadi, Iraq and

released to continue his tour. Mr. Pedula was awarded the Combat Action Badge for his

engagement with the enemy. He will require further continuous treatment and care.

       845.    As a result of the August 7, 2005 Terrorist Attack, and the injuries he suffered,

Norris Pedulla has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       846.    Mr. Pedulla has received a disability rating of 90% by the Veteran’s

Administration.



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       180.    THE AUGUST 9, 2005 ATTACK- FOB MCKENSEY

                       A. FREEMAN WELCH

       847.    Plaintiff Freeman Welch is a citizen of the United States and is domiciled in the

State of Alabama.

       848.    On August 9, 2005, Freeman Welch, age 27, was serving as a peacekeeping

serviceman in the U.S. Army, with Echo Company, 1st Battalion, 15th Infantry Regiment. At the

time, Mr. Welch held the rank of Sergeant.

       849.    Mr. Welch was performing his duties as a Reconnaissance Specialist in the northern

portion of Sunni Triangle, Iraq. While conducting mission preparation on Forward Operating Base

McKensey. Mr. Welch’s person was hit by fragmentation from an indirect fire attack leaving Mr.

Welch on the ground severely injured.

       850.    The weapons used to attack and injure Mr. Welch were comprised of an unknown

amount of mortar fire. These weapons were provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       851.    As a result of the August 9, 2005 Terrorist Attack, Mr. Welch sustained significant

injuries due to the concussive blast of the explosion and fragmentation to his head, neck and back.

He also sustained several broken ribs.

       852.    Mr. Welch was treated locally at Camp Anaconda, Iraq. Mr. Welch was awarded

the Purple Heart Medal for wounds received by the hands of the enemy. He will require further

continuous treatment and care.

       853.    As a result of the August 9, 2005 Terrorist Attack, and the injuries he suffered,

Freeman Welch has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.



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       854.      Mr. Welch has received a disability rating of 100% by the Veteran’s

Administration.

       181.      THE AUGUST 9, 2005 ATTACK- RAMADI

                        A. BRANDON LLOYD

       855.      Plaintiff Brandon Lloyd is a citizen of the United States and is domiciled in the

State of Utah.

       856.      On August 9, 2005, Brandon Lloyd, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with Alpha Battery, 2nd Battalion, 222nd Field Artillery Regiment.

At the time, Mr. Lloyd held the rank of Specialist.

       857.      Mr. Lloyd was performing his duties as a Vehicle Driver in Ramadi, Iraq. While

conducting a mounted security patrol, Mr. Lloyd’s vehicle was hit by an IED that knocked Mr.

Lloyd violently around his vehicle severely injured.

       858.      The weapon used to attack and injure Mr. Lloyd was an IED consisting of a 155mm

artillery shell with an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       859.      As a result of the August 9, 2005 Terrorist Attack, Mr. Lloyd sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his chin.

       860.      Mr. Lloyd was treated locally in Ramadi, Iraq and released to continue his tour. Mr.

Lloyd was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.




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       861.    As a result of the August 9, 2005 Terrorist Attack, and the injuries he suffered,

Brandon Lloyd has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       862.    Mr. Lloyd has received a disability rating of 10% by the Veteran’s Administration.

       182.    THE AUGUST 14, 2005 ATTACK- TUZ

                       A. THE HAWN FAMILY

       863.    Plaintiff Asbury Hawn was a citizen of the United States and was domiciled in the

State of Tennessee at the time of his death.

       864.    On August 14, 2005, Asbury Hawn, age 35, was serving as a peacekeeping

serviceman in the U.S. Army assigned to I Troop, 3rd Squadron, 278th Cavalry Regiment. At the

time, Mr. Hawn held the rank of Staff Sergeant.

       865.    Mr. Hawn was performing his duties as a Vehicle Commander aboard an armored

vehicle in the vicinity in Tuz, Iraq. During a vehicle mounted security patrol, his vehicle was hit

by an Improvised Explosive Device (IED), RGP fire and small arms fire, killing Mr. Hawn

instantly. Mr. Hawn’s family was awarded his Purple Heart Medal.

       866.    The weapons used to attack and kill Mr. Hawn were provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       867.    Plaintiff Angela Hawn is a citizen of the United States and is domiciled in the state

of Tennessee. She is the spouse of Asbury Hawn.

       868.    Plaintiff Angela Hawn brings an action individually, and on behalf of the Estate of

Asbury Hawn, and all heirs thereof, as its anticipated legal representative.

       869.    Plaintiff Joseph Spencer Hawn is a citizen of the United States and domiciled in the

state of Tennessee. He is the son of Asbury Hawn.


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       870.    Plaintiff Johnathan Tyler Spencer is a citizen of the United States and domiciled in

the state of Tennessee. He is the step-son of Asbury Hawn.

       871.    As a result of the August 14, 2005 Terrorist Attack, the Hawn Family has suffered

the irreplaceable loss of a Husband who was killed in a most horrible and cruel way that didn’t

allow for proper closure.

       872.    Additionally, as a result of the August 14, 2005 Terrorist Attack, and the injuries

suffered by, and the death of Asbury Hawn, Plaintiffs Angela Hawn, Joseph Spencer Hawn, and

Johnathan Tyler Spencer have experienced, and continue to experience, severe mental anguish,

extreme emotional pain and suffering, and loss of Asbury Hawn’s society, companionship,

comfort, advice and counsel.

       183.    THE AUGUST 22, 2005 ATTACK- SAMARRA

                       A. ANTOINE MCNAULTY

       873.    Plaintiff Antoine McNaulty is a citizen of the United States and is domiciled in the

State of Georgia.

       874.    On August 22, 2005, Antoine McNaulty, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, C Company, 3rd Battalion, 69th Armored Regiment.

At the time, Mr. McNaulty held the rank of Specialist.

       875.    Mr. McNaulty was performing his duties as a Vehicle Turret Gunner in Samara,

Iraq when he was attacked. While conducting a mounted security mission, Mr. McNaulty’s vehicle

was hit by an IED leaving Mr. McNaulty in the vehicle severely injured.

       876.    The weapon used to attack and injure Mr. McNaulty was an IED consisting of

several 155mm artillery shells with homemade explosives. The IED was provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.


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       877.    As a result of the August 22, 2005 Terrorist Attack, Mr. McNaulty sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation injuries to the left leg, ankle and the back.

       878.    Mr. McNaulty was treated locally at Forward Operating Base Anaconda in Iraq and

released to continue his tour of duty. Mr. McNaulty was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care

for mental and physical issues.

       879.    As a result of the August 22, 2005 Terrorist Attack, and the injuries he suffered,

Antoine McNaulty has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       880.    Mr. McNaulty has been rated by the Veteran’s Administration as 80% disabled.

       184.    THE AUGUST 22, 2005 ATTACK- BAGHDAD

                       A. MARLON RAMIREZ

       881.    Plaintiff Marlon Ramirez is a citizen of the United States and is domiciled in the

State of New York.

       882.    On August 23, 2005, Marlon Ramirez, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, Alpha Company,1st Battalion, 69th Infantry

Regiment, 10th Mountain Division. At the time, Mr. Ramirez held the rank of Sergeant.

       883.    Mr. Ramirez was performing his duties as a Vehicle Turret Gunner on Route Pizza

in Baghdad, Iraq. While conducting a mounted route clearance/security patrol, Mr. Ramirez’s

vehicle was hit by an IED that knocked Mr. Ramirez violently around his vehicle severely injured.




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       884.    The weapon used to attack and injure Mr. Ramirez was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       885.    As a result of the August 23, 2005 Terrorist Attack, Mr. Ramirez sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to the back of the neck and skull and chin which left facial scarring as well

as burns to the face.

       886.    Mr. Ramirez was treated locally in Forward Operating Base Tigerland, Baghdad,

Iraq and released to continue his tour. Mr. Ramirez was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care.

       887.    As a result of the August 23, 2005 Terrorist Attack, and the injuries he suffered,

Marlon Ramirez has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       888.    Mr. Ramirez has received a disability rating of 80% by the Veteran’s

Administration.

       185.    THE SEPTEMBER 1, 2005 ATTACK- BALAD

                        A. JAREMY AUSTIN

       889.    Plaintiff Jaremy Austin is a citizen of the United States and is domiciled in the State

of Kentucky.

       890.    On September 1, 2005, Jaremy Austin, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with the B Company, 1st Battalion, 623rd Field Artillery Regiment.

At the time, Mr. Austin held the rank of Specialist.




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       891.    Mr. Austin was performing his duties as a Vehicle Turret Gunner in Balad, Iraq.

While conducting a mounted security patrol, Mr. Austin’s vehicle was hit by an SBIED that

knocked Mr. Austin violently around his vehicle severely injured.

       892.    The weapon used to attack and injure Mr. Austin was an SBIED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       893.    As a result of the September 1, 2005 Terrorist Attack, Mr. Austin sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He received

fragmentation to the face that caused the loss of his left eye and herniated disks in his back from

the force of the explosion.

       894.    Mr. Austin was treated locally in Balad, Iraq and medevaced to Germany and

Walter Reed Army Hospital where he remained over one year. Mr. Austin was awarded the Purple

Heart Medal for wounds received by the hands of the enemy. He will require further continuous

treatment and care.

       895.    As a result of the September 1, 2005 Terrorist Attack, and the injuries he suffered,

Jaremy Austin has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       896.    Mr. Austin has received a disability rating of 100% by the Veteran’s

Administration.

       186.    THE SEPTEMBER 5, 2005 ATTACK- BAGHDAD

                       A. WILLIAM LOARING-CLARK

       897.    Plaintiff William Loaring-Clark is a citizen of the United States and is domiciled in

the State of Texas.


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       898.    On September 5, 2005, William Loaring Clark, age 28, was serving as a

peacekeeping serviceman in the U.S. Army, with F Troop, 4th Battalion, 64th Armored Regiment,

3rd Infantry Division. At the time, Mr. Loaring-Clark held the rank of First Lieutenant.

       899.    Mr. Loaring-Clark was performing his duties as a Vehicle Commander on Route

Irish in Baghdad, Iraq when he was attacked. While conducting a mounted security mission, Mr.

Loaring-Clark’s vehicle was hit by an VBIED leaving Mr. Loaring-Clark in the vehicle severely

injured.

       900.    The weapon used to attack and injure Mr. Loaring-Clark was an VBIED consisting

of an unknown amount of homemade explosives in a parked car. The VBIED was provided by

Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       901.    As a result of the September 5, 2005 Terrorist Attack, Mr. Loaring-Clark sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered burns to his hands and face with perforated ear drums.

       902.    Mr. Loaring-Clark was treated locally in Baghdad, Iraq and medevaced to Germany

and San Antonio in the United States. Mr. Loaring-Clark was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care

for mental and physical issues.

       903.    As a result of the September 5, 2005 Terrorist Attack, and the injuries he suffered,

William Loaring-Clark has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       904.    Mr. Loaring-Clark has been rated by the Veteran’s Administration as 70% disabled.




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       187.     THE SEPTEMBER 8, 2005 ATTACK- BAGHDAD

                       A. JAMES SMITH

       905.     Plaintiff James Smith is a citizen of the United States and is domiciled in the State

of Tennessee.

       906.     On September 8, 2005, James Smith, age 43, was serving as a peacekeeping

serviceman in the U.S. Army, with a Navel EOD unit attached to 3rd Infantry Division. At the time,

Mr. Keith held the rank of Specialist.

       907.     Mr. Smith was performing his duties as a Vehicle Turret Gunner in Baghdad, Iraq.

While conducting a Quick Reaction Force mission, Mr. Smith’s vehicle was hit by an IED leaving

Mr. Smith in the vehicle severely injured.

       908.     The weapon used to attack and injure Mr. Smith was comprised of a propane tank

with 60 pounds of homemade explosives. The IED material was provided by Iran and/or one of its

agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       909.     As a result of the September 8, 2005 Terrorist Attack, Mr. Smith sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Smith

sustained fragmentation injuries to the back of his head and to his right leg. He also received 2nd

degree burns to his head, neck, face.

       910.     Mr. Smith was treated locally at Balad, Iraq and air medevaced to Germany and

eventually Walter Reed and San Antonio Burn Unit. Mr. Keith was awarded the Purple Heart

Medal for wounds received by the hands of the enemy. He will require further continuous treatment

and care.

       911.     As a result of the September 8, 2005 Terrorist Attack, and the injuries he suffered,

James Smith has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

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       912.       Mr. Smith has received a disability rating of 100% by the Veteran’s Administration.

       188.       THE SEPTEMBER 9, 2005 ATTACK- BAGHDAD

                         A. JUDE HARDY

       913.       Plaintiff Jude Hardy is a citizen of the United States and is domiciled in the State

of Texas.

       914.       On September 9, 2005, Jude Hardy, age 36, was serving as a peacekeeping

serviceman in the U.S. Army, with the 892nd Truck Recovery Company, 3rd Infantry Division. At

the time, Mr. Hardy held the rank of Staff Sergeant.

       915.       Mr. Hardy was performing his duties as a Vehicle Commander on Main Supply

Route Tampa in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Hardy’s vehicle

was hit by an IED that knocked Mr. Hardy violently around his vehicle severely injured.

       916.       The weapon used to attack and injure Mr. Hardy was an IED composed of an

unknown amount of homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       917.       As a result of the September 9, 2005 Terrorist Attack, Mr. Hardy sustained

significant injuries due to his head and neck. As a result of the force of the explosion, he also

suffered never damage to the entire right side of his body, a fractured L4-5/S1 and numbness to

his right hand.

       918.       Mr. Hardy was treated locally at Forward Operating Base Anaconda and returned

to complete his tour. Mr. Hardy was awarded the Purple Heart Medal for wounds received at the

hands of the enemy and medically boarded from the Service. He will require further continuous

treatment and care.




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         919.   As a result of the September 9, 2005 Terrorist Attack, and the injuries he suffered,

Jude Hardy has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

         920.   Mr. Hardy has been rated 100% disabled by the Veteran’s Administration.

         189.   THE SEPTEMBER 11, 2005 ATTACK- BAGHDAD

                       A. THE CAMPBELL FAMILY

         921.   Plaintiff Jeremy M. Campbell was a citizen of the United States and was domiciled

in the State of Pennsylvania at the time of his death.

         922.   On September 11, 2005, Jeremy M. Campbell, age 21, was serving as a

peacekeeping serviceman in the U.S. Army assigned to the 108th Military Police Company, 42nd

Military Police Brigade, 3rd Infantry Division. At the time, Mr. Campbell held the rank of

Specialist.

         923.   Mr. Campbell was performing his duties as a vehicle driver aboard an armored

vehicle in the vicinity of Route Steelers in Baghdad, Iraq. During a vehicle mounted security patrol,

his vehicle was hit by an Improvised Explosive Device (IED) consisting of two 155mm artillery

shells, killing Mr. Campbell instantly. Mr. Campbell’s family was awarded his Purple Heart

Medal.

         924.   The weapons used to attack and kill Mr. Campbell were provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

         925.   Plaintiff Maddison H. Campbell is a citizen of the United States and is domiciled

in the state of Washington. She is the spouse of Jeremy M. Campbell.




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       926.       Plaintiff Maddison H. Campbell brings an action individually, and on behalf of the

anticipated Estate of Jeremy M. Campbell, and all heirs thereof, as its anticipated legal

representative.

       927.       As a result of the September 11, 2005 Terrorist Attack, Plaintiff Maddison H.

Campbell has suffered the irreplaceable loss of a Husband who was killed in a most horrible and

cruel way that didn’t allow for proper closure.

       928.       Additionally, as a result of the September 11, 2005 Terrorist Attack, and the injuries

suffered by, and the death of Jeremy M. Campbell, Plaintiff Maddison H. Campbell has

experienced, and continues to experience severe mental anguish, extreme emotional pain and

suffering, and loss of Jeremy M. Campbell’s society, companionship, comfort, advice and counsel.

       190.       THE SEPTEMBER 11, 2005 ATTACK- RAMADI

                         A. FRANCISCO VILLEGAS

       929.       Plaintiff Francisco Villegas is a citizen of the United States and is domiciled in the

State of North Carolina.

       930.       On September 11, 2005, Francisco Villegas, age 25, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Weapons Platoon, Company L, 3rd Battalion, 7th Marine

Regiment, 2-28 Brigade Combat Team. At the time, Mr. Villegas held the rank of Corporal.

       931.       Mr. Villegas was performing his duties as a Vehicle Commander the day of his

injury. During the execution of a routine mounted security patrol mission in Western Ramadi,

Iraq, his vehicle was hit by an IED consisting of two 155mm artillery shells, throwing Mr. Villegas

unconscious around his vehicle.

       932.       The weapons used to attack and injure Mr. Villegas were employed by Iranian-

funded and Iranian-trained terror operatives in Iraq.


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        933.   As a result of the September 11, 2005 Terrorist Attack, Mr. Villegas sustained

injuries due to the concussive blast of the explosion impacting his head and neck.

        934.   Mr. Villegas was treated locally at the scene of the incident and in Ramadi, Iraq

following the attack and released to continue his tour. Mr. Villegas was awarded the Combat

Action Ribbon for being engaged by the enemy. He will require further continuous treatment and

care.

        935.   As a result of the September 11, 2005 Terrorist Attack, and the injuries he suffered,

Francisco Villegas has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        936.   Mr. Villegas has received a disability rating of 100% by the Veteran’s

Administration.

        191.   THE SEPTEMBER 14, 2005 ATTACK- BAGHDAD

                      A. TODD SANCHEZ

        937.   Plaintiff Todd Sanchez is a citizen of the United States and is domiciled in the State

of Montana.

        938.   On September 14, 2005, Todd Sanchez, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, C Battery, 1st Battalion, 151st Field Artillery

Regiment. At the time, Mr. Sanchez held the rank of Specialist.

        939.   Mr. Sanchez was performing his duties as a Vehicle Turret Gunner on Route

Brewer in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Sanchez’s vehicle was

hit by an VBIED that knocked Mr. Sanchez violently around his vehicle severely injured.




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       940.    The weapon used to attack and injure Mr. Sanchez was an VBIED consisting of

nine 155 mm artillery shells with home-made explosives provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       941.    As a result of the September 14, 2005 Terrorist Attack, Mr. Sanchez sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his right arm.

       942.    Mr. Sanchez was treated locally at Forward Operating Base Falcon in Baghdad,

Iraq and released to continue his tour. Mr. Sanchez was awarded the Purple Heart Medal for

wounds received by the hands of the enemy. He will require further continuous treatment and care.

       943.    As a result of the September 14, 2005 Terrorist Attack, and the injuries he suffered,

Todd Sanchez has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       944.    Mr. Sanchez has received a disability rating of 60% by the Veteran’s

Administration.

       192.    THE SEPTEMBER 16, 2005 ATTACK- BAGHDAD

                       A. RYAN BOWEN

       945.    Plaintiff Ryan Bowen is a citizen of the United States and is domiciled in the State

of Ohio.

       946.    On September 16, 2005, Ryan Bowen, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with C Company, 4th Battalion, 64th Armored Regiment, 3rd Infantry

Division. At the time, Mr. Bowen held the rank of Specialist.




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       947.    Mr. Bowen was performing his duties as a M1 Gunner in Baghdad, Iraq. While

conducting a mounted security patrol, Mr. Bowen’s tank was hit by an IED, leaving Mr. Bowen at

the gunner’s station in the tank severely injured.

       948.    The weapons used to attack and injure Mr. Bowen were comprised of a 600-pound

aircraft missile with 400 pounds of homemade explosive. The IED material was provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       949.    As a result of the September 16, 2005 Terrorist Attack, Mr. Bowen sustained

significant injuries due to the concussive blast of the explosion to his head and neck. The force of

the blast caused a spinal fracture, internal bleeding while also receiving 3rd degree burns and

fragmentation to his left leg.

       950.    Mr. Bowen was treated locally at the scene, then air medevaced to Balad, then

Germany and was eventually transferred to the United States. Mr. Bowen was awarded the Purple

Heart for wounds received by the hands of the enemy. He will require further continuous treatment

and care.

       951.    As a result of the September 16, 2005 Terrorist Attack, and the injuries he suffered,

Ryan Bowen has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       952.    Mr. Bowen has received a disability rating of 100% by the Veteran’s

Administration.

       193.    THE SEPTEMBER 18, 2005 ATTACK- CAMP TAJI

                       A. JULIUS RAWLINGS

       953.    Plaintiff Julius Rawlings is a citizen of the United States and is domiciled in the

State of Tennessee.


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       954.    On September 18, 2005, Julius Rawlings, age 43, was serving as a peacekeeping

serviceman in the U.S. Army, with C Battery, 2nd Battalion, 44th Air Defense Artillery

Regiment, 101st Airborne Division. At the time, Mr. Rawlings held the rank of Chief Warrant

Officer 2.

       955.    While Mr. Rawlings was performing his duties as a Maintenance Warrant Officer

on Camp Taji, Iraq, the enemy used a VBIED to breach the camp. Following the breach, a

firefight ensued where Mr. Rawlings was struck by gunfire.

       956.    The weapon used to facilitate the attack on Camp Taji was an VBIED consisting

of an unknown amount of home-made explosives provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       957.    As a result of the September 18, 2005 Terrorist Attack, Mr. Rawlings sustained

significant injuries from gunshot wounds to his abdomen and right arm.

       958.    Mr. Rawlings was treated locally at Camp Taji, Iraq before being medevaced to

Baghdad and Landstuhl. Mr. Rawlings was awarded the Purple Heart for being wounded at the

hands of the enemy. He will require further continuous treatment and care.

       959.    As a result of the September 18, 2005 Terrorist Attack, and the injuries he

suffered, Julius Rawlings has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       960.    Mr. Rawlings has received a disability rating of 100% by the Veteran’s

Administration.




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       194.      THE SEPTEMBER 26, 2005 ATTACK- TAJI

                        A. MATTHEW SHAW

       961.      Plaintiff Matthew Shaw is a citizen of the United States and is domiciled in the

State of Ohio.

       962.      On September 26, 2005, Matthew Shaw, age 19, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, A Company, 2nd Battalion, 70th Armored Regiment.

At the time, Mr. Shaw held the rank of Private-2.

       963.      Mr. Shaw was performing his duties as a Turret Gunner (M-1 Tank) in Taji, Iraq

when he was attacked. While conducting a mounted ambush patrol mission, Mr. Shaw’s tank was

hit by an IED leaving Mr. Shaw in the tank severely injured.

       964.      The weapon used to attack and injure Mr. Shaw was an IED consisting of an

unknown amount of homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       965.      As a result of the September 26, 2005 Terrorist Attack, Mr. Shaw sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received a broken left foot and right heel as well as a laceration to the right knee from the force of

the explosion.

       966.      Mr. Shaw was treated locally in Baghdad, Iraq and air medevaced to Balad and

Germany, then Walter Reed Army Hospital and San Antonio Army Hospital in the United States.

Mr. Shaw was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care for mental and physical issues.

       967.      As a result of the September 26, 2005 Terrorist Attack, and the injuries he suffered,

Matthew Shaw has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

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       968.    Mr. Shaw has been rated by the Veteran’s Administration as 20% disabled.

       195.    THE SEPTEMBER 28, 2005 ATTACK- BAGHDAD

                       A. MATTHEW GUFFEY

       969.    Plaintiff Matthew Guffey is a citizen of the United States and is domiciled in the

State of Wisconsin.

       970.    On September 28, 2005, Matthew Guffey, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with B Company, 2nd Battalion, 127th Infantry Regiment. At the

time, Mr. Guffey held the rank of Specialist.

       971.    Mr. Guffey was performing his duties as a Vehicle Turret Gunner on Main Supply

Route Tampa in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Guffey was hit

by an IED that knocked Mr. Guffey violently around his vehicle severely injured.

       972.    The weapon used to attack and injure Mr. Guffey was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       973.    As a result of the September 28 2005 Terrorist Attack, Mr. Guffey sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered herniated L3-5 and S-1 in his lower back.

       974.    Mr. Guffey was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Guffey was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       975.    As a result of the September 28, 2005 Terrorist Attack, and the injuries he suffered,

Matthew Guffey has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.


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       976.      Mr. Guffey has received a disability rating of 100% by the veteran’s administration.

       196.      THE SEPTEMBER 30, 2005 ATTACK- HILLAH

                        A. JOSEPH BELLO

       977.      Plaintiff Joseph Bello is a citizen of the United States and is domiciled in the State

of California.

       978.      On September 30, 2005, Joseph Bello, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with the Maintenance Platoon, Headquarters and Headquarters

Troop, 2nd Squadron, 11th Armored Cavalry Regiment. At the time, Mr. Bello held the rank of

Specialist.

       979.      Mr. Bello was performing his duties as a Gate Guard on Forward Operating Base

Kalsu in Hillah, Iraq. While conducting security at the gate, Mr. Bello’s person was hit by an

SVBIED that knocked Mr. Bello violently to the ground severely injured.

       980.      The weapon used to attack and injure Mr. Bello was an SVBIED consisting an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       981.      As a result of the September 30, 2005 Terrorist Attack, Mr. Bello sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his face in his right cheek.

       982.      Mr. Bello was treated locally in Forward Operating Base Kalsu, Iraq and released

to continue his tour. Mr. Bello was awarded the Purple Heart Medal for wounds received by the

hands of the enemy. He will require further continuous treatment and care.




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       983.    As a result of the September 30, 2005 Terrorist Attack, and the injuries he suffered,

Joseph Bello has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       984.    Mr. Bello has received a disability rating of 90% by the Veteran’s Administration.

       197.    THE OCTOBER 2, 2005 ATTACK- TIKRIT

                        A. CHRISTOPHER BELL

       985.    Plaintiff Christopher Bell is a citizen of the United States and is domiciled in the

State of Mississippi.

       986.    On October 2, 2005, Christopher Bell, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with the 150th Combat Engineer Battalion attached to 2D Marine

Division. At the time, Mr. Bell held the rank of Specialist.

       987.    Mr. Bell was performing his duties as a Vehicle Driver in Tikrit, Iraq. While

conducting a mounted security patrol, Mr. Bell’s vehicle was hit by an IED that knocked Mr. Bell

violently around his vehicle severely injured.

       988.    The weapon used to attack and injure Mr. Bell was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       989.    As a result of the October 2, 2005 Terrorist Attack, Mr. Bell sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       990.    Mr. Bell was treated locally in Tikrit, Iraq and released to continue his tour. Mr.

Bell was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.




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        991.   As a result of the October 2, 2005 Terrorist Attack, and the injuries he suffered,

Christopher Bell has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        992.   Mr. Bell has received a disability rating of 50% by the Veteran’s Administration.




        198.   THE OCTOBER 13, 2005 ATTACK- RAMADI

                         A. DOUGLAS MIGNOT

        993.   Plaintiff Douglas Mignot is a citizen of the United States and is domiciled in the

State of Pennsylvania.

        994.   On October 13, 2005, Douglas Mignot, age 39, was serving as a peacekeeping

serviceman in the U.S. Army, with the A Company, 3rd Battalion, 103rd Armored Regiment, 2nd

Brigade, 28th Infantry Division. At the time, Mr. Mignot held the rank of Sergeant.

        995.   Mr. Mignot was performing his duties as a Vehicle Driver on Canal Street in

Ramadi, Iraq. While conducting a mounted security patrol, Mr. Mignot’s vehicle was hit by an

IED that knocked Mr. Mignot violently around his vehicle severely injured.

        996.   The weapon used to attack and injure Mr. Mignot was an IED consisting of a “daisy

chain” of three 155mm artillery shells with an unknown amount of home-made explosives

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        997.   As a result of the October 13, 2005 Terrorist Attack, Mr. Mignot sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered 10 pieces of fragmentation to his left foot.




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       998.       Mr. Mignot was treated locally in Ramadi, Iraq and medevaced to the Green Zone

in Baghdad. Mr. Mignot was awarded the Purple Heart Medal for wounds received by the hands

of the enemy. He will require further continuous treatment and care.

       999.       As a result of the October 13, 2005 Terrorist Attack, and the injuries he suffered,

Douglas Mignot has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1000. Mr. Mignot has received a disability rating of 70% by the Veteran’s Administration.

       199.       THE OCTOBER 13, 2005 ATTACK- BAGHDAD

                         A. BRANNON COPE

       1001. Plaintiff Brannon Cope is a citizen of the United States and is domiciled in the State

of Georgia.

       1002. On October 13, 2005, Brannon Cope, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with B Company, 2nd Battalion, 130th Infantry Regiement, 48th

Infantry Brigade. At the time, Mr. Cope held the rank of Specialist.

       1003. Mr. Cope was performing his duties as a Vehicle Driver on Route Sword in

Baghdad, Iraq. While conducting a mounted security patrol, Mr. Cope’s vehicle was hit by an IED

that knocked Mr. Cope violently around his vehicle severely injured.

       1004. The weapon used to attack and injure Mr. Cope was an IED composed of two anti-

tank mines with homemade explosives provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1005. As a result of the October 13, 2005 Terrorist Attack, Mr. Cope sustained significant

injuries due to his head and neck. He also received fragmentation to his right calf and ankle as well

as his scrotum.


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        1006. Mr. Cope was treated locally at Camp Liberty and returned to complete his tour.

Mr. Cope was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care.

        1007. As a result of the October 13, 2005 Terrorist Attack, and the injuries he suffered,

Brannon Cope has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1008. Mr. Cope has been rated 70% disabled by the Veteran’s Administration.




        200.    THE OCTOBER 23, 2005 ATTACK- RAMADI

                        A. THE SPEARS FAMILY

        1009. Plaintiff Jonathan R. Spears was a citizen of the United States and was domiciled

in the State of Florida at the time of his death.

        1010. On October 23, 2005, Jonathan R. Spears, age 21, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Company I, 3rd Battalion, 7th Marine Regiment. At the

time, Mr. Spears held the rank of Lance Corporal.

        1011. Mr. Spears was performing his duties as a Marine Rifleman securing a rooftop and

adjacent street with his weapon for his fellow Marines. During the execution of this mission, a

single shot was fired, hitting Mr. Spears in the head killing him instantly. Mr. Spears’ family was

awarded his Purple Heart Medal.

        1012. The weapon used to attack and kill Mr. Spears was an Austrian-manufactured

Sniper Rifle provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.




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       1013. Plaintiff Timothy Spears is a citizen of the United States and is domiciled in the

state of Florida. He is the brother of Jonathan R. Spears.

       1014. Plaintiff Timothy Spears brings an action individually, and on behalf of the

anticipated Estate of Jonathan R. Spears, and all heirs thereof, as its anticipated legal

representative.

       1015. As a result of the October 23, 2005 Terrorist Attack, the Spears Family has suffered

the irreplaceable loss of a son and brother who was killed in a most horrible and cruel way that

didn’t allow for proper closure.

       1016. Additionally, as a result of the October 23, 2005 Terrorist Attack, and the injuries

suffered by, and the death of Jonathan R. Spears, Plaintiff Timothy Spears has experienced, and

continues to experience severe mental anguish, extreme emotional pain and suffering, and loss of

Jonathan R. Spears’ society, companionship, comfort, advice and counsel.

       1017. Plaintiff Jessica Marie Spears is a citizen of the United States and the sister of

Jonathan R. Spears. As a result of the October 23, 2005 Terrorist Attack, and the injuries suffered

by, and the death of Jonathan R. Spears, Plaintiff Jessica Marie Spears has experienced, and

continues to experience severe mental anguish, extreme emotional pain and suffering, and loss of

Jonathan R. Spears’ society, companionship, comfort, advice and counsel.

       1018. Plaintiff Jennifer Nichole Spears is a citizen of the United States and the sister of

Jonathan R. Spears As a result of the October 23, 2005 Terrorist Attack, and the injuries suffered

by, and the death of Jonathan R. Spears, Plaintiff Jennifer Nichole Spears has experienced, and

continues to experience severe mental anguish, extreme emotional pain and suffering, and loss of

Jonathan R. Spears’ society, companionship, comfort, advice and counsel.




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       201.    THE OCTOBER 23, 2005 ATTACK- BAGHDAD

                       A. BRADLEE GIETZEL

       1019. Plaintiff Bradlee Gietzel is a citizen of the United States and is domiciled in the

State of Wisconsin.

       1020. On October 23, 2005, Bradlee Gietzel, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with the 411th Military Police Company. At the time, Mr. Gietzel

held the rank of Specialist.

       1021. Mr. Gietzel was performing his duties as a Vehicle Turret Gunner in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Gietzel’s vehicle was hit by an EFP that knocked

Mr. Gietzel violently around his vehicle severely injured.

       1022. The weapon used to attack and injure Mr. Gietzel was an EFP consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1023. As a result of the October 23, 2005 Terrorist Attack, Mr. Gietzel sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his right hip and left thigh as well as his lower back and legs.

       1024. Mr. Gietzel was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Gietzel was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       1025. As a result of the October 23, 2005 Terrorist Attack, and the injuries he suffered,

Bradlee Gietzel has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1026. Mr. Gietzel has received a disability rating of 90% by the Veteran’s Administration.



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       202.      THE OCTOBER 25, 2005 ATTACK- AL ASAD

                       A. JOHN DOROBIALA

       1027. Plaintiff John Dorobiala is a citizen of the United States and is domiciled in the

State of Ohio.

       1028. On October 25, 2005, John Dorobiala, age 32, was serving as a peacekeeping

serviceman in the U.S. Army, with the 249th Quartermaster Company, 18th Airborne Corps. At

the time, Mr. Dorobiala held the rank of Specialist.

       1029. Mr. Dorobiala was performing his duties as a Vehicle Turret Gunner in Al Asad,

Iraq. While conducting a mounted security patrol, Mr. Dorobiala’s vehicle was hit by an IED that

knocked Mr. Dorobiala violently around his vehicle severely injured.

       1030. The weapon used to attack and injure Mr. Dorobiala was an IED consisting of a

122mm artillery shell with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1031. As a result of the October 25, 2005 Terrorist Attack, Mr. Dorobiala sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his head.

       1032. Mr. Dorobiala was treated locally in Al Asad, Iraq and released to continue his tour.

Mr. Dorobiala was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.

       1033. As a result of the October 25, 2005 Terrorist Attack, and the injuries he suffered,

John Dorobiala has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1034. Mr. Dorobiala has received a disability rating of 70% by the Veteran’s

Administration.

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       203.      THE OCTOBER 27, 2005 ATTACK- BAGHDAD

                       A. CHAD RICKARD

       1035. Plaintiff Chad Rickard is a citizen of the United States and is domiciled in the State

of California.

       1036. On October 27, 2005, Chad Rickard, age 33, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 184th Infantry Regiment, 3rd Infantry Division. At

the time, Mr. Rickard held the rank of Staff Sergeant.

       1037. Mr. Rickard was performing his duties as a Vehicle Turret Machine Gunner on

Route Wild in Baghdad, Iraq when he was attacked. While conducting a mounted security mission,

Mr. Rickard’s vehicle was hit by a SVIED leaving Mr. Rickard in the vehicle severely injured.

       1038. The weapons used to attack and injure Mr. Rickard was a SVIED with three 155mm

artillery shells. The SVIED and artillery shells were provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1039. As a result of the October 27, 2005 Terrorist Attack, Mr. Rickard sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation in his left arm and shoulder.

       1040. Mr. Rickard was treated locally on scene and in Iraq and released to continue his

tour. Mr. Rickard was awarded the Purple Heart Medal for wounds received at the hands of the

enemy. He will require further continuous treatment and care for mental and physical issues.

       1041. As a result of the October 27, 2005 Terrorist Attack, and the injuries he suffered,

Chad Rickard has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1042. Mr. Rickard has been rated by the Veteran’s Administration as 100% disabled.



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        204.   THE OCTOBER 29, 2005 ATTACK- BAGHDAD

                       A. THOMAS KOEHLER

        1043. Plaintiff Thomas Koehler is a citizen of the United States and is domiciled in the

State of Nevada.

        1044. On October 29, 2005, Thomas Koehler, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 425th Civil Affairs Battalion. At the time, Mr.

Koehler held the rank of Sergeant.

        1045. Mr. Koehler was performing his duties as a Civil Affairs Specialist on Route Red

Wings in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Koehler was hit by an

IED that knocked Mr. Koehler violently around his vehicle severely injured.

        1046. The weapon used to attack and injure Mr. Koehler was an IED consisting of two

155mm artillery shells with an unknown amount of home-made explosives in propane tanks

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1047. As a result of the October 29, 2005 Terrorist Attack, Mr. Koehler sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered blown out ear drums that required skin grafts.

        1048. Mr. Koehler was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Koehler was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.

        1049. As a result of the October 29, 2005 Terrorist Attack, and the injuries he suffered,

Thomas Koehler has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.



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        1050. Mr. Koehler has received a disability rating of 100% by the Veteran’s

Administration.

        205.    THE NOVEMBER 3, 2005 ATTACK- BAGHDAD

                        A. DOYLE RUNNELS

        1051. Plaintiff Doyle Runnels is a citizen of the United States and is domiciled in the

State of Arizona.

        1052. On November 3, 2005 Doyle Runnels, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with the 60th MP Company. At the time, Mr. Runnels held the rank

of Private.

        1053. Mr. Runnels performed his duties as a Military Police Officer in Baghdad, Iraq at

time of injury. While moving with a mounted security patrol, his vehicle was attacked by an IED

consisting of an unknown amount of explosives. The explosion ripped through his person,

knocking Mr. Runnels around his vehicle severely injured.

        1054. The weapon used to attack and injure Mr. Runnels were explosives and war

materials Iranian provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.

        1055. As a result of the November 3, 2005 Terrorist Attack, Mr. Runnels sustained

significant injuries due to the concussive blast of the explosion to his head and fragmentation to

his head and face.

        1056. Mr. Runnels was treated at a local field hospital at Camp Liberty, Iraq in the

hours/days following the attack. Mr. Runnels was awarded the Purple Heart for wounds received

at the hands of the enemy. He will require further continuous treatment and care.




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         1057. As a result of the November 3, 2005 Terrorist Attack, and the injuries he suffered,

Doyle Runnels has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

         1058. Mr. Runnels has received a disability rating of 90% by the Veteran’s

Administration.

         206.   THE NOVEMBER 9, 2005 ATTACK- MAMADIA

                        A. LOUIS SULSONA

         1059. Plaintiff Louis Sulsona is a citizen of the United States and is domiciled in the State

of Florida.

         1060. On November 9, 2005, Louis Sulsona, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Company, 1st Battalion, 502nd

Infantry Regiment, 101st Airborne Division. At the time, Mr. Sulsona held the rank of Private First

Class.

         1061. Mr. Sulsona was performing his duties as a Vehicle Driver in Mamadia, Iraq. While

conducting a mounted security patrol, Mr. Sulsona’s vehicle was hit by an EFP that knocked Mr.

Sulsona violently around his vehicle severely injured.

         1062. The weapon used to attack and injure Mr. Sulsona was an EFP consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

         1063. As a result of the November 9, 2005 Terrorist Attack, Mr. Sulsona sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his left foot and face.




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       1064. Mr. Sulsona was treated locally in the Green Zone in Baghdad, Iraq and released to

continue his tour. Mr. Sulsona was awarded the Purple Heart Medal for wounds received by the

hands of the enemy. He will require further continuous treatment and care.

       1065. As a result of the November 9, 2005 Terrorist Attack, and the injuries he suffered,

Louis Sulsona has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1066. Mr. Sulsona has received a disability rating of 100% by the Veteran’s

Administration.

       207.    THE NOVEMBER 10, 2005 ATTACK- HUSAYBAH

                       A. JOHN MCGUIRE

       1067. Plaintiff John McGuire is a citizen of the United States and is domiciled in the State

of Colorado.

       1068. On November 10, 2005, John McGuire, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with Bravo Company, 3rd Battalion, 504th Infantry Regiment, 82nd

Airborne Division. At the time, Mr. McGuire held the rank of Specialist.

       1069. Mr. McGuire was performing his duties as a Vehicle Turret Gunner in Husaybah,

Iraq. While conducting a mounted security patrol, Mr. McGuire’ vehicle was hit by an IED that

knocked Mr. McGuire violently around his vehicle severely injured.

       1070. The weapon used to attack and injure Mr. McGuire was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       1071. As a result of the November 10, 2005 Terrorist Attack, Mr. McGuire sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to the right side of his hip which he continues to carry to this day.

       1072. Mr. McGuire was treated locally in Al Asad, Iraq and released to continue his tour.

Mr. McGuire was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       1073. As a result of the November 10, 2005 Terrorist Attack, and the injuries he suffered,

John McGuire has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1074. Mr. McGuire has been rated by the Veteran’s Administration as 100% disabled.

       208.    THE DECEMBER 1, 2005 ATTACK- BALAD

                       A. MARSHALL DIAL

       1075. Plaintiff Marshall Dial is a citizen of the United States and is domiciled in the State

of Kansas.

       1076. On December 1, 2005, Marshall Dial, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with 5th Squadron, 7th Cavalry Regiment, 3rd Infantry Division. At

the time, Mr. Dial held the rank of Corporal.

       1077. Mr. Dial was performing his duties as a Vehicle Commander in Balad, Iraq. While

conducting a mounted security patrol, Mr. Dial was hit by an IED that knocked Mr. Dial violently

around his vehicle severely injured.

       1078. The weapon used to attack and injure Mr. Dial was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.


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       1079. As a result of the December 1, 2005 Terrorist Attack, Mr. Dial sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also sustained nerve

damage to the right side of his body as a result of the explosion.

       1080. Mr. Dial was treated locally on the scene in Iraq and released to continue his tour.

Mr. Dial was awarded the Combat Medical Badge for contact with the enemy. He will require

further continuous treatment and care.

       1081. As a result of the December 1, 2005 Terrorist Attack, and the injuries he suffered,

Marshall Dial has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1082. Mr. Dial has received a disability rating of 100% by the Veteran’s Administration.

       209.    THE DECEMBER 12, 2005 ATTACK- YUSUFIYA

                       A. MATTHEW HURSEY

       1083. Plaintiff Matthew Hursey is a citizen of the United States and is domiciled in the

State of Maryland.

       1084. On December12, 2005, Matthew Hursey, age 21 was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 2nd Battalion, 502nd Infantry Regiment, 101st

Airborne Division. At the time, Mr. Hursey held the rank of Specialist.

       1085. Mr. Hursey was performing his duties as a Vehicle Turret Gunner in Yusufiya, Iraq

when he was attacked. While conducting a mounted security mission, Mr. Hursey’s vehicle was

hit by an IED leaving Mr. Hursey in the vehicle severely injured.

       1086. The weapon used to attack and injure Mr. Hursey was an IED consisting of an

unknown amount of homemade explosives with a command detonation device. The IED was




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provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1087. As a result of the December 12, 2005 Terrorist Attack, Mr. Hursey sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation injuries to the center of the forehead.

        1088. Mr. Hursey was treated locally in Iraq and released to continue his tour of duty. Mr.

Hursey was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care for mental and physical issues.

        1089. As a result of the December 12, 2005 Terrorist Attack, and the injuries he suffered,

Mathew Hursey has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1090. Mr. Hursey has been rated by the Veteran’s Administration as 70% disabled.

        210.   THE DECEMBER 23, 2005 ATTACK- AL QA’IM

                         A. VICTOR VALENTINEDAVIS

        1091. Plaintiff Victor Valentinedavis is a citizen of the United States and is domiciled in

the State of Virginia.

        1092. On December 23, 2005, Victor Valentinedavis, age 26, was serving as a

peacekeeping serviceman in the U.S. Army, with 2nd EOD Company, 3rd Battalion, 6th Marine

Regiment. At the time, Mr. Valentinedavis held the rank of Sergeant.

        1093. Mr. Valentinedavis was performing his duties as an Explosive Ordinance Disposal

Specialist in Al Qa’im, Iraq. While conducting mounted operations, Mr. Valentinedavis’s vehicle

was hit by an IED that knocked Mr. Valentinedavis violently around his vehicle severely injured.




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       1094. The weapon used to attack and injure Mr. Valentinedavis was an IED consisting of

three artillery rounds and an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1095. As a result of the December 23, 2005 Terrorist Attack, Mr. Valentinedavis

sustained significant injuries due to the concussive blast of the explosion to his head and neck. Mr.

Valentinedavis also suffered lacerations to both of his arms and a corneal abrasion.

       1096. Mr. Valentinedavis was treated locally in Al Qa’im, Iraq and medevaced to

Baghdad before being released to continue his tour. Mr. Valentinedavis was awarded the Purple

Heart for being wounded at the hands of the enemy. He will require further continuous treatment

and care.

       1097. As a result of the December 23, 2005 Terrorist Attack, and the injuries he suffered,

Victor Valentinedavis has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       1098. Mr. Valentinedavis has received a disability rating of 70% by the Veteran’s

Administration.

       211.    THE DECEMBER 23, 2005 ATTACK- ABU GRAIB

                       A. THOMAS MCNABB

       1099. Plaintiff Thomas McNabb is a citizen of the United States and is domiciled in the

State of Arkansas.

       1100. On December 23, 2005, Thomas McNabb, age 41, was serving as a peacekeeping

serviceman in the U.S. Army, with B Battery, 1st Battalion, 142nd Field Artillery Regiment. At the

time, Mr. McNabb held the rank of Sergeant.




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       1101. Mr. McNabb was performing his duties as a Combat Medic in Abu Graib, Iraq

when he was attacked. While conducting a mounted security patrol, Mr. McNabb’s vehicle was

hit by an IED leaving Mr. McNabb in the vehicle severely injured.

       1102. The weapon used to attack and injure Mr. McNabb was an IED consisting of a

155mm artillery shell with home-made explosives. The IED was provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1103. As a result of the December 23, 2005 Terrorist Attack, Mr. McNabb sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered injury to his C4-5, S-1 and S-5 while suffering chronic lower back issues.

       1104. Mr. McNabb was treated locally on scene in Iraq and months later was medevaced

to Germany and Walter Reed Army Medical Hospital. Mr. McNabb was awarded the Combat

Action Badge for being engaged by the enemy. He will require further continuous treatment and

care for mental and physical issues.

       1105. As a result of the December 23, 2005 Terrorist Attack, and the injuries he suffered,

Thomas McNabb has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1106. Mr. McNabb has been rated by the Veteran’s Administration as 100% disabled.

       212.    THE JANUARY 1, 2006 ATTACK- BAGHDAD

                         A. JEFFREY MURDORF

       1107. Plaintiff Jeffrey Murdorf is a citizen of the United States and is domiciled in the

State of Pennsylvania.




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       1108. On January 1, 2006, Jeffrey Murdorf, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Company, 1st Battalion, 36th Infantry Battalion,

attached to ODA 521. At the time, Mr. Murdorf held the rank of Staff Sergeant.

       1109. Mr. Murdorf was performing his duties as a Vehicle Driver in Baghdad, Iraq. While

conducting a mounted IED security patrol, Mr. Murdorf was hit by an IED that knocked Mr.

Murdorf violently around his vehicle severely injured.

       1110. The weapon used to attack and injure Mr. Murdorf was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1111. As a result of the January 1, 2006 Terrorist Attack, Mr. Murdorf sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1112. Mr. Murdorf was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Murdorf was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       1113. As a result of the January 1, 2006 Terrorist Attack, and the injuries he suffered,

Jeffrey Murdorf has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1114. Mr. Murdorf has received a disability rating of 90% by the Veteran’s

Administration.

       213.      THE JANUARY 1, 2006 ATTACK- AL ASAD

                       A. ARTHUR GARCIA

       1115. Plaintiff Arthur Garcia is a citizen of the United States and is domiciled in the State

of California.


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       1116. On January 1, 2006, Arthur Garcia, age 36, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Platoon, Company B, 1st Military Police Battalion,

1st Marine Division. At the time, Mr. Garcia held the rank of Sergeant.

       1117. Mr. Garcia was performing his duties as a Vehicle Commander in Al Asad, Iraq.

While conducting a mounted resupply mission, Mr. Garcia was hit by an IED that knocked Mr.

Garcia violently around his vehicle severely injured.

       1118. The weapon used to attack and injure Mr. Garcia was an IED consisting of a 105mm

artillery shell with an unknown amount of home-made explosives provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1119. As a result of the January 1, 2006 Terrorist Attack, Mr. Garcia sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered a

fractured C-5 from the force of the explosion.

       1120. Mr. Garcia was treated locally in Al Asad, Iraq and returned to duty. Mr. Garcia

was awarded the Combat Action Ribbon for being engaged by the enemy. He will require further

continuous treatment and care.

       1121. As a result of the January 1, 2006 Terrorist Attack, and the injuries he suffered,

Arthur Garcia has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1122. Mr. Garcia has received a disability rating of 100% by the Veteran’s

Administration.




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       214.    THE JANUARY 1, 2006 ATTACK- RAWAH

                       A. DWAYNE WHITAKER

       1123. Plaintiff Dwayne Whitaker is a citizen of the United States and is domiciled in the

State of Montana.

       1124. On January 1, 2006, Dwayne Whitaker, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, A Company, 172nd Striker Brigade. At the time,

Mr. Whitaker held the rank of Sergeant.

       1125. Mr. Whitaker was performing his duties as a Vehicle Passenger in Rawah, Iraq.

While conducting a mounted security patrol, Mr. Whitaker was hit by an IED that knocked Mr.

Whitaker violently around his vehicle severely injured.

       1126. The weapon used to attack and injure Mr. Whitaker was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1127. As a result of the January 1, 2006 Terrorist Attack, Mr. Whitaker sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1128. Mr. Whitaker was treated locally in Iraq and released to continue his tour. Mr.

Whitaker was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.

       1129. As a result of the January 1, 2006 Terrorist Attack, and the injuries he suffered,

Dwayne Whitaker has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1130. Mr. Whitaker has received a disability rating of 90% by the Veteran’s

Administration.



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       215.    THE JANUARY 6, 2006 ATTACK- RAMADI

                       A. JAMIE ARZADON, II

       1131. Plaintiff Jamie Arzadon, II is a citizen of the United States and is domiciled in the

State of California.

       1132. On January 6, 2006, Jamie Arzadon, II, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, B Company, 54th Engineer Battalion. At the time,

Mr. Arzandon held the rank of Specialist.

       1133. Mr. Arzadon was performing his duties as a Vehicle Driver in Ramadi, Iraq. While

conducting a mounted security patrol, Mr. Arzandon’s vehicle was hit by an IED that knocked Mr.

Arzadon violently around his vehicle severely injured.

       1134. The weapon used to attack and injure Mr. Arzadon was an IED composed of an

unknown amount of homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1135. As a result of the January 6, 2006 Terrorist Attack, Mr. Arzadon sustained

significant injuries due to his head and neck. He also fractured his L1-3 resulting from the force

of the explosion.

       1136. Mr. Arzadon was treated locally at Camp Ramadi and returned to complete his tour.

Mr. Arzadon was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care.

       1137. As a result of the January 6, 2006 Terrorist Attack, and the injuries he suffered,

Jamie Arzadon, II has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1138. Mr. Arzadon has been rated 100% disabled by the Veteran’s Administration.



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        216.    THE JANUARY 13, 2006 ATTACK- AL ANBAR

                       A. ELMER DINGLASAN

        1139. Plaintiff Elmer Dinglasan is a citizen of the United States and is domiciled in the

State of Florida.

        1140. On January 13, 2006, Elmer Dinglasan, age 36, was serving as a peacekeeping

serviceman in the U.S. Navy, with 1st Battalion, 2nd Marine Regiment. At the time, Mr. Dinglasan

held the rank of Hospital Mate.

        1141. Mr. Dinglasan was performing his duties as a Vehicle Commander in Anbar, Iraq.

While conducting resupply operations, Mr. Dinglasan’s vehicle was hit by an IED that knocked

Mr. Dinglasan violently around his vehicle severely injured.

        1142. The weapon used to attack and injure Mr. Dinglasan was an IED with an Anti-Tank

mine provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

        1143. As a result of the January 13, 2006 Terrorist Attack, Mr. Dinglasan sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered an amputation of the right leg above the knee and left leg below the knee.

        1144. Mr. Dinglasan was treated locally in Balad, Iraq and medevaced to Germany and

Walter Reed Army Hospital in the United States. Mr. Dinglasan was awarded the Purple Heart

Medal for wounds received at the hands of the enemy. He will require further continuous treatment

and care.

        1145. Mr. Dinglasan’s career in the United States Military was tragically cut short, his

family relationships came under severe strain as a result of his care requirements and additional

medical treatment (surgeries and physical therapy) will be required to marginally improve the

quality of his life.

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       1146. As a result of the January 13, 2006 Terrorist Attack, and the injuries he suffered,

Elmer Dinglasan has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1147. Mr. Dinglasan is rated 100% disabled by the Veteran’s Administration.

       217.    THE FEBRUARY 1, 2006 ATTACK- AL ASAD

                       A. MARK HANSEN

       1148. Plaintiff Mark Hansen is a citizen of the United States and is domiciled in the State

of Wyoming.

       1149. On February 1, 2006, Mark Hansen, age 19, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Combat Logistics Battalion-1. At the time, Mr. Hansen

held the rank of Lance Corporal.

       1150. Mr. Hansen was performing his duties as a Turret Machine Gunner the day of his

injury. During the execution of a mounted convey security mission in Al Asad, Iraq, Mr. Hansen

was hit by an IED, throwing Mr. Hansen unconscious and injuring him severely.

       1151. The weapon used to attack and injure Mr. Hansen was comprised of two Anti-Tank

mines with a propane tank filled with an unknown of homemade explosive provided by Iran. This

weapon was employed by Iranian-funded and Iranian-trained terror operatives in Iraq.

       1152. As a result of the February 1, 2006 Terrorist Attack, Mr. Hansen sustained injuries

due to the concussive blast of several explosions impacting his head and neck. He also suffered

fragmentation injuries to the chin leaving scarring and his left leg.

       1153. Mr. Hansen was treated Al Asad and Baghdad, Iraq following the attack and was

released to continue his tour of duty. Mr. Hansen was awarded the Purple Heart for wounds

received at the hands of the enemy. He will require further continuous treatment and care.


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       1154. As a result of the February 1, 2006 Terrorist Attack, and the injuries he suffered,

Mark Hansen has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1155. Mr. Hansen has been rated by the Veteran’s Administration as 100% disabled.

       218.    THE FEBRUARY 6, 2006 ATTACK- BAGHDAD

                       A. JOHN SMITH

       1156. Plaintiff John Smith is a citizen of the United States and is domiciled in the State

of Alabama.

       1157. On February 6, 2006, John Smith, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, A Company, 1st Battalion, 41st Infantry Regiment,

1st Infantry Division. At the time, Mr. Smith held the rank of Specialist.

       1158. Mr. Smith was performing his duties as a Rifleman in Baghdad, Iraq when he was

attacked. While conducting a halt on a mounted security patrol, Mr. Smith’s vehicle was hit by an

IED leaving Mr. Smith in the vehicle severely injured.

       1159. The weapon used to attack and injure Mr. Smith was an IED consisting of an

unknown amount of homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1160. As a result of the February 6, 2006 Terrorist Attack, Mr. Smith sustained significant

injuries due to the concussive blast of the explosion to his head and neck as well as needing to

have vertebrae in his back fused.

       1161. Mr. Smith was treated locally at the 2-70 Battalion Aid Station in Iraq and released

to continue his tour of duty. Mr. Smith was awarded the Combat Action Badge for being engaged

by the enemy. He will require further continuous treatment and care for mental and physical issues.


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       1162. As a result of the February 6, 2006 Terrorist Attack, and the injuries he suffered,

John Smith has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1163. Mr. Smith has been rated by the Veteran’s Administration as 90% disabled.

       219.    THE FEBRUARY 13, 2006 ATTACK- TAJI

                       A. JEREMY BARNHART

       1164. Plaintiff Jeremy Barnhart is a citizen of the United States and is domiciled in the

State of New York.

       1165. On February 13, 2006, Jeremy Barnhart, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with 4th Battalion, 1st Field Artillery Regiment, 3rd Brigade, 1st

Armored Division. At the time, Mr. Barnhart held the rank of Sergeant.

       1166. Mr. Barnhart was performing his duties as a Truck Commander on Route Raiders

in Taji, Iraq. While conducting mounted patrol operations, Mr. Barnhart’s vehicle was hit by an

IED that knocked Mr. Barnhart violently around his vehicle severely injured.

       1167. The weapon used to attack and injure Mr. Barnhart was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1168. As a result of the February 13, 2006 Terrorist Attack, Mr. Barnhart sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr.

Barnhart also received shrapnel to the face, head, and left leg resulting in permanent nerve

damage.




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       1169. Mr. Barnhart was treated locally at Camp Taji, Iraq and released to continue his

tour. Mr. Barnhart was awarded the Purple Heart for being wounded at the hands of the enemy.

He will require further continuous treatment and care.

       1170. As a result of the February 13, 2006 Terrorist Attack, and the injuries he suffered,

Jeremy Barnhart has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1171. Mr. Barnhart has received a disability rating of 100% by the Veteran’s

Administration.

       220.      THE FEBRUARY 24, 2006 ATTACK- MOSUL

                       A. ROBERT GERTSCH

         1172.         Plaintiff Robert Gertsch is a citizen of the United States and is domiciled in

the State of Tennessee.

         1173.    On February 24, 2006, Robert Gertsch, age 35, was serving as a peacekeeping

serviceman in the U.S. Air Force, with Detachment 6, 267th Expeditionary Force. At the time, Mr.

Gertsch held the rank of Staff Sergeant.

         1174.    Mr. Gertsch was performing his duties as a Vehicle Commander on Route Chevy

in Mosul, Iraq. While conducting a mounted security patrol, Mr. Gertsch’s vehicle was hit by an

IED that knocked Mr. Gertsch violently around his vehicle severely injured.

         1175.    The weapon used to attack and injure Mr. Gertsch was an IED consisting of

several 155mm artillery shells with an unknown amount of home-made explosives provided by

Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.




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          1176.   As a result of the February 24, 2006 Terrorist Attack, Mr. Gertsch sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He received

fragmentation to his right shoulder and fractured both of his ankles from the force of the explosion.

          1177.   Mr. Gertsch was treated locally in Mosul, Iraq and medevaced to Balad,

Germany and Walter Reed Medical Center. Mr. Gertsch was awarded the Purple Heart Medal for

being wounded at the hands of the enemy. He will require further continuous treatment and care.

          1178.   As a result of the February 24, 2006 Terrorist Attack, and the injuries he suffered,

Robert Gertsch has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

          1179.   Mr. Gertsch has received a disability rating of 60% by the Veteran’s

Administration.

        221.   THE FEBRUARY 27, 2006 ATTACK- HADITHA

                       A. PAUL MCQUIGG

        1180. Plaintiff Paul McQuigg is a citizen of the United States and is domiciled in the State

of Illinois.

        1181. On February 27, 2006, Paul McQuigg, age 30, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Amtrack Platoon, 3rd Battalion, 1st Marine Regiment.

At the time, Mr. McQuigg held the rank of Staff Sergeant.

        1182. Mr. McQuigg was performing his duties as a Vehicle Commander on Route Bronze

in Haditha, Iraq. While conducting resupply operations, Mr. McQuigg’s vehicle was hit by an IED

that knocked Mr. McQuigg violently around his vehicle severely injured.




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       1183. The weapon used to attack and injure Mr. McQuigg was an IED of unknown

composition provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1184. As a result of the February 27, 2006 Terrorist Attack, Mr. McQuigg sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to the jaw losing 60% of his tongue causing a speech impediment.

       1185. Mr. McQuigg was treated locally in Balad, Iraq and medevaced to Germany and

Walter Reed. Mr. McQuigg was awarded the Purple Heart Medal for wounds received at the hands

of the enemy. He will require further continuous treatment and care. Mr. Mcquigg’s career in the

United States Military was tragically cut short, his family relationships came under severe strain

as a result of his care requirements and additional medical treatment (surgeries and physical

therapy) will be required to marginally improve the quality of his life.

       1186. As a result of the February 27, 2006 Terrorist Attack, and the injuries he suffered,

Paul McQuigg has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1187. Mr. McQuigg is rated by the Veteran’s Administration as 100% disabled.

       222.    THE MARCH 3, 2006 ATTACK- RAMADI

                       A. JEREMY ILLY

       1188. Plaintiff Jeremy Illy is a citizen of the United States and is domiciled in the State

of Virginia.

       1189. On March 3, 2006, Jeremy Illy, age 27, was serving as a peacekeeping serviceman

in the U.S. Army, with 2nd Platoon, B Company, 1st Battalion, 36th Armored Regiment. At the

time, Mr. Illy held the rank of Specialist.


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       1190. Mr. Illy was performing his duties as a Vehicle Passenger on Route Sunset in

Ramadi, Iraq. While conducting a mounted security patrol, Mr. Illy’s vehicle was hit by an IED

that knocked Mr. Illy violently around his vehicle severely injured.

       1191. The weapon used to attack and injure Mr. Illy was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1192. As a result of the March 3, 2006 Terrorist Attack, Mr. Illy sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1193. Mr. Illy was treated locally in Forward Operating Base Falcon, Iraq and released to

continue his tour. Mr. Illy was awarded the Combat Infantry Badge for being engaged by the

enemy. He will require further continuous treatment and care.

       1194. As a result of the March 3, 2006 Terrorist Attack, and the injuries he suffered,

Jeremy Illy has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1195. Mr. Illy has received a disability rating of 100% by the Veteran’s Administration.

       223.    THE MARCH 6, 2006 ATTACK- ZIADON

                     A. RONALD WILCKENS

       1196. Plaintiff Ronald Wilckens is a citizen of the United States and is domiciled in the

State of South Carolina.

       1197. On March 6, 2006, Ronald Wilckens, age 34, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Explosive Ordinance Disposal Section, 3rd Marine

Reconnaissance Battalion. At the time, Mr. Wilckens held the rank of Staff Sergeant.




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       1198. Mr. Wilckens was performing his duties as an Assistant Vehicle Driver the day of

his injury. During the execution of an exfiltration/retrograde from a mission in the Zaidon from

Camp Fallujah, Iraq, his vehicle was hit by an IED consisting of five 122mm artillery shells with

fuel enhanced explosive “kicker charges,” throwing Mr. Wilckens unconscious around his vehicle.

       1199. The weapons used to attack and injure Mr. Wilckens were employed by Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1200. As a result of the March 6, 2006 Terrorist Attack, Mr. Wilckens sustained injuries

due to the concussive blast of the explosion impacting his head and neck while receiving

fragmentation injuries to his right arm pit.

       1201. Mr. Wilckens was treated locally at the scene of the incident and at Fallujah Naval

Hospital in Iraq in the days following the attack and was eventually released to continue operations.

Mr. Wilckens was awarded a Purple Heart for wounds received at the hands of the enemy. He will

require further continuous treatment and care.

       1202. As a result of the March 6, 2006 Terrorist Attack, and the injuries he suffered,

Ronald Wilckens has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1203. Mr. Wilckens has received a disability rating of 100% by the Veteran’s

Administration.

       224.    THE MARCH 16, 2006 ATTACK- TIKRIT

                       A. CHARLES PARKER

       1204. Plaintiff Charles Parker is a citizen of the United States and is domiciled in the State

of Maryland.




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       1205. On March 16, 2006, Charles Parker, age 34, was serving as a peacekeeping

serviceman in the U.S. Army, with C Company, 3rd Brigade Special Troops Battalion, 82nd

Airborne Division. At the time, Mr. Parker held the rank of Sergeant.

       1206. Mr. Parker was performing his duties as a Vehicle Driver in Tikrit, Iraq when he

was attacked. While conducting a mounted security mission, Mr. Parker’s vehicle was hit by an

IED leaving Mr. Parker in the vehicle severely injured.

       1207. The weapon used to attack and injure Mr. Parker was an IED consisting of an

unknown amount of homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1208. As a result of the March 16, 2006 Terrorist Attack, Mr. Parker sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered an

amputation of his right leg at the knee, while also receiving fragmentation injuries to his right arm.

       1209. Mr. Parker was treated locally in Tikrit, Iraq and medevaced to Germany and

Walter Reed Army Hospital in the United States. Mr. Parker was awarded the Purple Heart Medal

for wounds received at the hands of the enemy. He will require further continuous treatment and

care for mental and physical issues. Mr. Parker’s career in the United States Military was tragically

cut short, his family relationships came under severe strain as a result of his care requirements and

additional medical treatment (surgeries and physical therapy) will be required to marginally

improve the quality of his life.

       1210. As a result of the March 16, 2006 Terrorist Attack, and the injuries he suffered,

Charles Parker has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1211. Mr. Parker has been rated by the Veteran’s Administration as 100% disabled.



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       225.      THE MARCH 19, 2006 ATTACK- FALLUJAH

                      A. JIMMIE SPARKS

       1212. Plaintiff Jimmie Sparks is a citizen of the United States and is domiciled in the State

of California.

       1213. On March 19, 2006, Jimmie Sparks, age 24, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Weapons Company, 3rd Battalion, 5th Marine Regiment.

At the time, Mr. Sparks held the rank of Sergeant.

       1214. Mr. Sparks was performing his duties as a dismount on Route Iron at OP Mansion,

West of Fallujah, Iraq. While conducting security operations, Mr. Sparks’ person was hit by an

SVBIED that knocked Mr. Sparks violently to the ground severely injured.

       1215. The weapon used to attack and injure Mr. Sparks was an SVBIED of unknown

composition provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1216. As a result of the March 19, 2006 Terrorist Attack, Mr. Sparks sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his right elbow and burns to his face.

       1217. Mr. Sparks was treated locally in Iraq and released to continue his tour. Mr. Sparks

was awarded the Combat Action Ribbon for being engaged by the enemy. He will require further

continuous treatment and care.

       1218. As a result of the March 19, 2006 Terrorist Attack, and the injuries he suffered,

Jimmie Sparks has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1219. Mr. Sparks is rated by the Veteran’s Administration as 100% disabled.



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         226.   THE MARCH 24, 2006 ATTACK- MOSUL

                        A. RAMIRO CESPEDES

         1220. Ramiro Cespedes is a citizen of the United States and is domiciled in the State of

Texas.

         1221. On March 24, 2006, Ramiro Cespedes, age 32, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 172nd Striker Brigade. At the time, Mr. Cespedes

held the rank of Staff Sergeant.

         1222. Mr. Cespedes was performing his duties as a Vehicle Turret Gunner in Mosul, Iraq.

While conducting a mounted route clearance mission, Mr. Cespedes was hit by an IED that

knocked Mr. Cespedes violently around his vehicle severely injured.

         1223. The weapon used to attack and injure Mr. Cespedes was an IED consisting of

several artillery shells provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

         1224. As a result of the March 24, 2006 Terrorist Attack, Mr. Cespedes sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

         1225. Mr. Cespedes was treated at Camp Diamondback and medevaced to Qatar. Mr.

Cespedes was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

         1226. As a result of the March 24, 2006 Terrorist Attack, and the injuries he suffered,

Ramiro Cespedes has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

         1227. Mr. Cespedes has received a disability rating of 90% by the Veteran’s

Administration.



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       227.    THE APRIL 1, 2006 ATTACK- BALAD

                       A. STEVEN MINER

       1228. Plaintiff Steven Miner is a citizen of the United States and is domiciled in the State

of Florida.

       1229. On April 1, 2006, Steven Miner, age 22, was serving as a peacekeeping serviceman

in the U.S. Army, with Headquarters Platoon, 502nd Combat Engineer Company. At the time, Mr.

Miner held the rank of Sergeant.

       1230. Mr. Miner was performing his duties as a Vehicle Driver on Route Pluto, in Balad,

Iraq. While conducting a mounted IED Clearance patrol, Mr. Miner was hit by an IED that knocked

Mr. Miner violently around his vehicle severely injured.

       1231. The weapon used to attack and injure Mr. Miner was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1232. As a result of the April 1, 2006 Terrorist Attack, Mr. Miner sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1233. Mr. Miner was treated locally in Baghdad, Iraq and medevaced to Germany for

seven months. He will require further continuous treatment and care.

       1234. As a result of the April 1, 2006 Terrorist Attack, and the injuries he suffered, Steven

Miner has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1235. Mr. Miner has received a disability rating of 100% by the Veteran’s Administration.




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       228.       THE APRIL 12, 2006 ATTACK- CAMP LIBERTY - BAGHDAD

                     A. VARONICA YOUNG

       1236. Plaintiff Veronica Young is a citizen of the United States and is domiciled in the

State of Texas.

       1237. On April 12, 2006, Veronica Young, age 37, was serving as a peacekeeping

serviceman in the U.S. Army, with Division Special Troops Battalion, 1st Cavalry Division. At the

time, Ms. Young held the rank of Specialist.

       1238. Ms. Young was performing her duties as a Dining Facility Guard on Camp Liberty

in Baghdad, Iraq. While providing security, Ms. Young’s was hit by a rocket that knocked Ms.

Young violently to the ground severely injured.

       1239. The weapon used to attack and injure Ms. Young was a rocket consisting an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1240. As a result of the April 12, 2006 Terrorist Attack, Ms. Young sustained significant

injuries due to the concussive blast of the explosion to her head and neck. She also received

fragmentation to her right shoulder.

       1241. Ms. Young was treated locally at Camp Liberty, Iraq and released to continue her

tour. She will require further continuous treatment and care.

       1242. As a result of the April 12, 2006 Terrorist Attack, and the injuries she suffered,

Veronica Young has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1243. Ms. Young has received a disability rating of 100% by the Veteran’s

Administration.



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         229.   THE APRIL 13, 2006 ATTACK- BAGHDAD

                        A. JONATHAN MILLER

         1244. Plaintiff Jonathan Miller is a citizen of the United States and is domiciled in the

State of Tennessee.

         1245. On April 13, 2006, Jonathan Miller, age 36, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Troop, 1st Squadron, 61th

Cavalry Regiment, 101st Airborne Division. At the time, Mr. Miller held the rank of Sergeant First

Class.

         1246. At the time of his injury, Mr. Miller was performing his duties as a Vehicle

Commander along Route Pluto in Eastern Baghdad, Iraq. While conducting a mounted security

patrol, Mr. Miller’s vehicle was hit by an EFP, leaving Mr. Miller inside his vehicle severely

injured.

         1247. The weapon used to attack and injure Mr. Miller was comprised of an EFP. The

EFP was provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

         1248. As a result of the April 13, 2006 Terrorist Attack, Mr. Miller sustained significant

injuries due to the concussive blast of the explosion to his head and neck, while also suffering

fragmentation injuries to his left ankle that left him with great difficultly to walk after multiple

surgeries.

         1249. Mr. Miller was treated locally at a field hospital in Baghdad, Iraq and eventually

was medevaced to Germany and the United States for follow on treatment. Mr. Miller was awarded

the Purple Heart Medal for wounds received by the hands of the enemy. He will require further

continuous treatment and care.



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       1250. As a result of the April 13, 2006 Terrorist Attack, and the injuries he suffered,

Jonathan Miller has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1251. Mr. Miller has received a disability rating of 30% by the Veteran’s Administration.

       230.    THE APRIL 15, 2006 ATTACK- BAGHDAD

                       A. TRAVIS BROWN

       1252. Plaintiff Travis Brown is a citizen of the United States and is domiciled in the State

of Georgia.

       1253. On April 15, 2006, Travis Brown, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 1st Battalion, 87th Infantry Regiment, 10th

Mountain Division. At the time, Mr. Brown held the rank of Specialist.

       1254. Mr. Brown was performing his duties as a Vehicle Turret Gunner on Route Irish in

Baghdad, Iraq. While conducting a mounted security patrol/route clearance mission, Mr. Brown’s

vehicle was hit by an IED leaving Mr. Brown in the vehicle severely injured.

       1255. The weapon used to attack and injure Mr. Brown was comprised of 2 x 155mm

artillery shells in the road. The IED material was provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1256. As a result of the April 15, 2006 Terrorist Attack, Mr. Brown sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1257. Mr. Brown was treated locally at Camp Liberty, Iraq and released to continue his

tour. Mr. Brown was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.




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       1258. As a result of the April 15, 2006 Terrorist Attack, and the injuries he suffered,

Travis Brown has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1259. Mr. Brown has received a disability rating of 80% by the Veteran’s Administration.

       231.       THE APRIL 15, 2006 ATTACK- FALLUJAH

                       A. STEVE FOTIADIS

       1260. Plaintiff Steve Fotiadis is a citizen of the United States and is domiciled in the State

of Mississippi.

       1261. On April 15, 2006, Steve Fotiadis, age 29, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with CAAT Platoon, Weapons Company, 1st Battalion, 25th

Marine Regiment. At the time, Mr. Fotiadis held the rank of Sergeant.

       1262. Mr. Fotiadis was performing his duties as a Squad Leader in Fallujah, Iraq. While

conducting a dismounted security patrol, Mr. Fotiadis’s person was hit by an IED that knocked

Mr. Fotiadis violently to the ground severely injured.

       1263. The weapon used to attack and injure Mr. Fotiadis was an IED provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1264. As a result of the April 15, 2006 Terrorist Attack, Mr. Fotiadis sustained significant

injuries due to his head and neck. A large piece of fragmentation hit Mr. Fotiadis in the head

causing him to only have peripheral vision in his right eye to this day. As a result of this injury, he

was medically retired from the Service.

       1265. Mr. Fotiadis was treated locally at Camp Fallujah and air medevaced to Balad, and

Germany for additional treatment. Mr. Fotiadis was awarded the Purple Heart Medal for wounds

received at the hands of the enemy. He will require further continuous treatment and care.


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       1266. As a result of the April 15, 2006 Terrorist Attack, and the injuries he suffered, Steve

Fotiadis has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1267. Mr. Fotiadis has been rated 90% disabled by the Veteran’s Administration.

       232.      THE APRIL 16, 2006 ATTACK- RAMADI

                       A. HEATH STEPHENSON

       1268. Plaintiff Heath Stephenson is a citizen of the United States and is domiciled in the

State of Ohio.

       1269. On April 16, 2006, Heath Stephenson, age 32, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Brigade, 28th Infantry Division. At the time, Mr. Stephenson

held the rank of Staff Sergeant.

       1270. Mr. Stephenson was performing his duties as a Fire Support Soldier in Ramadi,

Iraq. While conducting a dismounted security patrol, Mr. Stephenson’s person was hit by an IED

that knocked Mr. Stephenson violently to the ground severely injured.

       1271. The weapon used to attack and injure Mr. Stephenson was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1272. As a result of the April 16, 2006 Terrorist Attack, Mr. Stephenson sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1273. Mr. Stephenson was treated locally in Camp Ramadi, Iraq and released to continue

his tour. Mr. Stephenson was awarded the Combat Action Badge for being engaged by the enemy.

He will require further continuous treatment and care.




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        1274. As a result of the April 16, 2006 Terrorist Attack, and the injuries he suffered, Heath

Stephenson has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1275. Mr. Stephenson has received a disability rating of 100% by the Veteran’s

Administration.

        233.    THE APRIL 17, 2006 ATTACK- RAMADI

                       A. HENRY GONZALES

        1276. Plaintiff Henry Gonzales is a citizen of the United States and is domiciled in the

State of Florida.

        1277. On April 17, 2006, Henry Gonzales, age 34, was serving as a peacekeeping

serviceman in the U.S. Navy, with Headquarters Platoon, Company K, 3rd Battalion, 8th Marine

Regiment. At the time, Mr. Gonzales held the rank of Hospital Mate-2 Class.

        1278.   Mr. Gonzales was performing his duties as a Vehicle Driver in Ramadi, Iraq. While

conducting resupply operations, Mr. Gonzales’s person was hit by indirect fire that knocked Mr.

Gonzales violently to the ground severely injured.

        1279. The weapon used to attack and injure Mr. Gonzales was a 120mm mortar round

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1280. As a result of the April 17, 2006 Terrorist Attack, Mr. Gonzales sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

        1281. Mr. Gonzales was treated locally in Ramadi, Iraq and released to continue his tour.

Mr. Gonzales was awarded the Combat Action Ribbon for being engaged by the enemy. He will

require further continuous treatment and care.


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       1282. As a result of the April 17, 2006 Terrorist Attack, and the injuries he suffered,

Henry Gonzales has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1283. Mr. Gonzales has yet to be rated by the Veteran’s Administration, as he is still on

active duty.

       234.       THE APRIL 25, 2006 ATTACK- BAGHDAD

                       A. JOHNNY PHILLIPS

       1284. Plaintiff Johnny Phillips is a citizen of the United States and is domiciled in the

State of Texas.

       1285. On April 25, 2006, Johnny Phillips, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 112th Field Artillery, 17th Field Artillery Brigade, III Corps. At

the time, Mr. Phillips held the rank of Sergeant.

       1286. Mr. Phillips performed his duties as a vehicle driver along Main Supply Route

Tampa in Baghdad, Iraq at time of injury. While resupply operations, Mr. Phillips’ armored vehicle

was struck by an IED consisting of three 155mm artillery shells. The explosion ripped through his

vehicle, knocking Mr. Phillips around his vehicle severely injured.

       1287. The weapon used to attack and injure Mr. Phillips were Iranian-procured 155mm

artillery shells provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1288. As a result of the April 25, 2006 Terrorist Attack, Mr. Phillips sustained significant

injuries due to the concussive blast of the explosion to his head, neck and his lower back.




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       1289. Mr. Phillips was treated and observed locally in Baghdad while his unit continued

its resupply mission. Mr. Phillips was awarded the Combat Action Badge for engagement with the

enemy. He will require further continuous treatment and care.

       1290. As a result of the April 25, 2006 Terrorist Attack, and the injuries he suffered,

Johnny Phillips has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1291. Mr. Phillips has received a disability rating of 100% by the Veteran’s

Administration.

       235.    THE MAY 1, 2006 ATTACK- RAMADI

                       A. MITCHELL BROWN

       1292. Plaintiff Mitchell Brown is a citizen of the United States and is domiciled in the

State of Oklahoma.

       1293. On May 1, 2006, Mitchell Brown, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 36th Infantry Regiment, 1st Armored Division. At

the time, Mr. Brown held the rank of Sergeant First Class.

       1294. At the time of his injury, Mr. Brown was performing his duties as a Vehicle

Commander in Ramadi, Iraq. While conducting a mounted security patrol/detainee transport, Mr.

Brown’s vehicle was hit by an IED, leaving Mr. Brown inside his vehicle severely injured.

       1295. The weapon used to attack and injure Mr. Brown was comprised of an IED of

two155mm Artillery Shells. The IED was provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       1296. As a result of the May 1, 2006 Terrorist Attack, Mr. Brown sustained significant

injuries due to the concussive blast of the explosion to his head and neck, while also suffering

fragmentation injuries to his left hand and a broken hip from the IED striking the vehicle.

       1297. Mr. Brown was treated locally at a field hospital in Al Asad, Iraq and eventually

was medevaced to Germany and the United States for follow on treatment. Mr. Brown was

awarded the Purple Heart Medal for wounds received by the hands of the enemy. He will require

further continuous treatment and care.

       1298. As a result of the May 1, 2006 Terrorist Attack, and the injuries he suffered,

Mitchell Brown has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1299. Mr. Brown has received a disability rating of 80% by the Veteran’s Administration.

       236.    THE MAY 6, 2006 ATTACK- SYMARIA

                         A. DOUGLAS BAGDASARIAN

       1300. Plaintiff Douglas Bagdasarian is a citizen of the United States and is domiciled in

the State of Virginia.

       1301. On May 19, 2006, Douglas Bagdasarian, age 41, was serving as a peacekeeping

serviceman in the U.S. Army, with the Iraq Assist Group G-3. At the time, Mr. Bagdasarian held

the rank of Lieutenant Colonel.

       1302. Mr. Bagdasarian was performing his duties as a Vehicle Commander in Symaria,

Iraq. While conducting a mounted security patrol, Mr. Bagdasarian’s vehicle was hit by an IED

that knocked Mr. Bagdasarian violently around his vehicle severely injured.




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       1303. The weapon used to attack and injure Mr. Bagdasarian was an IED consisting of a

155mm artillery round with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1304. As a result of the May 19, 2006 Terrorist Attack, Mr. Bagdasarian sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered internal bleeding in his testicles preventing him from having children as well as a torn left

rotator cuff from the force of the explosion.

       1305. Mr. Bagdasarian was treated locally in Baghdad, Iraq and medevaced to Germany

and Walter Reed Army Hospital. Mr. Bagdasarian was awarded the Purple Heart Medal for

wounds received by the hands of the enemy. He will require further continuous treatment and care.

       1306. As a result of the May 19, 2006 Terrorist Attack, and the injuries he suffered,

Douglas Bagdasarian has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1307. Mr. Bagdasarian has received a disability rating of 100% by the Veteran’s

Administration.

       237.    THE MAY 28, 2006 ATTACK- TIKRIT

                       A. DANIEL SMITH

       1308. Plaintiff Daniel Smith is a citizen of the United States and is domiciled in the State

of Georgia.

       1309. On May 28, 2006, Daniel Smith, age 35, was serving as a peacekeeping serviceman

in the U.S. Army, with 4th Platoon, 122nd Engineer Company, 14th Engineer Battalion. At the time,

Mr. Smith held the rank of Sergeant.




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          1310. Mr. Smith was performing his duties as a Vehicle Turret Gunner on Main Supply

   Route Tampa in Tikrit, Iraq. While conducting a mounted security patrol, Mr. Smith’s vehicle was

   hit by an IED that knocked Mr. Smith violently around his vehicle severely injured.

          1311. The weapon used to attack and injure Mr. Smith was an IED consisting of several

   155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

   one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

          1312. As a result of the May 28, 2006 Terrorist Attack, Mr. Smith sustained significant

   injuries due to the concussive blast of the explosion to his head and neck. He also fractured his L5

   and T11-12 from the force of the explosion.

          1313. Mr. Smith was treated locally in Forward Operating Base Spiker, Iraq and released

   to continue his tour. Mr. Smith was awarded the Purple Heart Medal for being wounded at the

   hands of the enemy. He will require further continuous treatment and care.

          1314. As a result of the May 28, 2006 Terrorist Attack, and the injuries he suffered, Daniel

   Smith has experienced, and will continue to experience, severe physical and mental anguish and

   extreme emotional pain and suffering.

          1315. Mr. Smith has received a disability rating of 90% by the Veteran’s Administration.

          238.    THE JUNE, 2006 ATTACK-

                          A. LUKE JOHNSON

          1316. Plaintiff Luke Johnson is a citizen of the United States and is domiciled in the State

   of West Virginia.

1317.     Plaintiff Luke Johnson is a citizen of the United States and is domiciled in the State of West

   Virginia.




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1318.     In June, 2006, Luke Johnson, age 26, was serving as a peacekeeping serviceman in the U.S.

   Marine Corps, with the Security Detachment, Combat Logistics Battalion-5. At the time, Mr.

   Johnson held the rank of Lance Corporal.

1319.     Mr. Johnson was performing his duties as a Vehicle Driver in Fallujah, Iraq. While

   conducting a mounted security patrol, Mr. Johnson’s vehicle was hit by an IED that knocked Mr.

   Johnson violently around his vehicle severely injured.

1320.     The weapon used to attack and injure Mr. Johnson was an IED provided by Iran and/or one

   of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

1321.     As a result of the June, 2006 Terrorist Attack, Mr. Johnson sustained significant injuries to

   his head and neck. As a result of the blast, he required surgery to right arm 5 months after the

   explosion to repair nerve damage. To this day, he has difficulty making a fist with his right hand.

1322.     Mr. Johnson was treated locally at Camp Fallujah at released to continue his tour. Mr.

   Johnson was awarded the Combat Action Ribbon for being engaged by the enemy. He will require

   further continuous treatment and care.

1323.     As a result of the June, 2006 Terrorist Attack, and the injuries he suffered, Luke Johnson

   has experienced, and will continue to experience, severe physical and mental anguish and extreme

   emotional pain and suffering.

1324.     Mr. Johnson has been rated 100% disabled by the Veteran’s Administration.

          239.    THE JUNE 1, 2006 ATTACK- HADITHA

                          A. WILLIAM COURTER

          1325. Plaintiff William Courter is a citizen of the United States and is domiciled in the

   State of Arizona.




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       1326. On June 1, 2006, William Courter, age 18, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Amtrack Platoon, 3rd Battalion, 3rd Marine Regiment.

At the time, Mr. Courter held the rank of Lance Corporal.

       1327. Mr. Courter was performing his duties as a Vehicle passenger in Haditha, Iraq.

While conducting resupply operations, Mr. Courter’s vehicle was hit by an IED that knocked Mr.

Courter violently around his vehicle severely injured.

       1328. The weapon used to attack and injure Mr. Courter was an IED of unknown

composition provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1329. As a result of the June 1, 2006 Terrorist Attack, Mr. Courter sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1330. Mr. Courter was treated locally at Haditha Dam in Iraq and released to continue his

tour. Mr. Courter was awarded the Combat Action Ribbon for being engaged by the enemy. He

will require further continuous treatment and care.

       1331. As a result of the June 1, 2006 Terrorist Attack, and the injuries he suffered,

William Courter has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1332. Mr. Courter is rated by the Veteran’s Administration as 90% disabled.

       240.    THE JUNE 6, 2006 ATTACK- AL ASAD

                       A. KENNETH HENDRICKSON

       1333. Plaintiff Kenneth Hendrickson is a citizen of the United States and is domiciled in

the State of Minnesota.




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       1334. On June 6, 2006, Kenneth Hendrickson, age 44, was serving as a peacekeeping

serviceman in the U.S. Navy, with Naval Mobile Construction Battalion-25. At the time, Mr.

Hendrickson held the rank of Petty Officer 1st Class.

       1335. Mr. Hendrickson was performing his duties as a Vehicle Gunner on Route Mobile

heading toward Al Asad, Iraq. While conducting mounted security operations, Mr. Hendrickson’s

vehicle was hit by an IED that knocked Mr. Hendrickson violently around his vehicle severely

injured.

       1336. The weapon used to attack and injure Mr. Hendrickson was five 155mm artillery

shells with an unknown amount of homemade explosives provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1337. As a result of the June 6, 2006 Terrorist Attack, Mr. Hendrickson sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered several breaks to L2-4 and totally burst his L-3. He broke his pelvis in two places as well

as his left leg resulting in permanent drop foot.

       1338. Mr. Hendrickson was treated locally in Al Asad, Iraq and medevaced to Germany

and Walter Reed Army Hospital. Mr. Hendrickson was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care.

       1339. As a result of the June 6, 2006 Terrorist Attack, and the injuries he suffered,

Kenneth Hendrickson has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       1340. Mr. Hendrickson has been rated by the Veteran’s Administration as 100% disabled.




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       241.      THE JUNE 15, 2006 ATTACK- RAMADI

                       A. MARVIN GREN

       1341. Plaintiff Marvin Gren is a citizen of the United States and is domiciled in the State

of California.

       1342. On June 15, 2006, Marvin Gren, age 28, was serving as a peacekeeping serviceman

in the U.S. Army, with Support Platoon, Headquarters Company, 177th Armored Brigade. At the

time, Mr. Gren held the rank of Specialist.

       1343. Mr. Gren was performing his duties as a Vehicle Driver in Ramadi, Iraq. While

conducting a mounted security patrol, Mr. Gren’s vehicle was hit by an IED that knocked Mr.

Gren violently around his vehicle severely injured.

       1344. The weapon used to attack and injure Mr. Gren was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1345. As a result of the June 15, 2006 Terrorist Attack, Mr. Gren sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1346. Mr. Gren was treated locally at Camp Ramadi in Iraq and released to continue his

tour. He will require further continuous treatment and care.

       1347. As a result of the June 15, 2006 Terrorist Attack, and the injuries he suffered,

Marvin Gren has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1348. Mr. Gren has received a disability rating of 100% by the Veteran’s Administration.




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       242.    THE JUNE 21, 2006 ATTACK- BAHGDAD

                       A. BRANDON LLOYD

       1349. Plaintiff Brandon Lloyd is a citizen of the United States and is domiciled in the

State of Tennessee.

       1350. On June 21, 2006, Brandon Lloyd, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with the Medical Platoon, Headquarters and Headquarters Troop,

1st Squadron, 61st Cavalry Regiment, 506th Infantry Regiment, 101st Airborne Division. At the

time, Mr. Lloyd held the rank of Staff Sergeant.

       1351. Mr. Lloyd was performing his duties as a Vehicle Commander in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Lloyd’s vehicle was hit by an IED that knocked

Mr. Lloyd violently around his vehicle severely injured.

       1352. The weapon used to attack and injure Mr. Lloyd was an IED consisting of six-

155mm artillery shell with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1353. As a result of the June 21, 2006 Terrorist Attack, Mr. Lloyd sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his back that required six separate surgeries and fragmentation to his right arm.

       1354. Mr. Lloyd was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Lloyd was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       1355. As a result of the June 21, 2006 Terrorist Attack, and the injuries he suffered,

Brandon Lloyd has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1356. Mr. Lloyd has received a disability rating of 100% by the Veteran’s Administration.

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        243.     THE JUNE 23, 2006 ATTACK- MIQDADIYAH

                       A. JOSEPH SNAPP

        1357. Plaintiff Joseph Snapp is a citizen of the United States and is domiciled in the State

of Tennessee.

        1358. On June 23, 2006, Joseph Snapp, age 22, was serving as a peacekeeping serviceman

in the U.S. Army, with 1st Battalion, 32nd Infantry Regiment. At the time, Mr. Snapp held the rank

of Specialist.

        1359. Mr. Snapp was performing his duties as a Rifleman in Miqdadiyah, Iraq. While

conducting route clearance operations, Mr. Snapp’s vehicle was hit by an IED that knocked Mr.

Snapp violently around his vehicle severely injured.

        1360. The weapon used to attack and injure Mr. Snapp was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        1361. As a result of the June 23, 2006 Terrorist Attack, Mr. Snapp sustained significant

injuries due to the concussive blast of the explosion to his head and neck. Mr. Snapp also received

fragmentation to the left forearm.

        1362. Mr. Snapp was treated locally at Forward Operating Base Normandy, Iraq and

released to continue his tour. Mr. Snapp received the Combat Infantry Badge for his engagement

with the enemy. He will require further continuous treatment and care.

        1363. As a result of the June 23, 2006 Terrorist Attack, and the injuries he suffered, Joseph

Snapp has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        1364. Mr. Snapp has received a disability rating of 100% by the Veteran’s

Administration.

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        244.    THE JUNE 30, 2006 ATTACK- BAIJI

                        A. TIMOTHY HARVLEY

        1365. Plaintiff Timothy Harvley is a citizen of the United States and is domiciled in the

State of South Carolina

        1366. On June 30, 2006, Timothy Harvley, age 39, was serving as a peacekeeping

serviceman in the U.S. Army, with 122 Engineer Company, 14th Engineer Battalion, 101st

Airborne Division. At the time, Mr. Harvley held the rank of Staff Sergeant.

        1367. Mr. Harvley was performing his duties as an Engineer in Baiji, Iraq. While

conducting Route Clearance operations, Mr. Harvley’s vehicle was hit by an IED that knocked

Mr. Harvley violently around his vehicle severely injured.

        1368. The weapon used to attack and injure Mr. Harvley was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        1369. As a result of the June 30, 2006 Terrorist Attack, Mr. Harvley sustained significant

injuries due to the concussive blast of the explosion to his head and neck. Mr. Harvley also received

shrapnel to the left side of his face.

        1370. Mr. Harvley was treated locally at FOB Speicher, Iraq and released to continue his

tour. Mr. Harvley was awarded the Purple Heart for being wounded at the hands of the enemy. He

will require further continuous treatment and care.

        1371. As a result of the June 30, 2006 Terrorist Attack, and the injuries he suffered,

Timothy Harvley has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1372. Mr. Harvley has received a disability rating of 90% by the Veteran’s

Administration.

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       245.    THE JULY 1, 2006 ATTACK- MAHMUDIYAH

                       A. ERIC JACKSON

       1373. Plaintiff Eric Jackson is a citizen of the United States and is domiciled in the State

of Oregon.

       1374. On July 1, 2006, Eric Jackson, age 36, was serving as a peacekeeping serviceman

in the U.S. Army, with 2nd Squadron, 3rd Armored Cavalry Regiment. At the time, Mr. Jackson

held the rank of Specialist.

       1375. Mr. Jackson was performing his duties as a Medic in Mahmudiyah, Iraq. While

conducting on base operations, Mr. Jackson’s person was hit by an Indirect Fire that knocked Mr.

Jackson violently to the ground severely injured.

       1376. The weapon used to attack and injure Mr. Jackson was a Mortar Round consisting

of an unknown amount explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       1377. As a result of the July 1, 2006 Terrorist Attack, Mr. Jackson sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1378. Mr. Jackson was treated locally in Mahmudiyah, Iraq and released to continue his

tour. Mr. Jackson was awarded the Combat Action Badge for being engaged by the enemy. He

will require further continuous treatment and care.

       1379. As a result of the July 1, 2006 Terrorist Attack, and the injuries he suffered, Eric

Jackson has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1380. Mr. Jackson has received a disability rating of 100% by the Veteran’s

Administration.



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      246.    THE JULY 1, 2006 ATTACK- TIKRIT

                      A. RONALD DAVIS

      1381. Plaintiff Ronald Davis is a citizen of the United States and is domiciled in the State

of Georgia.

      1382. On July 1, 2006, Ronald Davis, age 32, was serving as a peacekeeping serviceman

in the U.S. Army, with A Company, 626 Brigade Support Battalion, 101st Airborne Infantry

Division. At the time, Mr. Davis held the rank of Sergeant.

      1383. Mr. Davis was performing his duties as a Transport Operator in Tikrit, Iraq. While

conducting over-watch from a guard tower, Mr. Davis’s person was hit by a RPG that knocked

Mr. Davis to the ground severely injured.

      1384. The weapon used to attack and injure Mr. Davis was a RPG provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

      1385. As a result of the July 1, 2006 Terrorist Attack, Mr. Davis sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

      1386. Mr. Davis was treated locally at Forward Operating Base Brassfield, Iraq and

released to continue his tour. He will require further continuous treatment and care.

      1387. As a result of the July 1, 2006 Terrorist Attack, and the injuries he suffered, Ronald

Davis has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

      1388. Mr. Davis has received a disability rating of 100% by the Veteran’s Administration.




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       247.    THE JULY 1, 2006 ATTACK- RAMADI

                       A. ROBERT GRAY

       1389. Plaintiff Robert Gray is a citizen of the United States and is domiciled in the State

of Florida.

       1390. On July 1, 2006, Robert Gray, age 33, was serving as a peacekeeping serviceman

in the U.S. Army, with B Company, 2nd Battalion, 6th Infantry Regiment, Task Force 1-35 Armor,

1st Armored Brigade, 1st Armored Division. At the time, Mr. Gray held the rank of Specialist.

       1391. Mr. Gray performed his duties a Vehicle Turret Gunner in support of a mounted

security patrol operation in Ramadi, Iraq. While moving, Mr. Gray’s vehicle was struck by an IED

consisting of an unknown amount of explosives. The explosion ripped through his vehicle,

knocking Mr. Gray around his vehicle severely injured.

       1392. The weapon used to attack and injure Mr. Gray was provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1393. As a result of the July 1, 2006 Terrorist Attack, Mr. Gray sustained significant

injuries due to the concussive blast of the explosion to his head and lower back.

       1394. Mr. Gray was treated locally at Charlie Surgical on Camp Ramadi in Iraq following

the attack and was eventually cleared to continue operations. Mr. Gray was awarded the Combat

Action Badge for this engagement with the enemy. He will require further continuous treatment

and care.

       1395. As a result of the July 1, 2006 Terrorist Attack, and the injuries he suffered, Robert

Gray has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1396. Mr. Gray has received a disability rating of 100% by the Veteran’s Administration.



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        248.   THE JULY 1, 2006 ATTACK- FALLUJAH

                       A. JUAN CASTRO

        1397. Plaintiff Juan Castro is a citizen of the United States and is domiciled in the State

of Texas.

        1398. On July 1, 2006, Juan Castro, age 35, was serving as a peacekeeping serviceman in

the U.S. Marine Corps, with the Heavy Equipment Platoon, 9th Communications Battalion. At the

time, Mr. Castro held the rank of Sergeant.

        1399. Mr. Castro was performing his duties on Camp Fallujah in Fallujah, Iraq. While

walking from position to position on the camp, Mr. Castro’s person was hit by mortar fire that

knocked Mr. Castro violently to the ground severely injured.

        1400. The weapon used to attack and injure Mr. Castro was an 82mm mortar round

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1401. As a result of the July 1, 2006 Terrorist Attack, Mr. Castro sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        1402. Mr. Castro was treated locally on Camp Fallujah and released to continue his tour.

He will require further continuous treatment and care.

        1403. As a result of the July 1, 2006 Terrorist Attack, and the injuries he suffered, Juan

Castro has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        1404. Mr. Castro has received a disability rating of 100% by the Veteran’s

Administration.




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         249.   THE JULY 7, 2006 ATTACK- HIT

                        A. EUGENE BACHMAN, III.

         1405. Plaintiff Eugene Bachman, III is a citizen of the United States and is domiciled in

the State of Tennessee.

         1406. On July 7, 2006, Eugene Bachman, III, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 36th Infantry Regiment (Attached to 3rd Battalion,

First Marine Regiment). At the time, Mr. Bachman held the rank of Specialist.

         1407. Mr. Bachman was performing his duties as a Counter Intelligence Specialist in Hit,

Iraq. While conducting a dismounted security patrol, Mr. Bachman’s person was hit by an IED

that knocked Mr. Bachman violently to the ground severely injured.

         1408. The weapon used to attack and injure Mr. Bachman was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

         1409. As a result of the July 7, 2006 Terrorist Attack, Mr. Bachman sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to the right knee that caused permanent nerve damage requiring a crutch to walk

today.

         1410. Mr. Bachman was treated locally at Al Asad and was air medevaced to Baghdad

for additional treatment. Mr. Bachman was awarded the Purple Heart Medal for wounds received

at the hands of the enemy. He will require further continuous treatment and care.

         1411. As a result of the July 7, 2006 Terrorist Attack, and the injuries he suffered, Eugene

Bachman, III has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

         1412. Mr. Bachman has been rated 100% disabled by the Veteran’s Administration.

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       250.    THE JULY 7, 2006 ATTACK- BEJI TO TIKRIT

                       A. PREVO RODGERS, JR.

       1413. Plaintiff Prevo Rodgers, Jr. is a citizen of the United States and is domiciled in the

State of South Carolina.

       1414. On July 7, 2006, Prevo Rodgers, Jr., age 37, was serving as a peacekeeping

serviceman in the U.S. Army, with the 122nd Combat Engineer Battalion, 101st Airborne Division.

At the time, Mr. Rodgers held the rank of Staff Sergeant.

       1415. Mr. Rodgers was performing his duties as a Vehicle Commander between on Main

Supply Route Tampa between Beji and Tikrit, Iraq. While conducting a mounted IED Clearance

patrol, Mr. Rodgers was hit by an IED that knocked Mr. Rodgers violently around his vehicle

severely injured.

       1416. The weapon used to attack and injure Mr. Rodgers was an IED consisting of a

155mm artillery shell with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1417. As a result of the July 7, 2006 Terrorist Attack, Mr. Rodgers sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered nerve

damage to his vocal chords.

       1418. Mr. Rodgers was treated locally in Iraq and was released to continue his tour. Mr.

Rodgers was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.

       1419. As a result of the July 7, 2006 Terrorist Attack, and the injuries he suffered, Prevo

Rodgers, Jr. has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.



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       1420. Mr. Rodgers has received a disability rating of 90% by the Veteran’s

Administration.

       251.     THE JULY 13, 2006 ATTACK- BAGHDAD

                       A. TANNER RANEY

       1421.Plaintiff Tanner Raney is a citizen of the United States and is domiciled in the State

of Louisiana.

       1422.On July 13, 2005, Tanner Raney, age 27, was serving as a peacekeeping serviceman

in the U.S. Army, with Headquarters and Headquarters Company, 1st Battalion, 156th Armored

Regiment, 256th Brigade Combat Team. At the time, Mr. Raney held the rank of Specialist.

       1423.Mr. Raney was performing his duties as a Vehicle Turret Gunner on Main Supply

Route Tampa in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Raney’s vehicle

was hit by an IED that knocked Mr. Raney violently around his vehicle severely injured.

       1424.The weapon used to attack and injure Mr. Raney was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1425.As a result of the July 13, 2005 Terrorist Attack, Mr. Raney sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his right shoulder.

       1426.Mr. Raney was treated locally in Baghdad, Iraq and released to continue his tour. Mr.

Raney was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.




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       1427.As a result of the July 13, 2005 Terrorist Attack, and the injuries he suffered, Tanner

Raney has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1428.Mr. Raney has received 80% disability from the Veteran’s Administration.

       252.    THE JULY 26, 2006 ATTACK- BAGHDAD

                       A. ROBERT ROBINSON

       1429. Plaintiff Robert Robinson is a citizen of the United States and is domiciled in the

State of Alabama.

       1430. On July 26, 2006, Robert Robinson, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with B Troop, 1st Squadron, 10th Cavalry Regiment, 4th Infantry

Division. At the time, Mr. Robinson held the rank of Staff Sergeant.

       1431. Mr. Robinson was performing his duties as a Bradley Vehicle Commander in the

Rasheed District of Baghdad, Iraq. While conducting a security mission, Mr. Robinson’s vehicle

was hit by an IED leaving Mr. Robinson inside his vehicle severely injured.

       1432. The weapon used to attack and injure Mr. Robinson was comprised of an unknown

amount of explosives. The IED material was provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1433. As a result of the July 26, 2006 Terrorist Attack, Mr. Robinson sustained significant

injuries due to the concussive blast of the explosion to include fragmentation injuries to his leg.

       1434. Mr. Robinson was treated locally at Camp Falcon, Iraq and released to continue his

tour. Mr. Robinson was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.




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       1435. As a result of the July 26, 2006 Terrorist Attack, and the injuries he suffered, Robert

Robinson has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1436. Mr. Robinson has received a disability rating of 100% by the Veteran’s

Administration.

       253.    THE AUGUST 4, 2006 ATTACK- ABU GRAIB

                       A. JOHN MOORE

       1437. Plaintiff John Moore is a citizen of the United States and is domiciled in the State

of Texas.

       1438. On August 4, 2006, John Moore, age 30, was serving as a peacekeeping serviceman

in the U.S. Army, with Transportation Platoon, Echo Company, 1st Battalion, 22nd Infantry

Regiment, 1st Brigade, 4th Infantry Division. At the time, Mr. Moore held the rank of Sergeant.

       1439. Mr. Moore was performing his duties as a Transportation Specialist in Abu Graib,

Iraq. While conducting a dismounted unloading operation, Mr. Moore was hit by indirect fire that

knocked Mr. Moore violently to the ground severely injured.

       1440. The weapon used to attack and injure Mr. Moore was a mortar round provided by

Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1441. As a result of the August 4, 2006 Terrorist Attack, Mr. Moore sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1442. Mr. Moore was treated locally at Abu Graib, Iraq and released to continue his tour.

He will require further continuous treatment and care.




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        1443. As a result of the August 4, 2006 Terrorist Attack, and the injuries he suffered, John

Moore has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        1444. Mr. Moore has received a disability rating of 100% by the Veteran’s

Administration.

        254.      THE AUGUST 06, 2006 ATTACK- TARMIYAH

                        A. THOMAS YORK

        1445. Plaintiff Thomas York is a citizen of the United States and is domiciled in the

State of Texas.

        1446. On August 06, 2006, Thomas York, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 16th Armored Regiment, 4th Infantry Division.

At the time, Mr. York held the rank of Sergeant.

        1447. Mr. York was performing his duties as a Truck Commander on Route Coyote in

Tarmiyah, Iraq. While conducting convoy operations, Mr. York’s vehicle was hit by an IED that

knocked Mr. York violently around his vehicle severely injured.

        1448. The weapon used to attack and injure Mr. York was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        1449. As a result of the August 06, 2006 Terrorist Attack, Mr. York sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. York

also suffered burns to his left wrist.




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         1450. Mr. York was treated locally at Tarmiyah, Iraq and released to continue his tour.

Mr. York was awarded the Purple Heart for being wounded at the hands of the enemy. He will

require further continuous treatment and care.

         1451. As a result of the August 06, 2006 Terrorist Attack, and the injuries he suffered,

Thomas York has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

         1452. Mr. York has received a disability rating of 100% by the Veteran’s

Administration.


         255.   THE AUGUST 23, 2006 ATTACK- MOSUL

                        A. PHILLIP BLACKMON

         1453. Phillip Blackmon is a citizen of the United States and is domiciled in the State of

Texas.

         1454. On August 23, 2006, Phillip Blackmon, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with the 706th Ordinance Company (EOD), USAPAC. At the time,

Mr. Blackmon held the rank of Staff Sergeant.

         1455. Mr. Blackmon was performing his duties as a Vehicle Driver in Mosul, Iraq. While

conducting a mounted route clearance mission, Mr. Blackmon was hit by an IED that knocked Mr.

Blackmon violently around his vehicle severely injured.

         1456. The weapon used to attack and injure Mr. Blackmon was an IED consisting of 10-

15 pounds of home-made explosives provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.




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       1457. As a result of the August 23, 2006 Terrorist Attack, Mr. Blackmon sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also had

disks replaced in his back as a result of the explosion years after the incident.

       1458. Mr. Blackmon was treated locally at a Battalion Aid Station in Mosul, Iraq and

released to continue his tour. Mr. Blackmon was awarded the Purple Heart Medal for wounds

received by the hands of the enemy. He will require further continuous treatment and care.

       1459. As a result of the August 23, 2006 Terrorist Attack, and the injuries he suffered,

Phillip Blackmon has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1460. Mr. Blackmon has received a disability rating of 100% by the Veteran’s

Administration.

       256.    THE SEPTEMBER 1, 2006 ATTACK- BAGHDAD

                       A. LORENZO HALL

       1461. Plaintiff Lorenzo Hall is a citizen of the United States and is domiciled in the State

of Virginia.

       1462. On September 1, 2006, Lorenzo Hall, age 37, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Company, 1st Battalion, 26th

Infantry Regiment. At the time, Mr. Hall held the rank of Specialist.

       1463. Mr. Hall was performing his duties as a Turret Machine Gunner in Baghdad, Iraq

when he was attacked. While conducting a mounted security patrol mission, Mr. Hall’s armored

vehicle was hit by an EFP leaving Mr. Hall in the vehicle severely injured.




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       1464. The weapon used to attack and injure Mr. Hall was an EFP facilitated by Iran. The

EFP was provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1465. As a result of the September 1, 2006 Terrorist Attack, Mr. Hall sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1466. Mr. Hall was treated locally in Baghdad, Iraq and returned to his unit to continue

his tour of duty.

       1467. Mr. Hall was awarded the Combat Action Badge for contact with the enemy. He

will require further continuous treatment and care for mental and physical issues.

       1468. As a result of the September 1, 2006 Terrorist Attack, and the injuries he suffered,

Lorenzo Hall has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1469. Mr. Hall has been rated by the Veteran’s Administration as 100% disabled.

       257.    THE SEPTEMBER 13, 2006 ATTACK- BAGHDAD

                       A. ADAM GUERNSEY

       1470. Plaintiff Adam Guernsey is a citizen of the United States and is domiciled in the

State of Montana.

       1471. On September 13, 2006, Adam Guernsey, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with G Troop, 2nd Squadron, 2nd Cavalry Regiment. At the time, Mr.

Guernsey held the rank of Private First Class.

       1472. Mr. Guernsey was performing his duties as a Vehicle Driver in Baghdad, Iraq.

While conducting a mounted IED Clearance patrol, Mr. Guernsey was hit by an IED at 38S MB

12199850 that knocked Mr. Guernsey violently around his vehicle severely injured.


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       1473. The weapon used to attack and injure Mr. Guernsey was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1474. As a result of the September 13, 2006 Terrorist Attack, Mr. Guernsey sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1475. Mr. Guernsey was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Guernsey was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       1476. As a result of the September 13, 2006 Terrorist Attack, and the injuries he suffered,

Adam Guernsey has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1477. Mr. Guernsey has received a disability rating of 100% by the Veteran’s

Administration.

       258.    THE SEPTEMBER 15, 2006 ATTACK- RAMADI

                       A. DONALD JACOBS, JR.

       1478. Plaintiff Donald Jacobs, Jr. is a citizen of the United States and is domiciled in the

State of Alabama.

       1479. On September 15, 2006, Donald Jacobs, Jr., age 23, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Personal Security Element, II Marine Expeditionary

Force. At the time, Mr. Jacobs held the rank of Sergeant.

       1480. Mr. Jacobs was performing his duties as a Vehicle Passenger in Ramadi, Iraq.

While conducting a mounted resupply mission, Mr. Jacobs’s vehicle was hit by an IED that

knocked Mr. Jacobs violently around his vehicle severely injured.


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       1481. The weapon used to attack and injure Mr. Jacobs was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1482. As a result of the September 15, 2006 Terrorist Attack, Mr. Jacobs sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1483. Mr. Jacobs was treated locally in Ramadi and released to continue his tour. Mr.

Jacobs was awarded the Combat Action Ribbon for being engaged by the enemy. He will require

further continuous treatment and care.

       1484. As a result of the September 15, 2006 Terrorist Attack, and the injuries he suffered,

Donald Jacobs, Jr. has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1485. Mr. Jacobs has been rated 100% disabled by the Veteran’s Administration.

       259.    THE SEPTEMBER 15, 2006 ATTACK- BAGHDAD

                       A. JOSHUA RANSONET

       1486. Plaintiff Joshua Ransonet is a citizen of the United States and is domiciled in the

State of Louisiana.

       1487. On September 15, 2006, Joshua Ransonet, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Company, 2nd Battalion, 156th Infantry Regiment.

At the time, Mr. Ransonet held the rank of Sergeant.

       1488. Mr. Ransonet performed his duties as a Combat Medic in Baghdad, Iraq at time of

injury. While conducting a route security/clearance mission, Mr. Ransonet’s armored vehicle was

struck by an EFP that ripped through his vehicle, throwing Mr. Ransonet around the inside of his

vehicle leaving him injured.


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       1489. The weapon (EFP) used to attack and injure Mr. Ransonet was provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1490. As a result of the September 15, 2006 Terrorist Attack, Mr. Ransonet sustained

significant injuries due to the concussive blast of the explosion impacting his head and lower back.

       1491. Mr. Ransonet was treated at a field hospital in Balad in the days following the attack

and was eventually transferred to the United States for follow-on care. Mr. Ransonet was awarded

the Combat Medical Badge for being engaged by the enemy. He will require further continuous

treatment and care.

       1492. As a result of the September 15, 2006 Terrorist Attack, and the injuries he suffered,

Joshua Ransonet has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1493. Mr. Ransonet has received a disability rating of 100% by the Veteran’s

Administration.

       260.    THE SEPTEMBER 17, 2006 ATTACK- KIRKUK

                       A. ARSENEAL GINES

       1494. Plaintiff Arseneal Gines is a citizen of the United States and is domiciled in the

State of Florida.

       1495. On September 17, 2006, Arseneal Gines, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 2nd Battalion, 35th Infantry Regiment, 3rd Brigade,

25th Infantry Division. At the time, Mr. Gines held the rank of Private First Class.

       1496. Mr. Gines was performing his duties as a Rifleman in Kirkuk, Iraq. While moving

on a dismounted security patrol, Mr. Gines’ unit was struck by a Suicide Vehicle Borne Improvised

Explosive Device (SVBIED). The SVBIED hit Mr. Gines’ position. The explosion from the


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SVBIED ripped through his body throwing him violently to the ground with severe head trauma

and fragmentation in his left inner thigh and right forearm.

        1497. The weapon used to attack and injure Mr. Gines were explosives and operatives

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1498. As a result of the September 17, 2006 Terrorist Attack, Mr. Gines sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his body.

        1499. Mr. Gines was treated locally at field hospital at Forward Operating Base Warrior

in Iraq and released to continue operations. Mr. Gines was awarded the Purple Heart Medal for

wounds received by the hands of the enemy. He will require further continuous treatment and care.

        1500. As a result of the September 17, 2006 Terrorist Attack, and the injuries he suffered,

Arseneal Gines has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1501. Mr. Gines has received a disability rating of 70% by the Veteran’s Administration.

        261.   THE SEPTEMBER 18, 2006 ATTACK- BADGDAD

                       A. DAVID BUELL

        1502. Plaintiff David Buell is a citizen of the United States and is domiciled in the State

of Oregon.

        1503. On September 18, 2006, David Buell, age 35, was serving as a peacekeeping

serviceman in the U.S. Army, with 7th Transportation Company, 18th Airborne Corps. At the time,

Mr. Buell held the rank of Staff Sergeant.

        1504. Mr. Buell was performing his duties as a Vehicle Driver on Main Supply Route

Tampa (Ridge 22 A) in Baghdad, Iraq when he was attacked. While conducting a mounted convoy


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security mission, Mr. Buell’s vehicle was hit by an IED leaving Mr. Buell in the vehicle severely

injured.

       1505. The weapon used to attack and injure Mr. Buell was an IED consisting of a 500-

pound bomb with homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1506. As a result of the September 18, 2006 Terrorist Attack, Mr. Buell sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also lost

his left pinky finger to amputation and suffered bi-lateral hearing loss from the force of the

explosion.

       1507. Mr. Buell was treated locally at the Green Zone in Baghdad, Iraq and air medevaced

to Germany, then Ft Bragg, North Carolina. Mr. Buell was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care

for mental and physical issues.

       1508. As a result of the September 18, 2006 Terrorist Attack, and the injuries he suffered,

David Buell has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1509. Mr. Buell has been rated by the Veteran’s Administration as 100% disabled.

       262.    THE SEPTEMBER 20, 2006 ATTACK- BAGHDAD

                       A. THOMAS WISE

       1510. Plaintiff Thomas Wise is a citizen of the United States and is domiciled in the State

of West Virginia.




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       1511. On September 20, 2006, Thomas Wise, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, A Company, 1st Battalion, 26th Infantry Regiment.

At the time, Mr. Wise held the rank of Specialist.

       1512. Mr. Wise was performing his duties as a Vehicle Turret Machine Gunner on Route

Jack Daniels in Sadr City, Baghdad, Iraq when he was attacked. While conducting a mounted

security mission, Mr. Wise’s vehicle was hit by six EFPs leaving Mr. Wise in the vehicle severely

injured.

       1513. The weapons used to attack and injure Mr. Wise were an array of EFPs. The EFPs

were provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1514. As a result of the September 20, 2006 Terrorist Attack, Mr. Wise sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered an amputation of his second toe on his left foot and required salvage surgery below the

knee for his left leg. His right knee required reconstructive surgery. He also received fragmentation

injuries to his left calf, back and face that deformed the right side of his lips. The force of the

explosions broke his left hip, making walking difficult even today.

       1515. Mr. Wise was treated locally on scene and in the Green Zone in Iraq and medevaced

to Germany and Walter Reed Army Hospital in the United States. Mr. Wise was awarded the

Purple Heart Medal for wounds received at the hands of the enemy. He will require further

continuous treatment and care for mental and physical issues. Mr. Wise’s career in the United

States Military was tragically cut short, his family relationships came under severe strain as a result

of his care requirements and additional medical treatment (surgeries and physical therapy) will be

required to marginally improve the quality of his life.



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       1516. As a result of the September 20, 2006 Terrorist Attack, and the injuries he suffered,

Thomas Wise has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1517. Mr. Wise has been rated by the Veteran’s Administration as 100% disabled.

       263.    THE SEPTEMBER 20, 2006 ATTACK- ANAH

                       A. ERIC SPARKS

       1518. Plaintiff Eric Sparks is a citizen of the United States and is domiciled in the State

of North Carolina.

       1519. On September 20, 2006, Eric Sparks, age 26, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Battalion, 8th Marine Regiment. At the time, Mr.

Sparks held the rank of Sergeant.

       1520. Mr. Sparks was performing his duties as an Infantry Squad Leader the day of his

injury. During the execution of a routine mounted security patrol mission in the Town of Anah,

near Haditha, Iraq. His vehicle was hit by an IED consisting of two 155mm artillery shells,

throwing Sparks unconscious around his vehicle.

       1521. The weapons used to attack and injure Sparks were employed by Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1522. As a result of the September 20, 2006 Terrorist Attack, Sparks sustained injuries

due to the concussive blast of the explosion impacting his head and neck. The force of the

explosion crushed his vehicle’s door, shattering his right arm and right leg.

       1523. Mr. Sparks was treated locally at the scene of the incident and air medevaced to

Balad, Iraq in the hours/days following the attack. Mr. Sparks was awarded the Purple Heart Medal




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for wounds received at the hands of the enemy. He will require further continuous treatment and

care.

        1524. As a result of the September 20, 2006 Terrorist Attack, and the injuries he suffered,

Eric Sparks has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1525. Mr. Sparks has yet to receive his disability rating from the Veteran’s

Administration.

        264.   THE SEPTEMBER 23, 2006 ATTACK- HAQLANIYAH

                       A. DERRICK SHARPE

        1526. Plaintiff Derrick Sharpe is a citizen of the United States and is domiciled in the

State of North Carolina.

        1527. On September 23, 2006, Derrick Sharpe, age 19, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Battalion, 3rd Marine Regiment. At the time, Mr.

Sharpe held the rank of Lance Corporal.

        1528. Mr. Sharpe was performing his duties as a Rifleman the day of his injury. During

the execution of a routine dismounted security patrol mission near Haqlaniyah, Iraq, his person

was hit by an IED consisting of command detonated anti-personnel mine, throwing Mr. Sharpe

unconscious around his vehicle.

        1529. The weapon used to attack and injure Mr. Sharpe were employed by Iranian-funded

and Iranian-trained terror operatives in Iraq.

        1530. As a result of the September 23, 2006 Terrorist Attack, Mr. Sharpe sustained

injuries due to the concussive blast of the explosion impacting his head and neck while suffering




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massive internal injuries, an amputation of the right leg above the knee, salvage of the right arm,

fragmentation to his entire body, in particular, his chest and loss of his left calf.

        1531. Mr. Sharpe was treated locally at the scene of the incident and at Al Asad in Iraq

in the days following the attack and was eventually medevaced to Germany and Walter Reed Army

Medical Hospital. Mr. Sharpe was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care. Mr. Sharpe’s career in

the United States Military was tragically cut short, his family relationships came under severe

strain as a result of his care requirements and additional medical treatment (surgeries and physical

therapy) will be required to marginally improve the quality of his life.

        1532. As a result of the September 23, 2006 Terrorist Attack, and the injuries he suffered,

Derrick Sharpe has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1533. Mr. Sharpe has received a disability rating of 100% by the Veteran’s

Administration.

        265.    THE SEPTEMBER 28, 2006 ATTACK- FALLUJAH

                        A. GARRETT SHANNON

        1534. Plaintiff Garrett Shannon is a citizen of the United States and is domiciled in the

State of Oregon.

        1535. On September 28, 2006, Garrett Shannon, age 20, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Motor Transport Platoon, Combat Logistics Battalion

5. At the time, Mr. Shannon held the rank of Lance Corporal.




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       1536. Mr. Shannon was performing his duties as a Vehicle Turret Gunner near the

“Cloverleaf” in Fallujah, Iraq. While conducting resupply operations, Mr. Shannon’s vehicle was

hit by an IED that knocked Mr. Shannon violently around his vehicle severely injured.

       1537. The weapon used to attack and injure Mr. Shannon was an IED of unknown

composition with flammable liquid and home-made explosives provided by Iran and/or one of its

agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1538. As a result of the September 28, 2006 Terrorist Attack, Mr. Shannon sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered burns to the right side of his face, fragmentation to the left leg and hands and loss of smell

from smoke inhalation.

       1539. Mr. Shannon was treated locally at Camp Fallujah in Iraq and medevaced to the

Green Zone. Mr. Shannon was awarded the Purple Heart Medal for wounds received at the hands

of the enemy. He will require further continuous treatment and care.

       1540. As a result of the September 28, 2006 Terrorist Attack, and the injuries he suffered,

Garrett Shannon has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1541. Mr. Shannon is rated by the Veteran’s Administration as 90% disabled.

       266.    THE OCTOBER 1, 2006 ATTACK- BAGHDAD

                       A. SARUNAS GASIUNAS

       1542. Plaintiff Sarunas Gasiunas is represented by his wife, Chris Gasiunas and she is a

citizen of the United States and is domiciled in the State of Alabama.

       1543. On October 1, 2006, Sarunas Gasiunas, age 58, was serving as a peacekeeping

Defense Contractor with the U.S. Army.


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          1544. Mr. Gasiunas was performing his duties as a Contractor and riding in a vehicle on

Baghdad, Iraq when he was attacked. Mr. Gasiunas was hit by IED leaving Mr. Gasiunas severely

injured in the vehicle.

          1545. The weapon used to attack and injure Mr. Gasiunas was an IED facilitated by Iran.

The explosives were provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.

          1546. As a result of the October 1, 2006 Terrorist Attack, Mr. Gasiunas sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to the entirety of the left side of his body from head to toe. Of most

significance, his left hip was shattered, requiring a total hip replacement once back in the United

States.

          1547. Mr. Gasiunas was treated locally in Baghdad, Iraq and returned to the United States

for more in-depth care. The injuries sustained from this incident contributed to Mr. Gasiunas

untimely death.

          1548. As a result of the October 1, 2006 Terrorist Attack, and the injuries he suffered,

Sarunas Gasiunas’s family has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

          267.   THE OCTOBER 5, 2006 ATTACK- RAYANA

                          A. MATTHEW RACHAL

          1549. Plaintiff Matthew Rachal is a citizen of the United States and is domiciled in the

State of Louisiana.




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       1550. On October 5, 2006, Matthew Rachal, age 24, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 3rd Platoon, Company E, 2nd Battalion, 8th Marine

Regiment. At the time, Mr. Rachal held the rank of Lance Corporal.

       1551. Mr. Rachal was performing his duties as a Rifleman in Rayana, Iraq. While

conducting a dismounted ambush patrol, Mr. Rachal’s person was hit by an IED that knocked Mr.

Rachal violently to the ground severely injured.

       1552. The weapon used to attack and injure Mr. Rachal was an IED provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1553. As a result of the October 5, 2006 Terrorist Attack, Mr. Rachal sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to his left thigh and his right arm.

       1554. Mr. Rachal was treated locally at Camp Al Asad, Iraq and was returned to his unit

to complete his tour. Mr. Rachal was awarded the Purple Heart Medal for being wounded at the

hands of the enemy. He will require further continuous treatment and care.

       1555. As a result of the October 5, 2006 Terrorist Attack, and the injuries he suffered,

Matthew Rachal has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1556. Mr. Rachal has received a disability rating of 80% by the Veteran’s Administration.

       268.    THE OCTOBER 10, 2006 ATTACK- BAGHDAD

                       A. CHRISTOPHER BENCH

       1557. Plaintiff Christopher Bench is a citizen of the United States and is domiciled in the

State of Washington.




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       1558. On October 10, 2006, Christopher Bench, age 32, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, A Company, 172nd Striker Brigade. At the time,

Mr. Bench held the rank of Staff Sergeant.

       1559. Mr. Bench was performing his duties as an Infantry Unit Leader on Route Van

Halen in Baghdad, Iraq when he was attacked. While conducting a dismounted security IED

cordon mission for Explosive Ordinance Disposal Soldiers, Mr. Bench’s person was hit by an IED

leaving Mr. Bench on the ground severely injured.

       1560. The weapon used to attack and injure Mr. Bench was an IED with an unknown

amount of home-made explosives. The IED was provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1561. As a result of the October 10, 2006 Terrorist Attack, Mr. Bench sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to the right knee, calf and jaw causing facial scaring on 50% of his face.

He also received fragmentation to the left eye causing temporary blindness and permanent light

adjustment issues.

       1562. Mr. Bench was treated locally at the Green Zone in Baghdad, Iraq and air

medevaced to Germany, then Walter Reid and finally Travis Air Force Base. Mr. Bench was

awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will require

further continuous treatment and care for mental and physical issues. Mr. Bench’s career in the

United States Military was tragically cut short, his family relationships came under severe strain

as a result of his care requirements and additional medical treatment (surgeries and physical

therapy) will be required to marginally improve the quality of his life.




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       1563. As a result of the October 10, 2006 Terrorist Attack, and the injuries he suffered,

Christopher Bench has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1564. Mr. Bench has been rated by the Veteran’s Administration as 100% disabled.

       269.    THE OCTOBER 11, 2006 ATTACK- RAWAH

                         A. ANDREW ROBERSON

       1565. Plaintiff Andrew Roberson is a citizen of the United States and is domiciled in the

State of Rhode Island.

       1566. On October 11, 2006, Andrew Roberson, age 21, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 2nd Light Armored Reconnaissance Battalion,

Regimental Combat Team 2, 2nd Marine Division. At the time, Mr. Roberson held the rank of

Corporal.

       1567. Mr. Roberson was performing his duties as a Rifleman/Team Leader the day of his

injury. During the execution of a dismounted security patrol on Route Bit, Rawah, Iraq, Mr.

Roberson was hit by an IED 10 feet from his position, throwing Mr. Roberson unconscious and

peppering him with fragmentation.

       1568. The weapons used to attack and injure Mr. Roberson were five Iranian-provided

122mm artillery shells, of which two exploded. These weapons were employed by Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1569. As a result of the October 11, 2006 Terrorist Attack, Mr. Roberson sustained

injuries due to the concussive blast of several explosions impacting his head and torso.

       1570. Mr. Roberson was treated at Al Asad Naval Hospital in Iraq in the days following

the attack and was eventually released after a week of evaluation and treatment to complete his


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tour of duty. Mr. Roberson was awarded the Purple Heart Medal for wounds received at the hands

of the enemy. He will require further continuous treatment and care.

       1571. As a result of the October 11, 2006 Terrorist Attack, and the injuries he suffered,

Andrew Roberson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1572. Mr. Roberson is currently on Active Duty with the U.S. Marine Corps and has not

yet been evaluated by the Veteran’s Administration.

       270.      THE OCTOBER 11, 2006 ATTACK- HAYBANIYAH

                       A. LEONEL ARAUJO

       1573. Plaintiff Leonel Araujo is a citizen of the United States and is domiciled in the State

of California.

       1574. On October 11, 2006, Leonel Araujo, age 21, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 1st Tank Battalion, 1st Marine Division. At the time,

Mr. Araujo held the rank of Corporal.

       1575. Mr. Araujo was performing his duties as a Provisional Infantry Marine the day of

his injury. During the execution of a routine security patrol mission in the vicinity of Haybaniyah,

Iraq, his vehicle was hit by an IED consisting of an unknown quantity of explosives, throwing Mr.

Araujo unconscious around his vehicle.

       1576. The weapon used to attack and injure Mr. Araujo were employed by Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1577. As a result of the October 11, 2006 Terrorist Attack, Mr. Araujo sustained injuries

due to the concussive blast of the explosion impacting his lower back.




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       1578. Mr. Araujo was treated locally at the scene of the incident and at Al Asad Naval

Hospital in Iraq in the days following the attack and was eventually released to continue operations.

Mr. Araujo was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care.

       1579. As a result of the October 11, 2006 Terrorist Attack, and the injuries he suffered,

Leonel Araujo has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1580. Mr. Araujo has received a disability rating of 100% by the Veteran’s

Administration.

       271.    THE OCTOBER 13, 2006 ATTACK- BAGHDAD

                       A. FREDDIE MARSHALL

       1581. Plaintiff Freddie Marshall is a citizen of the United States and is domiciled in the

State of Florida.

       1582. On October 13, 2006, Freddie Marshall, age 36, was serving as a peacekeeping

serviceman in the U.S. Army, with Bravo Battery, 4th Battalion, 27th Field Artillery. At the time,

Mr. Marshall held the rank of Staff Sergeant.

       1583. Mr. Marshall was performing his duties as a Vehicle Commander on Route Irish in

Baghdad, Iraq. While conducting a mounted security patrol, Mr. Marshall’s vehicle was hit by an

IED that knocked Mr. Marshall violently around his vehicle severely injured.

       1584. The weapon used to attack and injure Mr. Marshall was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       1585. As a result of the October 13, 2006 Terrorist Attack, Mr. Marshall sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a broken left Tibia and Fibula as well as right 5th finger from the force of the explosion.

       1586. Mr. Marshall was treated locally in Baghdad, Iraq and air medevaced to Germany

and Walter Reed Army Hospital. Mr. Marshall was awarded the Purple Heart Medal for wounds

received by the hands of the enemy. He will require further continuous treatment and care.

       1587. As a result of the October 13, 2006 Terrorist Attack, and the injuries he suffered,

Freddie Marshall has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1588. Mr. Marshall has received a disability rating of 90% by the Veteran’s

Administration.

       272.    OCTOBER 16, 2006 ATTACK- BAGHDAD

                       A. RICARDO ORTEGA III

       1589. Plaintiff Ricardo Ortega III is a citizen of the United States and is domiciled in the

State of Florida.

       1590. On October 16, 2006, Ricardo Ortega III, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Company, 2nd Battalion, 1st Infantry Regiment,

172nd Striker Brigade. At the time, Mr. Ortega held the rank of Staff Sergeant.

       1591. Mr. Ortega was performing his duties as a provisional Rifleman on Route Tampa

in Baghdad, Iraq when he was attacked. While conducting a mounted security patrol mission, Mr.

Ortega’s armored vehicle was hit by an IED leaving Mr. Ortega in the vehicle severely injured.




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         1592. The weapon used to attack and injure Mr. Ortega was comprised of an unknown

amount of explosives concealed in the road. The IED material was provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

         1593. As a result of the October 16, 2006 Terrorist Attack, Mr. Ortega sustained

significant injuries due to the concussive blast of the explosion to include a torn tendon in his right

ankle.

         1594. Mr. Ortega was treated locally at Camp Liberty, Iraq and released to continue his

tour. Mr. Ortega was awarded the Combat Action Badge for contact with the enemy. He will

require further continuous treatment and care for mental and physical issues.

         1595. As a result of the October 16, 2006 Terrorist Attack, and the injuries he suffered,

Ricardo Ortega, III has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

         1596. Mr. Ortega has recently retired from the Army in November of 2019 and has not

yet received his rating from the Veteran’s Administration.

         273.   THE OCTOBER 29, 2006 ATTACK- FALLUJAH

                        A. MAXWELL LEVERICH

         1597. Plaintiff Maxwell Leverich is a citizen of the United States and is domiciled in the

State of Missouri.

         1598. On October 29, 2006, Maxwell Leverich, age 20, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 1st Platoon, Weapons Company, 1st Battalion, 24th

Marine Regiment. At the time, Mr. Leverich held the rank of Lance Corporal.




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        1599. Mr. Leverich was performing his duties as a Turret Machine Gunner the day of his

injury. During the execution of a mounted security patrol in Fallujah, Iraq, Mr. Leverich was hit

by an IED, throwing Mr. Leverich unconscious and injuring him severely.

        1600. The weapon used to attack and injure Mr. Leverich was comprised of a 160mm

mortar round with an unknown amount of homemade explosives provided by Iran. This weapon

was employed by Iranian-funded and Iranian-trained terror operatives in Iraq.

        1601. As a result of the October 29, 2006 Terrorist Attack, Mr. Leverich sustained injuries

due to the concussive blast of several explosions impacting his head and neck. He also suffered a

compressed spine.

        1602. Mr. Leverich was treated at Camp Bahria, east of Fallujah, Iraq following the attack

and was released to continue his tour of duty. Mr. Leverich was awarded the Purple Heart Medal

for wounds received at the hands of the enemy. He will require further continuous treatment and

care.

        1603. As a result of the October 29, 2006 Terrorist Attack, and the injuries he suffered,

Maxwell Leverich has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1604. Mr. Leverich has been rated by the Veteran’s Administration as 100% disabled.

        274.   THE NOVEMBER 12, 2006 ATTACK- RAMADI

                       A. JAN SILBERT

        1605. Plaintiff Jan Silbert is a citizen of the United States and is domiciled in the State of

Washington.




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       1606. On November 12, 2006, Jan Silbert, age 35, was serving as a peacekeeping

serviceman in the U.S. Army, with Alpha Company, 321st Engineer Battalion, Task Force

Pathfinder. At the time, Mr. Silbert held the rank of First Lieutenant.

       1607. Mr. Silbert was performing his duties as a Vehicle Passenger on Route Michigan

in Ramadi, Iraq. While conducting a mounted security/route clearance patrol, Mr. Silbert’s vehicle

was hit by an IED that knocked Mr. Silbert violently around his vehicle severely injured.

       1608. The weapon used to attack and injure Mr. Silbert was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1609. As a result of the November 12, 2006 Terrorist Attack, Mr. Silbert sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a broken L4-5/S1 in his lower back requiring fusion.

       1610. Mr. Silbert was treated locally in Ramadi, Iraq and released to continue his tour.

Mr. Silbert was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       1611. As a result of the November 12, 2006 Terrorist Attack, and the injuries he suffered,

Jan Silbert has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1612. Mr. Silbert has received a disability rating of 100% by the Veteran’s

Administration.




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       275.      THE NOVEMBER 15, 2006 ATTACK- BAGHDAD

                      A. EDDIE HALL

       1613. Plaintiff Eddie Hall is a citizen of the United States and is domiciled in the State of

Oklahoma.

       1614. On an early morning of November 15, 2006, Eddie Hall, age 51, was employed as

a Civilian Contractor in support of the peacekeeping mission in Iraq. At the time, Mr. Eddie Hall

was employed by KBR.

       1615. Mr. Hall was performing his duties as a Contractor the day of his injury. After

returning from his normal work duties on Camp Liberty, Iraq, two of 122mm rockets hit his

position by the D-16 dining facility, throwing Mr. Hall unconscious and impacting his legs with

fragmentation.

       1616. The weapons used to attack and injure Mr. Hall were two Iranian-provided 122mm

rockets employed by Iranian-funded and Iranian-trained terror operatives in Iraq.

       1617. As a result of the November 15, 2006 Terrorist Attack, Mr. Hall sustained injuries

due to the concussive blast of the rocket’s explosions, impacting his head and both legs.

       1618. Mr. Hall was treated locally in Iraq in the days following the attack and was

eventually released after four days to continue supporting the mission as a Contractor. Mr. Hall

will require further continuous treatment and care.

       1619. As a result of the November 15, 2006 Terrorist Attack, and the injuries he suffered,

Eddie Hall has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.




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       276.    THE NOVEMBER 21, 2006 ATTACK- HIT

                       A. ABRAHAM ABRAZADO

       1620. Plaintiff Abraham Abrazado is a citizen of the United States and is domiciled in the

State of California.

       1621. On November 21, 2006, Abraham Abrazado, age 40, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 6th Infantry Regiment. At the time, Mr. Abrazado

held the rank of Staff Sergeant.

       1622. Mr. Abrazado was performing his duties as a Transport Operator in Hit, Iraq. While

conducting convoy operations, Mr. Abrazado’s vehicle was hit by an IED that knocked Mr.

Abrazado violently around his vehicle severely injured.

       1623. The weapon used to attack and injure Mr. Abrazado was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1624. As a result of the November 21, 2006 Terrorist Attack, Mr. Abrazado sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Abrazado

also received shrapnel to the abdomen and glass fragmentation to the face.

       1625. Mr. Abrazado was treated locally at Camp Hit, Iraq and released to continue his

tour. Mr. Abrazado was awarded the Purple Heart for being wounded at the hands of the enemy.

He will require further continuous treatment and care.

       1626. As a result of the November 21, 2006 Terrorist Attack, and the injuries he suffered,

Abraham Abrazado has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1627. Mr. Abrazado has received a disability rating of 100% by the Veteran’s

Administration.

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       277.    THE NOVEMBER 25, 2006 ATTACK- ANAH

                       A. MICHAEL TABOR

       1628. Plaintiff Michael Tabor is a citizen of the United States and is domiciled in the State

of Ohio.

       1629. On November 25, 2006, Michael Tabor, age 20, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Company A, 2nd Light Armored Reconnaissance

Battalion. At the time, Mr. Tabor held the rank of Lance Corporal.

       1630. Mr. Tabor was performing his duties as a Rifleman in Anah, Iraq. While conducting

a mounted security patrol, Mr. Tabor’s person was hit by an IED that knocked Mr. Tabor violently

on the ground severely injured.

       1631. The weapon used to attack and injure Mr. Tabor was an IED consisting a 155mm

artillery shell with an unknown of home-made explosives provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1632. As a result of the November 25, 2006 Terrorist Attack, Mr. Tabor sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his left thigh.

       1633. Mr. Tabor was treated locally in Al Asad, Iraq and released to continue his tour.

Mr. Tabor was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       1634. As a result of the November 25, 2006 Terrorist Attack, and the injuries he suffered,

Michael Tabor has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1635. Mr. Tabor has received a disability rating of 70% by the Veteran’s Administration.



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       278.    THE NOVEMBER 28, 2006 ATTACK- AL HIT

                       A. LUIS RIOSBAEZ

       1636. Plaintiff Luis Riosbaez is a citizen of the United States and is domiciled in the State

of Hawaii.

       1637. On November 28, 2006, Luis Riosbaez, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Company, 1st Battalion, 36th

Infantry Regiment, 1st Brigade, 1st Armored Division. At the time, Mr. Riosbaez held the rank of

Specialist.

       1638. Mr. Riosbaez was performing his duties as a Vehicle Passenger in Al Hit, Iraq.

While conducting a mounted security patrol, Mr. Riosbaez’s vehicle was hit by an IED that

knocked Mr. Riosbaez violently around his vehicle severely injured.

       1639. The weapon used to attack and injure Mr. Riosbaez was an IED consisting of 250

pounds of home-made explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       1640. As a result of the November 28, 2006 Terrorist Attack, Mr. Riosbaez sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a broken fractured scapula.

       1641. Mr. Riosbaez was treated locally in Al Adad, Iraq and medevaced to Germany. Mr.

Riosbaez was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       1642. As a result of the November 28, 2006 Terrorist Attack, and the injuries he suffered,

Luis Riosbaez has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.



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       1643. Mr. Riosbaez has not been evaluated by the Veteran’s Administration yet, as he is

still on Active Duty.

       279.    THE DECEMBER 10, 2006 ATTACK- RAMADI

                        A. NOLAN STANLEY

       1644. Plaintiff Nolan Stanley is a citizen of the United States and is domiciled in the State

of Indiana.

       1645. On December 10, 2006, Nolan Stanley, age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with the 4th Platoon, Headquarters and Headquarters Company, 2nd

Battalion, 152nd Infantry Regiment, 38th Infantry Division and attached to the 1st Armored

Division. At the time, Mr. Stanley held the rank of Specialist.

       1646. Mr. Stanley was performing his duties as a Vehicle Gunner on Route Michigan in

Ramadi, Iraq. While conducting a mounted security patrol, Mr. Stanley’s vehicle was hit by an

IED that knocked Mr. Stanley violently around his vehicle severely injured.

       1647. The weapon used to attack and injure Mr. Stanley was an IED consisting of one

155mm artillery round with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1648. As a result of the December 10, 2006 Terrorist Attack, Mr. Stanley sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered injuries to his lower back from being thrown from the vehicle.

       1649. Mr. Stanley was treated locally at Charlie Medical in Ramadi, Iraq and released to

continue his tour. Mr. Stanley was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care.




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       1650. As a result of the December 10, 2006 Terrorist Attack, and the injuries he suffered,

Nolan Stanley has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1651. Mr. Stanley has received a disability rating of 90% by the Veteran’s

Administration.

       280.    THE DECEMBER 11, 2006 ATTACK- BAGHDAD

                       A. BRUCE DUNLAP

       1652. Plaintiff Bruce Dunlap is a citizen of the United States and is domiciled in the State

of Michigan.

       1653. On December 11, 2006, Bruce Dunlap, age 27, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Battalion, 161st Field Artillery, 34th Infantry Division.

At the time, Mr. Dunlap held the rank of Specialist.

       1654. Mr. Dunlap performed his duties as a Military Police Officer in Baghdad, Iraq at

time of injury. While conducting a route security/clearance mission as a vehicle gunner on Route

Tampa, Mr. Dunlap’s armored vehicle was struck by nine EFPs that ripped through his vehicle,

throwing Mr. Dunlap around the inside of his vehicle leaving him injured.

       1655. The weapons (EFPs) used to attack and injure Mr. Dunlap were provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1656. As a result of the December 11, 2006 Terrorist Attack, Mr. Dunlap sustained

significant injuries due to the concussive blast of the explosion impacting his head and fracturing

both of his legs (femurs), arms and hands. He also sustained 3rd degree burns.

       1657. Mr. Dunlap was treated at a field hospital in Baghdad in the days following the

attack and was eventually transferred to then Germany and ultimately Walter Reed Hospital in the


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United States for follow-on care. Mr. Dunlap was awarded the Purple Heart Medal for wounds

received at the hands of the enemy. He will require further continuous treatment and care.

       1658. As a result of the December 11, 2006 Terrorist Attack, and the injuries he suffered,

Bruce Dunlap has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1659. Mr. Dunlap has received a disability rating of 100% by the Veteran’s

Administration.

       281.    THE DECEMBER 16, 2006 ATTACK- DIYALA PROVIDENCE

                      A. STEVE KIRBY

       1660. Plaintiff Steve Kirby is a citizen of the United States and is domiciled in the State

of Texas.

       1661. On December 16, 2006, Steve Kirby, age 42, was serving as a peacekeeping

serviceman in the U.S. Army, with C Troop, 6th Squadron, 9th Armored Cavalry Regiment. At the

time, Mr. Kirby held the rank of Sergeant First Class.

       1662. Mr. Kirby performed his duties as a Mortar Unit Leader in Diyala Providence, north

of Baghdad, Iraq at time of injury. While moving dismounted in support of an Explosive Ordinance

Disposal unit, he and his unit were attacked by an IED. While deploying his troops, Mr. Kirby was

hit by fragmentation from an IED explosion of unknown size. The explosion ripped through his

person, knocking Mr. Kirby around to the ground severely injured.

       1663. The weapon used to attack and injure Mr. Kirby were explosives and war materials

Iranian provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.




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       1664. As a result of the December 16, 2006 Terrorist Attack, Mr. Kirby sustained

significant injuries due to the concussive blast of the explosion to his head and fragmentation to

his right leg that broke the Tibia.

       1665. Mr. Kirby was treated at a local field hospital at Forward Operation Base Normandy

before being sent to Balad, Iraq in the hours/days following the attack. Mr. Kirby was awarded the

Purple Heart Medal for wounds received at the hands of the enemy. He will require further

continuous treatment and care.

       1666. As a result of the December 16, 2006 Terrorist Attack, and the injuries he suffered,

Steve Kirby has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1667. Mr. Kirby has received a disability rating of 100% by the Veteran’s Administration.

       282.    THE DECEMBER 31, 2006 ATTACK- BAGHDAD

                       A. KEITH WILLIAMS

       1668. Plaintiff Keith Williams is a citizen of the United States and is domiciled in the

State of Vermont.

       1669. On December 31, 2006, Keith Williams, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with the 2nd Battalion, 17th Field Artillery Battalion. At the time,

Mr. Williams held the rank of First Lieutenant.

       1670. Mr. Williams was performing his duties as a Field Artillery Officer in Baghdad,

Iraq when he was attacked. While conducting a mounted security patrol mission, Mr. Williams’

armored vehicle was hit by an EFP leaving Mr. Williams in the vehicle severely injured.




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        1671. The weapon used to attack and injure Mr. Williams was an EFP. The EFP was

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1672. As a result of the December 31, 2006 Terrorist Attack, Mr. Williams sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

        1673. Mr. Williams was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Williams was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care for mental and physical issues.

        1674. As a result of the December 31, 2006 Terrorist Attack, and the injuries he suffered,

Keith Williams has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1675. Mr. Williams has been rated by the Veteran’s Administration as 80% disabled.

        283.     THE 2007 ATTACK- SALMAN PAK

                       A. DANIEL BUENTELLO

        1676. Plaintiff Daniel Buentello is a citizen of the United States and is domiciled in the

State of Texas

        1677. . In 2007, Daniel Buentello, age 41, was serving as a peacekeeping serviceman in

the U.S. Army, with Company D, 1st Battalion, 125th Infantry Regiment. At the time, Mr. Buentello

held the rank of Staff Sergeant.

        1678. Mr. Buentello was performing his duties as a Vehicle Gunner in Salman Pak, Iraq.

While conducting mounted patrol operations, Mr. Buentello’s vehicle was hit by an IED that

knocked Mr. Buentello violently around his vehicle severely injured.




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       1679. The weapon used to attack and injure Mr. Buentello was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1680. As a result of the 2007 Terrorist Attack, Mr. Buentello sustained significant injuries

due to the concussive blast of the explosion to his head and neck.

       1681. Mr. Fru was treated locally in Forward Operating Base Hammer, Iraq and released

to continue his tour. Mr. Buentello was awarded the Combat Infantry Badge for being engaged by

the enemy. He will require further continuous treatment and care.

       1682. As a result of the 2007 Terrorist Attack, and the injuries he suffered, Daniel

Buentello has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1683. Mr. Buentello has received a disability rating of 90% by the Veteran’s

Administration.

       284.    THE JANUARY 1, 2007 ATTACK- MOSUL

                       A. ADEY FRU

       1684. Plaintiff Adey Fru is a citizen of the United States and is domiciled in the State of

Georgia.

       1685. On January 1, 2007, Adey Fru, age 24, was serving as a peacekeeping serviceman

in the U.S. Army, with 3rd Platoon, A Company, 2nd Battalion, 7th Infantry Regiment. At the time,

Mr. Fru held the rank of Specialist.

       1686. Mr. Fru was performing his duties as a Rifleman on Main Supply Route Tampa in

Mosul Iraq. While conducting a dismounted security patrol, Mr. Fru’s person was hit by an IED

that knocked Mr. Fru violently to the ground severely injured.


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       1687. The weapon used to attack and injure Mr. Fru was an IED consisting of several

15mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1688. As a result of the January 1, 2007 Terrorist Attack, Mr. Fru sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1689. Mr. Fru was treated locally in Forward Operating Base Diamondback, Iraq and

released to continue his tour. Mr. Fru was awarded the Combat Infantry Badge for being engaged

by the enemy. He will require further continuous treatment and care.

       1690. As a result of the January 1, 2007 Terrorist Attack, and the injuries he suffered,

Adey Fru has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1691. Mr. Fru has received a disability rating of 100% by the Veteran’s Administration.

       285.    THE JANUARY 1, 2007 ATTACK- BAGHDAD

                       A. ROBERT SEALS

       1692. Plaintiff Robert Seals is a citizen of the United States and is domiciled in the State

of Georgia.

       1693. On January 1, 2007, Robert Seals, age 42, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 1st Battalion, 121st Infantry Regiment, 48th

Infantry Brigade Combat Team. At the time, Mr. Seals held the rank of Sergeant.

       1694. Mr. Seals was performing his duties as a Signal Specialist in Baghdad, Iraq. While

conducting convoy operations, Mr. Seals’s vehicle was hit by a IED that knocked Mr. Seals

violently around his vehicle severely injured.




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       1695. The weapon used to attack and injure Mr. Seals was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1696. As a result of the January 1, 2007 Terrorist Attack, Mr. Seals sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1697. Mr. Seals was treated in Iraq and released to continue his tour of duty. Mr. Seals

was awarded the Combat Action Badge for his engagement with the enemy. He will require further

continuous treatment and care.

       1698. As a result of the January 1, 2007 Terrorist Attack, and the injuries he suffered,

Robert Seals has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1699. Mr. Seals has received a disability rating of 100% by the Veteran’s Administration.

       286.    THE JANUARY 3, 2007 ATTACK- RAMADI

                       A. JEFFERY MOLESKI

       1700. Plaintiff Jeffery Moleski is a citizen of the United States and is domiciled in the

State of Florida.

       1701. On January 3, 2007, Jeff Moleski, age 34, was serving as a peacekeeping

serviceman in the U.S. Navy, with Navy EOD MOB-2, II Marine Expeditionary Force. At the

time, Mr. Moleski held the rank of Chief Petty Officer.

       1702. Mr. Moleski was performing his duties as a EOD Technician in Ramadi, Iraq.

While conducting EOD operations, Mr. Moleski’s person was hit an IED that knocked Mr. Moleski

violently to the ground severely injured.




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       1703. The weapon used to attack and injure Mr. Moleski was an IED of an unknown

composition with command wires provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       1704. As a result of the January 3, 2007 Terrorist Attack, Mr. Moleski sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered 14 pieces of fragmentation to his neck, arms, legs and buttocks.

       1705. Mr. Moleski was treated locally in Ramadi, Iraq and released to continue his tour.

Mr. Moleski was awarded the Purple Heart Medal for being wounded at the hands of the enemy.

He will require further continuous treatment and care.

       1706. As a result of the January 3, 2007 Terrorist Attack, and the injuries he suffered,

Jeffery Moleski has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1707. Mr. Moleski has been rated by the Veteran’s Administration as 100% disabled.

       287.    THE JANUARY 4, 2007 ATTACK- TIKRIT

                       A. DAVID SHEPHERD

       1708. Plaintiff David Shepherd is a citizen of the United States and is domiciled in the

State of North Carolina.

       1709. On January 4, 2007, David Shepherd, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with Echo Company, 1st Battalion, 82nd Airborne Division. At the

time, Mr. Shepherd held the rank of Specialist.

       1710. Mr. Shepherd was performing his duties as a Vehicle Driver on Route Tampa in

Tikrit, Iraq when he was attacked. While conducting a mounted patrol mission, Mr. Shaw’s vehicle

was hit by an IED leaving Mr. Shepherd in the vehicle severely injured.


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          1711. The weapons used to attack and injure Mr. Shepherd were an IED consisting of an

unknown amount of homemade explosives with a land mine. The IED and land mine were

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

          1712. As a result of the January 4, 2007 Terrorist Attack, Mr. Shepherd sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to the right wrist with a one-inch laceration.

          1713. Mr. Shepherd was treated locally at Camp Speicher in Iraq and released to continue

his tour of duty. Mr. Shepherd was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care for mental and physical

issues.

          1714. As a result of the January 4, 2007 Terrorist Attack, and the injuries he suffered,

David Shepherd has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

          1715. Mr. Shepherd has been rated by the Veteran’s Administration as 60% disabled.

          288.   THE JANUARY 6, 2007 ATTACK- BAGHDAD

                         A. DONALD BELZER

          1716. Plaintiff Donald Belzer is a citizen of the United States and is domiciled in the State

of Texas.

          1717. In the early morning of January 6, 2007, Donald Belzer, age 28, was serving as a

peacekeeping serviceman in the U.S. Army, with 4th Squadron, 9th Cavalry Regiment, 1st Cavalry

Division. At the time, Mr. Belzer held the rank of Sergeant.




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       1718. Mr. Belzer performed his duties as a Squad Leader in Western Sadr City, Baghdad,

Iraq at time of injury. While moving to secure an intersection with his Bradley Fighting Vehicle,

he came into close contact with the enemy. While deploying his troops from the back of the

Bradley Fighting Vehicle, Mr. Belzer was hit by fragmentation from a RG-3 Hand Grenade while

receiving small arms fire from an adjacent position. The explosion ripped through his person,

knocking Mr. Belzer around to the ground severely injured.

       1719. The weapon used to attack and injure Mr. Belzer was an Iranian procured RG-3

hand grenade provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1720. As a result of the January 6, 2007 Terrorist Attack, Mr. Belzer sustained significant

injuries due to the concussive blast of the explosion to his head and fragmentation to his C4/5/6 of

his back.

       1721. Mr. Belzer was treated at a local field hospital at Forward Operation Base

Prosperity, Baghdad, Iraq in the hours/days following the attack and was eventually released to

continue operations. Mr. Belzer was awarded the Combat Action Badge for this engagement with

the enemy. He will require further continuous treatment and care.

       1722. As a result of the January 6, 2007 Terrorist Attack, and the injuries he suffered,

Donald Belzer has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1723. Mr. Belzer has received a disability rating of 100% by the Veteran’s

Administration.




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        289.    THE JANUARY 7, 2007 ATTACK- FALLUJAH

                       A. NILES LAVEY

        1724. Plaintiff Niles Lavey is a citizen of the United States and is domiciled in the State

of Minnesota.

        1725. On January 7, 2007, Niles Lavey, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, Bravo Company, 3rd Battalion, 509th Infantry

Regiment, 25th Infantry Division. At the time, Mr. Lavey held the rank of Specialist.

        1726. Mr. Lavey was a Rifleman in Fallujah, Iraq when he was attacked. While

conducting a dismounted security patrol, Mr. Lavey’s person was hit by a round fired by an Enemy

Sniper leaving Mr. Lavey on the ground severely injured. During MEDEVAC, Mr. Lavey was

also attacked by an IED.

        1727. The weapons used to attack and injure Mr. Lavey was a sniper rifle and a IED

consisting of an unknown amount of homemade explosives. The sniper rifle and IED were

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1728. As a result of the January 7, 2007 Terrorist Attack, Mr. Lavey sustained significant

injuries due to the impact of the round as well as the concussive blast of the explosion to his head

and neck. He also suffered a gunshot wound to the neck that punctured a lung and severed his

vocal chords and caused a scar from his right ear to his belly button. The round also created a golf

ball sized hole on exit from his right shoulder.

        1729. Mr. Lavey was treated locally in Fallujah, Iraq and medevaced to Germany and

Walter Reed Army Hospital in the United States. Mr. Lavey was awarded the Purple Heart Medal

for wounds received at the hands of the enemy. He will require further continuous treatment and

care for mental and physical issues. Mr. Lavey’s career in the United States Military was tragically

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cut short, his family relationships came under severe strain as a result of his care requirements and

additional medical treatment (surgeries and physical therapy) will be required to marginally

improve the quality of his life.

        1730. As a result of the January 7, 2007 Terrorist Attack, and the injuries he suffered,

Niles has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        1731. Mr. Lavey has been rated by the Veteran’s Administration as 100% disabled.

        290.    THE JANUARY 20, 2007 ATTACK- KARBALA

                       A. SEAN BENNETT

        1732. Plaintiff Sean Bennett is a citizen of the United States and is domiciled in the State

of Tennessee.

        1733. On January 20, 2007, Sean Bennett, age 32, was serving as a peacekeeping

serviceman in the U.S. Army, with the 2nd Battalion, 377th Parachute Field Artillery, 4th Brigade,

25th Infantry Division. At the time, Mr. Bennett held the rank of Master Sergeant.

        1734. Mr. Bennett was performing his duties as a Provisional Rifleman in Karbala, Iraq.

While conducting a dismounted movement, in a house, Mr. Bennett’s person was hit by a hand

grenade that knocked Mr. Bennett violently to the ground severely injured.

        1735. The weapon used to attack and injure Mr. Bennett was a Soviet style hand grenade

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1736. As a result of the January 20, 2007 Terrorist Attack, Mr. Bennett sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his left bicep requiring skin grafts.


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       1737. Mr. Bennett was treated locally in Karbala, Iraq and medevaced to Germany and

Ft. Wainwright. Mr. Bennett was awarded the Purple Heart Medal for wounds received by the

hands of the enemy. He will require further continuous treatment and care.

       1738. As a result of the January 20, 2007 Terrorist Attack, and the injuries he suffered,

Sean Bennett has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1739. Mr. Bennett has received a disability rating of 100% by the Veteran’s

Administration.

       291.       THE JANUARY 27, 2007 ATTACK- BALAD

                       A. GREGORY HERRERA

       1740. Plaintiff Gregory Herrera is a citizen of the United States and is domiciled in the

State of Texas.

       1741. On January 27, 2007, Gregory Herrera, age 30, was serving as a peacekeeping

serviceman in the U.S. Army, with A Troop, 3rd Squadron, 8th Cavalry Regiment, 1st Cavalry

Division. At the time, Mr. Herrera held the rank of Sergeant.

       1742. Mr. Herrera was performing his duties as a Vehicle Passenger in Balad, Iraq. While

conducting a mounted security patrol, Mr. Herrera’s vehicle was hit by an IED that knocked Mr.

Herrera violently around his vehicle severely injured.

       1743. The weapon used to attack and injure Mr. Herrera was an IED consisting of three

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.




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       1744. As a result of the January 27, 2007 Terrorist Attack, Mr. Herrera sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his left thigh and groin area.

       1745. Mr. Herrera was treated locally in Balad, Iraq and released to continue his tour. Mr.

Herrera was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       1746. As a result of the January 27, 2007 Terrorist Attack, and the injuries he suffered,

Gregory Herrera has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1747. Mr. Herrera has received a disability rating of 100% by the Veteran’s

Administration.

       292.    THE FEBRUARY 2007 ATTACK- SAMARRA

                       A. EDWARD WORTHINGTON, III

       1748. Plaintiff Edward Worthington, III is a citizen of the United States and is domiciled

in the State of Michigan.

       1749. In February 2007, Edward Worthington, III, age 38, was serving as a peacekeeping

serviceman in the U.S. Army, with TRADOC assigned as an Advisor with the Iraqi Police. At the

time, Mr. Worthington held the rank of Major.

       1750. Mr. Worthington was performing his duties as a Vehicle Passenger in Samarra,

Iraq. While conducting a mounted security patrol, Mr. Worthington’s vehicle was hit by a rocket

that knocked Mr. Worthington violently around his vehicle severely injured.




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       1751. The weapon used to attack and injure Mr. Worthington was a rocket consisting of

an unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1752. As a result of the Terrorist Attack in February 2007, Mr. Worthington sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1753. Mr. Worthington was treated locally at Camp Taji, Iraq and was medevaced to

Germany for further treatment. Mr. Worthington was awarded the Combat Action Badge for being

engaged by the enemy. He will require further continuous treatment and care.

       1754. As a result of the Terrorist Attack in February 2007, and the injuries he suffered,

Edward Worthington, III has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       1755. Mr. Worthington has received a disability rating of 100% by the Veteran’s

Administration.

       293.    THE FEBRUARY 3, 2007 ATTACK- BAGHDAD

                       A. ANTHONY QUINN

       1756. Plaintiff Anthony Quinn is a citizen of the United States and is domiciled in the

State of Kansas.

       1757. On February 3, 2007, Anthony Quinn, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with the 41st Engineer Company, 1st Engineer Battalion, 1st Infantry

Division. At the time, Mr. Quinn held the rank of Private First Class.

       1758. Mr. Quinn was performing his duties as a vehicle turret gunner. His unit was tasked

to conduct a route clearance and security patrol to reduce explosive devices in the vicinity of Main

Supply Route Tampa, Tikrit, Iraq. While observing a device from the turret of his vehicle, Mr.


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Quinn was exposed to a blast consisting of four 155mm artillery shells. The explosion ripped

through his armored vehicle, knocking Mr. Quinn unconscious and severely injured.

        1759. The weapons used to attack and injure Mr. Quinn were four 155mm artillery shells

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1760. As a result of the February 3, 2007 Terrorist Attack, Mr. Quinn sustained significant

injuries due to the concussive blast of the explosion to the head and neck and fragmentation

wounds to the hands and legs.

        1761. Mr. Quinn was treated at a local field hospital at FOB Spiker, Iraq and eventually

released to continue fighting. Mr. Quinn was awarded the Purple Heart Medal for wounds received

by the hands of the enemy. He will require further continuous treatment and care.

        1762. As a result of the February 3, 2007 Terrorist Attack, and the injuries he suffered,

Anthony Quinn has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1763. Mr. Quinn has received a disability rating of 60% by the Veteran’s Administration.

        294.   THE FEBRUARY 7, 2007 ATTACK- BAGHDAD

                     A. CHARLES COLLMAN

        1764. Plaintiff Charles Collman is a citizen of the United States and is domiciled in the

State of Oregon.

        1765. On February 7, 2007, Charles Collman, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Cavalry Division. At the time, Mr. Collman held the

rank of Sergeant.




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       1766. Mr. Collman was performing his duties as an Infantry Squad Leader on a mounted

patrol in the vicinity of Balad, Iraq when an explosion from an IED consisting of four 105mm

rapid rounds ripped through his vehicle, knocking Mr. Collman around his vehicle severely

injured.

       1767. The weapons used to attack and injure Mr. Collman were provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1768. As a result of the February 7, 2007 Terrorist Attack, Mr. Collman sustained

significant injuries due to the concussive blast of the explosion, fracturing his skull, damaging his

left eye and facilitating 2nd degree burns over portions of his body.

       1769. Mr. Collman was treated at a local field hospital in Balad, then Germany and

eventually returned to the United States for additional treatment. Mr. Collman was awarded the

Purple Heart Medal for wounds received by the hands of the enemy. He will require further

continuous treatment and care.

       1770. As a result of the February 7, 2007 Terrorist Attack, and the injuries he suffered,

Charles Collman has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1771. Mr. Collman has received a disability rating of 90% by the Veteran’s

Administration.

       295.     THE FEBRUARY 12, 2007 ATTACK- BAGHDAD

                     A. JASON MAXEY

       1772. Plaintiff Jason Maxey is a citizen of the United States and is domiciled in the State

of Louisiana.




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       1773. On February 12, 2007, Jason Maxey, age 29, was serving as a peacekeeping

serviceman in the U.S. Navy, with Naval Mobile Construction Battalion-74, Task Force Serria. At

the time, Mr. Maxey held the rank of Petty Officer First Class.

       1774. Mr. Maxey was performing his duties as a Construction Sailor in Area 4, Baghdad,

Iraq. While conducting a dismounted inspection of a building project, Mr. Maxey’s person was hit

by a 82mm mortar round that knocked Mr. Maxey violently to the ground severely injured.

       1775. The weapon used to attack and injure Mr. Maxey was a 82mm Soviet-made mortar

round provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1776. As a result of the February 12, 2007 Terrorist Attack, Mr. Maxey sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       1777. Mr. Maxey was treated locally at Patrol Base Olson and air medevaced to Balad,

Iraq and released to continue his tour. Mr. Maxey was awarded the Combat Action Ribbon for

being engaged by the enemy. He will require further continuous treatment and care.

       1778. As a result of the February 12, 2007 Terrorist Attack, and the injuries he suffered,

Jason Maxey has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1779. Mr. Maxey has received a disability rating of 100% by the Veteran’s

Administration.

       296.    THE FEBRUARY 14, 2007 ATTACK- CAMP ANACONDA

                      A. PHILIP MOSHER

       1780. Plaintiff Philip Mosher is a citizen of the United States and is domiciled in the State

of Arkansas.


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        1781. On February 14, 2007, Philip Mosher, age 34, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Battalion, 149th Aviation Regiment, Combat Aviation

Brigade, 36th Infantry Division. At the time, Mr. Mosher held the rank of Sergeant.

        1782. Mr. Mosher was performing his duties as a Supply Specialist on Camp Anaconda,

Iraq. While conducting sustainment operations, Mr. Mosher’s person was hit by indirect fire that

knocked Mr. Mosher violently to the ground severely injured.

        1783. The weapon used to attack and injure Mr. Mosher was a mortar round consisting of

an unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        1784. As a result of the February 14, 2007 Terrorist Attack, Mr. Mosher sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

sustained fragmentation injuries to both arms and legs.

        1785. Mr. Mosher was treated locally at Camp Anaconda, Iraq and air medevaced to

Kuwait, Germany, Andrews Air Force Base and Fort Hood. Mr. Mosher was awarded the Combat

Action Badge for being engaged by the enemy. He will require further continuous treatment and

care.

        1786. As a result of the February 14, 2007 Terrorist Attack, and the injuries he suffered,

Philip Mosher has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1787. Mr. Mosher has received a disability rating of 70% by the Veteran’s

Administration.




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       297.    THE FEBRUARY 22, 2007 ATTACK- SCANIA

                        A. NATHAN REED

       1788. Plaintiff Nathan Reed is a citizen of the United States and is domiciled in the State

of Arkansas.

       1789. On February 22, 2007, Nathan Reed, age 30, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, B Company, 1st Battalion, 161st Field Artillery

Regiment. At the time, Mr. Reed held the rank of Sergeant.

       1790. Mr. Reed performed his duties a Squad Leader (Vehicle Commander) in support of

a mounted security patrol operation on Route Wild West in Scania, Iraq. Mr. Reed’s vehicle was

struck by six EFPs. The explosion ripped through his vehicle, knocking Mr. Reed around his

vehicle severely injured.

       1791. The EFPs used to attack and injure Mr. Reed were provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1792. As a result of the February 22, 2007 Terrorist Attack, Mr. Reed sustained

significant injuries due to the concussive blast of the explosion to his head and lower back. He also

sustained lacerations to the chest, back, arms, face and ruptured his ear drums. He required

reconstructive surgery on his right ear. He also broke right knee cap from the force of the

explosion.

       1793. Mr. Reed was treated locally at a Field Hospital in Iraq and was medevaced to

Germany and Ft. Knox in the United States. Mr. Reed was awarded the Purple Heart Medal for

wounds received at the enemy. He will require further continuous treatment and care.

       1794. As a result of the February 22, 2007 Terrorist Attack, and the injuries he suffered,

Nathan Reed has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

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       1795. Mr. Reed has received a disability rating of 90% by the Veteran’s Administration.

       298.    THE FEBRUARY 23, 2007 ATTACK- MOSUL

                     A. WYATT CLEARY

       1796. Plaintiff Wyatt Cleary is a citizen of the United States and is domiciled in the State

of Georgia.

       1797. On February 23, 2007, Wyatt Cleary, age 35, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Company, 1st Battalion, 121st

Infantry Regiment and was attached to the 504th Military Intelligence Company. At the time, Mr.

Cleary held the rank of Sergeant.

       1798. Mr. Cleary was performing his duties as a provisional Rifleman in Mosul, Iraq

when he was attacked. While conducting a mounted security patrol mission, Mr. Cleary’s armored

vehicle was hit by an IED leaving Mr. Cleary in the vehicle severely injured.

       1799. The weapons used to attack and injure Mr. Cleary were comprised of an EFP with

two 155mm artillery shells. The IED materials were provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1800. As a result of the February 23, 2007 Terrorist Attack, Mr. Cleary sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a spinal injury with compressed vertebrae in his back.

       1801. Mr. Cleary was treated locally in Iraq and medevaced to Germany and the United

States for follow on treatment. Mr. Cleary was awarded the Purple Heart Medal for wounds

received at the hands of the enemy. He will require further continuous treatment and care for

mental and physical issues.




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       1802. As a result of the February 23, 2007 Terrorist Attack, and the injuries he suffered,

Wyatt Cleary has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1803. Mr. Cleary has been rated 100% disabled by the Veteran’s Administration.

       299.    THE FEBRUARY 24, 2007 ATTACK- BAGHDAD

                     A. COLT BULOT

       1804. Plaintiff Colt Bulot is a citizen of the United States and is domiciled in the State of

Arizona.

       1805. On February 24, 2007, Colt Bulot, age 49, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, A Company, 1st Battalion, 221st Cavalry Regiment.

At the time, Mr. Bulot held the rank of Sergeant.

       1806. Mr. Bulot was performing his duties as a Vehicle Turret Gunner in Baghdad, Iraq.

While conducting a mounted security/route clearance patrol, Mr. Bulot’s vehicle was hit by an

IED that knocked Mr. Bulot violently around his vehicle severely injured.

       1807. The weapon used to attack and injure Mr. Bulot was an IED/EFP composed of an

unknown amount of homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1808. As a result of the February 24, 2007 Terrorist Attack, Mr. Bulot sustained

significant injuries due to his head and neck. He also received fragmentation to his left eye.

       1809. Mr. Bulot was treated locally at Camp Victory and was air medevaced to Balad,

Germany and Brooke Army Medical Center. Mr. Bulot was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care.




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       1810. As a result of the February 24, 2007 Terrorist Attack, and the injuries he suffered,

Colt Bulot has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1811. Mr. Bulot has been rated 100% disabled by the Veteran’s Administration.

       300.    THE MARCH 1, 2007 ATTACK- FALLUJAH

                      A. JALLOUL JEDIDI

       1812. Plaintiff Jalloul Jedidi is a citizen of the United States and is domiciled in the State

of Washington.

       1813. On March 1, 2007, Jalloul Jedidi, age 27, was serving as a peacekeeping serviceman

in the U.S. Army, with 1st Battalion, 3rd Infantry Regiment, 3rd Brigade, 2nd Infantry Division. At

the time, Mr. Jedidi held the rank of Specialist.

       1814. Mr. Jedidi was performing his duties as an Interpreter in Fallujah, Iraq. While

conducting a dismounted mission at the Iraqi Police Station, Mr. Jedidi’s person was hit by a

mortar round that knocked Mr. Jedidi violently to the ground severely injured.

       1815. The weapon used to attack and injure Mr. Jedidi was a mortar round of unknown

caliber provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1816. As a result of the March 1, 2007 Terrorist Attack, Mr. Jedidi sustained significant

injuries due to his head and neck.

       1817. Mr. Jedidi was treated locally and returned to complete his tour. Mr. Jedidi was

awarded the Purple Heart Medal for wounds received at the hands of the enemy. He will require

further continuous treatment and care.




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       1818. As a result of the March 1, 2007 Terrorist Attack, and the injuries he suffered,

Jalloul Jedidi has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1819. Mr. Jedidi has been rated 100% disabled by the Veteran’s Administration.

       301.    THE MARCH 1, 2007 ATTACK- BAGHDAD

                     A. MICHAEL SHALLAL

       1820. Plaintiff Michael Shallal is a citizen of the United States and is domiciled in the

State of MIchigan.

       1821. On March 1, 2007, Michael Shallal, age 27, was serving as a peacekeeping Defense

Contractor with the U.S. Army.

       1822. Mr. Shallal was performing his duties as a Contractor and was walking with a

dismounted patrol in Baghdad, Iraq when he was attacked. Mr. Shallal was hit by IED leaving Mr.

Shallal severely injured on the ground.

       1823. The weapon used to attack and injure Mr. Shallal was an IED composed of two

buried rockets facilitated by Iran. The explosives were provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1824. As a result of the March 1, 2007 Terrorist Attack, Mr. Shallal sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered three

fractured ribs on his right side, a punctured left lung and a fractured tail bone.

       1825. Mr. Shallal was treated locally at Forward Operating Base Spicher in Baghdad, Iraq

and returned to his work.




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       1826. As a result of the March 1, 2007 Terrorist Attack, and the injuries he suffered,

Michael Shallal and his family have experienced, and will continue to experience, severe physical

and mental anguish and extreme emotional pain and suffering.

       302.    THE MARCH 1, 2007 ATTACK- BAGHDAD

                      A. DUSTIN SMECK

       1827. Plaintiff Dustin Smeck is a citizen of the United States and is domiciled in the State

of Maryland.

       1828. On March 1, 2007, Dustin Smeck, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, 630th Military Police Company, 693rd Military

Police Battalion, 18th Military Police Brigade, 4th Infantry Division. At the time, Mr. Smeck held

the rank of Private First Class.

       1829. Mr. Smeck was performing his duties as a Vehicle Turret Gunner in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Smeck was hit by an SVBIED that knocked Mr.

Smeck violently around his vehicle severely injured.

       1830. The weapon used to attack and injure Mr. Smeck was an SVBIED of unknown

composition provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       1831. As a result of the March 1, 2007 Terrorist Attack, Mr. Smeck sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1832. Mr. Smeck was treated locally on the scene in Iraq and released to continue his

tour. Mr. Smeck was awarded the Combat Action Badge for contact with the enemy. He will

require further continuous treatment and care.




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       1833. As a result of the March 1, 2007 Terrorist Attack, and the injuries he suffered,

Dustin Smeck has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1834. Mr. Smeck has received a disability rating of 80% by the Veteran’s Administration.

       303.    THE MARCH 1, 2007 ATTACK- RAMADI

                     A. LARRY SWEENEY

       1835. Plaintiff Larry Sweeney is a citizen of the United States and is domiciled in the

State of Georgia.

       1836. On March 1, 2007, Larry Sweeney, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with the A Company, 3rd Battalion, 69th Armored Regiment, 1st

Brigade. At the time, Mr. Sweeney held the rank of Sergeant.

       1837. Mr. Sweeney was performing his duties as a Rifleman in Ramadi, Iraq. While

conducting a dismounted security patrol, Mr. Sweeney’s person was hit by an IED that knocked

Mr. Sweeney violently to the ground severely injured.

       1838. The weapon used to attack and injure Mr. Sweeney was an IED consisting of an

unknown amount of home-made explosives with nails provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       1839. As a result of the March 1, 2007 Terrorist Attack, Mr. Sweeney sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his hip (small nail) that was found after he left the Army.

       1840. Mr. Sweeney was treated locally in Ramadi, Iraq and released to continue his tour.

Mr. Sweeney was awarded the Combat Infantry Badge for being engaged by the enemy. He will

require further continuous treatment and care.


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        1841. As a result of the March 1, 2007 Terrorist Attack, and the injuries he suffered, Larry

Sweeney has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1842. Mr. Sweeney has received a disability rating of 100% by the Veteran’s

Administration.

        304.    THE MARCH 1, 2007 ATTACK- BAGHDAD

                      A. KEVIN TROEMEL

        1843. Plaintiff Kevin Troemel is a citizen of the United States and is domiciled in the

State of Georgia.

        1844. On March 1, 2007, Kevin Troemel, age 19, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, C Troop, 2nd Squadron, 12th Cavalry Regiment, 1st

Cavalry Division. At the time, Mr. Troemel held the rank of Private First Class.

        1845. Mr. Troemel was performing his duties as a Vehicle Driver in Baghdad, Iraq when

he was attacked. While conducting a mounted security mission, Mr. Troemel’s vehicle was hit by

an IED leaving Mr. Troemel in the vehicle severely injured.

        1846. The weapon used to attack and injure Mr. Troemel was an IED with home-made

explosives. The IED was provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        1847. As a result of the March 1, 2007 Terrorist Attack, Mr. Troemel sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        1848. Mr. Troemel was treated locally on scene in Iraq and released to continue his tour.

Mr. Tromel was awarded the Combat Infantry Badge for being engaged by the enemy. He will

require further continuous treatment and care for mental and physical issues.


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       1849. As a result of the March 1, 2007 Terrorist Attack, and the injuries he suffered, Kevin

Troemel has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1850. Mr. Troemel has been rated by the Veteran’s Administration as 100% disabled.

       305.    THE MARCH 22, 2007 ATTACK- DIYALA

                        A. DARRELL WHITED

       1851. Plaintiff Darrell Whited is a citizen of the United States and is domiciled in the

State of Mississippi.

       1852. On March 22, 2007, Darrell Whited, age 47, was serving as a peacekeeping

serviceman in the U.S. Army, with the Forward Army Training Command. At the time, Mr. Whited

held the rank of Sergeant First Class.

       1853. Mr. Whited was performing his duties as a Vehicle Passenger in Diyala, Iraq. While

conducting a mounted IED Security patrol, Mr. Whited was hit by an IED that knocked Mr. Whited

violently around his vehicle severely injured.

       1854. The weapon used to attack and injure Mr. Whited was an IED consisting of four

105mm chemical artillery rounds with an unknown amount of home-made explosives provided by

Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1855. As a result of the March 22, 2007 Terrorist Attack, Mr. Whited sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered minor

chemical burns to the tips of his fingers.

       1856. Mr. Whited was treated locally at CSH 28 in Iraq and released to continue his tour.

Mr. Whited was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.


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       1857. As a result of the March 22, 2007 Terrorist Attack, and the injuries he suffered,

Darrell Whited has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1858. Mr. Whited has received a disability rating of 100% by the Veteran’s

Administration.

       306.    THE MARCH 29, 2007 ATTACK- BAGHDAD

                     A. MANUEL ROMAN

       1859. Plaintiff Manuel Roman is a citizen of the United States and is domiciled in the

Territory of Puerto Rico.

       1860. On March 29, 2007, Manuel Roman, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with A Company, 30th Engineer Battalion, 1st Cavalry Division. At

the time, Mr. Roman held the rank of Specialist.

       1861. Mr. Roman performed his duties as a Combat Engineer in Baghdad, Iraq at time of

injury. While conducting a route security/clearance mission on Route Husky, Mr. Roman’s

armored vehicle (RG-31) was struck by an EFP that ripped through his vehicle, throwing Mr.

Roman around the inside of his vehicle’s turret and leaving him injured.

       1862. The weapon (EFP) used to attack and injure Mr. Roman were provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1863. As a result of the March 29, 2007 Terrorist Attack, Mr. Roman sustained significant

injuries due to the concussive blast of the explosion impacting his head and fracturing his spine.

       1864. Mr. Roman was treated at a field hospital in Baghdad in the days following the

attack and was eventually transferred to Kuwait, then Germany and ultimately the United States




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for follow-on care. Mr. Roman was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care.

       1865. As a result of the March 29, 2007 Terrorist Attack, and the injuries he suffered,

Manuel Roman has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1866. Mr. Roman has received a disability rating of 100% by the Veteran’s

Administration.

       307.    THE APRIL 1, 2007 ATTACK- YUSUFIYA

                      A. EUGENE MORGAN

       1867. Plaintiff Eugene Morgan is a citizen of the United States and is domiciled in the

State of Louisiana.

       1868. On April 1, 2007, Eugene Morgan, age 37, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Brigade, 3rd Infantry Division. At the time, Mr. Morgan

held the rank of Specialist.

       1869. Mr. Morgan was performing his duties as a Vehicle Driver in Yusufiya, Iraq. While

conducting a mounted security patrol, Mr. Morgan’s vehicle was hit by an IED that knocked Mr.

Morgan violently around his vehicle severely injured.

       1870. The weapon used to attack and injure Mr. Morgan was an IED composed of an

unknown amount of homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1871. As a result of the April 1, 2007 Terrorist Attack, Mr. Morgan sustained significant

injuries due to his head and neck. He also received fragmentation to his right leg and the force of

the explosion crushed his C 6-7.


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       1872. Mr. Morgan was treated locally at Combat Outpost Baton and returned to complete

his tour. Mr. Morgan was awarded the Purple Heart Medal for wounds received at the hands of the

enemy. He will require further continuous treatment and care.

       1873. As a result of the April 1, 2007 Terrorist Attack, and the injuries he suffered,

Eugene Morgan has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1874. Mr. Morgan has been rated 70% disabled by the Veteran’s Administration.

       308.    THE APRIL 1, 2007 ATTACK- BALAD

                     A. CHRISTOPHER DUNN

       1875. Plaintiff Christopher Dunn is a citizen of the United States and is domiciled in the

State of Kentucky.

       1876. On April 1, 2007, Christopher Dunn, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with the 101st Airborne Division. At the time, Mr. Dunn held the

rank of Private-2.

       1877. Mr. Dunn was performing his duties as a Vehicle Passenger in Balad, Iraq. While

conducting a mounted security patrol, Mr. Dunn’s vehicle was hit by an IED that knocked Mr.

Dunn violently around his vehicle severely injured.

       1878. The weapon used to attack and injure Mr. Dunn was an IED consisting of several

155mm artillery rounds with an unknown amount of home-made explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1879. As a result of the April 1, 2007 Terrorist Attack, Mr. Dunn sustained significant

injuries due to the concussive blast of the explosion to his head and neck.




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       1880. Mr. Dunn was treated locally in Forward Operating Base Anaconda, Iraq and

released to continue his tour. Mr. Dunn was awarded the Combat Infantry Badge for being engaged

by the enemy. He will require further continuous treatment and care.

       1881. As a result of the April 1, 2007 Terrorist Attack, and the injuries he suffered,

Christopher Dunn has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1882. Mr. Dunn has received a disability rating of 100% by the Veteran’s Administration.

       309.    THE APRIL 3, 2007 ATTACK- FALLUJAH

                     A. SCOTT FORRESTER

       1883. Plaintiff Scott Forrester is a citizen of the United States and is domiciled in the State

of Georgia.

       1884. On April 3, 2007, Scott Forrester, age 20, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 3rd Battalion, 6th Marine Regiment. At the time, Mr.

Forrester held the rank of Lance Corporal.

       1885. Mr. Forrester was performing his duties as a Vehicle Passenger in Fallujah, Iraq.

While conducting security operations, Mr. Forrester’s vehicle was hit by an IED that knocked Mr.

Forrester violently around his vehicle severely injured.

       1886. The weapon used to attack and injure Mr. Forrester was an IED comprised of

155mm artillery shells with an unknown composition of home-made explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1887. As a result of the April 3, 2007 Terrorist Attack, Mr. Forrester sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his rib cage, left hand, left arm and have bone removed from his hip.


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        1888. Mr. Forrester was treated locally at Tadquddum Surgical in Iraq and released to

continue his tour. Mr. Forrester was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care.

        1889. As a result of the April 3, 2007 Terrorist Attack, and the injuries he suffered, Scott

Forrester has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1890. Mr. Forrester is rated by the Veteran’s Administration as 100% disabled.

        310.   THE APRIL 7, 2007 ATTACK- ZAYANIYAH

                     A. THE SUMNER FAMILY

        1891. Plaintiff The Sumner Family are citizens of the United States and are domiciled in

the State of Texas. The Sumner Family represents Private First Class Rodney L. McCandless, U.S.

Army.

        1892. On April 7, 2007, Rodney L. McCandless, age 21, was serving as a peacekeeping

serviceman in the U.S. Army assigned to 5th Squadron, 73rd Cavalry Regiment, 3rd Brigade

Combat Team, 82nd Airborne Division. At the time, Campbell held the rank of Private First Class.

        1893. Private First Class McCandless was performing his duties as a vehicle passenger

aboard an armored vehicle in Zayaniyah, Iraq. During a vehicle mounted security patrol, his

vehicle was hit by an Improvised Explosive Device (IED) consisting of an unknown amount of

home-made explosives, killing Private First Class McCandless instantly.

        1894. The weapons used to attack and kill Private First Class McCandless were provided

by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.




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       1895. As a result of the April 7, 2007 Terrorist Attack, The Sumner Family has suffered

the irreplaceable loss of a Son and Brother who was killed in a most horrible and cruel way that

didn’t allow for proper closure.

       311.    THE APRIL 7, 2007 ATTACK- MOSUL

                     A. BRIAN MATTINGLY

       1896. Plaintiff Brian Mattingly is a citizen of the United States and is domiciled in the

State of Florida.

       1897. On April 7, 2007, Brian Mattingly, age 45, was serving as a peacekeeping

serviceman in the U.S. Army, with 45th Sustainment Brigade, Task Force 45. At the time, Mr.

Mattingly held the rank of First Sergeant.

       1898. Mr. Mattingly was performing his duties as a Company First Sergeant in Mosul,

Iraq when he was attacked. While conducting a mounted patrol mission, Mr. Mattingly’s armored

vehicle was hit by an IED leaving Mr. Mattingly in the vehicle severely injured.

       1899. The weapon used to attack and injure Mr. Mattingly was an IED consisting of an

unknown amount of homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1900. As a result of the April 7, 2007 Terrorist Attack, Mr. Mattingly sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also sustained

fragmentation to the face and his left arm.

       1901. Mr. Mattingly was treated locally in Mosul, Iraq and released to continue his tour.

Mr. Mattingly was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care for mental and physical issues.




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        1902. As a result of the April 7, 2007 Terrorist Attack, and the injuries he suffered, Brian

Mattingly has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        1903. Mr. Mattingly has been rated by the Veteran’s Administration as 90% disabled.

        312.      THE APRIL 13, 2007 ATTACK- BAGHDAD

                      A. BRANDON SARTAIN

        1904. Plaintiff Brandon Sartain is a citizen of the United States and is domiciled in the

State of Texas.

        1905. On April 13, 2007, Brandon Sartain, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Platoon, Alpha Company, Brigade Support Battalion,

4th Brigade, 1st Infantry Division. At the time, Mr. Sartain held the rank of Specialist.

        1906. Mr. Sartain was performing his duties as a Vehicle Commander on Route Aeros in

Baghdad, Iraq. While conducting a mounted security patrol, Mr. Sartain’s vehicle was hit by a

83mm Rocket Propelled Grenade that knocked Mr. Sartain violently around his vehicle severely

injured.

        1907. The weapon used to attack and injure Mr. Sartain was a 83mm Anti-Tank Rocket

Propelled Grenade provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.

        1908. As a result of the April 13, 2007 Terrorist Attack, Mr. Sartain sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered a

fractured T11-12 and burns on the neck.

        1909. Mr. Sartain was treated locally in Baghdad, Iraq and medevaced to Germany and

Walter Reed in the United States for two years. Mr. Sartain was awarded the Purple Heart Medal


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for wounds received by the hands of the enemy. He will require further continuous treatment and

care.

        1910. As a result of the April 13, 2007 Terrorist Attack, and the injuries he suffered,

Brandon Sartain has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1911. Mr. Sartain has received a disability rating of 90% by the Veteran’s Administration.

        313.    THE APRIL 19, 2007 ATTACK- BAGHDAD

                     A. BRIAN SAWLSVILLE

        1912. Plaintiff Brian Sawlsville is a citizen of the United States and is domiciled in the

State of Illinois.

        1913. On April 19, 2007, Brian Sawlsville, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, D Troop, 2nd Squadron, 5th Cavalry Regiment, 1st

Cavalry Division. At the time, Mr. Sawlsville held the rank of Specialist.

        1914. Mr. Sawlsville was performing his duties as a M-1 Tank Driver in Baghdad, Iraq.

While conducting a security and overwatch mission, Mr. Sawlsville’s tank was hit by an IED

leaving Mr. Sawlsville inside his tank severely injured.

        1915. The weapon used to attack and injure Mr. Sawlsville was comprised of a 120mm

mortar round with an unknown amount of a secondary propellant charge. The IED material was

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        1916. As a result of the April 19, 2007 Terrorist Attack, Mr. Sawlsville sustained

significant injuries due to the concussive blast of the explosion to include a cracked vertebra (C3/4)

as well as a T4 starburst fracture. These injuries have left him wheelchair bound.


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       1917. Mr. Sawlsville was treated at several different hospitals in the days and months

following the attack and was eventually transferred to the Walter Reed General Hospital in

Bethesda, Maryland where he continued to be hospitalized and received intensive treatment. Mr.

Sawlsville was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care. Mr. Sawlsville’s career in the United States

Military was tragically cut short, his family relationships came under severe strain as a result of

his care requirements and additional medical treatment (surgeries and physical therapy) will be

required to marginally improve the quality of his life.

       1918. As a result of the April 19, 2007 Terrorist Attack, and the injuries he suffered, Brian

Sawlsville has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1919. Mr. Sawlsville has received a disability rating of 100% by the Veteran’s

Administration.

       314.    THE APRIL 21, 2007 ATTACK- BAGHDAD

                     A. JUSTIN HUMMER

       1920. Plaintiff Justin Hummer is a citizen of the United States and is domiciled in the

State of North Carolina.

       1921. On April 21, 2007, Justin Hummer, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Company, 2nd Battalion, 10th Special Forces

Group. At the time, Mr. Hummer held the rank of Staff Sergeant.

       1922. Mr. Hummer was performing his duties as a Special Operator on Ramadi Palace

Complex in Baghdad, Iraq. While conducting mission preparation, Mr. Hummer’s person was hit

by a 107mm Rocket that knocked Mr. Hummer violently to the ground severely injured.


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       1923. The weapon used to attack and injure Mr. Hummer was a 107mm Rocket provided

by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1924. As a result of the April 21, 2007 Terrorist Attack, Mr. Hummer sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received nerve damage to his left eye that forced him to be laterally moved into another job in the

Special Forces Community.

       1925. Mr. Hummer was treated locally at Ramadi Palace Complex, Baghdad Iraq and

released to continue his tour. Mr. Hummer was awarded the Purple Heart Medal for wounds

received at the hands of the enemy. He will require further continuous treatment and care.

       1926. As a result of the April 21, 2007 Terrorist Attack, and the injuries he suffered, Justin

Hummer has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       1927. Mr. Hummer has yet to receive a disability rating from the Veteran’s

Administration as he is still on Active Duty.

       315.    THE APRIL 22, 2007 ATTACK- BAGHDAD

                     A. YASER ALHAMYARI

        1928. Plaintiff Yaser Alhamyari is a citizen of the United States and is domiciled in the

            State of New York.

        1929. On April 22, 2007, Yaser Alhamyari, age 32, was serving as a peacekeeping

            Defense Contractor assigned to the U.S. Army.

        1930. Mr. Alhamyari was performing his duties as a Defense Contractor in Baghdad, Iraq.

            While conducting mission preparation, Mr. Alhamyari’s person was hit by a mortar

            that knocked Mr. Alhamyari violently to the ground severely injured.


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        1931. The weapon used to attack and injure Mr. Alhamyari was a mortar consisting an

            unknown amount of home-made explosives provided by Iran and/or one of its agents

            to Iranian-funded and Iranian-trained terror operatives in Iraq.

        1932. As a result of the April 22, 2007 Terrorist Attack, Mr. Alhamyari sustained

            significant injuries due to the concussive blast of the explosion to his head and neck.

            He also suffered broken ribs and a fractured vertebra from the force of the explosion

            along with nerve damage in both legs.

        1933. Mr. Alhamyari was treated locally in Iraq and released to continue his tour. He will

            require further continuous treatment and care.

        1934. As a result of the April 22, 2007 Terrorist Attack, and the injuries he suffered, Yaser

            Alhamyari has experienced, and will continue to experience, severe physical and

            mental anguish and extreme emotional pain and suffering.




       316.    THE APRIL 29, 2007 ATTACK- TIKRIT

                        A. LUIS DAVILA-QUINONES

       1935. Plaintiff Luis Davila-Quinones is a citizen of the United States and is domiciled in

the State of Florida.

       1936. On April 29, 2007, Luis Davila-Quinones, age 36, was serving as a peacekeeping

serviceman in the U.S. Army, with the Personal Security Detachment, Headquarters and

Headquarters Company, 3rd Brigade, 82nd Airborne Division. At the time, Mr. Davila-Quinones

held the rank of Staff Sergeant.

       1937. Mr. Davila-Quinones was performing his duties as a Vehicle Commander on Main

Supply Route Tampa in Tikrit, Iraq. While conducting a mounted security patrol, Mr. Davila-


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Quinones’s vehicle was hit by an IED that knocked Mr. Davila-Quinones violently around his

vehicle severely injured.

        1938. The weapon used to attack and injure Mr. Davila-Quinones was an IED consisting

of an unknown amount of home-made explosives provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

        1939. As a result of the April 29, 2007 Terrorist Attack, Mr. Davila-Quinones sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a broken L4-5 from the force of the explosion. While conducting the medevac, he was

also shot in the arm by small arms fire.

        1940. Mr. Davila-Quinones was treated locally in Tikrit, Iraq and released to continue his

tour. Mr. Davila-Quinones was awarded the Purple Heart Medal for wounds received by the hands

of the enemy. He will require further continuous treatment and care.

        1941. As a result of the April 29, 2007 Terrorist Attack, and the injuries he suffered, Luis

Davila- Quinones has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        1942. Mr. Davila-Quinones has received a disability rating of 100% by the Veteran’s

Administration.

        317.   THE MAY 1, 2007 ATTACK- BAGHDAD

                     A. KEITH LEE

        1943. Plaintiff Keith Lee is a citizen of the United States and is domiciled in the State of

Illinois.




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       1944. On May 1, 2007, Keith Lee, age 22, was serving as a peacekeeping serviceman in

the U.S. Army, with 2nd Platoon, B Company, 2nd Battalion, 23rd Infantry Regiment, 4th Brigade,

2nd Infantry Division. At the time, Mr. Lee held the rank of Specialist.

       1945. Mr. Lee was performing his duties as a Vehicle Passenger in Baghdad, Iraq. While

conducting a mounted security patrol, Mr. Lee’s vehicle was hit by an IED that knocked Mr. Lee

violently around his vehicle severely injured.

       1946. The weapon used to attack and injure Mr. Lee was an IED consisting of three

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1947. As a result of the May 1, 2007 Terrorist Attack, Mr. Lee sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1948. Mr. Lee was treated locally in Forward Operating Base Falcon, Iraq and released

to continue his tour. Mr. Lee was awarded the Combat Infantry Badge for being engaged by the

enemy. He will require further continuous treatment and care.

       1949. As a result of the May 1, 2007 Terrorist Attack, and the injuries he suffered, Keith

Lee has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1950. Mr. Lee has received a disability rating of 100% by the Veteran’s Administration.

       318.    THE MAY 3, 2007 ATTACK- RAMADI

                     A. SCOTT DALE

       1951. Plaintiff Scott Dale is a citizen of the United States and is domiciled in the State of

Washington.




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       1952. On May 3, 2007, Scott Dale, age 37, was serving as a peacekeeping serviceman in

the U.S. Army, with B Company, 3rd Battalion, 21st Infantry Regiment. At the time, Mr. Dale held

the rank of First Sergeant.

       1953. At the time of his injury, Mr. Dale was performing his duties as the Company First

Sergeant in Ramadi, Iraq. While conducting a mounted route clearance/security patrol mission,

Mr. Dale’s vehicle was hit by an IED, leaving Mr. Dale inside his vehicle severely injured.

       1954. The weapon used to attack and injure Mr. Dale was comprised of an unknown

amount of explosives. The material was provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1955. As a result of the May 3, 2007 Terrorist Attack, Mr. Dale sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1956. Mr. Dale was treated locally at Camp Ramadi in Ramadi, Iraq and released to

continue his tour. Mr. Dale was awarded the Combat Action Badge for being engaged by the

enemy. He will require further continuous treatment and care.

       1957. As a result of the May 3, 2007 Terrorist Attack, and the injuries he suffered, Scott

Dale has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1958. Mr. Dale has received a disability rating of 80% by the Veteran’s Administration.

       319.    THE MAY 11, 2007 ATTACK- BAGHDAD

                     A. JESSE THOMAS

       1959. Plaintiff Jesse Thomas is a citizen of the United States and is domiciled in the State

of Colorado.




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       1960. On May 11, 2007, Jesse Thomas, age 19, was serving as a peacekeeping serviceman

in the U.S. Army, with 2nd Platoon, B Company, 2nd Battalion, 12th Infantry Regiment. At the time,

Mr. Thomas held the rank of Private First Class.

       1961. Mr. Thomas was performing his duties as a Vehicle Turret Ginner in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Thomas was hit by an IED that knocked Mr.

Thomas violently around his vehicle severely injured.

       1962. The weapon used to attack and injure Mr. Thomas was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       1963. As a result of the May 11, 2007 Terrorist Attack, Mr. Thomas sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       1964. Mr. Thomas was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Thomas was awarded the Combat Infantry Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       1965. As a result of the May 11, 2007 Terrorist Attack, and the injuries he suffered, Jesse

Thomas has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       1966. Mr. Thomas has received a disability rating of 100% by the Veteran’s

Administration.

       320.    THE MAY 27, 2007 ATTACK- BAGHDAD

                     A. MICHAEL KARATSANOS

       1967. Plaintiff Michael Karatsanos is a citizen of the United States and is domiciled in

the State of Washington.


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       1968. On May 27, 2007, Brandon Sartain, age 37, was serving as a peacekeeping

serviceman in the U.S. Army, with the C Company, 875th Engineer Battalion. At the time, Mr.

Karatsanos held the rank of Specialist.

       1969. Mr. Karatsanos was performing his duties as a Vehicle Commander on Main

Supply Route Tampa (Check Point 63-64) in Baghdad, Iraq. While conducting a mounted security

patrol, Mr. Karatsanos’ vehicle was hit by an IED that knocked Mr. Karatsanos violently around

his vehicle severely injured.

       1970. The weapon used to attack and injure Mr. Karatsanos was an IED consisting of

1000pounds of home-made explosives provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       1971. As a result of the May 27, 2007 Terrorist Attack, Mr. Karatsanos sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a variety of lower back problems that require injections every 6 months.

       1972. Mr. Karatsanos was treated locally in Baghdad, Iraq and released to continue his

tour. Mr. Karatsanos was awarded the Purple Heart Medal for wounds received by the hands of

the enemy. He will require further continuous treatment and care.

       1973. As a result of the May 27, 2007 Terrorist Attack, and the injuries he suffered,

Michael Karatsanos has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       1974. Mr. Karatsanos has received a disability rating of 100% by the Veteran’s

Administration.




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        321.    THE JUNE 6, 2007 ATTACK- BAGHDAD

                      A. JOHN MCCRORY

        1975. Plaintiff John McCrory is a citizen of the United States and is domiciled in the State

of Colorado.

        1976. On June 6, 2007, John McCrory, age 43, was serving as a peacekeeping Defense

Contractor with the U.S. Army.

        1977. Mr. McCrory was performing his duties as a Contractor and riding in a vehicle on

Main Supply Route Tampa in Baghdad, Iraq when he was attacked. Mr. McCrory was hit by IED

on Main Supply Route Tampa leaving Mr. McCrory severely injured in the vehicle.

        1978. The weapon used to attack and injure Mr. McCrory was an IED facilitated by Iran.

The explosives were provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.

        1979. As a result of the June 6, 2007 Terrorist Attack, Mr. McCrory sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his right forearm.

        1980. Mr. McCrory was treated locally in Baghdad, Iraq and released to continue his

work. He will require further continuous treatment and care for mental and physical issues

associated with PTSD and TBI.

        1981. As a result of the June 6, 2007 Terrorist Attack, and the injuries he suffered, John

McCrory has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.




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       322.    THE JUNE 7, 2007 ATTACK- BAGHDAD

                        A. JOSHUA JAMES

       1982. Plaintiff Joshua James is a citizen of the United States and is domiciled in the State

of Alabama.

       1983. On June 7, 2007, Joshua James, age 19, was serving as a peacekeeping serviceman

in the U.S. Army, with the 2nd Battalion, 69th Armored Regiment, 3rd Brigade Combat Team, 3rd

Infantry Division. At the time, Mr. James held the rank of Private.

       1984. Mr. James was performing his duties as a Vehicle Turret Gunner on Main Supply

Route Tampa in Baghdad, Iraq. While dismounting to change positions, Mr. James’ vehicle was

hit by an SVBIED leaving Mr. James on the ground severely injured when a column on an adjacent

building fell on him.

       1985. The weapon used to attack and injure Mr. James was a vehicle loaded with an

unknown amount of homemade explosives. The SVBIED material was provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       1986. As a result of the June 7, 2007 Terrorist Attack, Mr. James sustained significant

injuries due to the concussive blast of the explosion to his head and neck. The explosion and falling

column crushed his face, requiring reconstructive surgery.

       1987. Mr. James was treated locally in Baghdad, Iraq and air medevaced to Germany and

Ft Bragg in the United States for follow-on treatment. While undergoing care in Baghdad, Mr.

James was also wounded again during an indirect fire attack. Mr. James was awarded the Purple

Heart Medal for wounds received by the hands of the enemy. He will require further continuous

treatment and care. Mr. James’ career in the United States Military was tragically cut short, his

family relationships came under severe strain as a result of his care requirements and additional



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medical treatment (surgeries and physical therapy) will be required to marginally improve the

quality of his life.

        1988. As a result of the June 7, 2007 Terrorist Attack, and the injuries he suffered, Joshua

James has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

        1989. Mr. James has received a disability rating of 100% by the Veteran’s Administration.

        323.    THE JUNE 19, 2007 ATTACK- BAGHDAD

                       A. ALEXANDER FORT CINTRON

        1990. Plaintiff Alexander Fort Cintron is a citizen of the United States and is domiciled

in the State of Georgia.

        1991. On June 19, 2007, Alexander Fort Cintron, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with 5th Battalion, 20th Infantry Regiment. At the time, Mr. Fort

Cintron held the rank of Specialist.

        1992. Mr. Fort Cintron was performing his duties as an Infantryman in Baghdad, Iraq.

While conducting mounted patrol operations, Mr. Fort Cintron’s vehicle was hit by an IED that

knocked Mr. Cintron violently around his vehicle severely injured.

        1993. The weapon used to attack and injure Mr. Fort Cintron was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        1994. As a result of the June 19, 2007 Terrorist Attack, Mr. Fort Cintron sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Fort

Cintron also received shrapnel and severe burns.




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       1995. Mr. Fort Cintron was treated locally at Camp Anaconda, Iraq and medevaced to

Germany. Mr. Fort Cintron was awarded the Purple Heart for being wounded at the hands of the

enemy. He will require further continuous treatment and care.

       1996. As a result of the June 19, 2007 Terrorist Attack, and the injuries he suffered,

Alexander Fort Cintron has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       1997. Mr. Fort Cintron has received a disability rating of 100% by the Veteran’s

Administration.

       324.    THE JUNE 23, 2007 ATTACK- TAJI

                     A. JOSHUA GRANT

       1998. Plaintiff Joshua Grant is a citizen of the United States and is domiciled in the State

of Virginia.

       1999. On June 23, 2007, Joshua Grant, age 23, was serving as a peacekeeping serviceman

in the U.S. Army, with 1st Battalion 7th Field Artillery Regiment, 1st Infantry Division. At the time,

Mr. Grant held the rank of Specialist.

       2000. Mr. Grant was performing his duties as a Vehicle Turret Gunner in Taji, Iraq. While

conducting a mounted security patrol, Mr. Grant’s vehicle was hit by an IED that knocked Mr.

Grant violently around his vehicle severely injured.

       2001. The weapon used to attack and injure Mr. Grant was an IED consisting an unknown

amount of home-made explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       2002. As a result of the June 23, 2007 Terrorist Attack, Mr. Grant sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He received


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fragmentation injuries in his right forearm that left significant scarring. He also suffered

cervicalgia from the force of the explosion.

       2003. Mr. Grant was treated locally at Camp Taji and was Air medevaced to Balad and

Germany. Mr. Grant was awarded the Purple Heart Medal for being wounded at the hands of the

enemy. He will require further continuous treatment and care.

       2004. As a result of the June 23, 2007 Terrorist Attack, and the injuries he suffered, Joshua

Grant has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2005. Mr. Grant has received a disability rating of 100% by the Veteran’s Administration.

       325.    THE JUNE 27, 2007 ATTACK- BAGHDAD

                     A. JESSE LEONARD

       2006. Plaintiff Jesse Leonard is a citizen of the United States and is domiciled in the State

of Michigan.

       2007. On June 27, 2007, Jesse Leonard, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, B Company, 2nd Battalion, 12th Infantry Regiment.

At the time, Mr. Leonard held the rank of Sergeant.

       2008. Mr. Leonard was performing his duties as a Vehicle Driver on Route Baghdad, Iraq.

While conducting a mounted route clearance, Mr. Leonard’s vehicle was hit by an IED that

knocked Mr. Leonard violently around his vehicle severely injured.

       2009. The weapon used to attack and injure Mr. Leonard was an IED consisting of 14,000

pounds of home-made explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.




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       2010. As a result of the June 27, 2007 Terrorist Attack, Mr. Leonard sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered fractures

in his back, C1,2,6, T 2-3 and L1-2 from the force of the explosion.

       2011. Mr. Leonard was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Leonard was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       2012. As a result of the June 27, 2007 Terrorist Attack, and the injuries he suffered, Jesse

Leonard has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2013. Mr. Leonard has received a disability rating of 100% by the Veteran’s

Administration.

       326.    THE JULY 1, 2007 ATTACK- AL KARMAH

                       A. CHRISTIAN SEIFERT

       2014. Plaintiff Christian Seifert is a citizen of the United States and is domiciled in the

State of California.

       2015. On July 1, 2007, Christian Seifert, age 23, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with 3rd Platoon, Company E, 2nd Battalion, 6th Marine

Regiment. At the time, Mr. Seifert held the rank of Sergeant.

       2016. Mr. Seifert was performing his duties as a Truck Commander on Route Lincoln in

Al Karmah, Iraq. While conducting convoy operations, Mr. Seifert’s vehicle was hit by an IED

that knocked Mr. Seifert violently around his vehicle severely injured.




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       2017. The weapon used to attack and injure Mr. Seifert was an IED consisting of a

155mm artillery round and an unknown amount of home-made explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2018. As a result of the July 1, 2007 Terrorist Attack, Mr. Seifert sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2019. Mr. Seifert was treated locally at Camp Fallujah, Iraq and released to continue his

tour. Mr. Seifert was awarded the Purple Heart for being wounded at the hands of the enemy. He

will require further continuous treatment and care.

       2020. As a result of the November 21, 2006 Terrorist Attack, and the injuries he

suffered, Christian Seifert has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       2021. Mr. Seifert is still on active duty and has not yet been rated by the Veteran’s

Administration.

       327.    THE JULY 1, 2007 ATTACK- MOSUL

                     A. BOBBY CHANDLER

       2022. Plaintiff Bobby Chandler is a citizen of the United States and is domiciled in the

State of Missouri.

       2023. On July 1, 2007, Bobby Chandler, age 34, was serving as a peacekeeping

serviceman in the U.S. Army, with E Company, 123rd Brigade Support Battalion, 4th Brigade, 1st

Cavalry Division. At the time, Mr. Chandler held the rank of Specialist.

       2024. Mr. Chandler was performing his duties as a Vehicle Turret Machine Gunner in

Mosul, Iraq when he was attacked. While conducting a mounted security mission, Mr. Chandler’s

vehicle was hit by a IED leaving Mr. Chandler in the vehicle severely injured.


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          2025. The weapon used to attack and injure Mr. Chandler was a IED with an unknown

amount of homemade explosives. The IED was provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

          2026. As a result of the July 1, 2007 Terrorist Attack, Mr. Chandler sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation injuries to the right side of his face and has two contusions on his brain.

          2027. Mr. Chandler was treated locally on scene and in Mosul, Iraq and released to

continue his tour. Mr. Chandler was awarded the Purple Heart Medal for wounds received at the

hands of the enemy. He will require further continuous treatment and care for mental and physical

issues.

          2028. As a result of the July 1, 2007 Terrorist Attack, and the injuries he suffered, Bobby

Chandler has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

          2029. Mr. Chandler has been rated by the Veteran’s Administration as 100% disabled.

          328.   THE JULY 4, 2007 ATTACK- FALLUJAH

                       A. TIMOTHY CHANDLER

          2030. Plaintiff Timothy Chandler is a citizen of the United States and is domiciled in the

State of Florida.

          2031. On July 4, 2007, Timothy Chandler, age 34, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Motor Transport Platoon, Combat Logistics Battalion

6. At the time, Mr. Chandler held the rank of Sergeant.




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       2032. Mr. Chandler was performing his duties as a Vehicle Driver in Fallujah, Iraq. While

conducting resupply operations, Mr. Chandler’s person was hit by an IED that knocked Mr.

Chandler violently around his vehicle severely injured.

       2033. The weapon used to attack and injure Mr. Chandler was an IED of unknown

composition provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       2034. As a result of the July 4, 2007 Terrorist Attack, Mr. Chandler sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered bulging

disks to his lower back and nerve damage to right arm and leg.

       2035. Mr. Chandler was treated locally at Camp Fallujah in Iraq and released to continue

his tour. Mr. Chandler was awarded the Combat Action Ribbon for being engaged by the enemy.

He will require further continuous treatment and care.

       2036. As a result of the July 4, 2007 Terrorist Attack, and the injuries he suffered,

Timothy Chandler has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2037. Mr. Chandler is rated by the Veteran’s Administration as 100% disabled.

       329.    THE JULY 7, 2007 ATTACK- BAGHDAD

                       A. JOSE RIVERA

       2038. Plaintiff Jose Rivera is a citizen of the United States and is domiciled in the State

of Montana.

       2039. On July 7, 2007, Jose Rivera, age 39, was serving as a peacekeeping serviceman in

the U.S. Air Force, assigned to a Provisional Reconstruction Team. At the time, Mr. Rivera held

the rank of Captain.


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       2040. Mr. Rivera performed his duties a Staff Officer in support of reconstruction efforts

from Camp Liberty, Iraq at time of injury in Baghdad, Iraq. While moving with a vehicle mounted

resupply convoy/mounted patrol, Mr. Rivera’s armored vehicle was struck by an EFP. The

explosion ripped through his vehicle, knocking Mr. Rivera around his vehicle severely injured.

       2041. The weapon used to attack and injure Mr. Rivera was Iranian-procured explosive

device provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       2042. As a result of the July 7, 2007 Terrorist Attack, Mr. Rivera sustained significant

injuries due to the concussive blast of the explosion to his head and lower back, while amputating

his right thumb, severely fracturing his left femur and nearly severing his left femoral artery.

       2043. Mr. Rivera was treated at a local field hospital in Iraq in the days following the

attack and was eventually medevaced to Baghdad, Balad, Germany and the United States. Mr.

Rivera was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care.

       2044. As a result of the July 7, 2007 Terrorist Attack, and the injuries he suffered, Jose

Rivera has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2045. Mr. Rivera has recently retired from the U.S. Air Force as a Colonel and has yet to

receive a disability rating from the Veteran’s Administration.

       330.    THE JULY 17, 2007 ATTACK- SADI

                      A. JOHN PEACHEY, III

       2046. Plaintiff John Peachey, III is a citizen of the United States and is domiciled in the

State of Georgia.


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       2047. On July 17, 2007, John Peachey, III, age 43, was serving as a peacekeeping

serviceman in the U.S. Army, with E Company, 1st Battalion 15th Infantry Regiment, 3rd Infantry

Division. At the time, Mr. Peachey held the rank of Sergeant.

       2048. Mr. Peachey was performing his duties as a Vehicle Driver in Sadi, Iraq. While

conducting a mounted security/route clearance patrol, Mr. Peachey’s vehicle was hit by an IED

that knocked Mr. Peachey violently around his vehicle severely injured.

       2049. The weapon used to attack and injure Mr. Peachey was an IED composed of two

anti-tank mines with homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2050. As a result of the July 17, 2007 Terrorist Attack, Mr. Peachey sustained significant

injuries due to his head and neck. He also fractured his L3-5 from the force of the explosion.

       2051. Mr. Peachey was treated locally at Camp Anaconda and air medevaced to Germany,

Walter Reed, Tampa and Ft Benning for follow-on care. Mr. Peachey was awarded the Purple

Heart Medal for wounds received at the hands of the enemy. He will require further continuous

treatment and care.

       2052. As a result of the July 17, 2007 Terrorist Attack, and the injuries he suffered, John

Peachey, III has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2053. Mr. Peachey has been rated 100% disabled by the Veteran’s Administration.

       331.    THE JULY 26, 2007 ATTACK- BAGHDAD

                      A. MATTHEW GOODWIN

       2054. Plaintiff Matthew Goodwin is a citizen of the United States and is domiciled in the

State of Nevada.


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       2055. On July 26, 2007, Matthew Goodwin, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, A Troop, 1st Squadron, 8th Cavalry Regiment. At

the time, Mr. Goodwin held the rank of Specialist.

       2056. Mr. Goodwin was performing his duties as a Turret Machine Gunner on Route

Pluto in Baghdad, Iraq when he was attacked. While conducting a mounted security patrol mission,

Mr. Goodwin’s armored vehicle was hit by an EFP leaving Mr. Goodwin in the vehicle severely

injured.

       2057. The weapon used to attack and injure Mr. Goodwin was an EFP with an unknown

amount of homemade explosives. The EFP was provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2058. As a result of the July 26, 2007 Terrorist Attack, Mr. Goodwin sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to the upper left extremities and his left hand had to be salvaged with limited usage.

       2059. Mr. Goodwin was treated locally in Baghdad, Iraq and air medevaced to Germany,

then San Antonio, Texas. Mr. Goodwin was awarded the Purple Heart Medal for wounds received

at the hands of the enemy. He will require further continuous treatment and care for mental and

physical issues.

       2060. As a result of the July 26, 2007 Terrorist Attack, and the injuries he suffered,

Matthew Goodwin has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2061. Mr. Goodwin has been rated by the Veteran’s Administration as 100% disabled.




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       332.    THE JULY 28, 2007 ATTACK- BAGHDAD

                     A. SHAWN LIETAR

       2062. Plaintiff Shawn Lietar is a citizen of the United States and is domiciled in the State

of Missouri.

       2063. On July 28, 2007, Shawn Lietar, age 23, was serving as a peacekeeping serviceman

in the U.S. Army, with the 1st Infantry Division. At the time, Mr. Lietar held the rank of Specialist.

       2064. Mr. Lietar was performing his duties as a Vehicle Passenger in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Lietar was hit by an IED that knocked Mr. Lietar

violently around his vehicle severely injured.

       2065. The weapon used to attack and injure Mr. Lietar was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2066. As a result of the July 28, 2007 Terrorist Attack, Mr. Lietar sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also dislocated his

right hip, ankle, knee and shoulder from the force of the explosion.

       2067. Mr. Lietar was treated locally in Baghdad and Balad, Iraq and released to continue

his tour. Mr. Lietar was awarded the Combat Infantry Badge for being engaged by the enemy. He

will require further continuous treatment and care.

       2068. As a result of the July 28, 2007 Terrorist Attack, and the injuries he suffered, Shawn

Lietar has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2069. Mr. Lietar has received a disability rating of 100% by the Veteran’s Administration.




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       333.    THE AUGUST 1, 2007 ATTACK- YUSAFIYAH

                     A. TERRY WHITE

       2070. Plaintiff Terry White is a citizen of the United States and is domiciled in the State

of Alabama.

       2071. On August 1, 2007, Terry White, age 33, was serving as a peacekeeping serviceman

in the U.S. Army, with 1st Platoon, Alpha Troop, 2nd Squadron, 5th Cavalry Regiment, 1st Cavalry

Division. At the time, Mr. White held the rank of Specialist.

       2072. Mr. White was performing his duties as a Vehicle Driver in Yusafiyah, Iraq. While

conducting a mounted security patrol, Mr. White’s vehicle was hit by an IED that knocked Mr.

White violently around his vehicle severely injured.

       2073. The weapon used to attack and injure Mr. White was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2074. As a result of the August 1, 2007 Terrorist Attack, Mr. White sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to his left leg.

       2075. Mr. White was treated locally in Forward Operating Base Warrior, Iraq and

released to continue his tour. Mr. White was awarded the Purple Heart Medal for wounds received

at the hands of the enemy. He will require further continuous treatment and care.

       2076. As a result of the August 1, 2007 Terrorist Attack, and the injuries he suffered,

Terry White has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2077. Mr. White has received a disability rating of 100% by the Veteran’s Administration.



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        334.    THE AUGUST 7, 2007 ATTACK- MAHMUDIYAH

                      A. MARIO RAUCH

        2078. Plaintiff Mario Rauch is a citizen of the United States and is domiciled in the State

of Oklahoma.

        2079. In August 7, 2007, Mario Rauch, age 35, was serving as a peacekeeping serviceman

in the U.S. Army, with 3rd Battalion, 320th Artillery Regiment, 3rd Brigade Combat Team, 101st

Airborne Division. At the time, Mr. Rauch held the rank of Staff Sergeant.

        2080. Mr. Rauch performed his duties as a Cannon Crewman in Mahmudiyah, Iraq at

time of injury. While moving on a mounted security patrol/route clearance mission, he and his

vehicle crew were attacked by multiple IEDs of an unknown caliber. Mr. Rauch was hit the

concussion of the IED explosion. The explosion ripped through his vehicle, knocking Mr. Rauch

around his vehicle severely injured.

        2081. The weapons used to attack and injure Mr. Rauch were explosives and war

materials Iranian provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.

        2082. As a result of the August 7, 2007 Terrorist Attack, Mr. Rauch sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        2083. Mr. Rauch was treated at a local field hospital and eventually released to continue

the mission. Mr. Rauch was awarded the Combat Action Badge for being engaged by the enemy.

He will require further continuous treatment and care.

        2084. As a result of the August 2007 Terrorist Attack, and the injuries he suffered, Mario

Rauch has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.



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        2085. Mr. Rauch has received a disability rating of 100% by the Veteran’s

Administration.

        335.    THE AUGUST 9, 2007 ATTACK- AL ANBAR

                      A. JARED JACKSON

        2086. Plaintiff Jared Jackson is a citizen of the United States and is domiciled in the State

of Idaho.

        2087. On August 9, 2007, Jared Jackson, age 20, was serving as a peacekeeping

serviceman in the U.S. Marine Corps, with Weapons Company, 3rd Battalion, 1st Marine Regiment.

At the time, Mr. Jackson held the rank of Lance Corporal.

        2088. Mr. Jackson was performing his duties as a Vehicle Passenger near Combat Outpost

Golden in Al Anbar, Iraq. While responding to a call for troops in contact, Mr. Jackson’s vehicle

was hit by an IED that knocked Mr. Jackson violently around his vehicle severely injured.

        2089. The weapon used to attack and injure Mr. Jackson was an IED of three 155mm

artillery rounds provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.

        2090. As a result of the August 9, 2007 Terrorist Attack, Mr. Jackson sustained significant

injuries due to the concussive blast of the explosion to his head and neck. His L5/S-1 were blown

out as a result of the force of the explosion.

        2091. Mr. Jackson was treated locally in Iraq and released to continue his tour. Mr.

Jackson was awarded the Combat Action Ribbon for being engaged by the enemy. He will require

further continuous treatment and care.




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       2092. As a result of the August 9, 2007 Terrorist Attack, and the injuries he suffered,

Jared Jackson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2093. Mr. Jackson is rated by the Veteran’s Administration as 100% disabled.

       336.    THE SEPTEMBER 7, 2007 ATTACK- TILLIL

                     A. KEVIN CRITZON

       2094. Plaintiff Kevin Critzon is a citizen of the United States and is domiciled in the State

of North Carolina.

       2095. On September 7, 2007, Kevin Critzon, age 36, was serving as a peacekeeping

serviceman in the U.S. Army, with B Battery, 3rd Battalion, 319th Infantry Regiment, 82nd Airborne

Division. At the time, Mr. Critzon held the rank of Staff Sergeant.

       2096. Mr. Critzon was performing his duties as a Vehicle Commander on Main Supply

Route Tampa in Tillil, Iraq. While conducting a mounted security patrol mission, Mr. Critzon’s

vehicle was hit by an IED leaving Mr. Critzon in the vehicle severely injured.

       2097. The weapon used to attack and injure Mr. Critzon was comprised of an EFP with

an unknown amount of homemade explosives. The IED material was provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2098. As a result of the September 7, 2007 Terrorist Attack, Mr. Critzon sustained

significant injuries due to the concussive blast of the explosion to his head and neck. The blast also

created two budging disks in his spine.

       2099. Mr. Critzon was treated locally in Iraq and released to continue his tour. Mr. Critzon

was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He will

require further continuous treatment and care.


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       2100. As a result of the September 7, 2007 Terrorist Attack, and the injuries he suffered,

Kevin Critzon has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2101. Mr. Critzon has received a disability rating of 80% by the Veteran’s

Administration.

       337.      THE SEPTEMBER 17, 2007 ATTACK- BALAD

                     A. CODY HACKNEY

       2102. Plaintiff Cody Hackney is a citizen of the United States and is domiciled in the

State of Iowa.

       2103. On September 17, 2007, Cody Hackney, age 19, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Platoon, 833rd Combat Engineer Company, 1203rd Combat

Engineer Battalion. At the time, Mr. Hackney held the rank of Private-2.

       2104. Mr. Hackney was performing his duties as a Vehicle Passenger on Routes Heather

and Tampa north of Balad, Iraq. While conducting a mounted IED Clearance patrol, Mr. Hackney

was hit by an IED that knocked Mr. Hackney violently around his vehicle severely injured.

       2105. The weapon used to attack and injure Mr. Hackney was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2106. As a result of the September 17, 2007 Terrorist Attack, Mr. Hackney sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2107. Mr. Hackney was treated locally in Iraq and released to continue his tour. Mr.

Hackney was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.


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       2108. As a result of the September 17, 2007 Terrorist Attack, and the injuries he suffered,

Cody Hackney has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2109. Mr. Hackney has received a disability rating of 80% by the Veteran’s

Administration.

       338.    THE SEPTEMBER 23, 2007 ATTACK- TIKRIT

                     A. YUNER OLIVO

       2110. Plaintiff Yuner Olivo is a citizen of the United States and is domiciled in the State

of Texas.

       2111. On September 23, 2007, Yuner Olivo, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Battalion, 1st Battalion 319th Field Artillery

Regiment, 82nd Airborne Division. At the time, Mr. Olivo held the rank of Sergeant.

       2112. Mr. Olivo was performing his duties as a Vehicle Commander on Main Supply

Route Tampa in Tikrit, Iraq. While conducting a mounted security patrol, Mr. Olivo’s vehicle was

hit by an IED that knocked Mr. Olivo violently around his vehicle severely injured.

       2113. The weapon used to attack and injure Mr. Olivo was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2114. As a result of the September 23, 2007 Terrorist Attack, Mr. Olivo sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2115. Mr. Olivo was treated locally in Forward Operating Base Spiker, Iraq and released

to continue his tour. Mr. Olivo was awarded the Combat Action Badge for being engaged by the

enemy. He will require further continuous treatment and care.


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       2116. As a result of the September 23, 2007 Terrorist Attack, and the injuries he suffered,

Yuner Olivo has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2117. Mr. Olivo has received a disability rating of 100% by the Veteran’s Administration.

       339.    THE SEPTEMBER 27, 2007 ATTACK- ROUTE LONG ISLAND
               BAGHDAD-FALLUJAH

                     A. JOSEPH KRUMMERT

       2118. Plaintiff Joseph Krummert is a citizen of the United States and is domiciled in the

State of Georgia.

       2119. On September 27, 2007, Joseph Krummert, age 42, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Platoon, 1230th Transportation Company, 101st

Airborne Division. At the time, Mr. Krummert held the rank of Sergeant.

       2120. Mr. Krummert was performing his duties as a Vehicle Commander traveling on

Route Long Island from Baghdad to Fallujah, Iraq when he was attacked. While conducting a

mounted convoy security patrol/resupply mission, Mr. Krummert’s armored vehicle was hit by an

IED leaving Mr. Krummert in the vehicle severely injured.

       2121. The weapon used to attack and injure Mr. Krummert was an IED consisting of an

unknown amount of homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2122. As a result of the September 27, 2007 Terrorist Attack, Mr. Krummert sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

dislocated his right shoulder and broke his L1-3 and T10 from the force of the explosion.

       2123. Mr. Krummert was treated locally in Iraq and air medevaced to Kuwait and

Germany, then moved to Ft Benning, Georgia. Mr. Krummert was awarded the Purple Heart Medal

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for wounds received at the hands of the enemy. He will require further continuous treatment and

care for mental and physical issues.

       2124. As a result of the September 27, 2007 Terrorist Attack, and the injuries he suffered,

Joseph Krummert has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2125. Mr. Krummert has been rated by the Veteran’s Administration as 100% disabled.

       340.    THE OCTOBER 1, 2007 ATTACK- BAGHDAD

                     A. SCOT PFEIFER

       2126. Plaintiff Scot Pfeifer is a citizen of the United States and is domiciled in the State

of Ohio.

       2127. On October 1, 2007, Scot Pfeifer, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with the Military Transition Team (MITT), 1st Infantry Division. At

the time, Mr. Pfeifer held the rank of Sergeant First Class.

       2128. Mr. Pfeifer was performing his duties as a Vehicle Turret Gunner on Route Irish in

Baghdad, Iraq. While conducting a mounted resupply mission, Mr. Pfeifer’s vehicle was hit by an

IED that knocked Mr. Pfeifer violently around his vehicle severely injured.

       2129. The weapon used to attack and injure Mr. Pfeifer was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2130. As a result of the October 1, 2007 Terrorist Attack, Mr. Pfeifer sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered a

ruptured L4-5 from the force of the explosion.




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       2131. Mr. Pfeifer was treated locally in Baghdad, Iraq and released to continue his tour.

Mr. Pfeifer was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.

       2132. As a result of the October 1, 2007 Terrorist Attack, and the injuries he suffered,

Scot Pfeifer has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2133. Mr. Pfeifer has received a disability rating of 100% by the Veteran’s

Administration.

       341.       THE OCTOBER 3, 2007 ATTACK- DORA

                     A. MATTHEW PACHECO

       2134. Plaintiff Matthew Pacheco is a citizen of the United States and is domiciled in the

State of Texas.

       2135. On October 3, 2007, Matthew Pacheco, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, I Company, 3rd Brigade, 2nd Infantry Division. At

the time, Mr. Pacheco held the rank of Private First Class.

       2136. Mr. Pacheco was performing his duties as a Rifleman in Dora, Iraq when he was

attacked. While conducting a dismounted security patrol inside a building, Mr. Pacheco’s person

was hit by an IED leaving Mr. Pacheco on the ground severely injured.

       2137. The weapon used to attack and injure Mr. Pacheco was an IED consisting of an

unknown amount of home-made explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2138. As a result of the October 3, 2007 Terrorist Attack, Mr. Pacheco sustained

significant injuries due to the concussive blast of the explosion to his head and neck.


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       2139. Mr. Pacheco was treated locally on scene in Iraq and released to continue his tour.

Mr. Pacheco was awarded the Combat Infantry Badge for being engaged by the enemy. He will

require further continuous treatment and care for mental and physical issues.

       2140. As a result of the October 3, 2007 Terrorist Attack, and the injuries he suffered,

Matthew Pacheco has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2141. Mr. Pacheco has been rated by the Veteran’s Administration as 50% disabled.

       342.    THE OCTOBER 7, 2007 ATTACK- TAL AFAR

                        A. KRISTOPHER HERRIN

       2142. Plaintiff Kristopher Herrin is a citizen of the United States and is domiciled in the

State of Mississippi.

       2143. On October 7, 2007, Kristopher Herrin, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, A Troop, 1st Squadron, 1st Cavalry Regiment. At

the time, Mr. Herrin held the rank of Sergeant.

       2144. Mr. Herrin was performing his duties as a Vehicle Commander in Tal Afar, Iraq.

While conducting a mounted security patrol, Mr. Herrin’s vehicle was hit by an IED that knocked

Mr. Herrin violently around his vehicle severely injured.

       2145. The weapon used to attack and injure Mr. Herrin was an IED consisting of an

unknown amount of home-made explosives with a pressure plate provided by Iran and/or one of

its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2146. As a result of the October 7, 2007 Terrorist Attack, Mr. Herrin sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered a torn

ligament in his right shoulder and has bulging S1-3 in his back for the force of the explosion.


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       2147. Mr. Herrin was treated locally Tal Afar, Iraq and medevaced to Balad and Germany

for additional treatment. Mr. Herrin was awarded the Purple Heart Medal for wounds received by

the hands of the enemy. He will require further continuous treatment and care.

       2148. As a result of the October 7, 2007 Terrorist Attack, and the injuries he suffered,

Kristopher Herrin has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2149. Mr. Herrin has received a disability rating of 100% by the Veteran’s

Administration.

       343.    THE OCTOBER 12, 2007 ATTACK- BAGHDAD

                      A. KEVIN MCMAINS

       2150. Plaintiff Kevin McMains is a citizen of the United States and is domiciled in the

State of Florida.

       2151. In the early morning of October 12, 2007, Kevin McMains, age 27, was serving as

a peacekeeping serviceman in the U.S. Army, with the Headquarters and Headquarters Battalion,

G-1, 1st Cavalry Division. At the time, Mr. McMains held the rank of Specialist.

       2152. Mr.      McMains    was   performing    his   duties   as   the   Causality   Liaison

Noncommissioned Officer in Charge returning to Baghdad, Iraq from Al Anbar Providence to

return to the U.S. While waiting for his flight to leave Iraq, Mr. McMains was walking across a

street at Camp Liberty (Baghdad International Airport), a secured area, when an explosion from a

122mm rocket ripped through his right hand, knocking Mr. McMains to the ground severely

injured.

       2153. The weapon used to attack and injure Mr. McMains was a Chinese-made 122mm

Rocket provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

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        2154. As a result of the October 12, 2007 Terrorist Attack, Mr. McMains sustained

significant injuries due to the concussive blast of the explosion and shrapnel impacting his right

hand.

        2155. Mr. McMains was treated at a local field hospital and returned to the United States

with his redeploying unit. Mr. McMains was awarded the Purple Heart Medal for wounds received

by the hands of the enemy. He will require further continuous treatment and care.

        2156. As a result of the October 12, 2007 Terrorist Attack, and the injuries he suffered,

Kevin McMains has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2157. Mr. McMains has received a disability rating of 100% by the Veteran’s

Administration.

        344.   THE OCTOBER 14, 2007 ATTACK- RAMADI

                       A. DIEGO CABEZAS

        2158. Plaintiff Diego Cabezas is a citizen of the United States and is domiciled in the

State of California.

        2159. On October 14, 2007, Diego Cabezas, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 37th Armored Regiment, 1st Armor Division. At

the time, Mr. Diego held the rank of Specialist.

        2160. Mr. Cabezas was performing his duties as a provisional Rifleman in the southern

portion of Ramadi, Iraq. While conducting a dismounted security patrol mission, Mr. Cabezas’s

person was hit by an IED leaving Mr. Cabezas on the ground severely injured.

        2161. The weapon used to attack and injure Mr. Cabezas was comprised of an unknown

amount of explosives concealed by a box in the road. The attack was coupled with a small arms


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ambush. The IED material was provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       2162. As a result of the October 14, 2007 Terrorist Attack, Mr. Cabezas sustained

significant injuries due to the concussive blast of the explosion to include fragmentation injuries

to his face and his entire body. Since the incident, he has required additional reconstructive surgery

to his right shoulder to gain limited mobility.

       2163. Mr. Cabezas was treated locally at Camp Ramadi, Iraq and released to continue his

tour. Mr. Cabezas was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.

       2164. As a result of the October 14, 2007 Terrorist Attack, and the injuries he suffered,

Diego Cabezas has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2165. Mr. Cabezas has received a disability rating of 80% by the Veteran’s

Administration.

       345.    THE NOVEMBER 7, 2007 ATTACK- TIKRIT

                     A. RUSSELL POPE

       2166. Plaintiff Russell Pope is a citizen of the United States and is domiciled in the State

of Missouri.

       2167. On November 7, 2007, Russell Pope, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Platoon, 572nd MAC, 326th Combat Engineer

Battalion. At the time, Mr. Pope held the rank of Specialist.




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       2168. Mr. Pope was performing his duties as a Vehicle Gunner on Main Supply Route

Tampa in Tikrit, Iraq. While conducting a mounted IED Clearance patrol, Mr. Pope was hit by an

IED that knocked Mr. Pope violently around his vehicle severely injured.

       2169. The weapon used to attack and injure Mr. Pope was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2170. As a result of the November 7, 2007 Terrorist Attack, Mr. Pope sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2171. Mr. Pope was treated locally in Tikrit, Iraq and released to continue his tour. Mr.

Pope was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.

       2172. As a result of the November 7, 2007 Terrorist Attack, and the injuries he suffered,

Russell Pope has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2173. Mr. Pope has received a disability rating of 100% by the Veteran’s Administration.

       346.    THE NOVEMBER 15, 2007 ATTACK- BAGHDAD

                     A. JOSHUA COOK

       2174. Plaintiff Joshua Cook is a citizen of the United States and is domiciled in the State

of North Carolina.

       2175. On November 15, 2007, Joshua Cook, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, 131st Military Police Battalion. At the time, Mr.

Cook held the rank of Sergeant.




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        2176. Mr. Cook was performing his duties as a Vehicle Commander on Main Supply

Route Tampa in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Cook’s vehicle

was hit by an VBIED that knocked Mr. Cook violently around his vehicle severely injured.

        2177. The weapon used to attack and injure Mr. Cook was an VBIED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        2178. As a result of the November 15, 2007 Terrorist Attack, Mr. Cook sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He received

burn injuries to his right arm and leg as well as his torso that left significant scarring

        2179. Mr. Cook was treated locally in Baghdad Iraq and was air medevaced to Balad,

Germany and the United States. Mr. Cook was awarded the Purple Heart Medal for being wounded

at the hands of the enemy. He will require further continuous treatment and care.

        2180. As a result of the November 15, 2007 Terrorist Attack, and the injuries he suffered,

Joshua Cook has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

        2181. Mr. Cook has received a disability rating of 100% by the Veteran’s Administration.

        347.    THE DECEMBER 1, 2007 ATTACK- TIKRIT

                      A. SAUL SERRANO

        2182. Plaintiff Saul Serrano is a citizen of the United States and is domiciled in the State

of Florida.

        2183. On December 1, 2007, Saul Serrano, age 40, was serving as a peacekeeping

serviceman in the U.S. Army, with 2nd Battalion, 505th Infantry Regiment, 82nd Airborne Division.

At the time, Mr. Serrano held the rank of Private First Class.


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       2184. Mr. Serrano was performing his duties as a Truck Commander on MSR Tampa,

Tikrit, Iraq. While conducting convoy operations, Mr. Serrano’s vehicle was hit by an IED that

knocked Mr. Serrano violently around his vehicle severely injured.

       2185. The weapon used to attack and injure Mr. Serrano was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2186. As a result of the December 1, 2007 Terrorist Attack, Mr. Serrano sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2187. Mr. Serrano was treated locally at Forward Operating Base Speicher, Iraq and

released to continue his tour. Mr. Serrano was awarded the Combat Action Badge for being

engaged by the enemy. He will require further continuous treatment and care.

       2188. As a result of the December 1, 2007 Terrorist Attack, and the injuries he suffered,

Saul Serrano has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2189. Mr. Serrano has received a disability rating of 100% by the Veteran’s

Administration.

       348.    THE DECEMBER 4, 2007 ATTACK- RAMADI

                     A. KRISTOPHER MITCHELL

       2190. Plaintiff Kristopher Mitchell is a citizen of the United States and is domiciled in the

State of New York.

       2191. On December 4, 2007, Kristopher Mitchell, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, with B Battery, 3rd Battalion, 6th Field Artillery Regiment. At the

time, Mr. Mitchell held the rank of Specialist.


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       2192. Mr. Mitchell was performing his duties as a Vehicle Commander in Kirkuk, Iraq.

While conducting a quick reaction force mission, Mr. Mitchell’s vehicle was hit by an IED leaving

Mr. Mitchell in the vehicle severely injured.

       2193. The weapon used to attack and injure Mr. Mitchell was comprised of a 155mm

artillery shell with an unknown amount of homemade explosives and a pressure ignition switch in

the road. The IED material was provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       2194. As a result of the December 4, 2007 Terrorist Attack, Mr. Mitchell sustained

significant injuries due to the concussive blast of the explosion to his head and neck with vestibular

dysfunction.

       2195. Mr. Mitchell was treated locally at Kirkuk, Iraq and air medevaced to Balad,

Germany and Walter Reed Hospital in the United States. Mr. Mitchell was awarded the Purple

Heart Medal for wounds received by the hands of the enemy. He will require further continuous

treatment and care.

       2196. As a result of the December 4, 2007 Terrorist Attack, and the injuries he suffered,

Kristopher Mitchell has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2197. Mr. Mitchell has received a disability rating of 80% by the Veteran’s

Administration.

       349.    THE DECEMBER 13, 2007 ATTACK- BAGHDAD

                      A. DOUGLAS ROYE

       2198. Plaintiff Douglas Roye is a citizen of the United States and is domiciled in the State

of Kentucky.


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       2199. On December 13, 2007, Douglas Roye, age 34, was serving as a peacekeeping

serviceman in the U.S. Army, with the 2nd Platoon, 1132nd Military Police Company, 198th Military

Police Brigade. At the time, Mr. Roye held the rank of Sergeant.

       2200. Mr. Roye was performing his duties as a Vehicle Commander on Route Wild in

Baghdad, Iraq. While conducting a mounted security patrol, Mr. Roye’s vehicle was hit by an IED

that knocked Mr. Roye violently around his vehicle severely injured.

       2201. The weapon used to attack and injure Mr. Roye was an IED with an unknown

amount of home-made explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       2202. As a result of the December 13, 2007 Terrorist Attack, Mr. Roye sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2203. Mr. Roye was treated locally in Rustamiyah, Iraq and released to continue his tour.

Mr. Roye was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       2204. As a result of the December 13, 2007 Terrorist Attack, and the injuries he suffered,

Douglas Roye has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2205. Mr. Roye has received a disability rating of 100% by the Veteran’s Administration.

       350.    THE DECEMBER 20, 2007 ATTACK- KANNAN

                     A. MICHAEL ANDERSON

       2206. Plaintiff Michael Anderson is a citizen of the United States and is domiciled in the

State of Indiana.




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       2207. On December 20, 2007, Michael Anderson, age 18, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, Howitzer Battery, 3rd Armored Cavalry Regiment.

At the time, Mr. Anderson held the rank of Specialist.

       2208. Mr. Anderson was performing his duties as a Provisional Rifleman in Kannan, Iraq.

While conducting a dismounted security patrol, Mr. Anderson’s person was hit by an SIED that

knocked Mr. Anderson violently to the ground severely injured.

       2209. The weapon used to attack and injure Mr. Anderson was a Suicide Vest consisting

of an unknown amount of home-made explosives with ball bearings provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2210. As a result of the December 20, 2007 Terrorist Attack, Mr. Anderson sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to both legs as well as burns. The bomber’s bones remain in Mr.

Anderson’s legs to this day.

       2211. Mr. Anderson was treated locally in Balad, Iraq and he was medevaced to Germany

and Walter Reed Army Hospital. Mr. Anderson was awarded the Purple Heart Medal for wounds

received by the hands of the enemy. He will require further continuous treatment and care.

       2212. As a result of the December 20, 2007 Terrorist Attack, and the injuries he suffered,

Michael Anderson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2213. Mr. Anderson has received a disability rating of 60% by the Veteran’s

Administration.




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        351.    THE DECEMBER 26, 2007 ATTACK- BAGHDAD

                      A. CHRISTOPHER BURRELL

        2214. Plaintiff Christopher Burrell is a citizen of the United States and is domiciled in the

State of North Carolina.

        2215. On December 26, 2007, Christopher Burrell, age 27, was serving as a peacekeeping

serviceman in the U.S. Army, with the 108th Military Police Company. At the time, Mr. Burrell

held the rank of Corporal.

        2216. At the time of his injury, Mr. Burrell was performing his duties as a Vehicle

Commander in Sadr City, Baghdad, Iraq. While conducting a training mission to teach Iraqi

partners how to do a Vehicle Check Point, Mr. Burrell’s vehicle was hit by thee EFPs, leaving Mr.

Burrell inside his vehicle severely injured.

        2217. The weapons used to attack and injure Mr. Burrell was comprised of three “array”

EFPs. The EFPs were provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.

        2218. As a result of the December 26, 2007 Terrorist Attack, Mr. Burrell sustained

significant injuries due to the concussive blast of the explosion to his head and neck, while

suffering an amputation of the left leg above the knee, fragmentation to his right leg and the back

of the neck. He also suffered burns to his face and lower chest. He also lost a significant portion

of his left buttocks to the blast.

        2219. Mr. Burrell was treated locally at a field hospital at Forward Operating Base

Anaconda, Iraq and eventually was medevaced to Germany and the United States for follow on

treatment. Mr. Burrell was awarded the Purple Heart Medal for wounds received by the hands of

the enemy. He will require further continuous treatment and care. Mr. Burrell’s career in the United

States Military was tragically cut short, his family relationships came under severe strain as a result

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of his care requirements and additional medical treatment (surgeries and physical therapy) will be

required to marginally improve the quality of his life.

       2220. As a result of the December 26, 2007 Terrorist Attack, and the injuries he suffered,

Christopher Burrell has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2221. Mr. Burrell has received a disability rating of 100% by the Veteran’s

Administration.

       352.    THE JANUARY 1, 2008 ATTACK- SADR CITY

                     A. PATRICK TURNER

       2222. Plaintiff Patrick Turner is a citizen of the United States and is domiciled in the State

of Maryland.

       2223. On January 1, 2008, Patrick Turner, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters Platoon, Alpha Company, 1st Squadron, 2nd

Stryker Cavalry Regiment. At the time, Mr. Turner held the rank of Sergeant.

       2224. Mr. Turner was performing his duties as a Vehicle Commander in Sadr City,

Baghdad, Iraq. While conducting a mounted security patrol, Mr. Turner’s vehicle was hit by an

IED that knocked Mr. Turner violently around his vehicle severely injured.

       2225. The weapon used to attack and injure Mr. Turner was an IED consisting an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2226. As a result of the January 1, 2008 Terrorist Attack, Mr. Turner sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He later learned in 2012




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he had fractured his C4 from the force of the explosion, thus the U.S. Army forced him to laterally

move jobs in the Service affecting his ability to be retained or promoted.

       2227. Mr. Turner was treated locally at Camp Taji, Iraq and released to continue his tour.

Mr. Turner was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care.

       2228. As a result of the January 1, 2008 Terrorist Attack, and the injuries he suffered,

Patrick Turner has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2229. Mr. Turner has yet to be evaluated by the Veteran’s Administration as he is still on

active duty.

       353.    THE JANUARY 1, 2008 ATTACK- TIKRIT

                     A. THOMAS LEDFORD

       2230. Plaintiff Thomas Ledford is a citizen of the United States and is domiciled in the

State of Vermont.

       2231. On January 1, 2008, Thomas Ledford, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with the 113th Military Police Company. At the time, Mr. Ledford

held the rank of Sergeant.

       2232. Mr. Ledford was performing his duties as a Vehicle Commander in Tikrit, Iraq

when he was attacked. While conducting a mounted security patrol, Mr. Ledford’s vehicle was hit

by an IED leaving Mr. Ledford in the vehicle severely injured.

       2233. The weapon used to attack and injure Mr. Ledford was an IED of unknown

composition with home-made explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.


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       2234. As a result of the January 1, 2008 Terrorist Attack, Mr. Ledford sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He was also

required to have a spinal fusion of the L-5/S-1 as a result of the explosion.

       2235. Mr. Ledford was treated locally on scene in Iraq and released to continue his tour.

Mr. Ledford was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care for mental and physical issues.

       2236. As a result of the January 1, 2008 Terrorist Attack, and the injuries he suffered,

Thomas Ledford has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2237. Mr. Ledford has been rated by the Veteran’s Administration as 100% disabled.

       354.    THE JANUARY 1, 2008 ATTACK- LAKE TAR TAR

                     A. ISREAL MADUENO

       2238. Plaintiff Isreal Madueno is a citizen of the United States and is domiciled in the

State of Georgia.

       2239. On January 1, 2008, Isreal Madueno, age 20, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, C Company, 3rd Battalion, 69th Armored Regiment,

1st Brigade, 3rd Infantry Division. At the time, Mr. Madueno held the rank of Private First Class.

       2240. Mr. Madueno was performing his duties as a Vehicle Turret Gunner in the vicinity

of Lake Tar Tar, Al Anbar, Iraq. While conducting a mounted security patrol, Mr. Madueno’s

vehicle was hit by an IED that knocked Mr. Madueno violently around his vehicle severely injured.

       2241. The weapon used to attack and injure Mr. Madueno was an IED consisting of 300

pounds of homemade explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.


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       2242. As a result of the January 1, 2008 Terrorist Attack, Mr. Madueno sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2243. Mr. Madueno was treated locally at Combat Outpost Zeimer in Iraq and released to

continue his tour. Mr. Madueno was awarded the Combat Action Badge for being engaged by the

enemy. He will require further continuous treatment and care.

       2244. As a result of the January 1, 2008 Terrorist Attack, and the injuries he suffered,

Isreal Madueno has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2245. Mr. Madueno has received a disability rating of 100% by the Veteran’s

Administration.

       355.    THE JANUARY 7, 2008 ATTACK- TIKRIT

                     A. FRANCISCO VILLARREAL

       2246. Plaintiff Francisco Villarreal is a citizen of the United States and is domiciled in

the State of North Carolina.

       2247. In the early morning of January 7, 2008, Francisco Villarreal, age 35, was serving

as a peacekeeping serviceman in the U.S. Army, with the 326th Engineer Battalion, 101st Airborne

Division. At the time, Mr. Villarreal held the rank of Sergeant.

       2248. Mr. Villarreal performed his duties as an Engineer Squad Leader in Tikrit, Iraq at

time of injury. While conducting a route security/resupply mission, Mr. Villarreal’s armored

vehicle was struck by an IED consisting of two 55mm artillery shells that ripped through his

vehicle, throwing Mr. Villarreal around the inside of his vehicle and leaving him injured. This IED

was used to initiate an enemy small arms attack, creating a complex ambush on his five vehicle

convoy.


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        2249. The weapons used to attack and injure Mr. Villarreal were Iranian-procured 155mm

artillery shells and provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.

        2250. As a result of the January 2008 Terrorist Attack, Mr. Villarreal sustained significant

injuries due to the concussive blast of the explosion impacting his head.

        2251. Mr. Villarreal was treated at a field hospital in Tikrit in the days following the attack

and was eventually released to continue operations. Mr. Villarreal was awarded the Combat Action

Badge for receiving enemy fire. He will require further continuous treatment and care.

        2252. As a result of the January 7, 2008 Terrorist Attack, and the injuries he suffered,

Francisco Villarreal has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2253. Mr. Villarreal has received a disability rating of 100% by the Veteran’s

Administration.

        356.    THE JANUARY 10, 2008 ATTACK- BAQUBA

                      A. RONALD RUSSELL

        2254. Plaintiff Ronald Russell is a citizen of the United States and is domiciled in the

State of Georgia.

        2255. On January 10, 2008, Ronald Russell, age 29, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, C Company, 2nd Battalion, 23rd Infantry Regiment.

At the time, Mr. Russell held the rank of Staff Sergeant.

        2256. Mr. Russell was performing his duties as a Vehicle Commander in Baquba, Iraq.

While conducting a mounted security/ambush patrol, Mr. Russell’s vehicle was hit by an IED that

knocked Mr. Russell violently around his vehicle severely injured.


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       2257. The weapon used to attack and injure Mr. Russell was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2258. As a result of the January 10, 2008 Terrorist Attack, Mr. Russell sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2259. Mr. Russell was treated locally at Forward Operating Base Workhorse, Iraq and

released to continue his tour. Mr. Russell was awarded the Purple Heart Medal for wounds received

by the hands of the enemy. He will require further continuous treatment and care.

       2260. As a result of the January 10, 2008 Terrorist Attack, and the injuries he suffered,

Ronald Russell has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2261. Mr. Russell has received a disability rating of 90% by the Veteran’s Administration.

       357.    THE JANUARY 11, 2008 ATTACK-ISHAKI

                     A. DANIEL WEBSTER

       2262. Plaintiff Daniel Webster is a citizen of the United States and is domiciled in the

State of South Carolina.

       2263. On January 11, 2008, Daniel Webster, age 30, was serving as a peacekeeping

serviceman in the U.S. Army, with D Company, 2nd Battalion, 1st Brigade, 101st Airborne Division.

At the time, Mr. Webster held the rank of Sergeant First Class.

       2264. Mr. Webster was performing his duties as an Infantry Unit Leader in Ishaki, Iraq.

While conducting a dimounted security patrol at Gate Golden, Mr. Webster’s person was hit by an

SVBIED that knocked Mr. Webster violently to the ground severely injured.




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       2265. The weapon used to attack and injure Mr. Webster was an SVBIED composed of

an unknown amount of homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2266. As a result of the January 11, 2008 Terrorist Attack, Mr. Webster sustained

significant injuries due to his head and neck. He also received fragmentation to his face causing a

severed nerve and loss of sensation in the left side of the face.

       2267. Mr. Webster was treated locally in Iraq and air medevaced to Balad, Germany and

Walter Reed. Mr. Webster was awarded the Purple Heart Medal for wounds received at the hands

of the enemy. He will require further continuous treatment and care.

       2268. As a result of the January 11, 2008 Terrorist Attack, and the injuries he suffered,

Daniel Webster has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2269. Mr. Webster has been rated 100% disabled by the Veteran’s Administration.

       358.    THE JANUARY 15, 2008 ATTACK- BALAD

                     A. CHRIS D’ANGELO

       2270. Plaintiff Chris D’Angelo is a citizen of the United States and is domiciled in the

State of Montana.

       2271. On January 15, 2008, Chris D’Angelo, age 27, was serving as a peacekeeping

serviceman in the U.S. Air Force, with the 557th Redhorse Engineers. At the time, Mr. D’Angelo

held the rank of Senior Airman.

       2272. Mr. D’Angelo was performing his duties as a Vehicle Turret Gunner on Chicken

Run Road in Balad, Iraq. While conducting a mounted security patrol, Mr. D’Angelo’s vehicle

was hit by an EFP that knocked Mr. D’Angelo violently around his vehicle severely injured.


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       2273. The weapon used to attack and injure Mr. D’Angelo was an EFP consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2274. As a result of the January 15, 2008 Terrorist Attack, Mr. D’Angelo sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his left eye that caused a loss of vision.

       2275. Mr. D’Angelo was treated locally in Balad Iraq and released to continue his tour.

Mr. D’Angelo was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.

       2276. As a result of the January 15, 2008 Terrorist Attack, and the injuries he suffered,

Chris D’Angelo has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2277. Mr. D’Angelo has not yet been rated by the Veteran’s Administration, as he is still

on Active Duty.

       359.    THE JANUARY 20, 2008 ATTACK- BAGHDAD

                     A. DANIEL WATSON

       2278. Plaintiff Daniel Watson is a citizen of the United States and is domiciled in the

State of Colorado.

       2279. On January 20, 2008, Daniel Watson, age 33, was serving as a peacekeeping

serviceman in the U.S. Army, with A Troop, 4th Squadron, 10th Cavalry Regiment, 3rd Brigade, 4th

Infantry Division. At the time, Mr. Watson held the rank of Specialist.




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       2280. Mr. Watson was performing his duties as a Cavalry Scout in Al’maria District,

Baghdad, Iraq. While conducting a dismounted security patrol mission, Mr. Watson’s person was

hit by an IED leaving Mr. Watson on the ground severely injured.

       2281. The weapon used to attack and injure Mr. Watson was comprised of a 155mm

artillery shell in the road. The IED material was provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2282. As a result of the January 20, 2008 Terrorist Attack, Mr. Watson sustained

significant injuries due to the concussive blast of the explosion to his head and neck along with

fragmentation injuries in the left leg that permanently removed his left calf.

       2283. Mr. Watson was treated locally at Camp Liberty, Iraq and released to continue his

tour. Mr. Watson was awarded the Purple Heart Medal for wounds received by the hands of the

enemy. He will require further continuous treatment and care.

       2284. As a result of the January 20, 2008 Terrorist Attack, and the injuries he suffered,

Daniel Watson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2285. Mr. Watson has received a disability rating of 100% by the Veteran’s

Administration.

       360.    THE FEBRUARY 1, 2008 ATTACK- RAMADI

                     A. MICHAEL NIETO

       2286. Plaintiff Michael Nieto is a citizen of the United States and is domiciled in the State

of Virginia.




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       2287. On February 1, 2008, Michael Nieto, age 38, was serving as a peacekeeping

serviceman in the U.S. Army, with 16th Quartermaster Company, 49th Quartermaster Brigade, 3rd

Infantry Division. At the time, Mr. Nieto held the rank of Sergeant.

       2288. Mr. Nieto was performing his duties as a Vehicle Driver in Ramadi, Iraq. While

conducting a mounted security patrol, Mr. Nieto’s vehicle was hit by an IED that knocked Mr.

Nieto violently around his vehicle severely injured.

       2289. The weapon used to attack and injure Mr. Nieto was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2290. As a result of the February 1, 2008 Terrorist Attack, Mr. Nieto sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2291. Mr. Nieto was treated locally at Camp Ramadi in Iraq and released to continue his

tour. He will require further continuous treatment and care.

       2292. As a result of the February 1, 2008 Terrorist Attack, and the injuries he suffered,

Michael Nieto has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2293. Mr. Nieto has received a disability rating of 100% by the Veteran’s Administration.

       361.    THE FEBRUARY 10, 2008 ATTACK- TIKRIT

                     A. RONNIE CHAVIS

       2294. Plaintiff Ronnie Chavis is a citizen of the United States and is domiciled in the State

of Alabama.




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       2295. On February 10, 2008, Ronnie Chavis, age 43, was serving as a peacekeeping

serviceman in the U.S. Army, with the 131st Scout Troop (AL National Guard). At the time, Mr.

Chavis held the rank of Specialist.

       2296. Mr. Chavis was performing his duties as a Vehicle Turret Gunner on Main Supply

Route Tampa in Tikrit, Iraq. While conducting a mounted security patrol, Mr. Chavis’s vehicle

was hit by an IED that knocked Mr. Chavis violently around his vehicle severely injured.

       2297. The weapon used to attack and injure Mr. Chavis was an IED consisting of two

155mm artillery rounds with an unknown amount of home-made explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2298. As a result of the February 10, 2008 Terrorist Attack, Mr. Chavis sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his right arm.

       2299. Mr. Chavis was treated locally in Tikrit, Iraq and released to continue his tour. Mr.

Chavis was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       2300. As a result of the February 10, 2008 Terrorist Attack, and the injuries he suffered,

Ronnie Chavis has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2301. Mr. Chavis has received a disability rating of 90% by the Veteran’s Administration.

       362.      THE FEBRUARY 17, 2008 ATTACK- FALLUJAH

                     A. DANIEL STERWERF

       2302. Plaintiff Daniel Sterwerf is a citizen of the United States and is domiciled in the

State of Ohio.


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       2303. On February 17, 2008, Daniel Sterwerf, age 27, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, 396th Engineer Company, 478th Engineer Battalion,

20th Engineer Brigade. At the time, Mr. Sterwerf held the rank of Specialist.

       2304. Mr. Sterwerf was performing his duties as a Vehicle Turret Gunner in Fallujah,

Iraq. While conducting a mounted security patrol, Mr. Sterwerf’s vehicle was hit by an IED that

knocked Mr. Sterwerf violently around his vehicle severely injured.

       2305. The weapon used to attack and injure Mr. Sterwerf was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2306. As a result of the February 17, 2008 Terrorist Attack, Mr. Sterwerf sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a broken right 5th metacarpal along with nerve damage in his neck.

       2307. Mr. Sterwerf was treated locally in Ramadi and Fallujah, Iraq medevaced to

Germany and returned to Fallujah to continue his tour. Mr. Sterwerf was awarded the Purple Heart

Medal for wounds received by the hands of the enemy. He will require further continuous treatment

and care.

       2308. As a result of the February 17, 2008 Terrorist Attack, and the injuries he suffered,

Daniel Sterwerf has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2309. Mr. Sterwerf has received a disability rating of 100% by the Veteran’s

Administration.




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       363.    THE MARCH 23, 2008 ATTACK- BAGHDAD

                     A. GREGORY ROUTHIER

       2310. Plaintiff Gregory Routhier is a citizen of the United States and is domiciled in the

State of Oklahoma.

       2311. On March 23, 2008, Gregory Routhier, age 25, was serving as a peacekeeping

serviceman in the U.S. Army, with Delta Company, 128th Infantry Regiment, 4th Brigade, 1st

Infantry Division. At the time, Mr. Routhier held the rank of Private-2.

       2312. Mr. Routhier was performing his duties as a Vehicle Turret Gunner in Baghdad,

Iraq. While conducting a mounted security check point, Mr. Routhier’s vehicle was hit by an RGP

that knocked Mr. Routhier violently around his vehicle severely injured.

       2313. The weapon used to attack and injure Mr. Routhier was an RPG provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2314. As a result of the March 23, 2008 Terrorist Attack, Mr. Routhier sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to the left eye that left him blind for 10 years in that eye.

       2315. Mr. Routhier was treated locally in Forward Operating Base Falcon, Iraq and

released to continue his tour. Mr. Routhier was awarded the Combat Infantry Badge for being

engaged by the enemy. He will require further continuous treatment and care.

       2316. As a result of the March 23, 2008 Terrorist Attack, and the injuries he suffered,

Gregory Routhier has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2317. Mr. Routhier has received a disability rating of 100% by the Veteran’s

Administration.



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        364.   THE APRIL 7, 2008 ATTACK- BAGHDAD

                     A. HERBERT WATSON

        2318. Plaintiff Herbert Watson is a citizen of the United States and is domiciled in the

State of Virginia.

        2319. On April 7, 2008, Herbert Watson, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with Sapper Company 237th Engineer Battalion, 2nd Brigade, 82nd

Airborne Division. At the time, Mr. Watson held the rank of Specialist.

        2320. Mr. Watson was performing his duties as a Combat Engineer from Camp Taji

(north of Baghdad), Iraq when he was attacked. While conducting a mounted security patrol

mission, Mr. Watson’s armored vehicle was hit by an EFP leaving Mr. Watson in the vehicle

severely injured.

        2321. The weapon used to attack and injure Mr. Watson was an EFP. The EFP was

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        2322. As a result of the April 7, 2008 Terrorist Attack, Mr. Watson sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        2323. Mr. Watson was treated locally at Camp Taji, Iraq and released to continue his tour.

Mr. Watson was awarded the Combat Action Badge for contact with the enemy. He will require

further continuous treatment and care for mental and physical issues.

        2324. As a result of the April 7, 2008 Terrorist Attack, and the injuries he suffered,

Herbert Watson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2325. Mr. Watson has been rated by the Veteran’s Administration as 90% disabled.



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       365.    THE APRIL 22, 2008 ATTACK- BAGHDAD

                     A. GUY LITZLER

       2326. Plaintiff Guy Litzler is a citizen of the United States and is domiciled in the State

of Florida.

       2327. On April 22, 2008, Guy Litzler, age 23, was serving as a peacekeeping serviceman

in the U.S. Army, with Headquarters Platoon, A Company, 1st Battalion, 21st Infantry Regiment,

3rd Brigade, 25th Infantry Division. At the time, Mr. Litzler held the rank of Sergeant.

       2328. Mr. Litzler was a Scout Sniper in Sadr City, Baghdad, Iraq when he was attacked.

While conducting a dismounted over watch, Mr. Litzler’s person was hit by a round fired by an

Enemy Sniper leaving Mr. Litzler on the ground severely injured.

       2329. The weapons used to attack and injured Mr. Litzler was a sniper rifle. The sniper

rifle and shooter’s training were provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       2330. As a result of the April 22, 2008 Terrorist Attack, Mr. Litzler sustained significant

injuries due to the impact of the round. He suffered a gunshot wound to the face and neck that

exited his left shoulder.

       2331. Mr. Litzler was treated locally in Baghdad, Iraq and medevaced to Dubai. Mr.

Litzler was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care for mental and physical issues.

       2332. As a result of the April 22, 2008 Terrorist Attack, and the injuries he suffered,

Litzler has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2333. Mr. Litzler has been rated by the Veteran’s Administration as 100% disabled.



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       366.    THE APRIL 28, 2008 ATTACK- SAMARRA

                     A. BRENT BARNES

       2334. Plaintiff Brent Barnes is a citizen of the United States and is domiciled in the State

of Oklahoma.

       2335. On April 28, 2008, Brent Barnes, age 27, was serving as a peacekeeping serviceman

in the U.S. Army, with 3rd Platoon, B Company, 2nd Battalion, 327th Infantry Regiment. At the

time, Mr. Barnes held the rank of Sergeant.

       2336. Mr. Barnes was performing his duties as a Vehicle Commander in Samarra, Iraq.

While conducting a mounted security patrol, Mr. Barnes’s vehicle was hit by an IED that knocked

Mr. Barnes violently around his vehicle severely injured.

       2337. The weapon used to attack and injure Mr. Barnes was an IED composed of an

unknown of homemade explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

       2338. As a result of the April 28, 2008 Terrorist Attack, Mr. Barnes sustained significant

injuries due to his head and neck. The force of the blast dislodged a piece of navigation equipment

to hit Mr. Barnes above his left eye, exposing his skull and leaving permanent facial scarring.

       2339. Mr. Barnes was treated locally in Balad and returned to complete his tour. Mr.

Barnes was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care.

       2340. As a result of the April 28, 2008 Terrorist Attack, and the injuries he suffered, Brent

Barnes has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2341. Mr. Barnes has not been rated by the Veteran’s Administration yet, as he is still on

Active Duty.

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        367.      THE MAY 19, 2008 ATTACK- MOSUL

                     A. TRACEY ATWOOD

        2342. Plaintiff Tracey Atwood is a citizen of the United States and is domiciled in the

State of Texas.

        2343. On May 19, 2008, Tracey Atwood, age 39, was serving as a peacekeeping

serviceman in the U.S. Army, with 700th Support Battalion. At the time, Mrs. Atwood held the

rank of Captain.

        2344. Mrs. Atwood was performing her duties as a logistics officer in Mosul, Iraq. While

conducting convoy operations, Mrs. Atwood’s vehicle was hit by an IED that knocked Mrs.

Atwood violently around his vehicle severely injured.

        2345. The weapon used to attack and injure Mrs. Atwood was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        2346. As a result of the May 19, 2008 Terrorist Attack, Mrs. Atwood sustained significant

injuries due to the concussive blast of the explosion to her head and neck. Mrs. Atwood also

received shrapnel from head to toe and had surgery for a fractured skull.

        2347. Mrs. Atwood was treated locally at Mosul, Iraq before being medevaced to

Germany with follow on treatment at Walter Reed. Mrs. Atwood was awarded the Purple Heart

for being wounded at the hands of the enemy. She will require further continuous treatment and

care.

        2348. As a result of the May 19, 2008 Terrorist Attack, and the injuries she suffered,

Tracey Atwood has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.



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        2349. Mrs. Atwood has received a disability rating of 100% by the Veteran’s

Administration.

        368.   THE MAY 21, 2008 ATTACK- BAGHDAD

                     A. TJ AIKENS

        2350. Plaintiff TJ Aikens is a citizen of the United States and is domiciled in the State of

Utah.

        2351. On May 21, 2008, TJ Aikens, age 25, was serving as a peacekeeping serviceman in

the U.S. Army, with the 299th Heavy Equipment Battalion, 3rd Brigade, 1st Infantry Division. At

the time, Mr. Aikens held the rank of Private First Class.

        2352. Mr. Aikens was performing his duties as a Vehicle Driver on Main Supply Route

Tampa in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Aikens’s vehicle was

hit by an IED that knocked Mr. Aikens violently around his vehicle severely injured.

        2353. The weapon used to attack and injure Mr. Aikens was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

        2354. As a result of the May 21, 2008 Terrorist Attack, Mr. Aikens sustained significant

injuries due to the concussive blast of the explosion to his head and neck. The force of the

explosion also dislocated his right shoulder and fractured his T Spine.

        2355. Mr. Aikens was treated locally at Camp Liberty, Iraq and released to continue his

tour. Mr. Aikens was awarded the Combat Action Badge for being engaged by the enemy. He will

require further continuous treatment and care.




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       2356. As a result of the May 21, 2008 Terrorist Attack, and the injuries he suffered, TJ

Aikens has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2357. Mr. Aikens has received a disability rating of 100% by the Veteran’s

Administration.

       369.       THE MAY 21, 2008 ATTACK- BAGHDAD

                     A. BRADLEY KNAPP

       2358. Plaintiff Bradley Knapp is a citizen of the United States and is domiciled in the

State of Texas.

       2359. On May 21, 2008, Bradley Knapp, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Platoon, Charlie Troop, 3-7 Cavalry. At the time, Mr. Knapp

held the rank of Private-2.

       2360. Mr. Knapp was performing his duties as a Vehicle Passenger on Route Chicken

Run in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Knapp’s vehicle was hit

by an IED that knocked Mr. Knapp violently around his vehicle severely injured.

       2361. The weapon used to attack and injure Mr. Knapp was an IED consisting of several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2362. As a result of the May 21, 2008 Terrorist Attack, Mr. Knapp sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2363. Mr. Knapp was treated locally in Forward Operating Base Stone, Iraq and released

to continue his tour. Mr. Knapp was awarded the Combat Action Badge for being engaged by the

enemy. He will require further continuous treatment and care.


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       2364. As a result of the May 21, 2008 Terrorist Attack, and the injuries he suffered,

Bradley Knapp has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2365. Mr. Knapp has received a disability rating of 100% by the Veteran’s

Administration.

       370.    THE JUNE 7, 2008 ATTACK- FALLUJAH

                     A. DUSTIN CONNOR

       2366. Plaintiff Dustin Connor is a citizen of the United States and is domiciled in the State

of Alaska.

       2367. On June 7, 2008, Dustin Connor, age 20, was serving as a peacekeeping serviceman

in the U.S. Marine Corps, with 2nd Battalion, 3rd Marine Regiment. At the time, Mr. Connor held

the rank of Lance Corporal.

       2368. Mr. Connor was performing his duties as a Provisional Turret Machine Gunner the

day of his injury. During the execution of a routine security patrol mission from Forward

Operating Base Bear, near Fallujah, Iraq, his vehicle was hit by an IED consisting of two 122mm

artillery shells, one 155mm artillery shell and approximately 40 pounds of Home Made Explosive

(HME), throwing Mr. Connor unconscious into his Machine Gun.

       2369. The weapons used to attack and injure Mr. Connor were employed by Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2370. As a result of the June 2008 Terrorist Attack, Mr. Connor sustained injuries due to

the concussive blast of the explosion impacting his head.

       2371. Mr. Connor was treated locally at the scene of the incident and at Fallujah Naval

Hospital in Iraq in the days following the attack and was eventually released to continue operations.


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Mr. Connor was awarded the Combat Action Ribbon for receiving enemy fire under combat

conditions. He will require further continuous treatment and care.

       2372. As a result of the June 7, 2008 Terrorist Attack, and the injuries he suffered, Dustin

Connor has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2373. Mr. Connor has received a disability rating of 100% by the Veteran’s

Administration.

       371.    THE JULY 1, 2008 ATTACK- MOSUL

                     A. ADAM TAYLOR

       2374. Plaintiff Adam Taylor is a citizen of the United States and is domiciled in the State

of Iowa.

       2375. On July 1, 2008, Adam Taylor, age 28, was serving as a peacekeeping serviceman

in the U.S. Army, with the Headquarters Platoon, H Troop, 2nd Squadron, 3rd Cavalry Regiment.

At the time, Mr. Taylor held the rank of Sergeant.

       2376. Mr. Taylor was performing his duties as a Provisional Rifleman in Mosul, Iraq.

While conducting a dismounted security patrol, Mr. Taylor’s person was hit by an SBIED that

knocked Mr. Taylor violently to the ground severely injured.

       2377. The weapon used to attack and injure Mr. Taylor was an SBIED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2378. As a result of the July 1, 2008 Terrorist Attack, Mr. Taylor sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered

fragmentation to his left leg and right arm.


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       2379. Mr. Taylor was treated locally in Mosul, Iraq and released to continue his tour. Mr.

Taylor was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       2380. As a result of the July 1, 2008 Terrorist Attack, and the injuries he suffered, Adam

Taylor has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2381. Mr. Taylor has received a disability rating of 100% by the Veteran’s

Administration.

       372.    THE JULY 1, 2008 ATTACK- DIYALA

                     A. DAMIAN SCHUYLER

       2382. Plaintiff Damian Schuyler is a citizen of the United States and is domiciled in the

State of Pennsylvania.

       2383. On July 1, 2008, Damian Schuyler, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with 3rd Battalion, 21st Infantry Regiment, 1st Brigade, 25th Infantry

Regiment. At the time, Mr. Schuyler held the rank of Specialist

       2384. Mr. Schuyler was performing his duties as a Vehicle Passenger on Route Vanessa

in Diyala Province, Iraq. While conducting a mounted security patrol, Mr. Schuyler’s vehicle was

hit by an IED that knocked Mr. Schuyler violently around his vehicle severely injured.

       2385. The weapon used to attack and injure Mr. Schuyler was an IED consisting an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2386. As a result of the July 1, 2008 Terrorist Attack, Mr. Schuyler sustained significant

injuries due to the concussive blast of the explosion to his head and neck.


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       2387. Mr. Schuyler was treated locally in Forward Operating Base Normandy, Iraq and

released to continue his tour. Mr. Schuyler was awarded the Combat Action Badge for being

engaged by the enemy. He will require further continuous treatment and care.

       2388. As a result of the July 1, 2008 Terrorist Attack, and the injuries he suffered, Damian

Schuyler has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2389. Mr. Schuyler has received a disability rating of 100% by the Veteran’s

Administration.

       373.    THE JULY 23, 2008 ATTACK- 50 MILES SOUTH OF BAGHDAD

                     A. BRENT CROUCH, JR.

       2390. Plaintiff Brent Crouch, Jr. is a citizen of the United States and is domiciled in the

State of Indiana.

       2391. On June 23, 2008, Brent Crouch, Jr., age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with the 76th Infantry Brigade Combat Team. At the time, Mr.

Crouch held the rank of Specialist.

       2392. Mr. Crouch was performing his duties as a Vehicle Turret Gunner on Main Supply

Route Tampa, 50 miles south of Baghdad, Iraq. While conducting a mounted security patrol, Mr.

Crouch’s vehicle was hit by an IED that knocked Mr. Crouch violently around his vehicle severely

injured.

       2393. The weapon used to attack and injure Mr. Crouch was an IED consisting several

155mm artillery shells with an unknown amount of home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.




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       2394. As a result of the June 23, 2008 Terrorist Attack, Mr. Crouch sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2395. Mr. Crouch was treated locally in Balad, Iraq and released to continue his tour. Mr.

Crouch was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

       2396. As a result of the June 23, 2008 Terrorist Attack, and the injuries he suffered, Brent

Crouch, Jr. has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2397. Mr. Crouch has received a disability rating of 80% by the Veteran’s Administration.

       374.       THE AUGUST 2, 2008 ATTACK- DIYALAH

                     A. DOUGLAS CAMPBELL

       2398. Plaintiff Douglas Campbell is a citizen of the United States and is domiciled in the

State of Texas.

       2399. On August 2, 2008, Douglas Campbell, age 31, was serving as a peacekeeping

serviceman in the U.S. Army, with F Troop, 2nd Squadron, 3rd Cavalry Regiment. At the time, Mr.

Campbell held the rank of Specialist.

       2400. Mr. Campbell was performing his duties as a Tank Loader in Diyalah, Iraq. While

conducting a mounted security patrol, Mr. Campbell’s tank was hit by an IED that knocked Mr.

Campbell violently around his vehicle severely injured.

       2401. The weapon used to attack and injure Mr. Campbell was an IED consisting two

anti-tank mines with an unknown amount of home-made explosives provided by Iran and/or one

of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.




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       2402. As a result of the August 2, 2008 Terrorist Attack, Mr. Campbell sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered a herniated L5/S-1 in his lower back and had part of his shoulder bone removed to prevent

rubbing from the force of the explosion.

       2403. Mr. Campbell was treated locally at Camp Caldwell, Iraq and released to continue

his tour. Mr. Campbell was awarded the Purple Heart Medal for wounds received by the hands of

the enemy. He will require further continuous treatment and care.

       2404. As a result of the August 2, 2008 Terrorist Attack, and the injuries he suffered,

Douglas Campbell has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2405. Mr. Campbell has received a disability rating of 70% by the Veteran’s

Administration.

       375.    THE AUGUST 30, 2008 ATTACK- BAGHDAD

                     A. DWIGHT SAVADYGA

       2406. Plaintiff Dwight Savadyga is a citizen of the United States and is domiciled in the

State of Oklahoma.

       2407. On August 30, 2008, Dwight Savadyga, age 27, was serving as a peacekeeping

serviceman in the U.S. Army, with the Headquarters and Headquarters Company, 46th Engineer

Battalion. At the time, Mr. Savadyga held the rank of Sergeant.

       2408. Mr. Savadyga was performing his duties as a Provisional Rifleman on Route Irish

north of Baghdad, Iraq. While conducting a mounted security patrol, Mr. Savadyga’s vehicle was

hit by an IED that knocked Mr. Savadyga violently around his vehicle severely injured.




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       2409. The weapon used to attack and injure Mr. Savadyga was an IED consisting of two

155mm artillery rounds with an unknown amount of home-made explosives provided by Iran

and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2410. As a result of the August 30, 2008 Terrorist Attack, Mr. Savadyga sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered bilateral scarring on his eyes and a partially detached optical nerve.

       2411. Mr. Savadyga was treated locally in Baghdad and released to continue his tour. Mr.

He will require further continuous treatment and care.

       2412. As a result of the August 30, 2008 Terrorist Attack, and the injuries he suffered,

Dwight Savadyga has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2413. Mr. Savadyga has received a disability rating of 90% by the Veteran’s

Administration.

       376.    THE SEPTEMBER 15, 2008 ATTACK- BAQUBAH

                     A. MARK BEAL

       2414. Plaintiff Mark Beal is a citizen of the United States and is domiciled in the State of

Alabama.

       2415. On September 15, 2008, Mark Beal, age 39, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Battalion, 8th Field Artillery Regiment, 1st Brigade, 25th

Infantry Division. At the time, Mr. Beal held the rank of Private 1.

       2416. Mr. Beal was performing his duties as a Cannon Crewmember in Baqubah, Iraq.

While conducting convoy operations, Mr. Beal’s vehicle was hit by an IED that knocked Mr. Beal

violently around his vehicle severely injured.


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       2417. The weapon used to attack and injure Mr. Beal was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2418. As a result of the September 15, 2008 Terrorist Attack, Mr. Beal sustained

significant injuries due to the concussive blast of the explosion to his head and neck. Mr. Beal also

suffered fractures in his lumbar and sacral spine.

       2419. Mr. Beal was treated locally at Forward Operating Base Warhorse, Iraq and

released to continue his tour. Mr. Beal was awarded the Combat Action Badge for being engaged

by the enemy. He will require further continuous treatment and care.

       2420. As a result of the September 15, 2008 Terrorist Attack, and the injuries he suffered,

Mark Beal has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2421. Mr. Beal has received a disability rating of 80% by the Veteran’s Administration.




       377.    THE OCTOBER 15, 2008 ATTACK- BAGHDAD

                     A. DEDRICK RICHARDSON

       2422. Plaintiff Dedrick Richardson is a citizen of the United States and is domiciled in

the State of North Carolina.

       2423. On October 15, 2008, Dedrick Richardson, age 30, was serving as a peacekeeping

serviceman in the U.S. Army, with Supply and Transportation Troop, 2nd Squadron, 2nd Stryker

Cavalry Regiment. At the time, Mr. Richardson held the rank of Specialist.




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       2424. Mr. Richardson was performing his duties as a Vehicle Driver in Baghdad, Iraq

when he was attacked. While conducting a mounted security patrol mission, Mr. Richardson’s

armored vehicle was hit by an IED leaving Mr. Richardson in the vehicle severely injured.

       2425. The weapons used to attack and injure Mr. Richardson were comprised of an

unknown amount of artillery shells (daisy chained) with home-made explosives. The IED material

was provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

       2426. As a result of the October 15, 2008 Terrorist Attack, Mr. Richardson sustained

significant injuries due to the concussive blast of the explosion to his head and neck while also

sustaining injuries to his lower back and right shoulder. The injuries to his right shoulder required

surgery seven months after the attack to regain mobility.

       2427. Mr. Richardson was treated locally at Camp Liberty, Iraq and released to continue

his tour. Mr. Richardson was awarded the Combat Action Badge for contact with the enemy. He

will require further continuous treatment and care for mental and physical issues.

       2428. As a result of the October 15, 2008 Terrorist Attack, and the injuries he suffered,

Dedrick Richardson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2429. Mr. Richardson has received a rating of 90% disabled from the Veteran’s

Administration.

       378.    THE DECEMBER 20, 2008 ATTACK- BAGHDAD

                      A. CZACHARIAH HANGARTNER

       2430. Plaintiff Czachariah Hangartner is a citizen of the United States and is domiciled in

the State of Washington.


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       2431. On December 20, 2008, Czachariah Hangartner, age 22, was serving as a

peacekeeping serviceman in the U.S. Army, with the 547th Medical Company. At the time, Mr.

Hangartner held the rank of Specialist.

       2432. Mr. Hangartner was performing his duties as a Vehicle Driver at Check Point 42 in

Baghdad, Iraq. While conducting a mounted security patrol, Mr. Hangartner’s vehicle was hit by

an EFP that knocked Mr. Hangartner violently around his vehicle severely injured.

       2433. The weapon used to attack and injure Mr. Hangartner was an EFP consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2434. As a result of the December 20, 2008 Terrorist Attack, Mr. Hangartner sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

suffered fragmentation to his neck and burns to upper right arm.

       2435. Mr. Hangartner was treated locally in Baghdad, Iraq and released to continue his

tour. Mr. Hangartner was awarded the Purple Heart Medal for wounds received by the hands of

the enemy. He will require further continuous treatment and care.

       2436. As a result of the December 20, 2008 Terrorist Attack, and the injuries he suffered,

Czachariah Hangartner has experienced, and will continue to experience, severe physical and

mental anguish and extreme emotional pain and suffering.

       2437. Mr. Hangartner has received a disability rating of 80% by the Veteran’s

Administration.




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        379.   THE JANUARY 8, 2009 ATTACK- TIKRIT

                      A. LEONARD HONGO

        2438. Plaintiff Leonard Hongo is a citizen of the United States and is domiciled in the

State of Louisiana.

        2439. On January 8, 2009, Leonard Hongo, age 35, was serving as a peacekeeping

serviceman in the U.S. Army, with the B Company, 1st Battalion, 185th Armored Regiment. At the

time, Mr. Hongo held the rank of Sergeant.

        2440. Mr. Hongo was performing his duties as a Vehicle Commander in Tikrit, Iraq.

While conducting a mounted security patrol, Mr. Hongo’s vehicle was hit by an IED that knocked

Mr. Hongo violently around his vehicle severely injured.

        2441. The weapon used to attack and injure Mr. Hongo was an IED consisting of a 155mm

artillery round with an unknown amount of home-made explosives with ball bearings provided by

Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

        2442. As a result of the January 8, 2009 Terrorist Attack, Mr. Hongo sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He herniated his L4-5

from the force of the explosion. He also suffered fragmentation to his arms, shoulders and lower

back.

        2443. Mr. Hongo was treated locally in Tikrit, Iraq and released to continue his tour. Mr.

Hongo was awarded the Purple Heart Medal for wounds received by the hands of the enemy. He

will require further continuous treatment and care.

        2444. As a result of the January 8, 2009 Terrorist Attack, and the injuries he suffered,

Leonard Hongo has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2445. Mr. Hongo has received a disability rating of 90% by the Veteran’s Administration.

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       380.       THE FEBRUARY 1, 2009 ATTACK- NASARIYAH

                     A. THOMAS LAWSON

       2446. Plaintiff Thomas Lawson is a citizen of the United States and is domiciled in the

State of Texas.

       2447. On February 1, 2009, Thomas Lawson, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, 570th Engineer Company, 555th Engineer Battalion.

At the time, Mr. Lawson held the rank of Private First Class.

       2448. Mr. Lawson was performing his duties as a Vehicle Passenger in Nasariyah, Iraq.

While conducting a mounted security/route clearance patrol, Mr. Lawson’s vehicle was hit by an

EFP that knocked Mr. Lawson violently around his vehicle severely injured.

       2449. The weapon used to attack and injure Mr. Lawson was an EFP consisting of several

with an unknown amount of home-made explosives provided by Iran and/or one of its agents to

Iranian-funded and Iranian-trained terror operatives in Iraq.

       2450. As a result of the February 1, 2009 Terrorist Attack, Mr. Lawson sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2451. Mr. Lawson was treated locally at Forward Operating Base Gerry Owen in Iraq and

released to continue his tour. Mr. Lawson was awarded the Combat Action Badge for being

engaged by the enemy. He will require further continuous treatment and care.

       2452. As a result of the February 1, 2009 Terrorist Attack, and the injuries he suffered,

Thomas Lawson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2453. Mr. Lawson has received a disability rating of 80% by the Veteran’s

Administration.



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       381.    THE FEBRUARY 10, 2009 ATTACK- RUSTIMAYIAH

                     A. MATTHEW PENN

       2454. Plaintiff Matthew Penn is a citizen of the United States and is domiciled in the State

of Oregon.

       2455. On February 10, 2009, Matthew Penn, age 28, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, E Company, 1st Battalion, 66th Armored Regiment,

4th Infantry Division. At the time, Mr. Penn held the rank of Sergeant.

       2456. Mr. Penn was performing his duties as a Vehicle Driver Rustimayiah, Iraq when he

was attacked. While conducting a mounted IED clearing mission, Mr. Penn’s vehicle was hit by

an EFP leaving Mr. Penn in the vehicle severely injured.

       2457. The weapon used to attack and injure Mr. Penn was an EFP. The EFP was provided

by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2458. As a result of the February 10, 2009 Terrorist Attack, Mr. Penn sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2459. Mr. Penn was treated locally on scene in Iraq (Forward Operating Base Loyalty)

and released to continue his tour. Mr. Penn was awarded the Combat Action Badge for being

engaged by the enemy. He will require further continuous treatment and care for mental and

physical issues.

       2460. As a result of the February 10, 2009 Terrorist Attack, and the injuries he suffered,

Matthew Penn has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2461. Mr. Penn has been rated by the Veteran’s Administration as 100% disabled.




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        382.    THE FEBRUARY 19, 2009 ATTACK- DIYALLAH PROVINCE

                      A. JOSEPH MERSHON

        2462. Plaintiff Joseph Mershon is a citizen of the United States and is domiciled in the

State of Illinois.

        2463. On February 19, 2009, Joseph Mershon, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with 4th Platoon, B Company, 3rd Battalion, 21st Infantry Regiment,

25th Infantry Division. At the time, Mr. Mershon held the rank of Sergeant.

        2464. Mr. Mershon was performing his duties as a Vehicle Turret Gunner in Diyallah

Province, Iraq when he was attacked. While conducting a mounted route clearance mission, Mr.

Mershon’s vehicle was hit by an IED leaving Mr. Mershon in the vehicle severely injured.

        2465. The weapon used to attack and injure Mr. Mershon was an IED consisting of a 55-

gallon drum with an unknown amount of homemade explosives and a pressure switch. The IED

was provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

        2466. As a result of the February 19, 2009 Terrorist Attack, Mr. Mershon sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received fragmentation to the right eye and has nerve dystrophy from the waist down. His right

meniscus was blown out and he had to have salvage surgery to save his right leg.

        2467. Mr. Mershon was treated locally in, Iraq and air medevaced to Germany and Walter

Reed where he remained three years. Mr. Mershon was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care

for mental and physical issues.




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       2468. As a result of the February 19, 2009 Terrorist Attack, and the injuries he suffered,

Joseph Mershon has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2469. Mr. Mershon has been rated by the Veteran’s Administration as 100% disabled.

       383.    THE APRIL 1, 2009 ATTACK- BAGHDAD

                     A. JEREMY BAKER

       2470. Plaintiff Jeremy Baker is a citizen of the United States and is domiciled in the State

of Missouri.

       2471. On April 1, 2009, Jeremy Baker, age 28, was serving as a peacekeeping serviceman

in the U.S. Army, with A Battery, 1st Battalion, 7th Field Artillery Regiment. At the time, Mr.

Baker held the rank of Private First Class.

       2472. Mr. Baker was performing his duties as a Vehicle Passenger in Baghdad, Iraq.

While conducting a mounted security patrol, Mr. Baker was hit by an IED that knocked Mr. Baker

violently around his vehicle severely injured.

       2473. The weapon used to attack and injure Mr. Baker was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.

       2474. As a result of the April 1, 2009 Terrorist Attack, Mr. Baker sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2475. Mr. Baker was treated locally in Baghdad, Iraq and released to continue his tour.

He will require further continuous treatment and care.




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         2476. As a result of the April 1, 2009 Terrorist Attack, and the injuries he suffered, Jeremy

Baker has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

         2477. Mr. Baker has received a disability rating of 100% by the Veteran’s Administration.

         384.   THE MAY 1, 2009 ATTACK- DIYALLA

                      A. IAN POWELL

         2478. Plaintiff Ian Powell is a citizen of the United States and is domiciled in the State of

Texas.

         2479. On May 1, 2009, Ian Powell, age 29, was serving as a peacekeeping serviceman in

the U.S. Army, with B Company, 3rd Battalion, 66th Armored Regiment, 72nd Infantry Brigade. At

the time, Mr. Powell held the rank of Specialist.

         2480. Mr. Powell was performing his duties as a Vehicle Driver in Diyala, Iraq. While

conducting a mounted security patrol, Mr. Powell was hit by an IED that knocked Mr. Powell

violently around his vehicle severely injured.

         2481. The weapon used to attack and injure Mr. Powell was an IED consisting of an

unknown amount of 155mm artillery shells with home-made explosives provided by Iran and/or

one of its agents to Iranian-funded and Iranian-trained terror operatives in Iraq.

         2482. As a result of the May 1, 2009 Terrorist Attack, Mr. Powell sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also received

fragmentation to the right side of the face and upper neck.

         2483. Mr. Powell was treated locally in Baghdad, Iraq and returned to duty. Mr. Powell

was awarded the Combat Action Badge for being engaged by the enemy. He will require further

continuous treatment and care.


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         2484. As a result of the May 1, 2009 Terrorist Attack, and the injuries he suffered, Ian

Powell has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

         2485. Mr. Powell has received a disability rating of 100% by the Veteran’s

Administration.

         385.   THE MAY 9, 2009 ATTACK- TAJI

                      A. JASON HILL

         2486. Plaintiff Jason Hill is a citizen of the United States and is domiciled in the State of

Texas.

         2487. On May 9, 2009, Jason Hill, age 37, was serving as a peacekeeping serviceman in

the U.S. Army, with Headquarters Company, 2nd Squadron, 8th Cavalry Regiment. At the time,

Mr. Hill held the rank of Specialist.

         2488. Mr. Hill was performing his duties as a Vehicle Passenger in Taji, Iraq. While

conducting a mounted security/route clearance patrol, Mr. Hill’s vehicle was hit by an IED that

knocked Mr. Hill violently around his vehicle severely injured.

         2489. The weapon used to attack and injure Mr. Hill was an IED composed of an unknown

amount of homemade explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.

         2490. As a result of the May 9, 2009 Terrorist Attack, Mr. Hill sustained significant

injuries due to his head and neck. As a result of the force of the explosion he fractured his skull,

C1-6, his left cheek bone, his jaw and nose were broken, three ribs on his right side and two on his

left were broken, his right hand had to be salvaged and his left arm was fractured, he lost nine




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teeth, fractured his T1-3, both shoulders and his collar bone were fractured and his left optical cord

was severed leaving him blind in his left eye.

       2491. Mr. Hill was treated locally at Camp Taji and was air medevaced to Balad,

Germany and Walter Reed Army Hospital. Mr. Hill was awarded the Purple Heart Medal for

wounds received at the hands of the enemy. He will require further continuous treatment and care.

       2492. As a result of the May 9, 2009 Terrorist Attack, and the injuries he suffered, Jason

Hill has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2493. Mr. Hill has been rated 100% disabled by the Veteran’s Administration.

       386.    THE MAY 9, 2009 ATTACK- FOB ENDEAVOR TO BAGHDAD

                     A. EDGAR RUIZ

       2494. Plaintiff Edgar Ruiz is a citizen of the United States and is domiciled in the State

of Florida.

       2495. On May 9, 2009, Edgar Ruiz, age 25, was serving as a peacekeeping serviceman in

the U.S. Army, with 2nd Platoon, C Company, 1st Battalion, 2nd Infantry Regiment, 172nd Brigade.

At the time, Mr. Ruiz held the rank of Specialist.

       2496. Mr. Ruiz was performing his duties as a Combat Medic in route from Forward

Operating Base Endeavor to Baghdad, Iraq when he was attacked. While conducting a mounted

security mission, Mr. Ruiz’s vehicle was hit by a IED leaving Mr. Ruiz in the vehicle severely

injured.

       2497. The weapon used to attack and injure Mr. Ruiz was a IED with an unknown amount

of homemade explosives. The IED was provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.


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       2498. As a result of the August 9, 2009 Terrorist Attack, Mr. Ruiz sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2499. Mr. Ruiz was treated locally on scene and in Baghdad, Iraq and released to continue

his tour. Mr. Ruiz was awarded the Combat Medical Badge for being engaged by the enemy. He

will require further continuous treatment and care for mental and physical issues.

       2500. As a result of the August 9, 2009 Terrorist Attack, and the injuries he suffered,

Edgar Ruiz has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2501. Mr. Ruiz has been rated by the Veteran’s Administration as 100% disabled.

       387.    THE JUNE 1, 2009 ATTACK- SADR CITY

                       A. TIMOTHY BARNARD

       2502. Plaintiff Timothy Barnard is a citizen of the United States and is domiciled in the

State of California.

       2503. On June 1, 2009, Timothy Barnard, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Troop, 2nd Squadron, 5th

Cavalry Regiment, 1st Brigade, 1st Cavalry Division. At the time, Mr. Barnard held the rank of

Specialist.

       2504. Mr. Barnard was performing his duties as a Vehicle Driver in Sadr City, Baghdad,

Iraq. While conducting a mounted security patrol, Mr. Barnard’s vehicle was hit by an IED that

knocked Mr. Barnard violently around his vehicle severely injured.

       2505. The weapon used to attack and injure Mr. Barnard was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.


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        2506. As a result of the June 1, 2009 Terrorist Attack, Mr. Barnard sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        2507. Mr. Barnard was treated locally in Iraq and released to continue his tour. Mr.

Barnard was awarded the Combat Action Badge for being engaged by the enemy. He will require

further continuous treatment and care.

        2508. As a result of the June 1, 2009 Terrorist Attack, and the injuries he suffered,

Timothy Barnard has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2509. Mr. Barnard has received a disability rating of 100% by the Veteran’s

Administration.

        388.    THE AUGUST 1, 2009 ATTACK- BAGHDAD

                      A. RICHARD IRIZARRY

        2510. Plaintiff Richard Irizarry is a citizen of the United States and is domiciled in the

State of Florida.

        2511. On August 1, 2009, Richard Irizarry, age 46, was serving as a peacekeeping

serviceman in the U.S. Army, with C Company, 2nd Battalion, 505th Infantry Regiment, 82nd

Airborne Division. At the time, Mr. Irizarry held the rank of Staff Sergeant.

        2512. Mr. Irizarry was performing his duties as a Squad Leader in Baghdad, Iraq when

he was attacked. While dismounted on Forward Operating Base Loyalty, Mr. Irizarry was hit by

indirect mortar fire leaving Mr. Irizarry severely injured on the ground.

        2513. The weapon used to attack and injure Mr. Irizarry was a mortar round facilitated by

Iran. The mortar was provided by Iran and/or one of its agents to Iranian-funded and Iranian-

trained terror operatives in Iraq.



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       2514. As a result of the August 1, 2009 Terrorist Attack, Mr. Irizarry sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2515. Mr. Irizarry was treated locally in Baghdad, Iraq and medevaced to Balad. Mr.

Irizarry was awarded the Combat Infantry Badge for contact with the enemy. He will require

further continuous treatment and care for mental and physical issues.

       2516. As a result of the August 1, 2009 Terrorist Attack, and the injuries he suffered,

Richard Irizarry has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2517. Mr. Irizarry has been rated by the Veteran’s Administration as 100% disabled.

       389.      THE SEPTEMBER 9, 2009 ATTACK- KIRKUK

                     A. JAMES DAVIS

       2518. Plaintiff James Davis is a citizen of the United States and is domiciled in the State

of New Jersey.

       2519. On September 9, 2009, James Davis, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with the 4th Battalion, 9th Cavalry Regiment, 2nd Brigade Combat

Team, 1st Cavalry Division. At the time, Mr. Davis held the rank of Specialist.

       2520. Mr. Davis was performing his duties as a Vehicle Passenger in Kirkuk, Iraq. While

conducting a mounted security patrol, Mr. Davis was hit by an IED that knocked Mr. Davis

violently around his vehicle severely injured.

       2521. The weapon used to attack and injure Mr. Davis was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       2522. As a result of the September 9, 2009 Terrorist Attack, Mr. Davis sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

       2523. Mr. Davis was treated locally in Iraq and released to continue his tour. Mr. Davis

was awarded the Combat Action Badge for being engaged by the enemy. He will require further

continuous treatment and care.

       2524. As a result of the September 9, 2009 Terrorist Attack, and the injuries he suffered,

James Davis has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2525. Mr. Davis has received a disability rating of 100% by the Veteran’s Administration.

       390.    THE OCTOBER 20, 2009 ATTACK- AS’SADIYA

                     A. BRIAN SLATES

       2526. Plaintiff Brian Slates is a citizen of the United States and is domiciled in the State

of Missouri.

       2527. On October 20, 2009, Brian Slates, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with B Troop, 1st Squadron, 14th Cavalry Regiment, 2nd Infantry

Division. At the time, Mr. Slates held the rank of Sergeant.

       2528. Mr. Slates was performing his duties as a Vehicle Turret Gunner in As’Sadiya, Iraq.

While conducting a mounted security patrol, Mr. Slates was hit by an IED that knocked Mr. Slates

violently around his vehicle severely injured.

       2529. The weapon used to attack and injure Mr. Slates was an IED consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       2530. As a result of the October 20, 2009 Terrorist Attack, Mr. Slates sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2531. Mr. Slates was treated locally in Baghdad, Iraq and medevaced to Balad and

released to continue his tour. Mr. Slates was awarded the Combat Action Badge for being engaged

by the enemy. He will require further continuous treatment and care.

       2532. As a result of the October 20, 2009 Terrorist Attack, and the injuries he suffered,

Brian Slates has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2533. Mr. Slates has received a disability rating of 100% by the Veteran’s Administration.

       391.    THE DECEMBER 9, 2009 ATTACK- TAJI

                     A. NOEL HUERTAS

       2534. Plaintiff Noel Huertas is a citizen of the United States and is domiciled in the State

of Texas.

       2535. On December 9, 2009, Noel Huertas, age 43, was serving as a peacekeeping

serviceman in the U.S. Army, with G Battery, 1st Battalion, 182nd Field Artillery Regiment. At the

time, Mr. Huertas held the rank of Sergeant First Class.

       2536. Mr. Huertas was performing his duties as a Vehicle Commander in Taji, Iraq. While

conducting a mounted security patrol, Mr. Huertas’ vehicle was hit by an IED that knocked Mr.

Huertas violently around his vehicle severely injured.

       2537. The weapon used to attack and injure Mr. Huertas was an IED composed of two

anti-tank mines with homemade explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.




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       2538. As a result of the December 9, 2009 Terrorist Attack, Mr. Huertas sustained

significant injuries due to his head and neck.

       2539. Mr. Huertas was treated locally at Camp Taji and returned to complete his tour. Mr.

Huertas was awarded the Purple Heart Medal for wounds received at the hands of the enemy. He

will require further continuous treatment and care.

       2540. As a result of the December 9, 2009 Terrorist Attack, and the injuries he suffered,

Noel Huertas has experienced, and will continue to experience, severe physical and mental anguish

and extreme emotional pain and suffering.

       2541. Mr. Huertas has been rated 100% disabled by the Veteran’s Administration.

       392.    THE APRIL 7, 2010 ATTACK- MOSUL

                     A. JAMIE PORTILLO

       2542. Plaintiff Jamie Portillo is a citizen of the United States and is domiciled in the State

of Colorado.

       2543. On April 7, 2010, Jamie Portillo, age 23, was serving as a peacekeeping serviceman

in the U.S. Army, with B Company, 1st Battalion, 64th Armored Regiment, 3rd Infantry Division.

At the time, Mr. Portillo held the rank of Private First Class.

       2544. Mr. Portillo was performing his duties as a Vehicle Driver in Mosul, Iraq. While

conducting a mounted security patrol, Mr. Portillo’s vehicle was hit by an IED that knocked Mr.

Portillo violently around his vehicle severely injured.

       2545. The weapon used to attack and injure Mr. Portillo was an IED consisting of 70

pounds of home-made explosives provided by Iran and/or one of its agents to Iranian-funded and

Iranian-trained terror operatives in Iraq.




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       2546. As a result of the April 7, 2010 Terrorist Attack, Mr. Portillo sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2547. Mr. Portillo was treated locally in Mosul, Iraq and released to continue his tour.

Mr. Portillo was awarded the Purple Heart Medal for wounds received by the hands of the enemy.

He will require further continuous treatment and care.

       2548. As a result of the April 7, 2010 Terrorist Attack, and the injuries he suffered, Jamie

Portillo has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2549. Mr. Portillo has received a disability rating of 90% by the Veteran’s

Administration.

       393.    THE MAY 5, 2010 ATTACK- BAGHDAD

                     A. BUFORD HANNA

       2550. Plaintiff Buford Hanna is a citizen of the United States and is domiciled in the State

of Oregon.

       2551. On May 5, 2010, Buford Hanna, age 29, was serving as a peacekeeping serviceman

in the U.S. Army, with the 3rd Squadron, 16th Cavalry Regiment. At the time, Mr. Hanna held the

rank of Sergeant.

       2552. Mr. Hanna was serving as a Vehicle Turret Gunner on Main Supply Route Tampa

in Baghdad, Iraq when he was attacked. While conducting a mounted security patrol, Mr. Hanna’s

vehicle was hit by an IED leaving Mr. Hanna inside the vehicle severely injured.

       2553. The weapons used to attack and injure Mr. Hanna was an IED consisting of an

unknown amount of homemade explosives. The IED were provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.


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       2554. As a result of the May 5, 2010 Terrorist Attack, Mr. Hanna sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

       2555. Mr. Hanna was treated locally in Baghdad, Iraq and medevaced to Germany a

month after the incident. Mr. Hanna was awarded the Purple Heart Medal for wounds received at

the hands of the enemy. He will require further continuous treatment and care for mental and

physical issues.

       2556. As a result of the May 5, 2010 Terrorist Attack, and the injuries he suffered, Mr.

Hanna has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2557. Mr. Hanna has been rated by the Veteran’s Administration as 100% disabled.

       394.    THE JULY 2, 2010 ATTACK- BAGHDAD

                      A. JAMES LITTLES

       2558. Plaintiff James Littles is a citizen of the United States and is domiciled in the State

of Ohio.

       2559. On July 2, 2010, James Littles, age 26, was serving as a peacekeeping serviceman

in the U.S. Army, with the 53rd Infantry Brigade Combat Team. At the time, Mr. Littles held the

rank of Specialist.

       2560. Mr. Littles was performing his duties as a Vehicle Turret Gunner on Main Supply

Route in Baghdad, Iraq. While conducting a mounted security patrol, Mr. Littles’ vehicle was hit

by an EFP that knocked Mr. Littles violently around his vehicle severely injured.

       2561. The weapon used to attack and injure Mr. Littles was an EFP consisting of an

unknown amount of home-made explosives provided by Iran and/or one of its agents to Iranian-

funded and Iranian-trained terror operatives in Iraq.


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       2562. As a result of the July 2, 2010 Terrorist Attack, Mr. Littles sustained significant

injuries due to the concussive blast of the explosion to his head and neck. He also suffered blood

on his brain from the force of the explosion.

       2563. Mr. Littles was treated locally in Baghdad, Iraq and air medevaced to Germany and

Fort Knox. Mr. Littles was awarded the Purple Heart Medal for wounds received by the hands of

the enemy. He will require further continuous treatment and care.

       2564. As a result of the July 2, 2010 Terrorist Attack, and the injuries he suffered, James

Littles has experienced, and will continue to experience, severe physical and mental anguish and

extreme emotional pain and suffering.

       2565. Mr. Littles has received a disability rating of 90% by the Veteran’s Administration.

       395.    THE AUGUST 10, 2010 ATTACK- BASRAH

                     A. RHEN MITCHELL

       2566. Plaintiff Rhen Mitchell is a citizen of the United States and is domiciled in the State

of Texas.

       2567. On August 10, 2010, Rhen Mitchell, age 23, was serving as a peacekeeping

serviceman in the U.S. Army, with the 1st Battalion, 8th Infantry Regiment, 3rd Brigade, 4th Infantry

Division. At the time, Mr. Mitchell held the rank of Specialist.

       2568. Mr. Mitchell was performing his duties as a Vehicle Driver on Route Arnhem in

Basrah, Iraq when he was attacked. While conducting a mounted security patrol mission, Mr.

Mitchell’s armored vehicle was hit by three EFPs leaving Mr. Mitchell in the vehicle severely

injured.




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        2569. The weapons used to attack and injure Mr. Mitchell were three EFPs facilitated by

Iran. The EFPs were provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained

terror operatives in Iraq.

        2570. As a result of the August 10, 2010 Terrorist Attack, Mr. Mitchell sustained

significant injuries due to the concussive blast of the explosion to his head and neck. The force of

the explosion also ruptured his ear drums. This incident caused him to have to change jobs in the

Army, as he was no longer able to work as a Combat Engineer.

        2571. Mr. Mitchell was treated locally at Combat Outpost Garry Owen in Iraq and

returned to his unit to continue his tour of duty. Mr. Mitchell was awarded the Purple Heart Medal

for wounds received at the hands of the enemy. He will require further continuous treatment and

care for mental and physical issues.

        2572. As a result of the August 10, 2010 Terrorist Attack, and the injuries he suffered,

Rhen Mitchell has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2573. Mr. Mitchell has not been rated by the Veteran’s Administration yet, as he is still

on active duty.

        396.      THE SEPTEMBER 7, 2010 ATTACK- ISKANDARIYA

                      A. LESLEY POWERS, JR.

        2574. Plaintiff Lesley Powers, Jr., is a citizen of the United States and is domiciled in the

State of Virginia.

        2575. On September 7, 2010, Lesley Powers, Jr., age 26, was serving as a peacekeeping

serviceman in the U.S. Army, with 1st Platoon, C Company, 2nd Battalion, 69th Armored Regiment,

3rd Infantry Division. At the time, Mr. Powers held the rank of Specialist.


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        2576. Mr. Powers was performing his duties as a Vehicle Turret Gunner in Iskandariya,

Iraq. While conducting a mounted security patrol, Mr. Powers’ vehicle was hit by an IED that

knocked Mr. Powers violently around his vehicle severely injured.

        2577. The weapon used to attack and injure Mr. Powers was an IED consisting of a

120mm round triggered by a remote device with an unknown amount of home-made explosives

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        2578. As a result of the September 7, 2010 Terrorist Attack, Mr. Powers sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

        2579. Mr. Powers was treated locally at Forward Operating Base Kalsu in Iraq and

released to continue his tour. Mr. Powers was awarded the Purple Heart Medal for wounds received

at the hands of the enemy. He will require further continuous treatment and care.

        2580. As a result of the September 7, 2010 Terrorist Attack, and the injuries he suffered,

Lesley Powers, Jr., has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2581. Mr. Powers has received a disability rating of 100% by the Veteran’s

Administration.

        397.   THE SEPTEMBER 17, 2010 ATTACK- BAGHDAD

                     A. JAMES CHANEY

        2582. Plaintiff James Chaney is a citizen of the United States and is domiciled in the State

of Colorado.




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       2583. On September 17, 2010, James Chaney, age 21, was serving as a peacekeeping

serviceman in the U.S. Army, with G Company, 610th Brigade Support Battalion, 4th Brigade, 1st

Infantry Division. At the time, Mr. Chaney held the rank of Specialist.

       2584. Mr. Chaney was performing his duties as a Turret Machine Gunner in Baghdad,

Iraq when he was attacked. While conducting a mounted security patrol mission, Mr. Chaney’s

armored vehicle was hit by an IED leaving Mr. Chaney in the vehicle severely injured.

       2585. The weapon used to attack and injure Mr. Chaney was an IED consisting of an

unknown amount of homemade explosives. The IED was provided by Iran and/or one of its agents

to Iranian-funded and Iranian-trained terror operatives in Iraq.

       2586. As a result of the September 17, 2010 Terrorist Attack, Mr. Chaney sustained

significant injuries due to the concussive blast of the explosion to his head and neck. He also

received a broken left hip from the force of the explosion.

       2587. Mr. Chaney was treated locally in Baghdad, Iraq and air medevaced to Balad and

Germany, then returned to Iraq to continue his tour of duty. Mr. Chaney was awarded the Combat

Action Badge for contact with the enemy. He will require further continuous treatment and care

for mental and physical issues.

       2588. As a result of the September 17, 2010 Terrorist Attack, and the injuries he suffered,

James Chaney has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

       2589. Mr. Chaney has been rated by the Veteran’s Administration as 100% disabled.




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       398.    THE SEPTEMBER 7, 2011 ATTACK- BASRAH

                     A. KENNETH PHARISS

       2590. Plaintiff Kenneth Phariss is a citizen of the United States and is domiciled in the

State of Oklahoma.

       2591. On September 7, 2011, Kenneth Phariss, age 22, was serving as a peacekeeping

serviceman in the U.S. Army, with B Troop, 1st Squadron, 12th Cavalry Regiment, 3rd Brigade. At

the time, Mr. Phariss held the rank of Specialist.

       2592. At the time of his injury, Mr. Phariss was performing his duties as a Rifleman along

Route Tampa in Basra, Iraq. While conducting a mounted security patrol, Mr. Phariss’s vehicle

was hit by an explosive that was thrown at his vehicle by a fleeing enemy, leaving Mr. Phariss

inside his vehicle severely injured.

       2593. The weapon used to attack and injure Mr. Phariss was comprised of an unknown

amount of explosives. The material was provided by Iran and/or one of its agents to Iranian-funded

and Iranian-trained terror operatives in Iraq.

       2594. As a result of the September 7, 2011 Terrorist Attack, Mr. Phariss sustained

significant injuries due to the concussive blast of the explosion to his head and neck, while also

suffering fragmentation injuries to the right side of his body.

       2595. Mr. Phariss was treated locally at a Forward Operating Base in Basra, Iraq and

released to continue his tour. Mr. Phariss was awarded the Purple Heart Medal for wounds received

by the hands of the enemy. He will require further continuous treatment and care.

       2596. As a result of the September 7, 2011 Terrorist Attack, and the injuries he suffered,

Kenneth Phariss has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.



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        2597. Mr. Phariss has received a disability rating of 100% by the Veteran’s

Administration.

        399.   THE OCTOBER 6, 2011 ATTACK- NASIRIYAH TO BAGHDAD

                     A. NICHOLAS HARRELSON

        2598. Plaintiff Nicholas Harrelson is a citizen of the United States and is domiciled in the

State of North Carolina.

        2599. On October 6, 2011, Nicholas Harrelson, age 24, was serving as a peacekeeping

serviceman in the U.S. Army, with Headquarters and Headquarters Company, 1st Battalion, 116th

Infantry Regiment, 29th Infantry Division. At the time, Mr. Harrelson held the rank of Specialist.

        2600. Mr. Harrelson was performing his duties as a Vehicle Turret Machine Gunner on

Main Supply Route Tampa between Nasiriyah and Baghdad, Iraq when he was attacked. While

conducting a mounted security mission, Mr. Harrelson’s vehicle was hit by an EFP leaving Mr.

Harrelson in the vehicle severely injured.

        2601. The weapon used to attack and injure Mr. Harrelson was an EFP. The EFP was

provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror operatives in

Iraq.

        2602. As a result of the October 6, 2011 Terrorist Attack, Mr. Harrelson sustained

significant injuries due to the concussive blast of the explosion to his head and neck.

        2603. Mr. Harrelson was treated locally on scene in Iraq and released to continue his tour.

Mr. Harrelson was awarded the Purple Heart Medal for wounds received at the hands of the enemy.

He will require further continuous treatment and care for mental and physical issues.




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        2604. As a result of the October 6, 2011 Terrorist Attack, and the injuries he suffered,

Nicholas Harrelson has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2605. Mr. Harrelson has been rated by the Veteran’s Administration as 100% disabled.

        400.   THE OCTOBER 16, 2011 ATTACK- KIRKUK

                      A. AMANDA WALL

        2606. Plaintiff Amanda Wall is a citizen of the United States and is domiciled in the State

of Texas.

        2607. On October 16, 2010, Amanda Wall, age 33, was serving as a peacekeeping

serviceman in the U.S. Army, with the S-4, Headquarters and Headquarters Company, 501st

Brigade Support Battalion, 1st Armored Division. At the time, Ms. Wall held the rank of Sergeant

First Class.

        2608. Ms. Wall was performing his duties as a Soldier on Forward Operating Base

Warrior in Kirkuk, Iraq. While eating lunch, Ms. Wall’s person was hit by indirect fire that

knocked Ms. Wall violently to the ground severely injured.

        2609. The weapon used to attack and injure Ms. Wall was a mortar round of unknown

caliber provided by Iran and/or one of its agents to Iranian-funded and Iranian-trained terror

operatives in Iraq.

        2610. As a result of the October 16, 2010 Terrorist Attack, Ms. Wall sustained significant

injuries due to the concussive blast of the explosion to his head and neck.

        2611. Ms. Wall was treated locally in Kirkuk, Iraq and released to continue her tour. Ms.

Wall was awarded the Purple Heart Medal for wounds received by the hands of the enemy. She

will require further continuous treatment and care.


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        2612. As a result of the October 16, 2010 Terrorist Attack, and the injuries she suffered,

Amanda Wall has experienced, and will continue to experience, severe physical and mental

anguish and extreme emotional pain and suffering.

        2613. Ms. Wall has received a disability rating of 100% by the Veteran’s Administration.

   7.      ALL OF THE TERRORIST ATTACKS WERE ACTS OF INTERNATIONAL
           TERRORISM

        2614. At no time during the Relevant Period, nor due to actions of United States and

Coalition Forces in Iraq, did the United States declare war or enact an Authorization for the use of

military force against Iran, nor did the United States or Coalition Forces engage in an armed

conflict with the military forces of Iran, nor did Iran’s military forces or their agents engage in

lawful acts of war against Coalition Forces or U.S. nationals, including Plaintiffs.

        2615. At no time relevant to this Action did the United States engage in an armed conflict

with the military forces of Iran, nor did Iran’s military forces or their agents engage in lawful acts

of war against Coalition Forces and U.S. nationals, including Plaintiffs.

        2616. At no time relevant to this Action did the operatives of Hezbollah, the IRGC, the

IRGC-QF, the Special Groups, Ansar al Islam and/or other Iranian-sponsored terrorists who killed

and injured Plaintiffs carry fixed distinctive signs recognizable at a distance, carry arms openly,

conduct their operations in accordance with the laws and customs of war, or enjoy any form of

combatant immunity for their acts.

        2617. The specific attacks alleged herein were all carried out by terrorists and terrorist

organizations, including designated FTOs, SDGTs, SDTs, and/or SDNs (all with the substantial

and material support of Defendants), and not by armed forces of recognized governments or

military forces.



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       2618. The conduct of Iran, IRGC, IRGC-QF, Hezbollah, Al Qaida, Ansar al Islam, the

Special Groups and/or other Iranian-supported terrorists, including the FTOs, SDGTs, SDTs,

and/or SDNs, including those responsible for perpetrating the Terrorist Attacks which resulted in

the injuries or deaths of Plaintiffs, violated the laws of armed conflict (including, e.g., AAH

operatives masquerading as members of U.S. armed forces, targeting civilians and torturing and

executing defenseless hostages), and the widespread and intentional attacks upon U.S. nationals

(including Plaintiffs), British, Iraqi, and other civilians and United Nations personnel, constituted

a substantial, rather than an incidental, part of their objectives and conduct.

       2619. The deaths and injuries Plaintiffs sustained were not the result of, nor did they occur

in the course of, a declared war with Iran, or an armed conflict between the United States and Iran.

       2620. The acts of the IRGC, IRGC-QF, Hezbollah, the Special Groups, Al Qaida and/or

Ansar al Islam (including the FTOs, SDGTs, SDTs, and/or SDNs responsible for perpetrating the

Terrorist Attacks) that injured or killed Plaintiffs were acts of international terrorism within the

meaning of 18 U.S.C. § 2331, involving violent acts intended to influence the United States and

the United Nations by coercion (by coercing the withdrawal of Coalition Forces from Iraq) and to

intimidate and coerce the Iraqi population, and were also acts constituting terrorist activities within

the meaning of 8 U.S.C. § 1182(a)(3)(B)(iii)-(iv), and/or engaging in terrorism within the meaning

of 22 U.S.C. § 2656f.

       2621. The acts of Iran, the IRGC, IRGC-QF, Hezbollah, Al Qaida, Ansar al Islam, Special

Groups and/or other Iranian-sponsored terrorists that injured the Plaintiffs were acts of torture,

hostage taking and extrajudicial killing as defined by 28 U.S.C. §§ 1605A(h)(2) and 1605A(h)(7),

and acts of international terrorism as defined by of 18 U.S.C. § 2331.




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       2622. The Terrorist Attacks at issue here were acts of international terrorism that were

enabled by Defendant’s provision of massive financial and material support and resources as

defined by 28 U.S.C. § 1605A(h)(3) and 18 U.S.C. § 2339A, which caused the injuries to and/or

deaths of Plaintiffs. Without Iran’s provision of such material support, on the scale that such

support was provided, the IRGC, IRGC-QF, Hezbollah, the Special Groups, Al Qaida, Ansar al

Islam and/or other Iranian proxies would not have been unable to conduct the thousands of acts of

international terrorism on the scale and with the lethality they perpetrated, including the Terrorist

Attacks, which caused the deaths, maiming, or otherwise injuring of Plaintiffs and Plaintiffs’

family members.

       8.      THE ACTS OF IRAN CAUSED PLAINTIFFS’ INJURIES AND DEATHS

       2623. As discussed herein, Iran has a long history of materially supporting the Special

Groups, Al Qaida, Ansar al Islam, and other terrorists, including the FTOs, SDGTs, SDTs, SDNs

and/or other Iranian sponsored terrorist responsible for the Terrorist Attacks which killed or injured

Plaintiffs. Simply put, Iran is no stranger to supporting terrorist attacks perpetrated by FTOs and

other terrorist organizations against U.S. nationals with the intent to terrorize, kill or cause severe

bodily and emotional harm.

       2624. Here, Iran provided material support and resources to the Terrorist Groups and

other individuals, including the FTOs, SDGTs, SDTs, SDNs and other terrorists who perpetrated

the Terrorist Attacks which killed or injured Plaintiffs.

       2625. These individuals who committed, and the Terrorist Groups who carried out, the

Terrorist Attacks alleged herein were directly and materially supported by Iran and/or its Agents

& Proxies. This material support included, but is not limited to, expert advice, training,

intelligence, funding, munitions, weapons, raw materials, logistical support, command and control,


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diplomatic cover, permissive environment, operational authority, safe passage and sanctuary in

areas within Iraq (and in Iran and Lebanon) controlled either by Hezbollah/IRGC-QF trained,

equipped, and directed Shia Special Groups, and/or in areas within Iraq controlled by Iranian-

supported Sunni elements including, but not limited to, Al Qaida and Ansar al Islam.

        2626. Without Iran’s support, the Terrorist Groups and other individuals and

organizations, including the FTOs, SDGTs, SDTs, and/or SDNs responsible for the Terrorist

Attacks which resulted in Plaintiffs being killed or injured would not have been able to carry out

such Terrorist Attacks with the scale and lethality in which they were perpetrated.

                                   9.      CLAIMS FOR RELIEF

        2627. Plaintiffs bring the following claims against all Defendants.

                                 FIRST CLAIM FOR RELIEF

   AGAINST ALL DEFENDANTS ON BEHALF OF EACH PLAINTIFF IDENTIFIED
    HEREIN WHO SURVIVED AN ACT OF INTERNATIONAL TERRORISM FOR
  DEFENDANTS’ MATERIAL SUPPORT TO ACTS OF EXTRAJUDICIAL KILLING,
   TORTURE AND HOSTAGE TAKING THAT RESULTED IN PERSONAL INJURY
                      UNDER 28 U.S.C. § 1605A(c)

        2628. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

as if fully set forth herein.

        2629. Iran is, and was at all times relevant, a State Sponsor of Terrorism within the

meaning of § 1605A(h)(6).

        2630. Plaintiffs identified in the foregoing paragraphs were grievously injured by

Defendants’ provision of material support (within the meaning of § 1605A(h)(3)) to Hezbollah,

the IRGC, MOIS, Special Groups, AQ, AAI and the Terrorist Groups who planned, conspired and

provided substantial support to extrajudicial killings, attempted extrajudicial killings, torture and

hostage takings that injured the Plaintiffs.


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        2631. As a direct and proximate result of the willful, wrongful, and intentional acts of the

Defendants and their agents, Plaintiffs identified in the foregoing paragraphs were injured and

endured severe physical injuries, extreme mental anguish, pain and suffering, loss of solatium, and

economic losses including medical expenses and lost income.

        2632. Plaintiffs’ compensatory damages include, but are not limited to, their severe

physical injuries, extreme mental anguish, pain and suffering, and any economic losses determined

by the trier of fact.

        2633. Defendants are jointly and severally liable for the full amount of Plaintiffs’

compensatory damages, including physical injuries, extreme mental anguish, pain and suffering

and any pecuniary loss.

        2634. Defendants’ acts in providing material support for acts of extrajudicial killing,

torture, and hostage-taking were intended to inflict, and would reasonably result in, severe

emotional distress on the Plaintiffs.

        2635. Because Defendants and their Agents routinely relied upon and controlled MOIS,

IRISL, Mahan Air, KAA, and/or the Iranian National Oil Company to provide material support to

FTOs and Terrorist Groups or other terrorists, including those responsible for the Terrorist Attacks

that resulted in maiming or injury to Plaintiffs, to advance the terrorist aims and objectives of each

other, its agents and instrumentalities, and the FTOs, Special Groups, and other terrorists,

Defendants are equally and vicariously liable for the personal injuries caused by each other, and

their agents, including MOIS, IRISL, Mahan Air, KAA, and the Iranian National Oil Company.

        2636. The conduct of the Defendants and their Agents was criminal, outrageous, extreme,

wanton, willful, malicious, a threat to international peace and security, and a threat to the public




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warranting an award of punitive damages against each Defendant pursuant to 28 U.S.C. §

1605A(c).

                                 SECOND CLAIM FOR RELIEF

   AGAINST ALL DEFENDANTS ON BEHALF OF THE ESTATES OF PLAINTIFFS
   IDENTIFIED HEREIN FOR DEFENDANTS’ MATERIAL SUPPORT TO ACTS OF
      EXTRAJUDICIAL KILLING, TORTURE AND HOSTAGE TAKING THAT
         RESULTED IN WRONGFUL DEATH UNDER 28 U.S.C. § 1605A(c)

          2637. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

as if fully set forth herein.

          2638. Iran is, and was at all times relevant, a State Sponsor of Terrorism within the

meaning of § 1605A(h)(6).

          2639. The Estates of Plaintiffs listed in the foregoing paragraphs assert claims on behalf

of the decedents who were grievously injured by Defendants’ provision of material support (within

the meaning of § 1605A(h)(3)) to Hezbollah, the IRGC, MOIS, the Special Groups, AQ, AAI and

the Terrorist Groups who planned, conspired and provided substantial support to extrajudicial

killings, attempted extrajudicial killings, torture and hostage takings that caused the Decedents’

deaths.

          2640. As a direct and proximate result of the willful, wrongful, and intentional acts of the

Defendants and their agents, the Decedents listed in the foregoing paragraphs endured physical

injury, extreme mental anguish, and pain and suffering that ultimately lead to their deaths.

          2641. Defendants are jointly and severally liable for the full amount of Plaintiffs’

compensatory damages, including physical injuries, extreme mental anguish, pain and suffering

and any pecuniary loss (or loss of income to the estates).

          2642. Because Defendants and their Agents routinely relied upon and controlled MOIS,

IRISL, Mahan Air, KAA, and the Iranian National Oil Company to provide material support to

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FTOs and Terrorist Groups or other terrorist organizations, including those FTOs, Special Groups,

and other terrorist organizations responsible for the Terrorist Attacks that resulted in maiming or

injury to Plaintiffs, to advance the terrorist aims and objectives of each other, its agents and

instrumentalities, and the FTOs, Special Groups, and other terrorists, Defendants are equally and

vicariously liable for the deaths caused by each other, and their agents, including MOIS, IRISL,

Mahan Air, KAA, and the Iranian National Oil Company.

        2643. The conduct of the Defendants and their Agents was criminal, outrageous, extreme,

wanton, willful, malicious, a threat to international peace and security, and a threat to the public

warranting an award of punitive damages against each Defendant pursuant to 28 U.S.C. §

1605A(c).

                                 THIRD CLAIM FOR RELIEF

   AGAINST ALL DEFENDANTS ON BEHALF OF THE IMMEDIATE FAMILY
MEMBERS OF PLAINTIFFS IDENTIFIED HEREIN AS INJURED OR KILLED AS A
RESULT OF DEFENDANTS’ MATERIAL SUPPORT TO ACTS OF EXTRAJUDICIAL
 KILLING, TORTURE AND HOSTAGE TAKING FOR LOSS OF SOLATIUM AND
  INTENTIONAL INFLICTION OF SEVERE EMOTIONAL DISTRESS UNDER 28
                          U.S.C. § 1605A(c)

        2644. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

as if fully set forth herein.

        2645. Iran is, and was at all times relevant, a State Sponsor of Terrorism within the

meaning of § 1605A(h)(6).

        2646. Defendants’ acts in providing material support for acts of extrajudicial killing,

torture, and hostage-taking were intended to inflict severe emotional distress on the Plaintiffs.

        2647. As a direct and proximate result of Defendants’ acts, the immediate family

members of individuals, identified in the foregoing paragraphs as injured or killed as a result of

Defendants’ acts in providing material support for acts of extrajudicial killing, torture, and hostage-

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taking, have suffered loss of solatium, severe emotional distress, extreme mental anguish, loss of

sleep, loss of appetite, and other severe mental and physical manifestations, as well as other harms

to be set forth to the trier of fact.

        2648. Defendants are jointly and severally liable for the full amount of Plaintiffs’

damages.

        2649. Because Defendants and their Agents routinely relied upon and controlled MOIS,

IRISL, Mahan Air, KAA. and the Iranian National Oil Company to provide material support to

FTOs and Terrorist Groups or other terrorist organizations, including those FTOs, Special Groups,

and other terrorist organizations responsible for the Terrorist Attacks that resulted in maiming or

injury to Plaintiffs, to advance the terrorist aims and objectives of each other, its agents and

instrumentalities, and the FTOs, Special Groups, and other terrorists, Defendants are equally and

vicariously liable for the damages caused by each other, and their agents, including MOIS, IRISL,

Mahan Air, KAA, and the Iranian National Oil Company.

        2650. Defendants’ conduct was criminal, outrageous, extreme, wanton, willful,

malicious, and constitutes a threat to the public warranting an award of punitive damages against

Defendant pursuant to 28 U.S.C. § 1605A(c).

                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiffs demand:

        a)       Judgment for all Plaintiffs against Defendants, jointly and severally, for

compensatory damages, including, but not limited to: serious physical injury and related past,

present and future extreme mental anguish, pain and suffering, emotional injuries, economic losses

(including medical expenses and lost income), loss of consortium and/or solatium, and for further

continuous treatment, care and rehabilitation in the future, in amounts to be determined at trial;


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       b)        Judgment for Plaintiff Estates and individual heirs and beneficiaries against

Defendants, jointly and severally, for compensatory damages for the extrajudicial killing of the

decedents, including, but not limited to: all available wrongful death and survival claim proceeds

including mental anguish, pain and suffering, economic losses, including loss of support, financial

and otherwise, loss of consortium and/or solatium, any pecuniary loss (or loss of income to the

estates), and all other available sums owed to the individual Estates available under the law, in

amounts to be determined at trial;

       c)        Judgment for all Plaintiffs against Defendants, jointly and severally, for punitive

damages in an amount to be determined at trial;

            i.   Punitive damages are warranted in this case because:

                 1.   The conduct of Defendants and their agents demonstrates a policy of

                      encouraging, supporting and directing a campaign of thousands or tens of

                      thousands of deadly acts of terrorism directed at civilians and peacekeeping

                      forces, and in particular against U.S. nationals, such that the monstrous

                      character of the Terrorist Attacks is obvious. Specifically, Defendants focused

                      its finances, infrastructure, agents and instrumentalities to support, encourage

                      and increase the infliction of maximum pain and suffering on innocent people

                      and their families;

                 2.   The conduct of Defendants and their agents demonstrates that it harbors a

                      deep-seated and malicious hatred of the United States and that Defendants

                      intentionally committed terroristic murder and extrajudicial killings, torture

                      and hostage taking of American civilians and peacekeeping servicemen and

                      servicewomen;



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       3.    The conduct of Defendants and their agents is extreme and outrageous such

             that it demonstrates an undeniable intent to do harm and inflict severe physical

             and emotional distress, even on those not present at the site of the acts;

       4.    The Terrorist Attacks described herein and that which the Plaintiffs

             experienced are among the most heinous acts of deliberate violence;

       5.    The Defendants, their agents, and all others, should be unquestionably

             deterred from committing similar acts in the future;

       6.    Defendants still publicly deny their role in the Terrorist Attacks and disclaim

             even their mere presence in Iraq during the Relevant Period;

       7.    Defendants took purposeful and concerted steps to deny, conceal, and mask

             their role in the Terrorist Attacks;

       8.    Defendants knowingly violated U.S. and international sanctions, laws, and

             treaties to effectuate their purposeful campaign of terror;

       9.    Defendants have built their system of terrorism such that they act through

             agents and instrumentalities of their state to perpetrate and perpetuate

             terrorism;

       10.   Defendants have commodified and privatized terrorism such that the core

             function of their agents, proxies and instrumentalities are sufficiently distinct

             and commercial, and not merely governmental.

d) Plaintiffs’ costs and expenses;

e) All available pre and post judgment interest;

f) Plaintiffs’ attorney’s fees; and

g) Such other and further relief as the Court finds just and equitable.



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Dated: August 22, 2020
                                   Respectfully Submitted,
                                   THE MILLER FIRM, LLC




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